Gov. Ex. 35
                                ..
                               ........




   From:                     Anenen, Steve(DS)
   To:                       'Bob Brockman'
   CC:                       `Robert_Schaefergreyrey.corn'
   Sent:                     7/2/2014 7:40:15 AM
   Subject:                  Follow-Up



   Bob,

   Hope you'll get a chance to enjoy the 4th of July. I actually am taking off the remainder of the week. I wanted to respond
   concerning the data sets you need from ADP. I suspect something was lost in translation when we spoke. I've asked Howard
   Gardner and Ron Workman to follow up with Bob Schaefer for clarification, though they tell me Bob is on vacation this week in
   Michigan. Given your urgency to reach an understanding, perhaps you can ask Bob to respond to them while he's out.

   I'm operating under the assumption that the "soft landing" proposal that Ron and Howard have discussed with Bob S. is an
   approach we can take forward to an agreement. I think Bob S. seems agreeable to that as well. I'm sure you're aware that Bob
   and Howard are already working together to transition OEM and other DMI clients'(R&R dealers) to RCI. For example, in May
   alone we moved almost 2000 dealers for SiriusXM from DMI to RCI. This process was completed quickly, with full cooperation,
   and with no disruption to R&R dealers or to SiriusXM. I believe you are bewailing from this.

   The "soft landing" strategy allows a managed transition of DMI clients'(R&R dealers) to RCI on your time-table, while reducing
   risk of disruption to R&R dealers. It provides a large economic lift to R&R while keeping within your strategy of managing data
   access for your diets. I would think you agree that's a positive outcome, although I could make a good case that our
   cooperation does much more for you than it does for us.

   Based on my assumption that the "soft landing" approach is how you'd like to proceed, I have a couple of comments:

       For ADP to provide integration to Naked Lime (or R&R), or any third party, we have a set of defined, documented, and
       thoroughly tested processes that we put every one of our integration partners through. The process includes a standard
       contract with access provided under a "permitted use" basis. ADP performs integration verification testing and requires
       explicit dealer permission and control of every activation. Every third party must operate within these parameters.
       ADP's third party approval and operating processes were developed in the early stages of the program. The program
       operates under legal oversight to ensure we protect both ADP and our clients. We do not deviate from those processes for
       any partner. I am sure you will appreciate the need to have R&R follow the same process and meet the same standards. I
       believe that is the same point you make publicly_
       Please be aware we are highly sensitized to our dealers' expectations that we only provide the data necessary to third
       parties required to fulfill our contractual obligations.

   I should point out that we have not been "accessing R&R systems for decades" as you said. Our businesses that access R&R
   systems came to us through an acquisition. In any case, controlling data access has become a priority for R&R only within the
   last several years. I would be remiss not pointing out that R&R is accessing the ADP system through a contract with
   Authenticom, and has been doing so for quite some time without an agreement from ADP. We need to clean this up as well.

   It is my hope we can leave•the details to be worked out with Bob, Howard and Ron to come to a satisfactory conclusion. This
   seems like a reasonable course of action, heading in the right direction, with the proposed "soft landing". It should also
   significantly benefit R&R in the long run as we work through the transition. Hope you feel the same way.

   If you have any questions or issues please feel free to contact me. Wish you the best for the Fourth.

   Steve



                                                                                                                  GOVERNMENT
    Ai*                                                                                                             EXHIBIT
   Steve Anenen
   President                                                                                                    4:21-CR-009-GCH
                 Servica9,                                                                                            No. 35
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                                                      Ex. 35, p. 1 of 165
     Harman Estates, IL 60169

     Office: 347.485 4003
     Fax: 847.339.2604




    From: Bob Brockman [madto:b      brockman©reyrey.com]
    Sent: Monday, June 30. 2014 3;18 PM
    To: Anenen, Steve (DS); Bob Schaefer
    Subject:

    Steve,

    I think that there is some confusion surrounding the issue that I called you about last week.

    My presumption was that your people had briefed you on my request in advance — or at
    least would had discussed it with you aftor my call. Evidently that was not the case.

    The example that I gave you of data for maintenance reminders — was just that — an
    example.

    It is the only use currently in mind.

    However given that ADP has accessed our systems for a couple of decades, my request is
    for more than just data access than for maintenance reminders — both in content and
    d uration.

    M y data security projects have been delayed another week — therefore I ask for a decision
    from you on this issue this week_

    Bob Brockman

    Cc Bob Schaefer




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                                               Ex. 35, p. 2 of 165
                   Sales Meeting — July 14, 2014

                   -General State of Reynolds
                         -car business is good
                         -our operating results continue strong as ever
                         -personally I am feeling good — getting more fishing this summer
                         -Dorothy is doing great — her back is behaving — been over a year since her last
                         shot — we have now been married for 46 years
                         -our son has one semester to go for his MBA and Masters in EE
                         -November 2 , I will have been at Reynolds for 8 years — and expect to be
                         around quite a while longer


                   -Industry News
                          -the big news is the spinout of ADP Dealer Services from big ADP
                          -it can only be good news for us
                                  -distraction of their top management dealing with analysts
                                  -financial overhead of being a public company
                                  -vastly greater disclosure of their finances
                                  -pressure on them to improve margins by raising prices
                                  -increased focus on the international business to please the stock
                                          market — resulting in greater complexity in their software
                                          development processes
                                  -distraction by having to build all the internal systems that had
                                          Previously been provided by big ADP

                   Acquisitions
                         -an absolutely banner year
                         -last fall we acquired I Make News — or IMN for short — now folded into Naked
                         Lime product line up — we already had been reselling their product
                         -in December we acquired Xtream from the Hendrick organization
                         -in January we acquired Add On Auto — which opens up a whole new profit
                         center
                         -these two exclusive products plus docuPAD I expect to change the way we
                         sell systems completely as the gross profits that they can produce give us
                         absolute product superiority over ADP and DT
                         -we need to quit talking about DMS systems and focus on RMS and the massive
                         financial advantages of our offering

                         -we have two smaller product acquisitions
                               -eGas built originally by the DARCARS organization
                               -bar code based service tracking system used by JM Lexus




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                                                 Ex. 35, p. 3 of 165
                   Internal Development
                          -from an internal development standpoint, we continue to gnaw away at internal
                          systems that need to be rebuilt — major initiative to rebuild the software systems
                          that run our documents business has begun
                          -work continues with SIMS replacement — pieces of it continue to dribble out
                          -lots of work happening on assimilating acquisitions into our billing, accounting,
                          payroll, proposal, and contracting processes
                          -lots of personnel turnover (intentional — as we relocate into our existing facilities)
                          -lots of work assimilating them technically into our software and IT structures

                   Product Development

                   -Contact Management
                         - we continue to suffer from the development failure in this area. The reason
                         that Randy Trenary, our software VP in College Station is no longer with the
                         company is that he failed in leading this project. We have been in catch-up mode
                         ever since. The tire in this area has subsided somewhat with more training, use
                         of common sense in not letting sites convert that need key features not yet
                         available, and continuing release of features and bug fixes.

                         This is our only weakness in the development area.

                   -docuPAD
                        -discuss PAG results
                        -the software in this area is now very strong
                        -the Electronic Deal Jacket process with bar code printing on impact forms
                        and header/trailer sheets automatically printed to facilitate scanning of misc
                        forms — is going to be a big hit once we get our minds around it
                        -our challenges are around utilization after the sale in cases of insufficient
                        management support that can only be remedied by Sales Department effort
                        -in spite of the amazing results produced when properly utilized, our total unit
                        sales are much below expectations

                   -Security
                          -since last year's court victory over Phil Batista, we have reached an agreement
                          where Phil is getting out of the business of collecting data from Reynolds sites
                          -ADP has approached us about doing the same — we are in the early stages of
                          negotiating a similar agreement — caution — this is highly confidential and not
                          assured.
                          -ADP seems to be becoming aware of the laws and liabilities involved
                          -this could put the security wars very much behind us
                          -since we have no idea of how ADP is going to charge 3rd parties for their version
                          of RCI — we will likely continue to have the issue of customers complaining that
                          their costs from 3rd party vendors are more expensive with a DMS from Reynolds
                          than ADP




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                                                    Ex. 35, p. 4 of 165
                   -Universe Replacement
                         -we continue work on what is now a 7 year project to replace the underlying
                         Database and operating structure of the ERA system
                         -QA is now complete
                         -it appears that a pilot is in sight next month
                         -users will see no difference or advantage initially
                         -ultimately we will be able to build better application software with a multi-key
                         Database
                         -the first wider usage will be in the ERA Cabc Server in Power docuPAD sites

                   -RITS
                           -the product is solid
                           -our level of integration is way ahead of anything else out there
                           -the use of Cisco phones and switches has helped
                           -MyRITS is a part of just about every system sold
                           -while we seem to be having a spurt in sales right now — we are way behind YTD
                           -our RITS reps basically never go anywhere or make any calls unless invited

                   -RPM
                           -our product set is now simplified from a configuration and pricing standpoint
                           -there are now a number of AOD Redundant Communications installed
                           -there are a smaller number of dealer-to-dealer Redundant Communications
                                  Installations
                           -there a number of ReySafe unified threat model boxes installed that provide
                           Web filtering and perimeter virus checking
                           -generally speaking sales in this area are poor — with the field sales force doing
                           nothing more than turning opportunities over to the BDC — which then operates
                           Reactive mode. I have a recent example in the Jacky Jones deal
                           -the BDC appears to be doing no pro-active selling at all

                   -eNegotiator
                         -we have been ready for our first pilot for a couple of months — but have been
                          held up by the fact that it requires new Contact Management
                         -we hope to be able to pilot this powerful new concept shortly
                         -in addition to facilitating communication between the sales person and the Desk
                          an additional powerful issue is addressed — giving the Desk information so that
                         they can more intelligently start the first pencil:
                                 -previous vehicles sold to this prospect
                                 -front and back-end grosses to this prospect
                                 -service sales and grosses to this prospect
                                 -distance between the dealership and the prospect's residence
                         -and some new ideas we are working on
                                 -pace towards factory volume incentives for this type of vehicle
                                 as a couple of more sales could make a huge difference in volume
                                 bonus
                                 -grosses on this make, model for the last 60 days for this dealership,
                                 Dealership group, state (or market area), and nationally




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                                                  Ex. 35, p. 5 of 165
                   Xtream
                         -as initially conceived by the Hendrick organization, this product employed an in-
                         dealership server that downloaded data from the DMS
                         -this server's database was then queried daily by a dealership person known as
                         the "Driver" to find prospects
                         -the "Driver" then distributed the prospects to the dealership's sales force
                         -in my opinion this particular model generally suffered from
                                 -incompetent "Drivers" appointed by the dealership
                                 -constant turnover of "Drivers"
                                 -running Xtream was not their primary job
                                 -constant travel to dealerships to prop up Xtream
                        -we have changed the product from a hardware/software sale to a service
                         where we take responsibility for the "Driver" function using a Dayton-based team
                         consisting of one experienced car sales person supervising a group of 4 or 5
                         marketing analyst type people
                         -since the next point of failure frequently experienced in existing Xtream
                         customers is failure to follow up on leads, we will also have one or more
                         experienced "Caller"
                         -our pricing is now per unit sold — with two prices per unit sold depending upon
                         whether or not we do the calling

                         -we are running afoul of bird-dog laws in some states
                         -in those cases we will set a fixed fee per month that is reviewed and adjusted
                         every 90 days based upon sales results

                         -we expect to change the equipment configuration such that no server is located
                         in the dealership — which will give better response time to our Dayton located
                         teams

                         -a further more distant goal by centrally locating the server — is to be able to do
                         Confirmation of Concept deals more readily

                         -while this application works well already — we expect to perfect it even further —
                         especially in the area of service walk-ins


                   Add On Auto
                        -this product gives us the opportunity to provide a brand-new profit center to
                        dealerships at a time that they sorely need it as grosses on new vehicles
                        continues to be relentlessly ground down

                         -this product sells accessories perfectly well in its standalone mode — so we will
                         leave it alone for awhile

                         -the list of things that we will do to it - will not sell accessories any better, but will




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                                                    Ex. 35, p. 6 of 165
                         clean these areas up;
                         -use the F&I calc engine for more exact payment increase calculations
                         -automatically put accessories chosen by the consumer into the deal
                         -automatically generate 'We-owe" entries

                   Challenges

                         -we are still not clear about Who Is The Customer"
                         -we continue to treat the IT people like they were the customer
                         -just recently I was asked to allow a customer to add another AOD
                         Dealership to a starburst configuration with a single 6MB pipe to
                         Research Park
                         -this is an insane request — as we already know that when a single circuit to
                         Research Park gets overloaded, packets start to be dropped and all manner
                         of weird things happen
                         -further to run a pile of dealerships on a single pipe to Research Park is a such a
                         poor business decision when there are better alternatives available that if we
                         were presenting the situation and the consequences to the real Customer who
                         gets paid off the gross profit — there would never be an issue

                         -we continue to get dragged into KO prospect situations where the prospect is
                         basically a price buyer
                         -we just wasted a massive amount of effort on the Morse group
                         -the value of RMS and particularly the massive gross profits that can be
                         generated by our Big 3 exclusive applications"
                                 -docuPAD
                                 -Xtream
                                 -A0A
                         are so huge that I don't want to be looking at KO deals where all the prospect
                         want to do is bid us against ADP.
                         -I think that the telltale is when the buyer doesn't even want to seriously consider
                         our Big Three gross profit builders — they are not a prospect
                         -the time for us chasing price buyers is over

                   Closing Statement
                         -car sales are rocking
                         -we have achieved product superiority over ADP and DT
                         -we are now in a period of as favorable business conditions as we will ever get
                         -anybody in our sales force that cannot sell effectively in this environment needs
                                to be replaced — and we have a few of those




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                                                Ex. 35, p. 7 of 165
                  Execution

                                                  SETTLEMENT AGREEMENT

                       The Reynolds & Reynolds Company v. Superior Integrated Solutions,Inc.,in the United
                             States District Court for the Southern District of Ohio, Western Division
                                                    (Case No.112-CV-00848)

                         This Confidential Settlement Agreement (the "Agreement") sets forth the terms under
                  which The Reynolds & Reynolds Company ("Reynolds")and Superior Integrated Solutions, Inc.
                 ("SIS") have agreed to settle the above-captioned case (the "Lawsuit"). Reynolds, SIS, and the
                  other signatories hereto intend that this Agreement is a binding agreement, and they intend to
                  cooperate in drafting such additional instruments and taking such additional actions as are
                  reasonably necessary to effectuate this settlement.

                  1.      Mutual Releases

                          A.     First Release

                                 Effective the date of execution of this Agreement, Reynolds, on behalf of itself
                                 and its parent companies, members, subsidiaries and affiliates (collectively the
                                 "Reynolds Releasing Parties"), release, acquit, and forever discharge SIS, and
                                 each of its parent companies, members, shareholders, subsidiaries and affiliates,
                                 and each of their respective predecessors, successors, agents, representatives,
                                 officers, directors, employees and attorneys (collectively the "SIS Released
                                 Parties") for any and all claims, causes of action, damages or allegations that were
                                 asserted or could have been asserted in the Lawsuit with respect to any alleged
                                 conduct up to and including the date ofthis Agreement.

                                 Effective the date of execution of this Agreement, S1S, on behalf of itself and its
                                 parent companies, members, subsidiaries and affiliates (collectively the "SIS
                                 Releasing Parties"), release, acquit, and forever discharge Reynolds, and each of
                                 its parent companies, members, shareholders, subsidiaries and affiliates, and each
                                 of their respective predecessors, successors, agents, representatives, officers,
                                 directors, employees and attorneys (collectively the "Reynolds Released Parties")
                                 for any and all claims, causes of action, damages or allegations that were asserted
                                 or could have been asserted in the Lawsuit with respect to any alleged conduct up
                                 to and including the date ofthis Agreement.

                           B.    Final Release

                                 At the conclusion of the last "Wind-Down Period" (described in Ill 3 below),
                                 Reynolds and SIS will exchange mutual releases identical to the releases set forth
                                 in 4f 1(A) above except that they will include all conduct up to and including the
                                 date ofsuch Final Release and not merely the date of this Agreement.




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                   2.     Dismissal of Lawsuits

                          Within 5 business days of the execution of this Agreement, the Parties will dismiss their
                   respective claims and counterclaims made in the Lawsuit by filing a Joint Motion for Dismissal
                   with Prejudice. Each Party shall bear its own costs and attorneys fees.

                           Within 5 business days of the execution of this Agreement, SIS will dismiss its claims
                  (by filing a voluntary motion for dismissal or a functionally equivalent pleading)in the following
                   actions:

                        (1) Superior Integrated Solutions v. Byers imports, LLC cAler Byers Sobaru oiToluurbus
                          (-13yers"), Case No. I4CV000712, pending in the Court of Common Pleas, Franklin
                            County, Ohio. Should Byers seek fees from SIS after or during the dismissal
                            Reynolds will pay any feo tiwarded to Byers;

                         (2).s:uperior integre:test :Volutions,ha. i Jcvey lioag Alotory, Ina ("ikag`')., 2014.CA-
                            0001183.0, pending in the Ninth Judicial Circuit Court„ Orange County, Florida.
                            Should Haag st;.•ek fees from SIS after or during the dismissal Reynolds wi1 pay any
                            fee awarded to Byers;and

                         (3) Any similar pending litigation against any other Reynolds automotive dealership
                             customer based upon the same or similar facts as the Byets or liaag'slitigatica.

                        Further. SIS covenants not to sue any other Reynolds automotive dealership customer for
                  damages alle.'ged t .nVC resulted or arisen from the filing of this Lawsuit.

                  3.     SIS Wind-Down

                         A.      Summary of Intent

                                        Promptly after the execution of this Agreement, SIS will communicate to
                                        all ofits current Reynoids-1)MS integration customers("Costomers");`(a)
                                        informing the Customers that it imentis to wind down its Reynolds-DMS
                                        integratiOrt business and does not intend to extend its entaracts with the
                                        Custom= beyond their current primary term, except potentially on a
                                        month-to-month basis; (b) expressing words to the affect that SIS looks
                                        forward to doing iB pan to ease each Customer's unnsition, away from
                                        SIS's integration upon the expiration of its eiment contract tenn with SIS;
                                        sad (c) ex.pressing Words to the cfrect that it understands a proposal may
                                        be forthcoming, to transition to ReynOlds' txrtified taterfaces, which SIS
                                        considtts a positive solution for the Customer.




                   SIS's current Reynolds-DMS integration Customers are identified on Exhibit"C" hereto,
                                                            Page 2 of9




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                                     SIS will provide its services to these Customers only until the end of its
                                     current contract term or current extension period for each, extended
                                     month-to-month according to Reynolds' election described in ¶ 3(A)(iii).

                              iii,   At Reynolds' election, which shall be communicated to SIS reasonably in
                                     advance of the conclusion of SIS's contract term with each of its
                                     Customers (whether primary or month-to-month), SIS agrees to extend its
                                     Customer contracts on a month-to-month basis until Reynolds elects for
                                     SIS to cease granting such month-to-month extensions. However, SIS will
                                     not be required to grant any contractual extensions beyond March 5,2017,
                                     unless mutually agreed upon by both Reynolds, SIS, and the respective
                                     Customer(s).

                              iv.    For each Customer, the period beginning today and concluding on the last
                                     date of S1S's contract term or current extension period with such
                                     Customer(as may be extended on a month-to-month basis as described in
                                       3(A)(ii)-(iii) above) shall be referred to herein as the "Wind-Down
                                     Period" for that Customer.

                              v,      With the exception of the Wind-Down Period for SIS's current Customers
                                     (in particular, the interim access described in 111 3(C) below), SIS and Mr.
                                     Battista, on behalf of themselves and their employees and affiliates,
                                     covenant and agree not to integrate with, access, or attempt to integrate
                                      with or access, any Reynolds-brand DMS—either S1S / Mr. Battista
                                     themselves or through any current or future affiliated, subsidiary, or
                                     successor entities or ventures. SIS and Mr. Battista further covenant and
                                     agree not to sell, transfer, or assign to any affiliate or third party any
                                     technology or "know how" regarding integration with Reynolds-brand
                                     DMS or take any other steps to assist any person that SIS / Mr. Battista
                                     knows or reasonably believes to have plans to access or integrate with
                                     Reynolds-brand DMS without Reynolds' consent. For the avoidance of
                                     doubt, the covenants set forth in this ¶ 3(A)(v) are not intended as a
                                     "covenant not to compete," but rather as a contractual restriction of access
                                     and attempted access intended to protect the operational and data security
                                     integrity of the DMS. These covenants are intended to extend for the life
                                     of any Reynolds DMS product—however, if an Arbitration Panel or other
                                     authority of competent jurisdiction determines that such time frame is not
                                     enforceable (for any reason, including but not limited to being interpreted
                                     as a covenant not to compete), the Parties and Mr. Battista agree that the
                                     time frame covered by this paragraph shall be reformed to 7 years from
                                     the date of execution of this MOA; or, if such 7 year time period is
                                     determined to be unenforceable, reformed to the maximum period of time
                                     deemed to be enforceable by such Arbitration Panel or other authority.
                                     For the avoidance of doubt, if under a future agreement between an OEM
                                     and Reynolds, an OEM appoints SIS as an "agent" to whom data will be


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                                     passed without SIS accessing the Reynolds-brand DMS,that arrangement
                                     will not be considered a breach of this ¶f 3(A)(v).

                        B.    S1S's Revenues

                              SIS is entitled to keep any and all revenues from its Customers that it has received
                              in the past or will receive up to the conclusion of the Wind-Down Period for each
                              Customer. Morttover, in the event that the Wind-Down Period for any
                              Customer(s) concludes prior to Match 5,2016, Reynolds will compenswe SIS for
                              any shortfall between (i) revenues actually received by SIS from its Reynolds-
                              DMS integration customers and (ii) the "Expected Wind-Down Revenues." For
                              purposes of this Agreement, "Expected Wind-Down Revenues" shall be defined
                              as an amount, not to exceed $1,534,000, calculated by the following formula:

                                    (24) x (verified current aggregate monthly revenues for current MS
                                     Customers that have not signed an Rdl agreement with Reynolds
                                     prior to the date of this Agreement).

                              For the avoidance of doubt, the current aggregate monthly revenues set forth in
                              the above formula are subject to verification by Reynolds of SIS's current
                              monthly contracted pricing documentation for all of its current Customers.
                              Further for the avoidance of doubt, the Parties acknowledge that ASR Pro and
                              KEEPS have signed an RC1 agreement with Reynolds and, accordingly, are not
                              intended to be included in the Expected Wind-Down Revenues calculation set
                              forth above. Reynolds is unaware of any other Customers of SIS other than ASR
                              Pro and Keeps that have signed an RCI agreement with Reynolds.

                        C.    Interim Access

                              During the Wind-Down Period for each SIS Customer, Reynolds agrees to use
                              best efforts to protect and/or facilitate the access currently being provided by SIS
                              for that Customer, on the condition that SIS provides Reynolds with:(a) a list of
                              SIS Customers for whom such interim access is needed, with the information set
                              forth on Exhibit "A" hereto; and (b) a list of dealerships for whom such interim
                              access is needed, with the information set forth on Exhibit "B" hereto. SIS
                              understands that reasonable efforts may be required on the part of SIS, the SIS
                              Customers, and/or the applicable dealerships in order to facilitate such interim
                              access (including, by way of example only, re-naming existing reports on the
                              DMS to Reynolds-standard naming conventions, setting up specific User ID
                              names, etc.). SIS agrees to indemnify and defend Reynolds from any claim,
                              liability and expense, including reasonable attorney's fees and costs arising out of
                              any breach of data security or misuse of the data obtained through the use of the
                              DMS interim access provided by Reynolds pursuant to this Agreement.




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                         D.      SIS Cooperation

                                 During the Wind-Down Period for each SIS Customer, SIS agrees to reasonably
                                 assist and cooperate with Reynolds with respect to: (1)communication with its
                                 Customers during their respective Wind-Down Periods; (2)Reynolds'
                                 development and testing of interfaces for Customers who choose to become RCI
                                 Customers; and (3) the transition of such customers to Reynolds certified
                                 interfaces.

                         E.      Provision ofSIS Contracts

                                 Within 10 days of the execution of this Agreement, SIS will provide Reynolds a
                                 copy ofeach of its current Reynolds-DMS integration Customer contracts (except
                                 that SIS may redact uniquely confidential third-party information that does not
                                 pertain to the contract term length, renewal, termination, or pricing terms).

                  4.     No Admission of Liability

                           Neither Reynolds, SIS, nor any of their officers, directors, or principals admit any
                  liability with respect to the Lawsuit; to the contrary, each party denies the claims and allegations
                  asserted against each Party.

                  5.     Representations and Warranties

                         Each Party represents and warrants to the other and agrees with the other as follows:

                         A.      Each Party has carefully read and reviewed this Agreement and understands it
                                 fully, and each Party has reviewed the terms of this Agreement with one or more
                                 attorneys ofthe Party's choice prior to executing this Agreement;

                         B.      Each Party specifically is not relying upon any statement, representation, legal
                                 opinion, accounting opinion, or promise, express or implied, of any other Party or
                                 of any person representing them in executing this Agreement, or in making the
                                 settlement provided for herein, except as expressly stated in this Agreement;

                         C.      Each Party has made such investigation of the law and the facts pertaining to this
                                 Agreement, and of all the matters pertaining thereto, as it deems necessary;

                         D.      This Agreement is the result ofarm's-length negotiation between the Parties;

                         E.      Each Party has full power and authority, and has been duly authorized, to enter
                                 into this Agreement and consummate the transactions contemplated by this
                                 Agreement; and

                                 The person signing this Agreement has the full authority to bind the Party
                                 indicated.

                                                             Page 5 of9




HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY                                                                                 REYCID0675650
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                          SIS represents and warrants that:

                          A.     All of its current Reynolds-DMS integration Customer contract terms conclude at
                                 a date no later than March 5,2016,and SIS has the right to decline to extend such
                                 contracts beyond such date as long as SIS provides the Customer with reasonable
                                 notice.

                  6.      Construction

                          The language of all parts of this Agreement shall in all cases be construed as a whole,
                  according to its fair meaning, and not strictly for or against any of the Parties. This Agreement
                  was prepared jointly by the Parties, and no presumptions or rules of interpretation based upon the
                  identity ofthe Party preparing or drafting this Agreement,or any part thereof, shall be applicable
                  or invoked.

                  7
                  .       Severability

                          Whenever possible, each provision of this Agreement shall be interpreted in such manner
                  as to be effective and valid under applicable law. In the event any provision of this Agreement
                  shall be prohibited, invalid, or ineffective under applicable law, such provision shall be
                  ineffective to the extent of such prohibition or invalidity or ineffectiveness, without invalidating
                  the remainder ofsuch provision or the remaining provisions of this Agreement.

                  8.     Dispute Resolution

                           Any disputes, claims, or causes of action arising out of or relating to this Agreement must
                  be submitted to binding arbitration by a single agreed upon arbitrator under the Institute for
                  Conflict Prevention and Resolution Rutes for Non-Administered Arbitration. For any 4Ugh
                  arbitration, the Parties will work in good f:ntli to set affieirrit procedural iirnvanorts to reasonably
                  fit the circumstances, but in any case each Party will not be allowed to take more than three(3)
                  depositions or present more than six (6) witnesses; and, in particular, in the event of a dispute
                  bearing upon the effectuation of the settlement in general or the Wind-Down Period, the Parties
                  agree to an accelerated arbitration process in which (i) the arbitration hearing occurs within 45
                  days after the appointment of the arbitrator; and (ii) the arbitration award is to be issued within
                  20 days after such hearing.

                  9.     Confidentiality /Press Statements

                          The Parties agree that they shall not publicly disclose the terms of this Agreement, with
                  the following exceptions:

                                 the Parties may announce that litigation previously pending between them has
                                 been resolved amicably with the joint dismissal of the lawsuit; and may make
                                 other general disclosures about the resolution of the case;


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                                      a Party may disclose the terms of this Settlement Agreement: (1) as may be
                                      required by law or regulation;(2) to its advisors and affiliates who agree or who
                                      are under a legal or fiduciary obligation to maintain the confidentiality of such
                                      information. If a Party receives a request to disclose the terms of this Settlement
                                      Agreement under the terms of a valid and effective subpoena, decree or order
                                      issued by a court of competent jurisdiction or by a governmental body, that Party
                                      hereby agrees to, and agrees to immediately notify the other Party in writing of
                                      the existence, terms and circumstances surrounding the request, so that the other
                                      Party may seek an appropriate protective order or waive the receiving Party's
                                      compliance with the provisions ofthis Agreement(and,if the other Party seeks an
                                      order, to provide the cooperation as said owner shall reasonably request).

                            iii.      the Parties may communicate the matters set forth in with its current customers
                                      regarding the matters set forth in II 3(A)(i); and other transitional matters
                                      reasonably arising from or relating to same.



                    ACKNOWLEDGED AND AGREED TO ON THIS 5th DAY OF MARCH,2014:

             7.;
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                                     :

                    The l ynolth & Reynolds C pany
                    By: Robert Schaefer, VP of Data Services



                         it:re ntegrated Solutions, Inc.
                    By: Philip &mist CEO

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                                                    EXHIBIT A:
                                  SIS CUSTOMER LIST INFORMATION FOR EMS ACCESS

                  MS shall provide Repot& with ti Customer List to include the following information for each
                  Customer(including all ‘.*.nticir and OEM customers)for whom,or on whose behalf,. S1S is
                  requesting interim DMS access:

                     I. Vendor or OEM DBA Name

                     2. Specify data access type, i.e., batch, real-time, inbound/update (write back), outbound

                     3. Each application used for data access (e.g.,6910,7601, 7602,3010,3651, etc.)

                     4. Data interfaces used and data elements for each data interface

                     5. Format ofthe data(e.g., comma delimited, XML,etc.)

                     6. Additional detail regarding the method ofSIS's existing access(e.g., scrip% applications,
                        and usemarnes utilized) as may be reasonably necessary to protect such access on an
                        interim basis.




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HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY                                                                            REYCID0675653
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                                                     EXHIBIT B:
                                      DEALER LIST INFORMATION FOR DMS ACCESS

                   For each SIS customer's dealership customers, SIS shall provide Reynolds with a Dealer List
                   to include the following information for each Dealer for which SIS or an SIS customer is
                   requesting interim DMS access:

                      1. Dealer DBA Name

                      2. Dealer Address(including city, state, and zip code)

                      3. Dealer Phone Number

                      4. Dealer Contact Name

                      5. ERA System Number(ifavailable to SIS)

                      6. DMS Store Number (i.e. Store03)

                      7. DMS Branch Number (i.e. Sales02)

                      8. DMS User Login being used by SIS or SIS customer

                      9. DMS Report Name(s)being run by SIS or SIS customer

                      10. Name(s)of any third party designees(including SIS customers and any other third
                          parties) to whom any DMS data is being passed (if any data is being moved outside
                          of SIS)




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                                             3PA AGREEMENT

  This 3PA AGREEMENT("3PA Aereeinent") entered into as ofthe latest signature date ofthe
  parties below ("3PA Effective Date") between Digital Motorworks, Inc.("DM") and CDK
  Global, LLC (collectively, "CDK") and The Reynolds and Reynolds Company, Dealer
  Computer Services, Inc., and Universal Computer Systems Holding, Inc. (collectively,
  "Vendor").

                                               BACKGROUND

   CDK provides retail automobile and truck dealers with a variety of Elite®, webSuite® and
   DRIVE® dealer management computer systems (collectively, "CDK Systems"; dealers using
   CDK Systems are referred to as"CDK Clients").

  Vendor provides its application programs (as further described in Section 2 of Exhibit 3PA-B
 (including all subparts), the "Aunticatiort(s))to certain CDK Clients (such CDK Clients using
  the Application(s) shall be referred to herein as "Vendor Clients"). For the avoidance of doubt,
  this 3PA Agreement applies only to those Application(s) identified in the respective subparts of
  Section 2 of Exhibit 3PA-B (as may be amended pursuant to Section 1(i) of this 3PA
  Agreement).

  CDK has developed both (A) a managed interface system (the "Managed Interface System")
  designed to provide (i) third party software application vendors(such as Vendor) with the ability
  to access, send and receive data to CDK Clients through CDK Systems and (ii) CDK Clients
  with the ability to access and receive data provided by such third party vendors and to send data
  to such third party vendors and (B) a service whereby CDK directly or indirectly collects (by
  accessing, polling, copying, extracting, downloading) information from automotive and/or motor
  vehicle dealerships chosen by DMI's customer and reformats, aggregates, compiles and/or
  enhances such information using DMI's proprietary InfoIQ technology for delivery to such
  customer (the "Iola) Servieel. The Managed Interface System and the InfolQ Service are
  each described in more detail in Exhibit 3PA-A hereto. The Managed Interface System includes
  the pre defined integration points ("Pre-Defined lotegrarkon Points") developed by CDK and
  described in more detail in Section 1 of Exhibit 3PA-B hereto.

  Each subpart of Section 2 Exhibit 3PA-B hereto shall indicate whether, with respect to each
  Application, the data is provided via the Managed Interface System or the InfolQ Service, or
  both.

  Vendor and CDK are also parties to that certain Data Exchange Agreement dated the date hereof
 (the Data Exchange Agreement"). With respect to the matters covered by this 3PA
  Agreement, the terms of this 3PA Agreement are in addition to the terms of the Data Exchange
  Agreement. However, in the event of a conflict between this 3PA Agreement and the Data
  Exchange Agreement with respect to the matters covered by this 3PA Agreement, this 3PA
  Agreement and its exhibits shall control.


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CONFIDENTIAL-Submitted in Lieu of Compulsory Process                                    REYREY0000091




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                                             Terms and Conditions

   NOW,THEREFORE,CDK and Vendor agree as follows:

        I.      Provision of InfoIQ Service; Use of Managed Interface System and InfoIQ
                Service; Data Access; Other Obligations

          (a)      Vendor shall be solely responsible for the deployment of its integration to Vendor
   Clients to allow the Managed Interface System to operate properly with the Application(s) that
    use the Managed Interface System to receive Data. CDK agrees to use commercially reasonable
   efforts to provide Vendor with the InfoIQ Service for the Applications using the InfolQ Service.
   Subject to the other terms of this 3PA Agreement, CDK hereby grants Vendor a license to,
   throughout the term of this 3PA Agreement,(i) use the Data (as hereinafter defined) solely in
   connection with providing the Applications to Vendor Clients and (ii) use and access the
   Managed Interface System, including the Pre-Defined Integration Points, solely to access,
   receive and use the Data in connection with, and only in connection with, providing the
   Application(s) that use the Managed Interface System for Vendor Clients. "Data" means only
   the data described in Section 3 of Exhibit 3PA-B hereto. Vendor agrees that the Data may
   include personally identifiable information and Vendor represents that it has all necessary
   consents and authority to have such Data transferred to Vendor and for Vendor to use such Data.
   Prior to its deployment of its integration to the Managed Interface System to Vendor Clients
   Vendor shall provide CDK with a list of its clients who have licensed the Application(s) as of
   such date. CDK agrees to use commercially reasonable efforts to assist Vendor in its
   deployment efforts of the Managed Interface System. Vendor's use of the Managed Interface
   System must adhere at all times to CDK's"messaging standards" as they exist from time to time.
   Vendor acknowledges, without limiting any other rights CDK may have, that CDK owns a
   copyright in the InfoIQ Service and the Managed Interface System, including without limitation
   the Pre-Defined Integration Points and all pre-existing software and specifications used by CDK
   to develop the Managed Interface System and the Pre-Defined Integration Points (the foregoing,
   including, without limitation, the Pre-Defined Integration Points and any such pre-existing
   software and specifications used by CDK to develop the InfolQ Service and the Managed
   Interface System, together with any associated intellectual property rights therein shall be
   collectively referred to herein as the "CDK Property"). Nothing in this 3PA Agreement shall
   transfer any title in the CDK Property to Vendor and nothing in this 3PA Agreement shall give
   Vendor any rights in or to the CDK Property, except for the license granted above in this Section
   1(a). Vendor agrees that if ninety (90) days pass after the date the Managed Interface System
   have been made available to Vendor for an Application, and the Parties are still unable to
   mutually agree on a schedule for the integration for such Application, and such delay is not a
   result of any action or inaction by CDK (including, without limitation, any unreasonable
   rejection by CDK of any proposed schedule), then CDK may terminate this Agreement with
   respect to such Application only. Subject to this Agreement, including the terms of the exhibits
   hereto (which more specifically define the integration to be provided under this 3PA Agreement)
   and Section 1(i) hereof (which sets forth the Parties' agreement regarding potential future
   additional services), the integration provided for the Applications by this 3PA Agreement is
   extract only.
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CONFIDENTIAL-Submitted in Lieu of Compulsory Process                                     REYREY0000092




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          (b)       Use of the Managed Interface System or InfolQ Service by Vendor is limited to
   accessing and receiving and otherwise using the Data in connection with providing the
   Application(s) that use the Managed Interface System or InfoIQ Service(as set forth in Section 2
   of Exhibit 3PA-B) to Vendor Clients. Specifically, the Managed Interface System and InfolQ
   Service may not be used by Vendor to access any other data on any CDK System or to provide
   any other application or business function to any CDK Client or any other entity wishing to
   access data on a CDK System or to provide any data residing on any CDK System to any other
   entity unless passing the Data to another entity is for the purpose of performing a service
   required by the Application(s) and is on behalf of the CDK Client (i.e. cleansing and
   standardizing Data, mailings, etc.) and the process is identified in the respective subparts of
   Section 2 of Exhibit 3PA-B. Vendor agrees that it shall not copy, license, sell or otherwise
   transfer the Data to any third party for any purpose whatsoever and Vendor agrees that it shall
   only use the Data in connection with providing the Application(s) to Vendor Clients. Vendor
   agrees that (i) it has no right, title or interest in the Data and (ii) except as otherwise specifically
   agreed to between Vendor and a CDK Client, nothing contained herein shall be deemed to
   provide Vendor with any such right, title or interest. Further, without limiting the generality of
   the foregoing, Vendor acknowledges and agrees that it may not use any database elements,
   including, without limitation, any vehicle, customer, deal, accounting, parts and service database,
   extracted from any CDK System to recreate or reengineer, a new index database for use in any
   Vendor product or service.

          (c)      Vendor agrees that nothing in this 3PA Agreement shall give it any right to have
   any access to or use of any CDK System, including any and all software applications residing
   thereon, for any reason, nor to access or use for any reason any data residing on any CDK
   System other than as described on the respective subparts of Section 2 of to Exhibit 3PA-B
   hereto; provided, however, that nothing in this agreement prohibits access necessary to convert a
   CDK Client to the use ofa Reynolds DMS. In addition, notwithstanding anything to the contrary
   in this 3PA Agreement, pending approval by CDK of the Application(s) that use the Managed
   Interface System or InfolQ Service("Pre-Approval Period") such Application(s) may continue to
   access the CDK Systems and, during this Pre-Approval Period: (a) such access will not
   constitute a violation of this 3PA Agreement or the Data Exchange Agreement; and (b) CDK
   shall not take any measures to block or otherwise disrupt Vendor's normal CDK Systems access.

        (d)      Vendor warrants to CDK that:(i) the Application(s) and subsequent new releases
  of the Application(s) will operate in accordance with their specifications; (ii) Vendor has the
  right and power to enter into this 3PA Agreement and to grant to CDK Clients all of the rights
  and licenses in the Application(s) as set forth in this 3PA Agreement; (iii) Vendor has obtained
  or shall obtain all necessary permission and licenses regarding data to offer the Application(s);
 (iv) Vendor shall provide all required notices to CDK Clients and shall obtain all required
  consents from CDK Clients, and (v) Vendor has all right and authority required to collect,
  disclose and use such information as described in the respective subparts of Section 2 of Exhibit
  3PA-B.

          CDK warrants to Vendor that: (i) the Managed Interface System or InfoIQ Service will
   operate in a manner consistent with the written specifications provided to Vendor; and (ii) CDK
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CONFIDENTIAL-Submitted in Lieu of Compulsory Process                                          REYREY0000093




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   has the right and power to enter into this 3PA Agreement and to grant to Vendor the rights and
   licenses in the Managed Interface Agreement or InfoIQ Service as set forth in this 3PA
   Agreement.

         NO OTHER WARRANTIES. EXCEPT AS SPECIFIED HEREIN, NEITHER CDK
   NOR VENDOR MAKES ANY OTHER WARRANTIES, CONDITIONS OR
   REPRESENTATIONS, EXPRESS OR IMPLIED, ORAL OR WRITTEN, REGARDING THE
   MANAGED INTERFACE SYSTEM OR INFOIQ SERVICE, THE APPLICATION(S), THE
   CDK SYSTEM OR ANYTHING ELSE AND HEREBY EXPRESSLY DISCLAIMS ALL
   OTHER EXPRESS AND IMPLIED WARRANTIES AND CONDITIONS, INCLUDING THE
   IMPLIED WARRANTIES OF MERCHANTABILITY, NON-INFRINGEMENT AND
   F1T'NESS FOR A PARTICULAR PURPOSE. CDK DOES NOT WARRANT THE
   OPERATION OF THE MANAGED INTERFACE SYSTEM OR INFOIQ SYSTEM WILL BE
   UNINTERRUPTED OR ERROR FREE.

         (e)      Vendor agrees (I) that it will, with respect to the Applications that will use the
  Managed Interface System or InfoIQ Service and within one hundred eighty (180) days
  following the date CDK approves the use of the Application(s) with the Managed Interface
  System or InfoIQ Service, access data on CDK Systems for use with such Application(s)
  exclusively through the Managed Interface System or InfolQ Service in the manner described on
  the respective subparts of Section 2 of Exhibit 3PA-B hereto and (H)that it will, with respect to
  the Applications that receive Data from the InfolQ Service, only access data on CDK Systems
  for use with such Applications through the InfolQ Service, unless in each case, as otherwise
  agreed to in writing by CDK or Vendor is receiving the data directly from the Vendor Client
  without the use of any third party service or application. Vendor agrees that it will not, with
  respect to the Application(s)(i) otherwise access, retrieve, license, or otherwise transfer any data
  from or to a CDK System (including, without limitation, pursuant to any "hostile interface") for
  itself or any other entity or (ii) contract with, or otherwise engage, any third party to access,
  retrieve, license or otherwise transfer any data from or to an CDK System. In furtherance ofthe
  foregoing agreement Vendor agrees: (i) as part of CDK's approval of the use of the
  Application(s) with the Managed Interface System or InfoIQ Service, the Vendor shall provide
  CDK with step-by-step instructions they plan to use to uninstall any Vendor code, data, files,
  directories or other structures on an CDK System prior to the installation of the Managed
  Interface System or InfolQ Service on such CDK System (or provide CDK with an uninstall
  script that will remove all of the Vendor's code, data, file, directories and any other structures
  resident on the CDK System) and demonstrate the de-installation is both complete and harmless
  to the CDK System and (ii) if, after cancellation of an CDK Client's use of the Managed
  Interface System or InfoIQ Service for use with the Application(s) (by such CDK Client or
  otherwise) any Vendor code, data, files, directories or other structure remains on such CDK
  Client's system CDK reserves the right to remove the foregoing and charge the Vendor CDK's
  then prevailing rate to so remove such items. If, after CDK's approval of the use of the
  Application(s) with the Managed Interface System or InfolQ Service, Vendor still continues to
  use any alternative integration methods for any CDK Client for an Application(s) Vendor shall,
  nonetheless, pay CDK under this 3PA Agreement as if such CDK Client was using the Managed
  Interface System or InfoIQ Service unless: (i) the data is received by Vendor directly from the
  Vendor Client without using any third party service, or (ii) the application data is vehicle
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   inventory data received from a third party authorized by the dealer.

          (f)    Vendor shall be solely responsible to provide, at its sole cost and expense, all
   necessary communications lines (and related equipment) from Vendor's computer servers,
   including procurement of ISP services deemed necessary to provide Vendor server connectivity
   to the Managed Interface System or InfoIQ Service site.

         (g)      Vendor acknowledges and agrees that it will only be able to use the Managed
   Interface System or InfoIQ Service with respect to Vendor Clients that use an CDK System that,
   at a minimum,(a)runs a webSuite2007(R4.5)or higher dealer management system on a Linux
   or ASP platform in the U.S. or Canada and (b)includes IP network connectivity with GetWired.

         (h)      Vendor agrees to provide CDK with a written list ofall Vendor Clients once
   every year after the date hereof.

         (i)      CDK agrees that(A)if Vendor acquires another application after the date hereof
  that is substantially similar in nature to one ofthe Applications set forth in Section 2 of Exhibit
  3PA-B hereto then CDK agrees, at Vendor's request, to add such new application to Section 2 of
  Exhibit 3PA-B hereto; provided, however, that(i)such new application shall otherwise be
  subject to all the terms hereof and (ii)the integration points provided for such new application
  shall be exactly the same as those provided to the similar existing Application (including,
  without limitation, if applicable, the same Pre-Defined Integration Points) and (B)if CDK enters
  into an agreement to provide a competing dealer management system provider with integration
  services with respect any application, and Vendor requests the same integration services with
  respect to a substantially similar Vendor application, then CDK agrees to add such application to
  Section 2ofExhibit 3PA-B hereto; provided, however, that(i) such new application shall
  otherwise be subject to all the terms hereofand (ii) the integration points provided for such new
  application shall be exactly the same as those provided to the competing application (including,
  without limitation, if applicable, the same Pre-Defined Integration Points). For the avoidance of
  doubt, nothing in this Section shall be deemed to require CDK to consent to the assignment of
  any agreement from a third party to Vendor.

         (j)       Vendor will inform CDK within one(1) business day ofa Vendor Client
  cancelling any Application by submitting a termination request to CDK for the corresponding
  Managed Interface System or InfoIQ Service components. Should a Vendor Client contact CDK
  and request the Managed Interface System or InfoIQ Service being provided to the Application
  be stopped immediately, CDK reserves the right to comply with this request and will notify
  Reynolds within one(1) business day ofthe request and CDK's compliance. Should Reynolds
  contact the Vendor Client and reach agreement to reinstate the Application within three(3)
  business days of receiving such notice from CDK,CDK will re-install / turn on the
  corresponding Managed Interface System or InfoIQ Service components for no additional
  installation fee(s). CDK will use commercially reasonable efforts to terminate billing for the
  month subsequent to the submission ofa termination request. CDK does not prorate the Monthly
  Fee(s).


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CONFIDENTIAL-Submitted in Lieu of Compulsory Process                                      REYREY0000095




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       2.     Vendor Indication of Approved Status

     (a)           Vendor may not make any use of the CDK name or any CDK logo without the
   prior written consent ofCDK.

     (b)         Vendor shall not represent in any way that its Application(s) are produced,
   developed, endorsed or otherwise affiliated with CDK.

      (c)         CDK agrees to (i) indicate on its interne site that Vendor is an approved
   integration vendor with respect to the Applications and (ii) provide a letter to Vendor that states
   Vendor is an approved integration vendor with respect to the Applications that Vendor may
   provide to Vendor Clients.

       3.      Fees; Payment

         (a)      No Fee Tem.. Until the earlier to occur of(i) the five(5) year anniversary ofthe
  3PA Effective Date or (ii) any material breach by Vendor under the Data Exchange Agreement
 (the "No Fee Period"), CDK shall not charge Vendor any fees under this Agreement; provided,
  however, that (i) if, at any time during the No Fee Period, the number of copies of the
  Applications licensed by Vendor Clients exceeds six hundred (600)(the "Cap") then Vendor
  shall pay CDK's then standard monthly rates for the services provided hereunder for each copy
  of an Application in excess of the Cap for such portion of the No Fee Period during which the
  number of Applications exceeds the Cap; and (ii) Vendor shall pay CDK's standard installation
  fee for any installations of an Application after the first six hundred (600) Application
  installations have been performed even if, at the time of such installation, the number of
  Applications then in use is below the Cap (although in that circumstance there would be no
  monthly fees owed pursuant to this subsection). For example and for the avoidance of doubt, it
  is agreed that if a Vendor Client licenses two separate Applications it shall count as two copies
  of the Applications toward the Cap. The standard CDK rates referred to in this Section 3(a) are
  set forth in Exhibit 3PA-C and, during the No Fee Term, may be increased only based upon the
  Consumer Price Index for All Urban Consumers(CPI-U): U.S. city average using the unadjusted
  12 month index for the month of the price change announcement. Thereafter, pricing may be
  increased once per year, in CDK's discretion, upon at least sixty (60) days written notice to
  Vendor.

         (b)     Fee Term. After the expiration of the No Fee Term, Vendor shall pay CDK's
  then standard fees at such time for the services provided hereunder for all copies of the
  Applications(and notjust for those in excess ofthe Cap). For the sake of clarity, Vendor agrees
  that, any changes made to the Pre-Defined Integration Points, or the addition of any Pre-Defined
  Integration Points, shall be at the fiirther expense of Vendor, including, without limitation,
  installation and monthly fees associated with such additional Pre-Defined Integration Points
 (whether during or after the No Fee Term). CDK and Vendor will agree on the associated
  additional fees at the time such modified/additional Pre-Defined Integration Point is provided by
  CDK. CDK will invoice Vendor for all such fees and taxes (if any)to Vendor. Invoices shall be
  payable within 30 days after the date of the applicable invoice from CDK. Vendor agrees to
  submit any disputes regarding any fees in writing to CDK within 60 days of the invoice for such
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  fees otherwise such dispute will be waived and such fees will be final and not subject to
  challenge. Invoices which are not paid by Vendor within the time required for payment shall bear
  interest at the rate of eighteen percent(18%) per annum compounded monthly or the maximum
  rate permitted by law, whichever is less. The fees set forth above are exclusive of sales, use or
  other applicable taxes (other than taxes based on CDK's net income), and Vendor agrees to pay
  any such taxes. After the expiration ofthe No Fee Term, CDK may increase the monthly fees at
  any time once per calendar year by providing Vendor with written notice ofsuch increase at least
  60 days prior to the effectiveness ofsuch price increase. If Vendor fails to timely pay an invoice
  hereunder then CDK may stop providing the InfoIQ Service and block access to the Managed
  Interface System or InfoIQ Service and the Data until such time as Vendor pays such past due
  amount.

         (c)      CDK shall have the right to have an independent auditor audit the books and
  records of Vendor for the sole purpose of verifying the amounts due and payable hereunder up to
  once per calendar year upon twenty days' notice to Vendor. Vendor shall maintain business
  records, books, account information, and related materials sufficient to permit such audit.
  Vendor's officers and/or directors shall cooperate fully in any such audit. The cost of such an
  audit shall normally be at CDK's expense; provided, however, that Vendor shall bear the cost of
  the audit if the audit reveals any underpayment that is greater than five percent (5%) of the
  amount actually due for any month for the period being audited. Vendor shall pay any shortfalls,
  plus interest at 18% annually, dating from the due dates in question, within thirty (30) days after
  notice from CDK of the shortfall. CDK shall refund Vendor any overpayments, plus interest as
  set forth above, dating from the date of overpayment, revealed by such audit.

         For one (1) year after the date of each license of the Application(s), Vendor shall
  maintain records showing the CDK Client's name and address, date of sale, installation address,
  and date of installation. If Vendor goes out of business or is otherwise unable to comply with the
  requirements of this Section, Vendor shall immediately provide CDK with copies of such
  records.

      4.       Term and Termination.

        (a) The term of this 3PA Agreement shall be for the period commencing on the date
  hereof and ending on fifth anniversary ofthe date hereof(the "Initial Term") and shall thereafter
  automatically renew for consecutive one year renewal periods (each a "Renewal Term") until
  terminated by either party with at least 90 days written notice prior to the end of the Initial Term
  or any Renewal Term. Upon expiration or termination of this 3PA Agreement in its entirety or
  with respect to an Application, CDK must continue providing the Managed Interface System and
  the InfoIQ Service (under the terms of this 3PA Agreement) for use with the Application(s)
  without changes in service until the conclusion of Vendor's then effective contract term with any
  relevant then existing Vendor Clients ("Phase Out Access"), provided that (a) the Phase Out
  Access shall not exceed two(2) years;(b) Vendor continues to pay all applicable fees; and (c)as
  a condition of Phase Out Access, Vendor must give CDK thirty (30) days prior written notice of
  the following:(i) a list ofthe Applications for which such Phase Out Access is needed;(ii) a list
  of Vendor Clients (including name, address, and information reasonably necessary to identify
  such Vendor Client) for which such Phase Out Access is needed, and (iii) the date of the
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    conclusion of the then effective contract term with the relevant Vendor Clients. During any
    Phase Out Access period, the Parties shall continue to perform under the terms of this 3PA
    Agreement in effect at the time of termination, except no new installations of the applicable
    Application(s) will be allowed. At the conclusion of any Phase Out Access period or
    immediately upon termination of this 3PA Agreement in its entirety or with respect to an
    Application if the Phase Out Access period is not invoked, Vendor must cease all use of the
    Managed Interface System and InfoIQ Service with respect to the relevant Application(s).
    Notwithstanding anything to the contrary herein, Phase Out Access is not available if this 3PA
    Agreement is terminated pursuant to the Assignment provision of Section 10 of this 3PA
    Agreement.

          (b)     Either party may terminate this 3PA Agreement if(i) the other party commits a
   material breach of any ofthe terms hereof that is capable of being cured and is not cured within
   30 days after receipt of notice from the other party of specifying such material breach (provided,
   however, that the cure period with respect to Vendor's breach of its payment obligations shall
   only be 10 days), or (ii) the other party commits a material breach of any of the terms hereof that
   is not capable of being cured and fails to permanently terminate the conduct causing the breach
   immediately after receiving notice specifying such material breach.

          This Agreement shall automatically terminate if the RCI Agreement between Vendor and
   CDK of even date hereof terminates for any reason unless CDK intentionally and in bad faith
   causes such termination ofthe RCI Agreement.

           In addition, after the Initial Term, either party may terminate this Agreement in its
   entirety or with respect to an Application at any time for any reason, or no reason at all, with at
   least one hundred eighty(180)days' written notice to the other party.

         (c)       CDK may terminate this 3PA Agreement, the InfoIQ Service, and access to the
   Managed Interface System and InfoIQ Service immediately upon written notice to Vendor in the
   event that CDK reasonably determines that the continued operation of this 3PA Agreement
   violates, or could violate, any applicable federal, state or local law, rule or regulation including
   any "privacy" or data security laws.

          (d)     If a CDK Client objects to CDK's provision of its Managed Interface System
   hereunder or the InfoIQ Service CDK may terminate the access to the Managed Interface System
   or its provision of the InfoIQ Service for the specific Application(s) with respect to such CDK
   Client immediately upon written notice to Vendor.

         (e)       CDK may terminate this 3PA Agreement if CDK elects to "sunset" the Managed
   Interface System or InfoIQ Service on a general basis (i.e., with respect to third party participants
   generally, and not only with respect to Vendor)and does not offer any similar service or program
   to any other third party vendors.

         (f)      Except as otherwise specifically set forth herein, Vendor may not, after
   termination of this 3PA Agreement, continue to use the Managed Interface System or InfoIQ
   Service for any purpose whatsoever related to an CDK System or an CDK Client.
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           5.      Indemnification.

        (a)     Except as provided in this Section, all Data is transferred to Vendor in "AS IS,
  WHERE IS" condition. No warranty whatsoever as to the content, condition of, or usability of
  the Data is made by CDK,EXCEPT THAT CDK REPRESENTS AND WARRANTS THAT IT
  WILL NOT INTENTIONALLY INTRODUCE ANY BUGS, ERRORS, OR VIRUSES INTO
  THE DATA AND THAT THE DATA SUBMITTED TO VENDOR WILL NOT BE
  CHANGED, ALTERED, OR MODIFIED FROM THE FORM AND CONTENT RECEIVED
  BY CDK, EXCEPT FOR NORMAL CDK EDITING PROCESSES AS MAY BE AGREED
  UPON BY CDK AND VENDOR. The Managed Interface System and InfolQ Service are
  provided on an "AS IS, WHERE IS" basis. CDK makes no representations or warranties to
  Vendor or any CDK Clients with respect to the Managed Interface System or InfoIQ Service.
  Without limiting the foregoing, CDK EXPRESSLY DISCLAIMS THE IMPLIED
  WARRANTIES OF MERCHANTABILITY, INFRINGEMENT AND FITNESS FOR A
  PARTICULAR PURPOSE. CDK DOES NOT WARRANT THAT THE MANAGED
  INTERFACE SYSTEM WILL EIE AVAILABLE AT ALL TIMES, THAT IT WILL MEET
  THE REQUIREMENTS OF VENDOR OR THAT ITS OPERATION WILL BE
  UNINTERRUPTED OR ERROR FREE.

         (b) Each Party ("Indemnitor") must defend, indemnify and hold harmless the other party,
  its affiliates and their employees, successors and assigns ("Indemnitees") against all damages,
  losses, costs, expenses (including reasonable attorneys' fees, costs and expenses) and other
  liabilities arising out of any claims, demands, suits, or causes of action by third parties, arising
  out of or in connection with this 3PA Agreement to the extent that such damages, losses, costs,
  expenses and other liabilities result or are claimed to result in whole or in part from: (1) any
  breach of this 3PA Agreement by Indemnitor, its affiliates or their employees or agents; (ii) the
  violation by Indemnitor, its affiliates or their employees or agents of applicable law or regulation
  in connection with the data access and data extraction described in this 3PA Agreement;(iii) any
  access by Indemnitor, or its affiliates or their employees or agents to lndemnitee's proprietary
  hardware and/or software facilitated pursuant to this 3PA Agreement for any purpose falling
  outside the scope of this 3PA Agreement;(iv) Indemnitor's or its affiliates' or their employees'
  or agent's failure to obtain the rights and consents necessary for Indemnitee to gain access to
 (and extract) Data pursuant to this 3PA Agreement; and (v) any publication, breach of
  confidentiality, dissemination, conversion, misappropriation or other use of any Data facilitated
  by this Agreement by Indemnitor, or its affiliates or their employees or agents in a manner (a)
  not authorized by the relevant Vendor Client, or(b)in violation of relevant law.

        6.    Limitation of Liability. EXCEPT FOR A CLAIM BASED SOLELY UPON
   BREACH OF THE CONFIDENTIALITY PROVISIONS OF SECTION 8, IN NO EVENT
   WILL EITHER PARTY BE LIABLE TO THE OTHER PARTY OR ITS AFFILIATES,
   SUCCESSORS OR ASSIGNS FOR ANY INCIDENTAL, CONSEQUENTIAL DAMAGES
   INCURRED BY SUCH PERSONS (INCLUDING, WITHOUT LIMITATION, ANY LOST
   REVENUE OR LOST PROFITS) OR FOR SIMILAR DAMAGES, EVEN IF ADVISED OF
   THE POSSIBILITY OF SUCH DAMAGES (IT BEING AGREED THAT THIRD PARTY
   CLAIMS FOR INCIDENTAL OR CONSEQUENTIAL DAMAGES AGAINST THE OTHER
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    PARTY WOULD CONSTITUTE DIRECT DAMAGES INCURRED BY THE OTHER
    PARTY). EXCEPT FOR WILLFUL MISCONDUCT BY A PARTY, IN NO EVENT WILL
    EITHER PARTY BE LIABLE TO THE OTHER PARTY OR ITS AFFILIATES,
    SUCCESSORS OR ASSIGNS FOR ANY PUNITIVE OR EXEMPLARY DAMAGES.

            7. Laws and Governmental Regulations; Relationship of Parties. Each party shall
    be responsible for compliance with all laws and governmental regulations affecting its respective
    business, and neither CDK nor Vendor shall have any responsibility relating to the other party's
    responsibility therefor, including, without limitation, advising the other party of its
    responsibilities in complying with any laws or governmental regulations affecting its business.

          8.       Confidentiality. Each party to this 3PA Agreement agrees that the terms of
   confidentiality in the Data Exchange Agreement shall govern the exchange of confidential
   information under this 3PA Agreement. However, notwithstanding anything to the contrary in
   the Data Exchange Agreement, Data, as defined herein, is specifically excluded from the
   definition ot'Contidential Information.

           9.    Notices. All notices shall be in writing and shall be delivered or sent by
   recognized courier or registered or certified mail, return receipt requested, to the addresses
   indicated below or to such other addresses as the parties shall specify by notice given pursuant
   hereto:

                             ifto CDK,to:

                                     CDK Global, LLC
                                     1950 Hassell Road
                                     Hoffman Estates, IL 60169
                                     Attn: Group President

                             with a copy to:

                                     Attn: General Counsel


                             ifto Vendor,to:

                                     The Reynolds and Reynolds Company
                                     One Reynolds Way
                                     Kettering, OH 45430

                                     Title: VP, Data Services


                            with a copy to:

                                     Attn: Legal Department
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           10.     Assignment.       Neither party may assign any of its rights or delegate any of its
   duties under this Agreement without the prior written consent ofthe other party hereto; provided,
   however, that such consent shall not be required for (i) any assignment to an affiliate of such
   party as part of a corporate reorganization of such party or (ii) any assignment made as part of a
   sale of the majority of the assets or equity securities of such party as long as the acquirer (A)
   does not, prior to the acquisition, sell any application programs or services that compete with the
   non-assigning party and(8)is not, prior to the acquisibon. affiliated with an entity that sells any
   application programs or services that competing with the non-assigning party. This Section shall
   be deemed, without limitation, to apply to any direct or indirect change in the control of either
   party including, without limitation, pursuant to any merger, acquisition, consolidation or other
   corporate restructuring in which it participates. Any attempted assignment in violation of this
   provision shall be void and shall be grounds for termination after 30 days notice. This Agreement
   shall be binding upon and inure to the benefit ofthe parties' respective successors and assigns.

           11.      General.

         (a)     This 3PA Agreement shall become valid and binding upon the parties upon
   execution and delivery of this 3PA Agreement by the duly authorized signatories of CDK and
   Vendor.

         (b)     This 3PA Agreement shall not be changed, modified or amended except by a
   writing signed by both parties, and this 3PA Agreement may not be discharged except by
   performance in accordance with its terms.

          (c)    This 3PA Agreement sets forth the entire agreement ofthe parties as to the subject
   matter hereof and supersedes all existing agreements and all other oral, written or other
   communications between them concerning its subject matter, including but not limited to any
   and all prior or existing contracts related to integration to CDK Systems for any of the
   Applications. Without limiting the generality of the foregoing, it is specifically agreed that this
   Agreement supercedes that certain ADP Partners Program Agreement between ADP, Inc. and
   KeyTrak., Inc.; and InfoIQ Service Agreement between Digital Motorworks, Inc. and HCD
   Software LLC. There are no warranties, representations or agreements other than those set forth
   in this 3PA Agreement.

         (d)      If any provision of this 3PA Agreement is held to be invalid, illegal, or
   unenforceable, the validity, legality or enforceability of the remaining provisions shall not be
   affected or impaired thereby.

         (e)      The headings in this 3PA Agreement are intended for convenience of reference
   only and shall not affect its interpretation.

         (f)      Confidential Binding Arbitration. In the event of any dispute, claim, question
  or disagreement arising from or relating to this 3PA Agreement or an alleged breach thereof
 ("Dispute"), the Parties agree that all Disputes shall be submitted to confidential binding
  arbitration in accordance with the then applicable commercial rules of the American Arbitration
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   Association ("AAA"). Notwithstanding anything to the contrary in this 3PA Agreement or the
   AAA Rules, the Parties agree that arbitration under this Section 11(f):(a) shall be governed by
   the Federal Arbitration Act exclusive of any state arbitration laws; (b) shall be before a single
   neutral arbitrator who is a licensed attorney with prior experience as an arbitrator; (c) shall be
   conducted in Nashville, TN ; and (d) shall be conducted pursuant to a confidentiality agreement
   that provides at a minimum that the arbitration and all documents and pleadings exchanged in
   connection therewith shall be held confidential and used only for purposes of the arbitration,
   except that a Party may nevertheless: (i) seek to reduce the binding arbitration award to a
  judgment in court;(ii)seek enforcement of the award pursuant to the Federal Arbitration Act and
   this 3PA Agreement; and (iii) disclose information regarding the arbitration as required by law
  (e.g., to auditors or regulatory agencies).

            (g) Arbitration Fees. Aside from filing or other fees required to initiate the
   arbitration, all arbitration fees will be split evenly between the Parties unless and until an award
   is made by the arbitrator regarding arbitration fees. If a Party does not pay its respective share of
   arbitration fees, then all claims (including counterclaims) of the non-paying Party shall be
   dismissed by the arbitrator or AAA,and the non-paying Party shall not be permitted to bring any
   further claims in the arbitration for affirmative relief. The non-paying Party may still participate
   in the arbitration to defend claims brought against it.

           (h) Temporary Injunctive Relief for IP Disputes. Notwithstanding anything to the
   contrary contained in this 3PA Agreement, however, if a dispute arises that relates to
   misappropriation of proprietary, confidential or trade secret information or other intellectual
   property; or a breach ofthe Confidentiality or Data Security provisions ofthis Agreement and/or
   its Exhibits ("IP Dispute"), a Party, at its election may seek Temporary Injunctive Relief from a
   court of competent jurisdiction related exclusively to the IP Dispute. "Temporary Injunctive
   Relief' means only a temporary restraining order and/or a temporary injunction. A claim for
   Temporary Injunctive Relief brought in court may not be combined with: (a) a request for any
   other type of relief whether legal or equitable; or (b) any Dispute other than an IP Dispute. All
   other Disputes, including whether a permanent injunction shall issue, are to be arbitrated
   concurrently with any court action relating to Temporary Injunctive Relief.

           (i)      This 3PA Agreement shall be governed by the laws ofthe State of Illinois.

          (j)      No failure or delay on the part of either party to this 3PA Agreement to fully
   enforce its rights hereunder shall be construed as a waiver by such party of any default hereunder
   or acquiescence therein, nor shall any failure to exercise such right preclude any future exercise
   of such right. All rights and remedies under this 3PA Agreement shall be cumulative and not
   exclusive of any other rights or remedies otherwise available.

          (h)      This 3PA Agreement may be executed in one or more counterparts.

         (i)       Each of the parties to this 3PA Agreement is acting only as an independent
   contractor and assumes full responsibility for each of its employees and shall be solely
   responsible for the payment of compensation to its personnel. This 3PA Agreement does not
   constitute either party hereto as the agent or legal representative of the other party and does not
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   create a partnership or joint venture between them.

          (j)      All defined terms used in this 3PA Agreement shall be deemed to refer to the
   masculine, feminine, neuter, singular and/or plural, in each instance as the context and/or
   particular facts may require. Use ofthe terms "hereunder", "herein", "hereby", and similar terms
   refer to this 3PA Agreement.

         (k)     Each provision of this 3PA Agreement that would by its nature or terms survive
   any termination of this 3PA Agreement shall survive any termination of this 3PA Agreement,
   regardless ofthe cause.


           IN WITNESS WHEREOF, the parties hereto have executed this 3PA Agreement as of
   the first date written above.

   THE REYNOLDS AND REYNOLDS CO.                            CDK GLOBAL,LLC
   DEALER COMPUTER SERVICES,INC.                            DIGITAL MOTORWORKS,
   UNIVERSAL COMPUTER SYSTEMS
   HOLDING,INC.


   By:     P.           CaABC/A-NAO.M.-

   Title: ehoetetriie-,      /eire2                         Tit e:    vfi

   Date:      A-117
                 ,  45-'                                    Date:




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                                                  Exhibit 3PA-A

                                 Description of Managed Interface System

   The Managed Interface System uses hardware and software components that allow Vendor to
   create standard data messages in SOAP format to request data from, or convey data to, a CDK
   controlled Internet based server(the "Managed Interface Server"). CDK then uses(a) network
   connectivity between CDK Systems and the Pre-Defined Integration Points,(b)an open
   application program interface and data objects resident on CDK Systems that, collectively,
   provide access to the data residing on CDK Systems, and (c)standard web services, including
   web pages and web scripts, to move the dealer's data to and from the CDK Systems to the
   Managed Interface Server and on to Vendor. Vendor acknowledges and agrees that the Pre-
   Defined Integration Points included in the Managed Interface System requires knowledge ofthe
   CDK application release level. Vendor acknowledges and agrees that bulk extracts of data may
   be done only between the hours of lOpm and Sam Central Time. Vendor acknowledges and
   agrees that extracts ofdata may be done no more than every 15 minutes from a CDK client and
   will work with CDK to ensure CDK System responsiveness is not impeded through integration.
   Notwithstanding the foregoing, it is agreed that the interfaces initially used to provide the Data to
   the Key Tracking Applications shall be E Integration Points instead ofPre-Defined Integration
   Points. Vendor agrees that it shall switch to the use ofPre-Defined Integration Points with
   respect to the Key Tracking Applications within 180 days after written notice from CDK to
   switch to Pre-Defined Integration Points.




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                                    Description ofInfoIQ Service

   infolQ is a service whereby DMIdirectly or Indirectly collects(by accessing,poliingo extracting, downloading)
  informationfrom automotive and/or motor vehicle dealerships chosen by DMI's customer. The InfolQ service also
  reformats, szggregyve,, compiles and/or enhancessuch information using DMI's proprietor.),InfolQ technology
                        ,
  prior to &lively to a customer.




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                                                  Exhibit 3PA-B


                Description ofData Access; Applications Served by Data Access; Data


   Section I: List ofThird Party Access utilized

    Extract Inventory Vehicles — Batch*
    Extract Service Appointment — Batch*
    Extract Closed F&I Sales Deals — Batch*
    Extract Closed Repair Orders — Batch*
    Extract Employee Data — On Demand**
    Extract Vehicle Inventory — On Demand**
    Extract Service Sales — On Demand**

    *Batch = InfoIQ Service

    **On Demand = Pre-Defined Integration Point(s)

   Section 2: Applications and Integration

   I. Applications Served
       Vendor has been approvedfor the product called Naked Lime Marketing in the CDK
      Applicenrion Category ofCustomer lielarketing/Fallowup.


   Managed Marketing Services(MMS)by Naked Lime Marketing(NLM)provides a full-service
   marketing solution, powered by the industry's best intelligent marketing database. Each dealer is
   assigned its own Marketing Analyst who helps dealers accomplish the following marketing
   functions:

       * Builds customer touch-points branded to the dealership.

      • Advises on successful marketing campaigns.

       4   Designs emails for delivery to the customer's inbox.

      • Sends relevant and targeted messages to customers.

       * Reports results monthly.


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  MMS converts the DMS database into a superior marketing engine with verified and appended
  household data from numerous sources, including Polk, USPS, VIN Title Transfer, and the
  dealer's OEM.

  Integration utilized

       1) Extract Closed Repair Orders — Batch daily

      2) Extract Historical Service Data —Batch upon dealer setup

       3) Extract Closed F&I Sales Deals —Batch daily

      4) Extract Historical Sales Data — Batch upon dealer setup

       5) Extract Vehicle Inventory — Batch daily

       6) Extract Service Appointments — Batch daily

  . Application Served
  2
     Vendor has been approvedfor the product called Naked Lime Web in the CDK.tpplication
    Category ofDealer Website

   Naked Lime Web creates a unique dealership website using an award-winning SE0 platform,
   which includes the following features and benefits:

      • Flexible template designs.

       a   Easy-to-use dealer tools.

       *   Award-winning SE0 platform.

       s Online specials management

      • Vehicle videos and pictures loaded on the site.

      • Call tracking improves leads and records results.

       4 Online service appointment makes the service department available 24/7.
       .

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    A flexible back-end tool makes updates and changes simple and consumer interactive features
    help build brand image and loyalty before customers ever visit the dealer.

   Integration utilized

        1) Extract New and Used Vehicle Inventory — Batch Daily

   3. Application Served
       Vendor has been approvedfor the product called ReminderTRAX in the CDK Application
      Category ofCustomer MarketingiFollowup.

   ReminderTRAX from Reynolds Document Solutions is a complete service reminder program
   that helps dealers increase and more effectively manage its service business. Benefits of
   RemInderTRAX Include the following:

      • Easily communicate with customers and ensure service messages are timely and
        professional with expertly designed letters and reminder postcards.

           Effectively follow-up on service recommendations and gain a powerful new revenue
           source for the dealership with Recommended Service Letters, which have an average
           87:1 return on investment.*

      • Automatically predict the date each customer will be due for service, based on their
        service history and mileage, with the ReminderTRAX Smart Scheduler.

      • Better manage your business with online ROI reporting that provides an accurate picture
        ofcustomer retention and clearly communicates monthly ROI.


   Integration utilized

       1) Extract Closed Repair Orders —Batch daily

      2) Extract Historical Service Data — Batch upon dealer setup

      3) Extract Closed F&I Sales Deals — Batch daily

      4) Extract Historical Sales Data— Batch upon dealer setup

      5) Extract Vehicle Inventory — Batch daily

      6) Extract Service Appointments — Batch daily


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   . Application Served
   4
     Vendor has been approvedfor the product called iMakeNews Loyalty Driver in the CDK
     Application Category ofCustomer Marketing/Followup.


  Loyalty Driver® is a turnkey newsletter service that combines industry-specific expertise,
  original content, and exceptional service with behavioral targeting. Loyalty Driver provides
  articles coupled with customer-specific promotions striking the balance between "hard sell" and
  "soft sell".

   The Loyalty Driver editorial staff consistently provides timely, informative content with a Client
   Services group managing the production, optimization and distribution ofthe newsletters. An
   experienced operations staff monitors and adjusts for deliverability. Loyalty Driver combines
   original and relevant content with behavioral data on your audience, giving you the unique
   ability to understand when they are in-market for your product and services allowing a dealer to
   quickly and easily create and send additional promotions to those prospects.

   Integration utilized

       I) Extract Closed Repair Orders — Batch daily

       2) Extract Historical Service Data— Batch upon dealer setup

       3) Extract Closed F&I Sales Deals — Batch daily

       4) Extract Historical Sales Data — Batch upon dealer setup

       5) Extract Vehicle Inventory — Batch daily

   5. Application Served
      Vendor has been approvedfor the product called iMakeNews Loyalty Premier in the CDK
      Application Categery ofCustomer Mariketing/Followup.


   Loyalty Driver Premier® provides a comprehensive, targeted campaign manager that combines
   behavioral data from the Loyalty Driver Newsletter with DMS data to deliver the right message
   to the right consumer at the right time

   Use DMS data to create targeted campaigns throughout the car owner lifecycle to drive
   incremental sales and service revenue. Example campaigns include post-sale accessory sales,
   lease-renewal campaign and extended warranty sales.
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    Use DMS plus Loyalty Driver® behavioral data to target individual customers based on their
    car/dealer history and future car interests. For example, find customers via DMS who currently
    own a minivan, and have read articles about crossover vehicles. Use data to create targeted
    emails within days ofreading the articles, and sell more.

    Identify prospects showing purchase intent(newsletter data)that are not current customers(do
    not appear in DMS data), and target them specifically with incentives to convert them into
    customers.

    Use behavioral data(who opened but did not transact) from one campaign to re-target these
    customers two or more times with variants ofthe same basic offer. Gradually increase
    communication to keep active prospects engaged.

    Integration utilized

        1) Extract Closed Repair Orders — Batch daily

        2) Extract Historical Service Data — Batch upon dealer setup

       3) Extract Closed F&I Sales Deals —Batch daily

       4) Extract Historical Sales Data — Batch upon dealer setup

       5) Extract Vehicle Inventory — Batch daily

   6
   . Appliration Served
     Vendor has been approvedfor the product called XTreamService in the CDK Application
     Category ofCustomer Marketinerdlowup.


   XtreamService offers dealerships authorized dealership personnel password-protected access to
   mine its database, allowing dealership staffto determine how many customers they have across
   multiple criteria including equity, transaction type, payment,

   XtreamService integrates easily into the daily activities ofa dealership eliminating "down time"
   for dealership staff. XtreamService creates activity by identifying opportunities from the service
   drive and current factory incentives. The leads generated from this module show the date;time,
   and advisor for the customer so you can identify and prospect the shown opportunity. The key to
   success from the service drive is someone getting in front ofthe customer. It is suggested that the

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  best person for this job is either a Sales Manager or the previous Sales Associate if Management
  feels he or she is capable of handling the lead.

  XtreamSales targets existing customer database and generates a list ofqualified leads for sales
  opportunities using Xtream. This module is a simple but commanding database-mining tool that
  gives you the power to identify the best and most profitable customers from your database.
  XtreamSales allows the dealership the ability to target a specific vehicle or an individual
  customer using a myriad of parameters that are easily integrated with your database. The
  customer database is the most valuable resource a dealership possesses. Mining your database
  the `Xtrearn" way maximizes customer value through conversion, retention and repeat sales, all
  of which is done under your roofonly.

  Integration utilized

      1) Extract Closed Repair Orders — Batch daily

      2) Extract Historical Service Data — Batch upon dealer setup

      3) Extract Closed F&I Sales Deals — Batch daily

      4) Extract Historical Sales Data —Batch upon dealer setup

      5) Extract Vehicle Inventory — Batch daily

      6) Extract Service Appointments — Batch daily

  . Application Served
  7
     Vendor has been approvedfor the product called Who's Calling AIMData Advantage in
    the CDK Application Category ofCustomer Marheting/Fallowup.

  Who's Calling A1MData Advantage provides multi-channel marketing solutions to consumers on
  behalf ofautomotive retailers. It allows automotive retailers to maximize profit and marketing
  results by identifying a target audience, managing the delivery ofcustomer messages, providing
  detailed reports that measure the success ofcommunications, and serving as the dedicated source
  for all advertising needs.

  Integration utilized

       1) Extract Closed Repair Orders — Batch daily

      2) Extract Historical Service Data — Batch upon dealer setup
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        3) Extract Closed F&I Sales Deals —Batch daily

        4) Extract Historical Sales Data — Batch upon dealer setup

        5) Extract Vehicle Inventory— Batch daily

        6) Extract Service Appointments —Batch daily

    8. Application Served
        Vendor has been approvedfor theproduct called Key lUgister in the CDK Application
       Category ofKey Tracting.

    Key Register software manages the location ofeach vehicle in the system as well as parking lot
    locations. When a user selects a vehicle, they are informed of its exact location. Because the Key
    Register system keeps track ofthe layout of each space on the lot, the system will also provide
    users the key tags to any vehicle that may be blocking the selected vehicle.

   Key Register is a versatile key security system. The system offers networking options and is
   capable ofsecuring up to 240 keys per drawer.

   Along with accurate key tracking and asset management, Key Register offers several features
   that other systems do not. With the optional Security Cam recording any key movements, the
   Key Register system will be the most secure system available.

   The Key Register software will pin-point the location of a vehicle, despite being moved by
   several different sales reps.

   DataLogix provides Key Register customers with the ability to import information for a specific
   vehicle into the Key Register system.

   Key Register's fingerprint recognition increases the speed of system use. Innovative biometric
   authentication technology provides ultra secured inventory management.

   Key Register offers the option of purchasing the Driver's License Scanner. Prospect information
   is quickly obtained by simply scanning the prospect's license.

   Key Register software manages the location ofeach vehicle in the system as well as parking lot
   locations, and will provide users the key tags to any vehicle that may be blocking the selected
   vehicle.

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   Integration utilized - Current

        1) Extract Vehicle Inventory — On demand

       2) Extract Employee Data — On demand

   . Application Served
   9
     Vendor has been approvedfor the product called Key Vault in the CDK Application
     Category ofKey Tracking.

   KeyVault provides the automotive industry with the highest quality and most advanced key
   control systems on the market. Designed to give dealerships the ability to maintain
   accountability of keys at all times, KeyVault combines extensive reporting features with the
   latest software to create verifiable audit trails and a level of key control that is unmatched.

   KeyVault's touch screen technology allows employees to quickly and efficiently make
   transactions in the KeyVault system. With a touch screen, a login and password can be entered
   much faster and more effectively than with a keyboard. Employees can then quickly get the key
   to their prospect.

   The KeyVault solution is a versatile key security system. By utilizing touch screen monitors and
   biometric fingerprint readers, KeyVault gives users unparalleled security and quick system
   access.

   KeyVault's networking options, real-time reports and web-management capabilities make it ideal
   for dealerships looking to improve accountability and reduce vehicle theft and unnecessary
   rekeying costs. KeyVault provides numerous features with the scalability to connect multiple
   machines. Whether the system is being used for a sales representative trying to pull a key for a
   hot demo or a service representative moving cars, KeyVault is easy to use.

   Integration utilized

        1) Extract Vehicle Inventory — On demand

       2) Extract Employee Data — On demand




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   10. Application Served
        Vendor has been approvedfor the product called KeyTrak - Service in the CDK
       Application Category ofKey Tracking.

   KeyTrak offers a total business solution to effectively and efficiently control assets. With
   industry specific software and multiple drawer sizes and configurations, KeyTrak has the
   flexibility to match the needs of any operation, large or small. Understanding and controlling
   your keys, property and personnel, is essential to the success ofany business.

   With KeyTrak's computerized drawer and iButton tag technology, the need to scan a tag or make
   a log entry after a key is removed from the system is eliminated. The moment a key or asset is
   removed from the drawer, a verifiable audit trail is automatically created, protecting your
   business and employees from liability and providing peace of mind.

   A flexible back-end tool makes updates and changes simple and consumer interactive features
   help build brand image and loyalty before customers ever visit the dealer.

   Integration utilized

       1) Extract Service Sales — On demand

       2) Extract Employee Data;- On demand

   11. Application Served
       Vendor has been approvedfor the product called KeyTrak - Inventory in the CDK
       Application t'aregoty ofKey Tracking

   KeyTrak offers a total business solution to effectively and efficiently control assets. With
   industry specific software and multiple drawer sizes and configurations, KeyTrak has the
   flexibility to match the needs ofany operation, large or small. Understanding and controlling
   your keys, property and personnel, is essential to the success ofany business.

   With KeyTrak's computerized drawer and iButton tag technology, the need to scan a tag or make
   a log entry after a key is removed from the system is eliminated. The moment a key or asset is
   removed from the drawer, a verifiable audit trail is automatically created, protecting your
   business and employees from liability and providing peace of mind.

   A flexible back-end tool makes updates and changes simple and consumer interactive features
   help build brand image and loyalty before customers ever visit the dealer.


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   Integration utilized

        1) Extract Vehicle Inventory —On demand

       2) Extract Employee Data — On demand


   Section 3: Data Specifications

   Connectivity instructions and data elements are described in thefollowing Pre-Defined
   Integration Point Product Guides(Note: ifany customization is needed please document in
   this section):
      • Third-Party Access(3PA)Developer's Guide — Document Version 1.12;
      • Vehicle Extract Predefined Integration Package(PIP) — Product Version 2.6,
           Document Version 1.6;
      • Employee Extract Predefined Integration Package(PIP)— Product Version 1.0,
           Document Version 1.0;
      • Service Sales Extract Predefined Integration Package(PIP) — Product Version 2.6,
           Document Version 1.7.

   Data elementsfor Batch interfaces as designated in this Exhibit 3PA-B are detailed in the
   "RR Prod Field Mapping Final.xlsx"document.




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                                                        Exhibit 3PA-C

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   *Prices are subject to the CPI price increases referenced in Section 3(a)of this 3PA Agreement beginning after the I
   year anniversary ofthe 3PA Effective Date.

  " After the No Fee Term,each Application will be subject to annual minimums equaling the greater of:(a)one-half
  ofthe then current annual monthly fees, or(b)$2,500.




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                                 REYNOLDS INTERFACE AGREEMENT

 This Reynolds Interface Agreement("Rd1 Agreement") is entered into as ofthe latest signature date of
 the parties below ("RCI Effective Date") by and between The Reynolds and Reynolds Company,
 Dealer Computer Services, Inc., Universal Computer Systems Holding, Inc. and their respective
 affiliates (collectively,"Reynolds") and CDK Global, LLC,and its affiliates (collectively,"CDK")
(Reynolds and CDK collectively, "the Parties"). The Parties for good and valuable consideration agree
 as follows:

 This RCI Agreement is entered concurrently with the Data Exchange Agreement between the Parties
("Data Exchange Agreement"). With respect to the matters covered by this RCI Agreement, the terms
 ofthis RCI Agreement are in addition to the terms ofthe Data Exchange Agreement. However, in the
 event ofa conflict between this RCI Agreement and the Data Exchange Agreement with respect to the
 matters covered by this RCI Agreement, this RCI Agreement and its exhibits shall control. Capitalized
 terms not otherwise defined herein shall have the meaning assigned to them in the Data Exchange
 Agreement.

 1. DEFINITIONS

            Certification — Upon completion ofReynolds testing and the Joint Pilot, an Interfaced
            Product will be declared ready for GCA by Reynolds, and Reynolds shall provide written
            notification to CDK that CDK's Interfaced Product has been certified under the Reynolds'
            Certified Interface Program.

     1.2.   Confidential Information — A Party's trade secrets and other confidential research,
            development, and commercial information that is disclosed to the other Party pursuant to or
            relating to this Agreement. For the avoidance of doubt, Confidential Information includes
            but is not limited to this RCI Agreernent, its Exhibits, and all oftheir terms and any
            information relating to the Reynolds Interface, the implementation ofthe Reynolds Interface,
            the CDK Application products, the Interfaced Product, and the Reynolds System(s).
            Confidential Information excludes information that:(1)was publicly available at the time it
            was disclosed to the Receiving Party, or which, through no act or omission ofthe Receiving
            Party, becomes publicly available before the Receiving Party discloses it to a third party;(2)
            the Receiving Party already rightfully possessed free of any obligation ofconfidentiality
            before the Party Disclosing Party disclosed it to the Receiving Party;(3)the Receiving Party
            rightfully receives without obligation of confidentiality from a third party who is entitled to
            disclose such information without breaching an obligation ofconfidentiality;(4)the
            Receiving Party develops independently without using any ofthe Disclosing Party's
            Confidential Information; or(5) is identified in writing by the Disclosing Party as not
            Confidential Information. Confidential Information excludes Reynolds System Output and
            Input.

     1.3.   Disclosing Party — The Party who discloses Confidential Information to the other Party.

     1.4.   GCA — General Customer Availability. The date which Reynolds declares the Interfaced
            Product certified and ready for implementation.




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     1.5. Interfaced Product(s) — The CDK Application product(s) identified in Exhibit RCI A
          (including all subparts) and described in Exhibit RCI B (including all respective subparts),
           which are licensed by CDK to a Reynolds Dealer. For the avoidance of doubt, this RCI
           Agreement applies only to those CDK Applications identified in Exhibit RCI A (including all
           subparts) unless otherwise agreed in writing by both Parties. The Interfaced Products must
           comply with the Reynolds Interface specifications, or incorporate the Reynolds Interface so
          that CDK Application products will meet CDK's obligations under this Agreement and will
          function as described in the respective subparts ofExhibit RCI B,including, but not limited
          to, displaying and/or integrating the Reynolds System Output and/or Reynolds System Input
           accurately and not causing any errors or conflicts with the Reynolds System.

     1.6. Interface Test — Testing the Interfaced Product to determine if it properly displays the
          Reynolds System Output and/or properly delivers the Reynolds System Input, complies with
          the Reynolds Interface and does not conflict with the operation ofthe Reynolds System.

     1.7.   Joint Pilot — One(1)or more Reynolds Dealers provided by CDK,to pilot test the Reynolds
            Interface and the Interfaced Product in collaboration with CDK. Pilot selection and number
            of pilots will be at the sole discretion of Reynolds.

     1.8.   Non-Approved Access — Any direct or indirect access of the Reynolds System for the
            benefit ofthe Interfaced Products by CDK or an agent acting on behalf of CDK other than
            with Reynolds' prior written consent. Non-Approved Access specifically does not include
            access for the benefit ofthe Interface Products necessary to convert a Reynolds Dealer to the
            use ofa CDK DMS.

     1.9.   Non-Approved Use — CDK utilization ofthe Reynolds Interface(s) and/or Reynolds System
            Output with any product or service other than for the benefit ofthe Interfaced Product(s) in
            accordance with this RCI Agreement. Neither (i)the use of Reynolds Output Data received
            directly from a Reynolds Dealer without the use of a third party application or service nor (ii)
            any use of vehicle inventory data shall be considered a Non-Approved Use.

     1.10. Receiving Party — The Party receiving Confidential Information ofthe Disclosing Party.

     1.11. Reynolds Dealer or Qualified End User — A single automobile and/or truck dealership
           store and application area (or branch) combination (and its associated employees) using a
           Reynolds DMS.

     1.12. Reynolds Interface(s) — Processes developed by Reynolds, which include, but are not
           limited to, software, hardware, specifications, Operational Data documentation (i.e., formats,
           elements, etc.), security codes, and access methods, designed to provide:(i) application
           providers with the ability to access, send and receive data to/from Reynolds Dealers through
           Reynolds Systems and (ii) Reynolds Dealers with the ability to access and receive data
           provided by application providers and to send and receive data to/from such application
           providers through the Reynolds Systems.




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     1.13. Reynolds System(s) — Any Reynolds product, service, application, or Reynolds DMS sold
           and marketed by Reynolds in North America.

     1.14. Reynolds System Input— The data transferred into the Reynolds System from CDK's
           Interfaced Product through the use ofthe Reynolds Interface for purposes other than logging
           or requesting data.

     1.15. Reynolds System Output — The data transferred from the Reynolds System to CDK's
           Interfaced Product through the use ofthe Reynolds Interface for purposes other than logging
           or requesting data. Reynolds System Output does not include data (including, exact copies of
           the Data)that CDK may acquire in an alternative manner (e.g., data exports directly from the
           Reynolds Dealer).

2. DUTIES

    2.1.    REYNOLDS'SERVICES. Reynolds will use commercially reasonable efforts to provide to
            CDK the Reynolds Interface(s) described in Exhibit RCI A (including all subparts) as
            necessary to certify the Interfaced Product(s). Reynolds will provide to CDK development
            assistance up to the maximum assistance identified in Exhibit RCI E (including the
            respective subparts) in order to enable CDK to incorporate the Reynolds System Output
            and/or Reynolds System Input into the Interfaced Products. Reynolds will notify CDK if it
            appears that the maximum assistance may be exceeded. In the event that the maximum
            assistance is exceeded, Reynolds may charge CDK on a time and materials basis for
            additional assistance based on the rates in ExhibiyRCI E (including the respective subparts).

            Reynolds agrees that(A)if CDK acquires another application after the date hereofthat is
            substantially similar in nature to one ofthe Interfaced Products then Reynolds agrees, at
            CDK's request, to add such new application as another Interfaced Product; provided,
            however, that (i) such new application shall otherwise be subject to all the terms hereof and
           (ii) the integration points provided for such new application shall be exactly the same as
           those provided to the similar existing application and(B)if Reynolds enters into an
            agreement to provide a competing dealer management system provider with integration
            services with respect to any application, and CDK requests the same integration services with
            respect to a substantially similar CDK application, then Reynolds agrees to add such
            application as another Interfaced Product; provided, however,that (i) such new application
            shall otherwise be subject to all the terms hereof and (ii) the integration points provided for
            such new application shall be exactly the same as those provided to the competing
            application.

    2.2.    OWNERSHIP. All Reynolds intellectual property provided to CDK hereunder shall be
            considered for all purposes of this RCI Agreement to be part ofthe Reynolds Interface. Any
            license granted herein is not a sale ofthe original Reynolds Interface(s) or any copies thereof
            Reynolds retains the ownership ofthe Reynolds Interface(s) and all copies thereof, including
            all rights and interests in contributions and additions communicated by CDK to Reynolds
            related to the Reynolds Interface(s), or the Reynolds System(s) software. Reynolds claims
            patent, copyright, trade secret and/or confidential information protection in the Reynolds




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             Interface and Reynolds Systems, including the way in which Reynolds System(s) software,
             database(s), and the Reynolds Interface(s) organize and store data. CDK releases any rights
             or interests it may have in the Reynolds Interface(s) or the organization, format and structure
             ofthe Reynolds System Output and/or Reynolds System Input that might result from CDK's
             contribution and additions. The CDK Application(s) including any software are, and will at
             all times remain, the sole and exclusive property ofCDK.

     2.3.    CDK'S DEVELOPMENT.CDK agrees, represents and warrants:

            2.3.1. The CDK Applications operate with all ofthe functionality described in the
                   respective subparts of Exhibit RCI B and in accordance with any applicable operating
                   manuals or other documentation included by reference.
            2.3.2. CDK will provide competent technical resources to properly develop the Interfaced
                   Product.
            2.3.3. The CDK Applications will properly integrate with the Reynolds Interface(s), and
                   CDK will be generally available to begin the Interface Test(s) for each Integrated
                   Product within a mutually agreed upon period oftime after the date that the Reynolds
                   Interface(s) described in the respective subparts of Exhibit RCI A are made available
                   to CDK.
            2.3.4. If ninety(90) days pass after the date the respective Reynolds Interface(s) have been
                   made available to CDK for a CDK Application, and the Parties are still unable to
                   mutually agree on a schedule to begin and complete the Interface Test(s), the Joint
                   Pilot(s), and to achieve Certification for such CDK Application, and such delay is not
                   a result of any action or inaction by Reynolds(including, without limitation, any
                   unreasonable rejection by Reynolds of any proposed Schedule), then Reynolds may
                   terminate this Agreement with respect to such CDK Application only and have no
                   further obligation to protect or otherwise facilitate Reynolds DMS access for such
                   CDK Application, notwithstanding anything to the contrary in the Data Exchange
                   Agreement.

            If CDK fails to meet any ofthe provisions set forth in Sections 2.3.1-2.3.3, Reynolds may
            terminate this RCI Agreement as set forth in Section 5.2.2. Such termination right shall be
            Reynolds sole remedy, and CDK's sole liability, with any such failure to meet the provision
            ofSections 2.3.1-2.3.4.

     2.4. PAYMENT BY CDK. CDK will pay all fees set forth in the respective subparts ofExhibit
          RCI E of this RCI Agreement.

            2.4.1. The submission of any invoices by Reynolds to CDK and any payment by CDK to
                   Reynolds shall be governed by the terms set forth in Exhibit RCI E (including all
                   subparts) to this RCI Agreement. CDK shall pay all amounts due to Reynolds within
                   thirty(30)days of receipt ofinvoice.

            2.4.2. Except as otherwise set forth on Exhibit RCI E, all pricing detailed in Exhibit RCI E
                   to this RCI Agreement shall be increased only based upon the Consumer Price Index
                   for All Urban Consumers(CPI-U): U.S. city average using the unadjusted 12 month



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                    index for the month ofthe price change announcement, until the five (5) year
                    anniversary of the date hereof. Thereafter, pricing may be increased once per year, in
                    Reynolds discretion, upon at least sixty(60)days written notice to CDK.

           2.4.3. CDK shall pay Reynolds for all amounts due Reynolds pursuant to Exhibit RCI E to
                  this RCI Agreement in accordance with the time provisions set forth in the RCI
                  Agreement and Exhibit RCI E. In the event that CDK does not timely pay an amount
                  due under Exhibit RCI E to this RCI Agreement, CDK will be referred to Reynolds'
                  Customer Account Services department in accordance with Reynolds' normal
                  collection process. Further, Reynolds may charge CDK a late charge, calculated at
                               4% per month or the maximum rate currently permitted by law,
                  the rate of 11
                               /
                  whichever is less. Amounts that remain unpaid may result in discontinuation of
                  services by Reynolds, will require additional fees for services to be reinstated, and
                  will be deemed a material breach as described in Section 5.2 ofthis RCI Agreement.

           2.4.4. CDK agrees to pay all taxes(whether billed at the time ofinvoicing or determined to
                  be due by a taxing authority at a later time) other than those taxes based on Reynolds'
                  income, or provide appropriate exemptions. Taxes shall include, but are not limited
                  to, personal property tax, sales tax, use tax or excise tax, which may be imposed by
                  any taxing authority as a result of Reynolds' provision of services to CDK under this
                  RCI Agreement.

    2.5.   CDK'S OBLIGATIONS.

           2.5.1. NONDISCLOSURE. Except as expressly permitted herein, CDK will not disclose or
                  publish the Reynolds System Output provided by the Reynolds Interface in any way
                  except as set forth in Exhibit RCI A (including all subparts)for each CDK
                  Application respectively.

           2.5.2. USE OF REYNOLDS SYSTEM OUTPUT. CDK will not permit the Reynolds
                  System Output provided by the Reynolds Interface(s)to be used for any purpose
                  other than the limited purpose described in the respective subparts of Exhibit RCI A
                  for each respective CDK Application unless passing the System Output to another
                  entity is for the purpose of performing a service required by the CDK Application(s)
                  and is on behalfofthe Reynolds Dealer. The Reynolds Dealer, on whose behalf
                  CDK has paid the applicable fees set forth in the respective subparts ofExhibit RCI
                  E, may use the contracted for Interfaced Product and the Reynolds System Output for
                  that CDK Application. CDK will not permit any other uses of the Reynolds System
                  Output or allow any access to the Reynolds System Output by CDK or other parties
                  unless:(a)the transfer ofthe Reynolds System Output has been authorized in writing
                  by Reynolds in Reynolds' sole discretion;(b) the transfer ofthe Reynolds System
                  Output has been authorized in writing by the Reynolds Dealer that originally
                  collected the data; and (c)the transfer ofthe Reynolds System Output otherwise
                  complies in all respects with this RCI Agreement and any applicable laws and
                  regulations.




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            2.5.1 COMPLIANCE WITH CERTIFICATION_ Unless otherwise identified in Exhibit
                  RCI A or in the Data Exchange Agreement, upon Certification, CDK acknowledges
                  that any Non-Approved Access andlor Non-Approved Use is strictly prohibited and is
                  considered a material breach of this 12.C1 Agreement CDK agrees that any
                  violation(s) of these access and use restrictions will be subject to any or all ofthe
                  following in Reynolds' sole discretion:

                     2.5.3.1. Reynolds has the right to immediately remove, discontinue, disable and/or
                              uninstall all current and future Reynolds Interface(s) and/or instances or
                              methods ofNon-Approved Access and/or Non-Approved Use.
                     2.5.3.2. Reynolds has the right to assess the Monthly Interface Fee(s)(as defined in
                              Exhibit RCI El-E7)for the number of Reynolds Dealers that utilized Non-
                              Approved Access and/or Non-Approved Use during the period ofthe
                              violation.

            2.5.4. USE OF DATA. CDK warrants that Exhibit RCI A (including all subparts) fully and
                   accurately describes all data sets and uses ofthe data, including: the purposes ofthe
                   data sets; the identities or categories ofany other parties to whom CDK may transfer
                   the data; and CDK's or any other party's uses ofthe data. Other than as specified in
                   Exhibits RCI A (including all subparts) and the Data Exchange Agreement, CDK is
                   prohibited from providing access to or transferring the data obtained through the
                   Reynolds Interfaces to another party ancUor re-selling the data it obtains through the
                   Reynolds Interfaces. CDK understands and agrees that Reynolds does not endorse or
                   warrant or accept any legal consequences for CDK's services described in Exhibits
                   RCI A (including all subparts), and CDK shall not make representations to the
                   contrary.

            2.5.5. DATA PRIVACY. In addition to the data privacy provisions ofthe Data Exchange
                   Agreement, CDK (i) will comply with all laws, rules and regulations with respect to
                   the privacy, security and integrity of data collected from or written to the Reynolds
                   DMS with the use ofthe Reynolds Interfaces and (ii) will obtain signed authorization
                   from each Reynolds Dealer with which it contracts for an CDK Application that
                   allows for CDK to use the data it obtains through the Reynolds Interface and meets
                   the requirements(in all material respects) set forth in Exhibit RCI C.

            2.5.6. NOTIFICATION OF SECURITY BREACH. Subject to requirements oflaw, or
                   actions of any regulatory or law enforcement authority that prohibits, restricts, or
                   delays them from doing so, CDK or any third party acting on behalf ofCDK having
                   access to data collected from a Reynolds Dealer provided under the terms of this RCI
                   Agreement, shall provide prompt written notice to Reynolds of any security breach of
                   Customer NPI data collected from a Reynolds Dealer obtained through such access,
                   which at the time ofthe breach was in the possession or custody ofCDK or such third
                   party. The disclosure notification shall be made within two(2) business days of
                   CDK's discovery ofsuch breach and shall describe, at a minimum,the scope ofthe
                   data breach and measures taken to restore the integrity, security, and confidentiality
                   ofsuch data. Such measures and corrective actions shall be implemented as soon as



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                    practicable by CDK. Notification shall be by email to the security email address:
                    datasecurity@reyrey.com.

            2.5.7. CANCELLATION OF INTERFACED PRODUCT. CDK will notify Reynolds
                   within one(1) business day ofa Reynolds Dealer cancelling any Interfaced Product(s)
                   currently provided by CDK by submitting a termination request to Reynolds for the
                   corresponding Reynolds Interface(s). Should a Reynolds Dealer contact Reynolds
                   and request the Reynolds Interface(s) being provided to CDK's Interfaced Product be
                   stopped immediately, Reynolds reserves the right to comply with this request and will
                   notify CDK within one(1) business day ofthe Reynolds Dealer request and
                   Reynolds' compliance. Should CDK contact the Reynolds Dealer and reach
                   agreement to reinstate the Interfaced Product within three(3) business days of
                   receiving such notice from Reynolds, Reynolds will re-install / turn on the
                   corresponding Reynolds Interface(s) for no additional Installation Fee(s). Reynolds
                   will use commercially reasonable efforts to terminate billing for the month
                   subsequent to the submission of a termination request. Reynolds does not prorate the
                   Monthly Fee(s).

    2.6.    NO REVERSE ENGINEERING. CDK will not reverse engineer or decompile the Reynolds
            Interface or any other Reynolds software or other element ofthe Reynolds System(s).
            Reynolds will not reverse engineer or decompile the CDK Applications, provided that
            Reynolds may take whatever action is necessary to discontinue or remove any Reynolds
            Interface, Non-Approved Access and/or Non-Approved Use in accordance with the terms of
            this RCI Agreement. CDK will not otherwise attempt to determine how the Reynolds
            Interface works or how the data is structured or organized within the database created and
            stored by any Reynolds System(s) or software.

    2.7.    CONFIDENTIALITY. Each Party shall only use the other Party's Confidential Information
            in connection with the performance of its duties hereunder. Neither Party will disclose any
            Confidential Information ofthe other Party to anyone,for any purpose, except:(a)employees
            and consultants that have executed agreements obligating them to comply with the provisions
            ofthis Confidentiality provision;(b) pursuant to a valid subpoena or an Order by a Court of
            competent jurisdiction or as otherwise required by law, provided that unless otherwise
            prohibited by law, the Party intending to disclose such information under this exception
            provides written notice to the other Party and provides the other Party an opportunity to seek
            a protective order or other appropriate protection at its election;(c) pursuant to written
            consent ofthe Disclosing Party; or (d) as required by law in instances in which a Party brings
            proceedings as permitted by this RCI Agreement to enforce rights under this RCI Agreement.
            The parties acknowledge and agree that the disclosure ofany Confidential Information to the
            other Party does not confer upon a Party any license, interest or rights of any kind in or to the
            Confidential Information, except as provided in this Agreement. Except as permitted by this
            RCI Agreement, neither Party will disclose, disseminate, use or otherwise make available the
            Confidential Information ofthe other. Each Party will use reasonable efforts, but in no event
            less than the security precautions such Party undertakes to protect its own proprietary and
            confidential information of like nature, to prevent any Confidential Information of the other
            Party from being disclosed to third parties.



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             Although the specific terms ofthis RCI Agreement are considered Confidential Information,
             the existence and general nature of this Agreement may be publicized by CDK and/or
             Reynolds in order to promote the Reynolds Interface and the CDK Applications. It shall not
             be considered a breach of confidentiality for Reynolds to use or otherwise disclose standard
             terms from this Agreement without specifying their application to CDK.

             The Parties agree that written confidentiality agreements substantially similar to the terms
             contained herein will be obtained for any employees or contractors permitted access to
             Confidential Information. Prior to the time an employee or contractor of Receiving Party
             receives any Confidential Information of the Disclosing Party, the Receiving Party will
             instruct that employee or contractor about the obligations of the Receiving Party hereunder
             and instruct that employee or contractor not to disclose or use any Confidential Information,
             except as specifically provided herein.

            At the Disclosing Party's request or upon completion of the Receiving Party's use of
            Confidential Information, the Receiving Party will make reasonable efforts to return all
            copies of Confidential Information to the Disclosing Party or destroy the Confidential
            Information and certify such destruction to the Disclosing Party. The Receiving Party may
            retain a copy of Confidential Information, for archival purposes or to the extent required by
            law, subject to the Receiving Party's continuing obligations under this Section 2.7.

            The provisions of this Section 2.7 pertaining to Confidential Information shall survive
            termination or expiration ofthis Agreement.


     2.8.   USE OF TRADEMARKS. Neither CDK nor Reynolds will use the name ofthe other Party
            or any ofthe other Party's trademarks, service marks, trade names or logos (collectively
            "Trademarks"), with the following exceptions:(i) a Party may use such Trademarks with the
            express prior written consent ofthe other Party;(ii) CDK may use such Reynolds'
            Trademarks as set forth in Section 4.5 hereof; and (iii) Reynolds may use the Trademarks of
            relevant CDK Applications to display and advertise (with a CDK-approved logo and
            hyperlink) such CDK Applications as authorized, certified vendors (or pre-certified vendors,
            as the case may be). Reynolds agrees to list the CDK Applications on its internet site as
            approved by Reynolds for integration into the Reynolds DMS and to provide CDK with a
            letter to such effect that CDK may share with Reynolds Dealers.

     2.9. REYNOLDS DEALER REQUEST FOR INFORMATION. Should a Reynolds Dealer
          contact Reynolds directly to request information relating to a CDK Interfaced Product,
          including the specific data fields included in the Reynolds System Input and / or Reynolds
          System Output used for the Interfaced Product, Reynolds may comply with the Reynolds
          Dealers' request and provide such information. This action by Reynolds will not be
          considered a breach ofany ofthe confidentiality provisions ofthis RCI Agreement or the
          Data Exchange Agreement.




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3. CERTIFICATION PROCESS

    3.1. INTERFACE TESTING. For each CDK application, prior to Certification, CDK must
         provide access to the Interfaced Product(s)to Reynolds for the Interface Test(s). The parties
         will mutually agree upon the date for the Interface Test(s). No later than fifteen (15)days
         prior to the date ofthe Interface Test(s), CDK will submit all test scripts to Reynolds for
         review prior to executing the Interface Test. IfReynolds requests modifications to the test
         scripts, Reynolds will notify CDK ofsuch modifications in writing within seven(7)days of
         receipt ofthe test scripts. If modifications are requested, CDK may make modifications and
         re-submit test scripts to Reynolds for approval in accordance with the process set forth
         herein. All Interface Tests are conducted in a test environment designated by Reynolds.
         Reynolds will notify CDK upon successful completion ofthe Interface Test(s).

    3.2. INTERFACE TESTING RESOURCES.For each CDK Application, Reynolds will supply
         CDK with access to an applicable test environment for the Interface Test and ongoing testing
         ofthe Interfaced Product and the Reynolds Interface for CDK's employees and consultants
         that have executed agreements obligating them to comply with the provisions ofthis RCI
         Agreement.

    3.3.   JOINT PILOT. For each CDK Application, after the Interface Test is complete, if Reynolds
           and CDK mutually determine that the Interfaced Product satisfies the Interface Test, then
           Reynolds and CDK will mutually agree upon the scope and length ofthe Joint Pilot. CDK
           will suggest potential Reynolds Dealer(s) to participate in the Joint Pilot. Reynolds will not
           provide a list of Reynolds Dealers to CDK for preliminary pilot selection.

    3.4.   CERTIFICATION. For each CDK Application, after the Joint Pilot is successfully
           completed and the Interfaced Product is ready for GCA then Reynolds will provide CDK
           with written notice of Certification. Declaration of Certification will be in Reynolds sole
           discretion.

    3.5.    RE-CERTIFICATION.

            3.5.1. Initial Certification ofan Interfaced Product will be valid until one ofthe following
                   events occurs, at which time CDK will be required to re-certify the Interfaced Product:

                   3.5.1.1. CDK requests additional Reynolds Interface(s), thereby changing the
                            integration with Reynolds System.
                   3_5.1.2. A new release ofthe Interfaced Product by CDK that interacts with the
                            Reynolds Interface in a different manner than when the Interfaced Product
                            was originally certified.
                   3.5.1.3. CDK elects to utilize an enhanced Reynolds Interface made available by
                            Reynolds.
                   3.5.1.4. Twenty-Four(24) months have expired since the most recent Certification or
                            Re-Certification ofthe Interfaced Product.




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                    Re-Certification (except for Re-Certification solely as a result of Section 3.5.1.4
                    above) may require an amendment to this RCI Agreement, or a separate Reynolds
                    Interface Agreement and additional fees.

            3.5.2. Distribution ofReynolds Interfaces not defined in Exhibit RCI A,or the distribution of
                   the Reynolds Interface with an Interfaced Product not defined in Exhibits RCI A, will
                   require amendment of this RCI Agreement, or a separate Reynolds Interface
                   Agreement. The occurrence ofeither ofthese events may require additional fees.

            3.5.3. New releases of a CDK Application in which CDK makes changes that do not
                   materially modify the Interfaced Product and do not impact the Reynolds Interface
                   will not require Re-Certification, but will require CDK to notify Reynolds in advance
                   ofsuch changes. CDK will provide test scripts or other documentation to Reynolds to
                   certify that the changes have been successfully tested by CDK.


     3.6.   SUSPENSION/TERMINATION OF CERTIFICATION. Alter Certification, Reynolds may
            suspend and/or subsequently terminate Certification for a specific CDK Application if
            Reynolds determines that such CDK Application:

            3.6.1. does not display or integrate the Reynolds System Output and/or the Reynolds System
                   Input in all material respects;

            3.6.2. does not comply in all material respects with any Reynolds Interface specifications
                   provided to CDK by Reynolds and included by reference in the respective subpart of
                   Exhibit RCI A;

            3.6.3. an Interfaced Product(s) materially degrades or otherwise materially adversely affects
                   the operation ofthe applicable Reynolds System;

            3.6.4. [Intentionally omitted]

            3.6.5. [Intentionally omitted]

            3.6.6. utilizes the Reynolds Interface(s) in a way that places a Reynolds Dealer at operational
                   or security risk, in which case the termination would only be effective with respect to
                   such Reynolds Dealer(unless the risk is determined to be systemic); or

            3.6.7. utilizes the Reynolds Interface(s) in a way that places Reynolds at operational or
                   security risk.

            Reynolds will provide CDK with written notice and explanation of such suspension, and
            CDK must make all corrections within thirty(30) days to become re-certified. CDK will be
            required to pay the standard Re-Certification Fee described in the respective subpart(s) of
            Exhibit RCI E. During any suspension of Certification CDK must not distribute, use or
            access the Reynolds Interface. IfCDK fails to become re-certified in accordance with this



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            Section 3.6 within ninety(90) days, Reynolds may terminate Certification and/or this RCI
            Agreement. In the event oftermination, CDK will be responsible for payment ofthe
            Certification Process Fee(s) and any other fees that have been agreed between the parties up
            to the date oftermination.

    3.7.    REYNOLDS DEALER AGREEMENT FORM. The Interfaced Product(s) may only be
            licensed to Reynolds Dealers that(i) have executed an agreement containing terms that are
            substantially similar to those in the attached Exhibit RCI C; and (ii) are separately licensed
            by Reynolds to use the Reynolds System. Reynolds shall have the right, upon reasonable
            notice and with reasonable cause, to inspect and copy such end user license agreements that
            have been executed by Reynolds Dealers at any given time, provided that such inspection
            and copying will not take place more often than once per year.

4. LICENSE RIGHTS AND OBLIGATIONS

    4.1.    LICENSE GRANT. After CDK receives notice of Certification and pays all sums then due
            and payable to Reynolds, Reynolds grants to CDK a non-exclusive, revocable license in the
            Territory or Territories (as indicated in the "Reynolds System(s)" section ofthe respective
            subpart ofExhibit RCI A)to (i) use the Reynolds Interface(s) provided to CDK pursuant to
            this RCI Agreement solely with CDK's Interfaced Product in accordance with the terms of
            this RCI Agreement;(ii) publicly display the "Reynolds Certified Interface" logo on all
            marketing material and website(s) describing the Interfaced Product in accordance with the
            provisions set forth in Section 4.5 ofthis RCI Agreement; and (iii) demonstrate, sublicense,
            and distribute the Reynolds Interface(s), only as incorporated into the Interfaced Product, to
            Reynolds Dealers during the Initial Term (and any applicable Renewal Term) as permitted by
            this RCI Agreement.

    4.2.    REYNOLDS SUPPORT. For the fees set forth in Exhibit RCI E, Reynolds will provide the
            services necessary to implement the Reynolds Interface, first line support to CDK regarding
            the use ofthe Reynolds Interface, and any other services set forth in this RCI Agreement
            during the Initial Term (and any applicable Renewal Term).

    4.3.    REYNOLDS UPDATES. During the Initial Term (and any applicable Renewal Term),
            Reynolds will provide to CDK specifications for any Reynolds Interface enhancements and
            revisions applicable to the Interfaced Product(s). CDK will promptly comply with any
            enhancements or revisions provided by Reynolds and test the revised Interfaced Product with
            Reynolds within sixty(60)days of when the revised Reynolds Interface is made available to
            CDK. Reynolds will make available to CDK a test environment and/or data for testing of
            these revisions.

    4.4.    REYNOLDS ASSISTANCE. During the Initial Term (and any applicable Renewal Term),
            Reynolds will provide CDK with reasonable technical assistance, up to the maximum
            assistance defined in the respective subpart of Exhibit RCI E, in the development ofthe
            Interfaced Product.




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     4.5.   REYNOLDS LOGO AND COMMUNICATION. Notwithstanding anything to the contrary
            in this Agreement or the Data Exchange Agreement, CDK may include the RCI Logo for
            print and electronic marketing ofthe certified Interfaced Products (i.e., to indicate on CDK's
            owned internet sites that such CDK Application(s) use a Reynolds approved interface). Such
            advertisement by CDK shall be subject to Reynolds'"Logo Usage Standards," which are
            reflected in Exhibit RCI F. Reynolds may amend or replace Exhibit RCI F to reflect any
            program-wide changes in Reynolds' Logo Usage Standards in the future, so long as Reynolds
            provides CDK with at least thirty(30) days advance notice ofthe revised standards.
            Reynolds shall have the right to review and approve all references to Reynolds or the
            Reynolds Certified Interface Program contained in marketing materials by CDK,or any third
            parties acting on behalf of CDK, before such information is published. Prior to Certification,
            CDK is prohibited from claiming integration with the Reynolds System(s). Except as
            specifically provided in this Section 4.5, CDK shall not represent in any way that its
            applications are produced, developed, endorsed or otherwise affiliated with Reynolds.

    4.6.    CDK ASSISTANCE. CDK will provide appropriate support, maintenance and error
            correction services for the Interfaced Product(s) as reasonably requested by Reynolds or as
            required in the end user agreement between CDK and the Reynolds Dealers.

    4.7.    DISTRIBUTOR(S)OF INTERFACED PRODUCT(S). During the Initial Term (and any
            applicable Renewal Term), CDK may distribute the Interfaced Product(s)through
            distributors. CDK warrants that any distributor ofthe Interfaced Product on behalfofCDK
            has entered into a written agreement with CDK which binds the distributor to the same
            obligations as CDK under this RCI Agreement.

    4.8.    ENDORSEMENT. Reynolds does not endorse, warrant, support, or certify any functionality,
            capabilities or any other aspects ofthe Interfaced Product(s).


5. TERMUTERMINATION

    5.1.    TERM. The initial term of this RCI Agreement and any license granted herein shall be for
            the period commencing on the RCI Effective Date and ending on the fifth anniversary ofthe
            RCI Effective Date ("Initial Term"). This RCI Agreement will thereafter renew
            automatically for additional one(1) year terms(each, a "Renewal Term")unless either Party
            gives a notice of its intent not to renew at least thirty (30)days prior to the end ofthe Initial
            Term or the then applicable Renewal Term. Each provision ofthis RCI Agreement that
            would by its nature or terms survive any termination ofthis RCI Agreement shall survive any
            termination ofthis RCI Agreement, regardless ofthe cause.

    5.2.    TERMINATION WITH NOTICE. If either Party commits a material breach of Section 2, 3,
            or 4 ofthis RCI Agreement,then the non-breaching party may terminate this RCI Agreement
            by thirty(30) days written notice unless the breaching party cures such breach or begins a
            good faith effort to cure the breach within thirty(30)days after notice is delivered to the
            breaching party. Notwithstanding anything to the contrary herein, the following
            circumstances, without limitation, shall be considered material breaches for which the



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            applicable Party may terminate this RCI Agreement as described below, subject to the notice
            and cure provisions set forth in this Section 5.2:

            5.2.1. CDK may terminate this RD. Agreement if Reynolds, after using commercially
                   reasonable efforts, is unable to make the Reynolds Interface(s) function in accordance
                   with the documentation and agreed upon specifications in all material respects.

            5.2.2. Reynolds may terminate this RCI Agreement if CDK fails to comply with the
                   provisions set forth in Sections 2.3.1-2.3.3, in which case CDK is responsible for
                   payment ofthe Certification Process Fee(s) and any other fees that have been agreed
                   between the parties up to the date oftermination.

            5.2.3. Reynolds may terminate this RCI Agreement for failure of CDK to pay any fees
                   defined in Exhibit RCI E or any other properly invoiced amounts.

            5.2.4. CDK may terminate this RCI Agreement with respect to any CDK Application that it
                   decides to cease offering (or "sunset") with respect to Reynolds Dealers.

    5.3. IMMEDIATE TERMINATION. Reynolds may, immediately upon written notice to CDK,
         terminate this RCI Agreement if CDK:(i) becomes insolvent,(ii) files or has filed against it
         and not dismissed within sixty(60)days, a proceeding under any federal or state insolvency,
         bankruptcy or other law for the relief of creditors, or (iii) ceases or admits in writing its
         intention to cease the operation of its business in the ordinary course ofthis RCI Agreement.

    5.4.    TERMINATION FOR FAILURE TO RESOLVE CERTIFICATION SUSPENSION
            EVENT. Reynolds may, in its sole discretion, terminate this RCI Agreement pursuant to
            Section 3.6.

    5.5.    MUTUAL TERMINATION. After the Initial Term, either Party may terminate this RCI
            Agreement in its entirety or with respect to an Interfaced Product at any time with or without
            cause by giving the other Party one hundred-eighty(180) days written notice of intent to
            terminate.

    5.6.    PHASE-OUT. If an Interfaced Product has achieved Certification, upon expiration or
            termination ofthis RCI Agreement in its entirety or with respect to an Interfaced Product,
            Reynolds must continue providing such certified Interfaced Product(s) with access to the
            relevant Reynolds Interface(s)(under the terms of this RCI Agreement) without changes in
            service until the conclusion ofCDKs' then effective contract term with any relevant
            Reynolds Application customers("CDK Phase Out Access"), provided that(a) the CDK
            Phase Out Access shall not exceed two (2) years;(b) CDK continues to pay all applicable
            fees; and (c) as a condition of CDK Phase Out Access, CDK must give Reynolds thirty (30)
            days prior written notice ofthe following:(i)a list of the certified Interfaced Products for
            which such CDK Phase Out Access is needed,(ii) a list ofReynolds Dealers(including
            name, address, and information reasonably necessary to identify such Reynolds Dealer) for
            which such CDK Phase Out Access is needed, and (iii) the date ofthe conclusion ofthe then
            effective contract term with the relevant Reynolds Dealers. During any CDK Phase Out



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             Access period, the Parties shall continue to perform under the terms ofthis RCI Agreement
             in effect at the time oftermination, except no new installations ofthe applicable CDK
             Application will be allowed. At the conclusion of any CDK Phase Out Access period or
             immediately upon termination ofthis Agreement in its entirety or with respect to any
             Interfaced Product ifthe CDK Phase Out Access period is not invoked, CDK must cease all
             use, distribution, and sublicensing ofthe Reynolds Interface(s) for such Interfaced Product.
             Ifthe CDK Phase Out Access period is invoked for any Interfaced Product, CDK is also
             responsible for payment to Reynolds of any positive difference between the Minimum Fees,
             prorated on a monthly basis to the end ofthe CDK Phase Out Access period, and the sum of
             Installation Fee(s) and Monthly Interface Fee(s)(or transaction fees, where applicable).
             Notwithstanding anything to the contrary herein, CDK Phase Out Access is not available if
             this RCI Agreement is terminated pursuant to the Assignment provision of Section 6.4 of this
             RCI Agreement.

 6. GENERAL

     6.1.    NOTICES. With the exception ofa notification of security breach as described in Section
             2.5.6, all notices, requests and approvals required by this RCI Agreement shall be as noted in
             the Data Exchange Agreement.

     6.2.    AUDIT. Reynolds may, in its sole discretion, elect to conduct an audit of CDK records that
             relate to this RC1 Agreement no more frequently than once per calendar year during the
             Initial Term (and any applicable Renewal Term)ofthis RCI Agreement. Audits shall be
             conducted by an independent, third Party auditor upon fifteen (15) days written notice to
             CDK. Audits shall be conducted during normal business hours in the offices ofCDK. CDK
             shall have the right to approve the third Party auditor; however, such approval shall not be
             unreasonably withheld. CDK shall retain all records associated with this RCI Agreement
            (other than Customer NPI, where destruction or return ofsuch Customer NPI would be
             required by this RCI Agreement or applicable law)for three(3) years following termination
             ofthis RCI Agreement and conclusion of wind-down period, if any. In the event that an
             audit reveals any issue that amounts to a material breach ofthe RCI Agreement, or an under
             payment by CDK to Reynolds of five percent(5%)or more within any twelve month period,
             CDK shall immediately pay (i) any amounts due for the audit period,(ii) a service charge
            equal to one and one-half percent(1.5%) per month on the outstanding balance compounded
             monthly since the date ofeach monthly under payment and (iii) the actual cost ofthe audit
             including auditor and reasonable expenses. Notwithstanding the foregoing, CDK shall not be
             liable for amounts specified in clauses (ii) and (iii) above if any under-payment by CDK was
             due exclusively to Reynolds failing to properly invoice CDK. The third Party auditor shall
             sign a confidentiality agreement prior to commencing the audit, agreeing to keep confidential
            any information obtained by such examination, provided however that the auditor can
            disclose the details to Reynolds of any non-compliance with this RCI Agreement.

    6.3.    NON-EXCLUSIVE. This RCI Agreement is non-exclusive and does not limit Reynolds'
            right to otherwise license, develop, market or distribute the Reynolds Interface(s).




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    6.4.    ASSIGNMENT. Neither party may assign any of its rights or delegate any of its duties
            under this Agreement without the prior written consent ofthe other party hereto; provided,
            however,that such consent shall not be required for (i) any assignment to an affiliate of such
            party as part ofa corporate reorganization ofsuch party or (ii) any assignment made as part
            of a sale ofthe majority ofthe assets or equity securities ofsuch party as long as the acquirer
           (A)does not, prior to the acquisition, sell any application programs or services that compete
            with the non-assigning party and (B)is not, prior to the acquisition, affiliated with an entity
            that sells any application programs or services that competing with the non-assigning party.
            This Section shall be deemed, without limitation, to apply to any direct or indirect change in
            the control ofeither party including, without limitation, pursuant to any merger, acquisition,
            consolidation or other corporate restructuring in which it participates. Any attempted
            assignment in violation ofthis provision shall be void and shall be grounds for termination
            after 30 days notice. This Agreement shall be binding upon and inure to the benefit ofthe
            parties' respective successors and assigns.

    6.5. INDEMNITY. Each Party("Indemnitor") must defend, indemnify and hold harmless the
         other party, its affiliates and their employees, successors and assigns("Indemnitees") against
         all damages, losses, costs, expenses (including reasonable attorneys' fees, costs and
         expenses) and other liabilities arising out ofany claims, demands, suits, or causes of action
         by third parties, arising out ofor in connection with this RCI Agreement to the extent that
         such damages, losses, costs, expenses and other liabilities result or are claimed to result in
         whole or in part from:(i) any breach ofthis RCI Agreement by Indemnitor, its affiliates or
         their employees or agents;(ii) the violation by Indemnitor, its affiliates or their employees or
         agents ofapplicable law or regulation in connection with the data access and data extraction
         described in this RCI Agreement;(iii) any access by Indemnitor, or its affiliates or their
         employees or agents to Indemnitee's proprietary hardware and/or software facilitated
         pursuant to this RCI Agreement for any purpose falling outside the scope ofthis RCI
         Agreement;(iv) Indemnitor's or its affiliates' or their employees' or agent's failure to obtain
         the rights and consents necessary for Indemnitee to gain access to (and extract) Operational
         Data pursuant to this RCI Agreement; and (v)any publication, breach ofconfidentiality,
         dissemination, conversion, misappropriation or other use of any Operational Data facilitated
         by this RCI Agreement by Indemnitor, or its affiliates or their employees or agents in a
         manner(a) not authorized by the Reynolds Dealer, or(b)in violation ofrelevant law.

    6.6.   WARRANTIES. In addition to any other warranties in this RCI Agreement,CDK warrants
           to Reynolds that:(i)the Interfaced Product and subsequent new releases ofthe Interfaced
           Product will operate in accordance with their specifications; (ii) CDK has the right and power
           to enter into this RCI Agreement and to grant to Reynolds Dealers all ofthe rights and
           licenses in the Interfaced Product as set forth in this RCI Agreement;(iii) CDK has obtained
           or shall obtain all necessary permission and licenses regarding data to offer the Interfaced
           Product; (iv) CDK shall provide all required notices to Reynolds Dealers and shall obtain all
           required consents from Reynolds Dealers, and(v) CDK has all right and authority required
           to collect, disclose and use such information as described in Exhibit RCI A.(collectively the
           "CDK Warranties").

            Reynolds warrants to CDK that:(i)the Reynolds Interface will operate in a manner



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            consistent with the written specifications provided to CDK;and (ii) Reynolds has the right
            and power to enter into this RCI Agreement and to grant to CDK the rights and licenses in
            the Reynolds Interface as set forth in this RCI Agreement(collectively the "Reynolds
            Warranties").

            NO OTHER WARRANTIES. EXCEPT AS SPECIFIED HEREIN, NEITHER CDK NOR
            REYNOLDS MAKES ANY OTHER WARRANTIES,CONDITIONS OR
            REPRESENTATIONS,EXPRESS OR IMPLIED,ORAL OR WRITTEN,REGARDING
            THE INTERFACE,THE INTERFACED PRODUCTS,THE REYNOLDS SYSTEM OR
            ANYTHING ELSE AND HEREBY EXPRESSLY DISCLAIMS ALL OTHER EXPRESS
            AND IMPLIED WARRANTIES AND CONDITIONS,INCLUDING THE IMPLIED
            WARRANTIES OF MERCHANTABILITY,NON-INFRINGEMENT AND FITNESS FOR
            A PARTICULAR PURPOSE. REYNOLDS DOES NOT WARRANT THE OPERATION
            OF THF,INTERFACE WILL BE UNINTERRUPTED OR ERROR FREE.

     6.7, DAMAGES. EXCEPT FOR A CLAIM BASED SOLELY UPON BREACH OF THE
          CONFIDENTIALITY PROVISIONS OF SECTION 2.7, IN NO EVENT WILL EITHER
          PARTY BE LIABLE TO THE OTHER PARTY OR ITS AFFILIATES, SUCCESSORS OR
          ASSIGNS FOR ANY INCIDENTAL,CONSEQUENTIAL DAMAGES INCURRED BY
          SUCH PERSONS(INCLUDING, WITHOUT LIMITATION, ANY LOST REVENUE OR
          LOST PROFITS)OR FOR SIMILAR DAMAGES,EVEN IF ADVISED OF THE
          POSSIBILITY OF SUCH DAMAGES (IT BEING AGREED THAT THIRD PARTY
          CLAIMS FOR INCIDENTAL OR CONSEQUENTIAL DAMAGES AGAINST THE
          OTHER PARTY WOULD CONSTITUTE DIRECT DAMAGES INCURRED BY THE
          OTHER PARTY). EXCEPT FOR WILLFUL MISCONDUCT BY A PARTY,IN NO
          EVENT WILL EITHER PARTY BE LIABLE TO THE OTHER PARTY OR ITS
          AFFILIATES, SUCCESSORS OR ASSIGNS FOR ANY PUNITIVE OR EXEMPLARY
          DAMAGES.

     6.8. EXCUSE FOR NONPERFORMANCE. Neither party shall be held responsible for any
          delay or failure to perform hereunder where such delay or failure is due to any cause beyond
          its direct control including, but not limited to, Acts of God, fire, explosion, flood, strikes or
          other labor dispute, riot, communications or power supply failure, delay in delivery, failure
          or malfunction ofequipment, lack of or inability to obtain data, or any other causes,
          contingencies or circumstances beyond its control which prevent or hinder performance
          hereunder or make such performance hereunder impracticable. Should a Party be delayed or
          unable to perform hereunder where such delay or inability to perform is due to any cause
          described in this Section 6.8, it will notify the other party and make reasonable efforts to
          perform hereunder.

     6.9.   CDK ACKNOWLEDGEMENT. CDK acknowledges that Reynolds may now or in the
            future provide products and services that may be similar or the same as the Interfaced
            Product.




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CONFIDENTIAL-Submitted in Lieu of Compulsory Process                                        REYREY0000040




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    6.10. DISPUTE RESOLUTION PROCEDURES.

           6.10.1. Confidential Binding Arbitration. In the event of any dispute, claim, question or
                 disagreement arising from or relating to this RCI Agreement or an alleged breach
                 thereof("Dispute"), the Parties agree that all Disputes shall be submitted to
                 confidential binding arbitration in accordance with the then applicable commercial
                 rules ofthe American Arbitration Association ("AAA"). Notwithstanding anything to
                 the contrary in this RCI Agreement or the AAA Rules, the Parties agree that
                 arbitration under this Section 6.10:(a) shall be governed by the Federal Arbitration
                  Act exclusive of any state arbitration laws;(b) shall be before a single neutral
                 arbitrator who is a licensed attorney with prior experience as an arbitrator;(c) shall be
                 conducted in Nashville, TN ; and (d) shall be conducted pursuant to a confidentiality
                 agreement that provides at a minimum that the arbitration and all documents and
                  pleadings exchanged in connection therewith shall be held confidential and used only
                 for purposes ofthe arbitration, except that a Party may nevertheless:(i) seek to reduce
                 the binding arbitration award to ajudgment in court;(ii) seek enforcement ofthe
                 award pursuant to the Federal Arbitration Act and this RCI Agreement; and (iii)
                  disclose information regarding the arbitration as required by law (e.g., to auditors or
                  regulatory agencies).

           6.10.2. Arbitration Fees. Aside from filing or other fees required to initiate the arbitration,
                 all arbitration fees will be split evenly between the Parties unless and until an award is
                 made by the arbitrator regarding arbitration fees. If a Party does not pay its respective
                 share of arbitration fees, then all claims (including counterclaims) ofthe non-paying
                 Party shall be dismissed by the arbitrator or AAA,and the non-paying Party shall not
                  be permitted to bring any further claims in the arbitration for affirmative relief. The
                 non-paying Party may still participate in the arbitration to defend claims brought
                 against it.


           6.10.3. Temporary Injunctive Relief for IF Disputes. Notwithstanding anything to the
                 contrary contained in this Section 6.10 or elsewhere in this RCI Agreement, however,
                  if a dispute arises that relates to misappropriation of proprietary, confidential or trade
                 secret information or other intellectual property; or a breach ofthe Confidentiality or
                 Data Security provisions of this Agreement and/or its Exhibits ("IP Dispute"), a Party,
                 at its election may seek Temporary Injunctive Relieffrom a court of competent
                 jurisdiction related exclusively to the IP Dispute.

           6.10.4. "Temporary Injunctive Relief' means only a temporary restraining order and/or a
                 temporary injunction. A claim for Temporary Injunctive Relief brought in court may
                 not be combined with:(a) a request for any other type of relief whether legal or
                 equitable; or (b) any Dispute other than an IP Dispute. All other Disputes, including
                  whether a permanent injunction shall issue, are to be arbitrated concurrently with any
                 court action relating to Temporary Injunctive Relief




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     6.11, RESPECT FOR EMPLOYEES. Reynolds and CDK acknowledge and agree that the other
           Party's personnel have been acquired and trained by said Party at considerable expense.
           Throughout the term of this RCI Agreement, neither Reynolds nor CDK shall knowingly
           directly solicit for employment or employ any employee ofthe other Party directly involved
           in the negotiation or performance ofthis RCI Agreement until the expiration ofone(1) year
           following such employee's termination of employment with the other party or(1) year
           following the termination of this RCI Agreement, whichever is shorter.

    6.12. GOVERNING LAW AND CONSTRUCTION. Unless specifically otherwise provided
          herein, this Agreement will be governed by the substantive laws ofthe State of Ohio,
          regardless of conflict oflaws principles. The section headings are for convenience only and
          will not be used in interpretation of this Agreement. The language of all parts ofthis
          Agreement shall in all cases be construed as a whole, according to its fair meaning, and not
          strictly for or against either ofthe parties.

    6.13. ENTIRE AGREEMENT. This RCI Agreement,together with the Data Exchange Agreement
          to the extent incorporated herein, and the Exhibits identified herein and incorporated by
          reference and listed below, constitutes the entire agreement between the parties. For the
          avoidance of doubt, this Agreement supersedes all prior oral and written representations and
          agreements between the Parties with respect to the matters addressed herein including, but
          not limited to, the Reynolds Interface Agreement dated December 4, 2004 between Reynolds
          and IntraVision Technologies, LLC ("Prior IntraVision Agreement") and the Reynolds
          Interface Agreement, dated October 9, 2013 between The Reynolds and Reynolds Company
          and ONE-EIGHTY CORP ("Prior 180 Agreement"). Any modification to this RCI
          Agreement must be by written amendment signed by authorized representatives ofeach
          Party.
          6.13.1. Exhibit RCI A (including all subparts) — CDK Product(s) Submitted for Certification
          6.13.2. Exhibit RCI B (including all subparts) — CDK Product Description(s)
          6.13.3. Exhibit RC1C — Reynolds Dealer Required Provisions
          6.13.4.[Intentionally Omitted]
          6.13.5. Exhibit RCI E (including all subparts) — Fees
          6.13.6. Exhibit RCI F — Logo Usage Standards

    6.14. SEVERABILITY. If any ofthe provisions or portions of this Agreement are determined to
          be invalid or unenforceable, such provision shall be ineffective and severed from this
          Agreement to the extent ofsuch invalidity, and the remainder of such provision and all other
          provisions hereof shall remain in full force and effect.

    6.15. RELATIONSHIP OF THE PARTIES. This Agreement will not be deemed or construed to
          create any partnership,joint venture, fiduciary, employment or agency relationship between
          the parties. Nothing in this Agreement will be construed to constitute or appoint either Party
          as the agent Lit tepiesentalive of the other Party for any purpose whatsoever, or to grant to
          either party any right or authority to assume or create any obligation or responsibility,
          express or implied, for or on behalf ofor in the name ofthe other, or to bind the other in any
          way or manner whatsoever. Moreover, the Parties expressly acknowledge and agree that no




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            fiduciary relationship existed between them at the time ofthe negotiation and execution of
            this Agreement.

An authorized representative of each Party has executed this RCI Agreement as of the date last written
below.

CDK Global,LLC                                              The Reynolds and Reynolds Company
                                                            Dealer Computer Services, Inc.,
                                                            Universal Computer Systems Holding, Inc.

                                                            By:             &A-Item$4,4A._

             f. /0,411.46- ç                                        e tolic2yl4alojc8 r,
                 Printcci Name and Title                                 Printed Name and Title

Date:                                                       Date:       JjiJi




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                                                EXHIBIT RCI Al

                 CDK COBALT PRODUCT(S)SUBMITTED FOR CERTIFICATION

 Name of Product(s): Dealer I Dealer Group Websites, Retargeting Advertising, Email Marketing,
 Lead Generation Services, Reputation Management, Email Marketing

 Description of Product(s):

      • Dealer Dealer Group Websites- — Websites are the base product provided to dealers for the
        purposes of marketing vehicles and dealership services. This product set includes the ability
        for dealers to export / publish vehicle information to additional properties such as
        autotrader.com, usedcars.com, etc.
        Reta eting Ativertisim— Optional, Add On Advertising product which may market
        individual vehicle data to consumers via display advertising.
      • Email Marketing— Optional, Add On Advertising product used for direct marketing sales and
        service messaging to consumers who have provided email addresses to the dealership.
      • Lead Generation Service$ — ADP Dealer services lead generation network. Product consists
        of a marketing portal which presents inventory from multiple dealers with the purpose of
        generating leads, as well as syndication to a network of advertising partners.

      • Reputation Mai3agemern — Optional, Add-On Product used for soliciting customer reviews for
        use on dealer website.
      • Email. Marketing — Optional, Add-On Advertising product used for direct marketing sales and
        service messaging to consumers who have provided email addresses to the dealership.


Current release version and release date for Product(s): Various



Reynolds System(s):                                                             Territory:

ERA                                                                                 U.S.       Canada

POWER                                                                               U.S.



Interface(s) to be provided by Reynolds:

     Name                                                    Frequency   Reynolds Input / Output:

Batch VtMiL1. ins.entor                                     Daily        LI Input          Z Output

        'locoRepair Order                                   Daily        0Input            r Output

                                                       20


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Batch Special Order Parts Receipts.,.,                      Daily          LI Input           Output

 Batch F&J Closed O I ilistory                              Daily          El Input           Output


State the purpose and operating environment of the Interface(s):

 Receive vehicle data for use in interne merchandising / marketing programs.

Receive customer data in order to provide capabilities in Reputation Management(surveys) and for
marketing to current customers / prospects.

Below is a description of CDK Cobalt's existing uncertified interfaces with Reynolds Systems.
Continued use of these interfaces by CDK Cobalt will not constitute a violation of Section 2.5.3,
pending delivery of a similar Interface(s) by Reynolds to CDK Cobalt for implementation as
provided for in this Agreement. Upon receipt of Certification, CDK Cobalt will follow the terms
of this Agreement and cease use of the uncertified interface(s) within sixty (60)days of
Certification.

CDK Cobalt uses IntegraLink direct dealership data polling.


 CDK Cobalt information to be used to brand, display, and advertise CDK Cobalt as a participant
 in the Reynolds Certified Interface Program:
(To be provided prior to Certification)

Z LOGO — image file to be provided separately

       Website URL — www.CDK Cobalt.com

       Trade Name — CDK Cobalt

CI     Trade Mark

:1 1   Service Mark —


 If marked by an "X" above, Reynolds reserves the right to use any or all ofthis information at
 Reynolds sole discretion, provided in accordance with Section 2.8.




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                                                                                                    CX4153-021



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 ERA Interface Specifications:

     * CDK Cobalt Vehicle Inventory Specification -                              Version 1.1, Aug. 2014

         CDK Cobalt Repair Order Specification -                                 Version 1.4, Aug 2014

     * CDK Cobalt Special Order Parts Invoice Specification -                    Version 1.2, Aug, 2014

     * CDK Cobalt F&I Closed Deal Specification -                                Version 1.3, Aug. 2014


 POWER Interface Specifications:

 The RCI Interface Specifications for the POWER platform will be mutually finalized and agreed to by
 Reynolds and CDK. Notwithstanding the above sentence, Reynolds and CDK agree that POWER
 Interface Specifications that are not materially different from the corresponding ERA Interface
 Specifications will be acceptable to both parties.

 Pre-Load Files:

 Any historical pre-load files delivered at the initial installation will contain all active sales and/or
 service data on the Reynolds System (up to five years). No archived data will be included.




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                                                                                                            CX4153-022



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                                                EXHIBIT RCI A2

           CDK MENUVANTAGE PRODUCT(S)SUBMITTED FOR CERTIFICATION

Name of Application: MENUVANTAGE

Description of Application: F&I Menu selling application


Current release version and release date for Application: v8.3 released on 1/13/2015



Reynolds System(s):                                                        Territory:

ERA                                                                            U.S      Canada

POWER                                                                           U.S.



Reynolds Interface(s):

Name                                                   Frequency        Reynolds Input / Output:

Search F& Deal                                         On Demand        1:11 Input     Output

Batch Closed F& Deal                                   Daily                Input 12 Output

Insert F& Deal - Start                                 On Demand            Input E Output


State the purpose and operating environment of the Reynolds Interface(s): Allow clients to
certified interface to their R&R DMS to start a Menu and finish



 Below is a description of CDK's existing uncertified interfaces and/or Non-Approved Access
 with/of Reynolds System(s). Continued use of the below-listed interfaces by CDK will not
 constitute a violation of Section 2.5.3, pending delivery of a Reynolds Interface(s) by Reynolds to
 CDK for implementation as provided for in this Agreement. CDK will follow the terms of this
 Agreement and cease use of the uncertified interface(s) and/or Non-Approved Access within sixty
(60) days of Certification.

 MenuVantage currently uses Superior Integrated Solutions (SIS)for integration with Reynolds DMS.




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 CDK MenuVantage information to be used to brand,display,and advertise CDK as a participant
 in the Reynolds Certified Interface Program:
(To be provided prior to Certification)

                               „Or
                                 "'     All4AZ   •



      LOGO —
                 MENU,'VANTAGE
                       9411. e.A.c.sn MEN.15Citkilic`,S


      Website URL - http://menuvantage.com/—

      Trade Name — MenuVantage

      Trade Mark —


 If marked by an "X" above, Reynolds reserves the right to use any or all ofthis information at
 Reynolds sole discretion, provided in accordance with Section 2.X,



 ERA Interface Specifications:

 MenuVantage F&I Closed Deal Specification                             Version 1.3       August,2014

 MenuVantage F&I Deal Start Transaction                                Version 1.4       August, 2014

 MenuVantage Search F&I Deal View Specification                        Version 1.4       August,2014


 POWER Interface Specifications:

 The RCI Interface Specifications for the POWER platform will be mutually finalized and agreed to by
 Reynolds and CDK. Notwithstanding the above sentence, Reynolds and CDK agree that POWER
 Interface Specifications that are not materially different from the corresponding ERA Interface
 Specifications will be acceptable to both parties.


 Pre-Load Files:

 Any historical pre-load files delivered at the initial installation will contain all active sales and/or
 service data on the Reynolds System (up to five years). No archived data will be included.




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                                                EXHIBIT RCI A3


             CDK PARTSVOICE PRODUCT(S)SUBMITTED FOR CERTIFICATION

Name of Application: PartsVoice

Description of Application: Part Inventory Marketing_


Current release version and release date for Application: 2.0, released June 2007



Reynolds System(s):                                                        Territory:

FR A                                                                           U.S      Canada
POWER                                                                          U.S.



Reynolds Interface(s):


Name                                                        Frequency   Reynolds Input / Output:


    eh Parts Inventory                                      Daily       E Input i1 Output


State the purpose and operating environment of the Reynolds Interface(s): Receipt only of
dealcrshippart inventory fig use within PartsVoice



Below is a description of CDK's existing uncertified interfaces and/or Non-Approved Access
 with/of Reynolds System(s). Continued use of the below-listed interfaces by CDK will not
 constitute a violation of Section 2.5.3, pending delivery of a Reynolds Interface(s) by Reynolds to
 CDK for implementation as provided for in this Agreement. CDK will follow the terms of this
 Agreement and cease use of the uncertified interface(s) and/or Non-Approved Access within sixty
(60) days of Certification.

[None]




                                                       25

CONFIDENTIAL-Submitted in Lieu of Compulsory Process                                  REYREY0000049 •




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                                                                                                   FTC-0000381

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 CDK PartsVoice information to be used to brand,display, and advertise CDK as a participant in
 the Reynolds Certified Interface Program:


(To be provided prior to Certification)


      LOGO—     PartsVoicen
 El   Website URL — https://www.partsvoice.com/

      Trade Name — PartsVoice

      Trade Mark —


 If marked by an "X" above, Reynolds reserves the right to use any or all ofthis information at
 Reynolds sole discretion, provided in accordance with Section 2.8.



ERA Interface Specifications:

PartsVoice Batch Parts Inventory Specification                         Version 1.1       July, 2014



POWER Interface Specifications:

The RCI Interface Specifications for the POWER platform will be mutually finalized and agreed to by
Reynolds and CDK. Notwithstanding the above sentence, Reynolds and CDK agree that POWER
Interface Specifications that are not materially different from the corresponding ERA Interface
Specifications will be acceptable to both parties.


Pre-Load Files:

 Any historical pre-load files delivered at the initial installation will contain all active sales ancUor
 service data on the Reynolds System (up to five years). No archived data will be included.




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CONFIDENTIAL-Submitted in Lieu of Compulsory Process                                            REYREY0000050




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                                                EXHIBIT RCI A4

             CDK F&I RESULTS PRODUCT(S)SUBMITTED FOR CERTIFICATION

 Name of Application: F&I Results(formerly known as IntraVision)

Description of Application: I-         Deal Recording

Notwithstanding anything to the contrary in this Agreement, the parties acknowledge and agree that as
ofthe RCI Effective Date, CDK's F&I Results Interfaced Product has been accepted into the Reynolds
Certified Interface Program under the Prior IntraVision Agreement(described in Section 6.13 above),
and that Reynolds acknowledges CDK F&I Results Certification status on the Reynolds website as of
the RCI Effective Date.


 Current release version and release date for Application: 4.10



Reynolds System(s):                                                           Territory;

 ERA

POWER                                                                             U.S.



 Reynolds Interface(s):

 Name                                                       Frequency      Reynolds Input / Output:


(To be mutually finalized)                                  TBD            El Input          Output

(To he mutually finaiized)                                  TBD               Input          Output


 State the purpose and operating environment of the Reynolds Interface(s):
 Inte2ration to Fin511C.C iph   turns the c'ainem on and ofruhen enterin_g and eN.iting a deal tbr
 r   rdit jurpo s




 Reynolds and CDK acknowledge and agree that the current CDK IntraVision Interfaced Product as re-
 Certified on September 29, 2011 will continue in use as the IntraVision Interfaced Product for the ERA
 platform.




                                                       27


CONFIDENTIAL-Submitled in Lieu of Compulsory Process                                     REYREY0000051




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 Below is a description of CDK's existing uncertified interfaces and/or Non-Approved Access
 with/of Reynolds System(s). Continued use of the below-listed interfaces by CDK will not
 constitute a violation of Section 2.5.3, pending delivery of a Reynolds Interface(s) by Reynolds to
 CDK for implementation as provided for in this Agreement. CDK will follow the terms of this
 Agreement and cease use of the uncertified interface(s) and/or Non-Approved Access within sixty
(60)days of Certification.

 None.]

 The parties acknowledge and agree that as ofthe RCI Effective Date, CDK F&I Results has been
 accepted into the Reynolds Certified Interface Program under the Prior IntraVision Agreement
(described in Section 6.13 above), and that Reynolds acknowledges CDK F&I Results' Certification
 status on the Reynolds website for both the ERA and POWER DMS platforms as ofthe RCI Effective
 Date. As a result, CDK agrees that no uncertified interfaces are in use or allowed by CDK for their
  &1 Results Interfaced Product.


 CDK F&I Results information to be used to brand, display, and advertise CDK as a participant
 in the Reynolds Certified Interface Program:
(To be provided prior to Certification)




                 F&I RESULTS4444
Z LOGO-- PROCESS - PERFORMANCE • PROFITS

     Website URL — http://cdkglobal.com/solutions/f-and-i-results

     Trade Name — F&I Results

 n   Trade Mark —


 If marked by an "X.
                   'above, Reynolds reserves the right to use any or all of this information at
 Reynolds sole discretion, provided in accordance with Section 2.8.


 ERA Interface Specifications:

 To be mutually finalized




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POWER Interface Specifications:

The RCI Interface Specifications for the POWER platform will be mutually finalized and agreed to by
Reynolds and CDK. Notwithstanding the above sentence, Reynolds and CDK agree that POWER
Interface Specifications that are not materially different from the corresponding ERA Interface
Specifications will be acceptable to both parties.


Pre-Load Files:

Any historical pre-load files delivered at the initial installation will contain all active sales and/or
service data on the Reynolds System (up to five years). No archived data will be included.




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                                                 EXHIBIT RCI AS

         CDK LOT MANAGEMENT PRODUCT(S)SUBMITTED FOR CERTIFICATION

 Name of Application: Lot Management

 Description of Application:


     Appraisals                       Mobile and desktop centric used vehicle appraisal/bookout
                                      application which analyzes historical data, market pricing, Market
                                      IQ data as well as regional transaction data and provides stocking
                                      recommendations. Includes book and auction values.

     Smart Price                      Used car pricing solution which automatically adjusts the pricing of
                                      the used car inventory based on client-defined parameters against
                                      market conditions

    Equity                           Uses sales history and local auction data to calculate the equity
                                     position ofsales and service customers. Provides recommendations
                                     for potential alternative vehicles for the consumer based client
                                     defined parameters

     Smart App                        Private label smartphone application which allows the consumer to
                                      connect with the dealer in real-time to begin the appraisal process
                                      to seek a price for their vehicle

    Back Office Dashboard             Dashboard which identifies client installed applications, provides
                                      utilization statistics by module along with sales and profit results

    Smart Suite                       SmartLot, Smart Drive, Smart Price - RB applications branded
                                      and sold to non-CDK dealers


 Current release version and release date for Application:
 N/A



 Reynolds System(s):                                                               Territory:

 PRA                                                                               ElU.S LE] Canada
 POWER                                                                                 U.S.


 Reynolds Interface(s):


                                                       30

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Name                                                        Frequency   Reynolds Input / Output:


Batch Vehicle Inventory                                     Daily       n Input      El Output

Batch Closed F&I Deal                                       Daily       0Input          Output

Batch Uncomina Service Atmointment                          Daily       0Input 'Output



State the purpose and operating environment ofthe Reynolds Interface(s): Extractdata integration
fhr pricina.,Appraisais and ecluitv application tools used by dealers.


Below is a description of CDK's existing and future uncertified interfaces and/or Non-Approved
Access with/of Reynolds System(s). Use of the below-listed integration by CDK will not constitute
a violation of Section 2.5.3 pending delivery of Reynolds Interfaces. Conditioned on CDK
providing Reynolds with(1)the Reynolds Dealers' DBA Name;(2)the Reynolds Dealers' DMS
System Number and (3)the DMS User Login being used by Authenticom for the Reynolds
Dealer, Reynolds will use commercially reasonable efforts to protect and facilitate current
Reynolds System(s)for Lot Management during the 30 days following the Effective Date.

CDK will follow the terms of this Agreement and cease use of the DIAL uncertified interface(s)
and/or Non-Approved Access within 60 days of Certification.

Authenticom and DMI




                                                       31


CONFIDENTIAL-Submitted in Lieu of Compulsory Process                                REYREY0000055




                                                                                               CX4153-031



                                                                                                 FTC-0000387

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 CDK Lot Management information to be used to brand, display, and advertise CDK as a
 participant in the Reynolds Certified Interface Program:
(To be provided prior to Certification)


            ith CDK
            •GlobaL
   4 LOGO —

 L    Website URL — http://edkglobal.com/solutions/lot-management

      Trade Name — CDK Lot Management

 El Trade Mark —

 If marked by an "X" above, Reynolds reserves the right to use any or all ofthis information at
 Reynolds sole discretion, provided in accordance with Section 2.8.


 ERA Interface Specifications:


         CDK Lot Management Vehicle Inventory Specification -                    Version 1.1, Sep. 2014

     • CDK Lot Management Closed F&I Deal Specification -                        Version 1.3, Sep 2014

     • CDK Lot Management Service Appointment Specification -                    Version 1.1, Sep, 2014


 POWER Interface Specifications:

 The RCI Interface Specifications for the POWER platform will be mutually finalized and agreed to by
 Reynolds and CDK. Notwithstanding the above sentence, Reynolds and CDK agree that POWER
 Interface Specifications that are not materially different from the corresponding ERA Interface
 Specifications will be acceptable to both parties.

 Pre-Load Files:

 Any historical pre-load files delivered at the initial installation will contain all active sales and/or
 service data on the Reynolds System (up to five years). No archived data will be included.




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                                                                                                            CX4153-032



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                                          EXHIBIT RCI A6

             CDK ONE-EIGHTY PRODUCT(S)SUBMITTED FOR CERTIFICATION


Name ofApplication: DLS Accelerator®


Description of Application:
DLS Accelaw° is a multi-language Dealer Operating System which compliments an existing DMS
by providing processes, functionality and third party integrations involving but not limited to
customers, prospects, vehicles, accessories, after-market products, deals, staff, CRM,traffic control,
BDC,reporting.



Current release version and release date for Application: N/A


Reynolds System(s):                                                                  Territory:

FR A                                                                                  El U.S   — Canada



Reynolds Interface(s):


Name                                                        Frequency              Reynolds Input / Output:


Publish Cu stotrttr                                         EvstitTrierrcd         El Input          Output

Insert/Update Customer                                      On-Demand              FS Input       El Output

Insert/Undate Vehicle Inventory                             On-Demand              0 Input        r]Output

Insert F8d Deal - Start                                     On-Demand        'Input               Ei Output

Publish. Service Appointment                                Event Triggered .      0Input         0 Output

Publish Repair order                                        Event•IrtNered         El Input       .... Output

Batch Clow.d Renair Orders(Pre-Lond)                        Once at 1azallatiort   ri Input       I.,. Output




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 State the purpose and operating environment of the Reynolds Interface(s):
  ONE-EIGHTY supports the Interface(s) and provides and supports other data integrations with third
 parties only at the written direction ofthe Qualified End User(s). The purpose of activating the
 Interface(s) and/or other integrations for the Qualified End User(s) is to provide operational
 efficiencies, cost savings, enhanced reporting capabilities and/or increased data accuracy for the
 Qualified End User(s) and their business partners. Such transmitted data may contain data from a
 Reynolds System as originated from DLS Accelerator®, as well as such transmitted data may contain
 customer data which may originate in either system.



 Below is a description of CDK's existing uncertified interfaces and/or Non-Approved Access
 with/of Reynolds System(s). Continued use of the below-listed interfaces by CDK will not
 constitute a violation of Section 2.5.3, pending delivery of a Reynolds Interface(s) by Reynolds to
 CDK for implementation as provided for in this Agreement. CDK will follow the terms of this
 Agreement and cease use of the uncertified interface(s) and/or Non-Approved Access within sixty
(60)days of Certification.

[None.]

The parties acknowledge and agree that as ofthe Effective Date of this Agreement, the CDK ONE-
EIGHTY product has been accepted into the Reynolds Certified Interface Program under a Prior
Agreement (described in Section 6.13 above), and that Reynolds acknowledges CDK ONE-EIGHTY's
Certification status on the Reynolds website as ofthe Effective Date ofthis Agreement. As a result,
CDK ONE-EIGHTY agrees that no uncertified interfaces are in use or allowed by CDK ONE-EIGHTY
for their Interfaced Product.




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 CDK ONE-EIGHTY information to be used to brand, display, and advertise CDK ONE-
 EIGHTY as a participant in the Reynolds Certified Interface Program:
(To be provided prior to Certification)

                €4=
                ONE-EIGHTY
fEj LOGO —

     Website URL — — www.oneeightycorp.com

     Trade Name — ONE-EIGHTY

     Trade Mark — DLS Accelerator®

If marked by an "X" above, Reynolds reserves the right to use any or all ofthis information at
Reynolds sole discretion, provided in accordance with Section 2.8.



ERA Interface Specifications:


 • ONE-EIGHTY Insert Vehicle Inventory Interface Specification, Version 1.3, September 2013
 • ONE-EIGHTY Update Vehicle Inventory Interface Specification, Version 1.3, September 2013
 a ONE-EIGHTY Insert Customer Interface Specification, Version 1.3, September 2013

 • ONE-EIGHTY Update Customer Interface Specification, Version 1.3, September 2013
 • ONE-EIGHTY Publish Customer Interface Specification, Version 1.2, September 2013
 • ONE-EIGHTY F&I Deal Start Interface Specification, Version 1.4, September 2013
 • ONE-EIGHTY Publish Repair Order Interface Specification, Version 1.3, September 2013
 • ONE-EIGHTY Publish Service Appointment Interface Specification, Version 1.1, September 2013

Pre-Load Files:

 Any historical pre-load files delivered at the initial installation will contain all active sales and/or
 service data on the Reynolds System (up to five years). No archived data will be included.




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                                                EXHIBIT RCI A7

          CDK PERFORMANCE 20 PRODUCT(S)SUBMITTED FOR CERTIFICATION

 Name of Application: Perforniance 20

 Description of Application: Automotive dealership financial composite



 Current release version and release date for Application:
 Over 50 modules covering about 95% of all automobile manufacturer/distributors, Versions 41,
 1/31/2014 release



 Reynolds System(s):                                                         Territory:

 ERA                                                                             U.S      Canada

                                                                                 U.S.


 Reynolds Interface(s):


 Name                                                       Frequency     Reynolds Input / Output:


 Batch Financial Statement                                  Monthly          Input           Output



State the purpose and operating environment of the Reynolds Interface(s): Financial data derived
from Reynolds & Reynolds dealership DMS system will be married with supplemental data input by
dealership personnel to produce a 60 page financial composite stored on our server. The financial data
on the composite is composed ofReynolds 8c Reynolds dealership's DMS and other DMS systems
used by clients.


 Below is a description of CDK's existing uncertified interfaces and/or Non-Approved Access
 with/of Reynolds System(s). Continued use of the below-listed interfaces by CDK will not
 constitute a violation of Section 2.5.3, pending delivery of a Reynolds Interface(s) by Reynolds to
 CDK for implementation as provided for in this Agreement. CDK will follow the terms of this
 Agreement and cease use of the uncertified interface(s) and/or Non-Approved Access within sixty
(60) days of Certification. Conditioned on CDK providing Reynolds with (1) the Reynolds



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Dealers' DBA Name; (2) the Reynolds Dealers' DMS System Number and (3) the DMS User
Login being used by Authenticom for the Reynolds Dealer, Reynolds will use commercially
reasonable efforts to protect and facilitate current Authenticom Reynolds DMS access for
Performance 20 until Certification. Reynolds will target to provide to CDK the Batch Financial
Statement interface within thirty (30) days of receiving the Performance 20 requirements or the
Effective Date whichever is later.

Authenticom.

 CDK Performance 20 information to be used to brand, display, and advertise CDK as a
 participant in the Reynolds Certified Interface Program:
(To be provided prior to Certification)

               O CDK                      Performance Solutions
               0Gbbal.
     LOGO —

     Website URL — www.cdkglobalperformance.com

     Trade Name — CDK Global/Performance Solutions


     Trade Mark —

 If marked by an "X" above, Reynolds reserves the right to use any or all ofthis information at
 Reynolds sole discretion, provided in accordance with Section 2.8.


 ERA Interface Specifications:


    • CDK Performance 20 Financial Statement Specification -                     TBD


 POWER Interface Specifications:

 The RCI Interface Specifications for the POWER platform will be mutually finalized and agreed to by
 Reynolds and CDK. Notwithstanding the above sentence, Reynolds and CDK agree that POWER
 Interface Specifications that are not materially different from the corresponding ERA Interface
 Specifications will be acceptable to both parties.

 Pre-Load Files:

 Any historical pre-load files delivered at the initial installation will contain all active sales and/or
 service data on the Reynolds System (up to five years). No archived data will be included.



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                                                 EXHIBIT RCI B1

                               CDK COBALT PRODUCT DESCRIPTION(S)


 Digital Marketing Products
   (Thefollowing products utilize Vehicle Data)
     • Deaierj Dealer Group Websites — Websites are the base product provided to dealers for the
          purposes of marketing vehicles and dealership services. This product set includes the ability
          for dealers to export / publish vehicle information to additional properties such as
          autotrader.com, usedcars.com, etc.
      4 Retareetimit Advert           Optional, Add-On Advertising product which may market
          individual vehicle data to consumers via display advertising.
     • Email Marketing— Optional, Add-On Advertising product used for direct marketing sales and
          service messaging to consumers who have provided email addresses to the dealership.
     • Lead Generation Services — ADP Dealer services lead generation network. Product consists
          of&marketing portal which presents inventory from multiple dealers with the purpose of
          generating leads, as well as syndication to a network of advertising partners.

    (Thefollowing products utilize Transactional records — Vehicle Sales Data, Repair Order Data,
     Parts Order Data)
      • Reputation Manage= — Optional, Add-On Product used for soliciting customer reviews for
          use on dealer websitc.
          Email Marketing, — Optional, Add-On Advertising product used for direct marketing sales and
          service messaging to consumers who have provided email addresses to the dealership.

                                              Inventory      Repair Order ' Special Order    F&I Closed
        CDK Cobalt Product
                                                Data             Data         Parts Data       Deal
 Dealer I Dealer Group Websites                   X
 Retargeting Advertising                          X —
,Email Marketing                                  X
 Lead Generation Services                         X
 Reputation Management Services                                   X              X




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                                                EXHIBIT RCI B2

                         CDK M:ENUVANTAGE PRODUCT DESCRIPTION(S)



CDK Menu gives you custom Sales tools, proven to help you effectively overcome objections and
receive your fair share of gross profit.
Over the past few years, the use of menu selling in F&I has grown, with most dealerships taking
advantage ofCDK Menu to drive the sale ofadd-on products. But, not all dealership F&I menu-selling
products are the same. CDK Menu is a proven solution that can help you increase your back-end
grosses by up to 30%*.

CDK Menu auto-matches extended warranties to selected vehicles and shows a pre-set list ofadd-on
products that you can consistently present to every customer during the F&I process. It helps you
eliminate or reduce human error, forgetfulness and possible liability, while selling more warranties,
insurance and dealer-installed options. Your F&I office can grow profits and reduce errors.
                           s
*As reported by MenuVantage . Results may vary.




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                                                EXHIBIT RCI B3

                           CDK PARTSVOICE PRODUCT DESCRIPTION(S)



PartsVoice is the largest open OEM parts locator in the US and Canada-- we have over 8 million
unique parts listed on our website every day by over 1,800 dealers. PartsVoice.com is used by retail
consumers and parts professionals around the globe.

We update our parts inventory data daily, so you know you're looking at the most up-to-date listings,
not parts that are sold out or on backorder.

Spend less time looking and more time finding on PartsVoice.

PartsVoice offers the Cash Discovery Program (CDP), an online marketplace matching buyers and
sellers. So get out from under your idle problem and free up your working capital.




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                                                 EXHIBIT RCI B4

                             CDK F&I RESULTS PRODUCT DESCRIPTION(S)


                                  Know What Goes On When the F&I Office Door Closes


   As a dealer, you know the final F&I steps are vital to your gross profits. A slight increase of$20-$25
   per transaction could make a huge impact on your bottom line.
   Designed specifically for dealerships,
                                     ,    F&I
                                          .   Results is an integrated training solution created to




                                                              AV:*   4t



   help your F&I department:
   Increase product sales
   Improve product penetration
• Enhance your CSI score
• Minimize your compliance risk
• Grow your gross profits
   Improve your training results
   By reviewing actual conversations and situations, you can help keep your dealership in line with its
   compliance requirements, as well as help keep you in compliance with local, state and federal laws.

   F&I Results is unlike other video training solutions which need to be turned on and off by the F&I
   Manager, allowing them to choose which customers they want to record. The integration ofF&I
   Results with your CDK or Reynolds and Reynolds Dealer Management System (DMS)ensures you
   will capture every transaction for training purposes.
   When deals go smoothly,everyone wins
   You want to present every available F&I product to every customer, keeping sales and profitability up.
   You also know it is important to keep every customer presentation consistent, so items do not fall
   through the cracks and to ensure customer satisfaction. With F&I Results, we are making it possible to



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    do all ofthat and more by providing you with a training solution that uses real-life examples, not
    textbook theory.

    Perfecting the art of selling
    Only Video Training offers you insight into what really happened on the deal. No longer will your F&I
    team work their compensation plan, they will perfect their art of selling by learning how to consistently
    overcome objections and know when and how to present the right options at the right time. Selling is an
    art; simply looking your F&I stats will not give you the insight you need to improve your employees.

    Simply putting a camera in your F&I offices will not work—that is why we developed a full
    training solution, which includes:
• Integration with your CDK DMS or R&R DMS
• A foolproof way to capture 100% of your F&I transactions
• Comprehensive training programs for your dealership
• A secure web-based portal to view your videos
• Insightful reports on your employees results and trends
   MI Results was formerly known as Intravision Technologies, LLC




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                                                EXHIBIT RCI B5

                      CDK LOT MANAGEMENT PRODUCT DESCRIPTION(S)




              Modules                                              Features     _

    Appraisals                       Mobile and desktop centric used vehicle appraisal/bookout
                                     application which analyzes historical data, market pricing, Market
                                     IQ data as well as regional transaction data and provides stocking
                                     recommendations. Includes book and auction values.

    Smart Price                      Used car pricing solution which automatically adjusts the pricing of
                                     the used car inventory based on client-defined parameters against
                                     market conditions

    Equity                           Uses sales history and local auction data to calculate the equity
                                     position ofsales and service customers. Provides recommendations
                                     for potential alternative vehicles for the consumer based client
  ,                                  defined parameters

    Smart App                        Private label smartphone application which allows the consumer to
                                     connect with the dealer in real-time to begin the appraisal process
                                     to seek a price for their vehicle

    Back Office Dashboard            Dashboard which identifies client installed applications, provides
                                     utilization statistics by module along with sales and profit results

    Smart Suite                      SmartLot, Smart Drive, Smart Price - RB applications branded
                                     and sold to non-ADP dealers

    Consumer Lane                    Gathers consumer vehicle's for sale from a variety of sources and
                                     alerts retailer of vehicles they should acquire based on a set of pre-
                                     determined rules

             Smart Lot Lite          Non-DMS integrated application designed for independent dealers
                                     or small franchise dealers. Functionality includes Market IQ,
                                     Scanning tool with book values, vehicle history and market data ,




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                                                           EXHIBIT RCI 136

                                      CDK ONE—EIGHTY PRODUCT DESCRIPTION(S)



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                                               EXHIBIT RCI B7

                       CDK PERFORMANCE 20 PRODUCT DESCRIPTION(S)



Automotive dealership financial composites used to identify opportunities when compared to other
same franchise, similar size and similar local economic area dealerships. Composite is the basis for
discussion on sales volume, gross profits, expense management, asset management and personnel
productivity.




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                                                 EXHIBIT RCI C

                            REYNOLDS DEALER REQUIRED PROVISIONS

The Reynolds Interface may be made available by CDK to Reynolds Dealer(s) only if CDK has
obtained from the Reynolds Dealer an agreement that contains the following terms in all material
respects:

C.1.      Provide a limited license authorizing the operation of the Reynolds Interface only with the
          Interfaced Product and only for one Reynolds Dealer.

C.2.      Prohibit copying, disassembly, decompilation, and/or reverse engineering of the Interfaced
          Product and the Reynolds Interface;

C.3.      Reserve to CDK all rights, title and interest in and to Interfaced Product and to Reynolds all
          rights, title and interest in and to the Reynolds Interface;

C.4.     Prohibit: (a) transfer of or access to the Interfaced Product and the Reynolds Interface to or by
         third parties; (b) lending, leasing, sublicensing or pledging of the Interfaced Product and the
         Reynolds Interface by Reynolds Dealer; and (c) service bureau or outsourcing uses of the
         Interfaced Product and Reynolds Interface;

C.5.     Include a statement substantially similar to the following: "Product(s) provided under this
         Agreement contain portions of program code owned by third party licensors and such licensors
         will be entitled to enforce this License as an intended third party beneficiary and the
         obligations of the licensee cannot be modified or terminated without the written consent of
         such third Party licensors. Licensee shall not disclose any passwords or other security
         information that are related to the Reynolds Interface or other software licensed by this
         License. ALL LICENSORS DISCLAIM ALL WARRANTIES, INCLUDING (WITHOUT
         LIMITATION) ANY WARRANTIES OF MERCHANTABILITY OR FITNESS FOR A
         PARTICULAR PURPOSE. In no event will any licensor be liable for indirect, incidental,
         consequential or exemplary damages arising from use, or inability to use Reynolds Interface(s),
         even ifthey knew ofthe possibility of such damages.";

C.6.     Provide that all rights to use or maintain possession ofthe Interfaced Product and the Reynolds
         Interface will terminate immediately upon the Reynolds Dealer's breach of any material
         provision ofsuch agreement.

C.7.     Prohibit the Reynolds Dealer from using the Interfaced Product and Reynolds Interface outside
         the definitions and process defined for the specified CDK Application the in the relevant
         subpart of Exhibit RCI A.

C.8.     Generally describe the Customer NP1 that may be accessed by CDK pursuant to the agreement
         and the third parties to whom CDK may provide access to the Customer NP!.




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         Requires that the Reynolds Dealer warrants that for purposes ofthe data that may be accessed
         by CDK and/or the Reynolds DMS pursuant to this RCI Agreement that the Reynolds Dealer
         has provided any required privacy notices to its customers as required by applicable law,
         including the Gramm-Leach-Bliley Act and its implementing regulations (the "GLBA"), and to
         the extent applicable, the privacy laws of any state, Canada's Personal Information Protection
         and Electronic Documents Act("PIPEDA"), and any other relevant privacy laws Canada or of
         any province of Canada or other relevant jurisdiction.

 C.9.    Requires CDK to implement and maintain appropriate safeguards to protect any Customer NPI
         that CDK obtains pursuant to the agreement for so long as CDK has access to any such
         Customer NPI.

 C.10.   Prohibits CDK from accessing, storing, sharing, disclosing, or using any Customer NPI
         obtained pursuant to this agreement [between CDK and the Dealer] other than as necessary to
         carry out the purposes for which the Reynolds Dealer has provided access to the Customer NPI
         or as otherwise required by law.

 C.11.   Grants the Reynolds Dealer's DMS provider and the CDK Application permission to access
         Customer NPI to the extent necessary to provide the services contracted for under the
         agreement (including the Interfaced Product and the Reynolds Interfaces) and specifically
         permits Reynolds and the CDK Application to provide access to Customer NPI to one another
         for that purpose.

 C.12.   Include a statement substantially similar to the following:

 As part of its Reynolds Certified Interface program, your Dealer Management System ("DMS")
 provider The Reynolds & Reynolds Company or its affiliates (collectively "Reynolds") has developed
 certain processes that allow certain third party software vendors including[CDK Application] to
 receive from Reynolds certain data from your DMS and/or allow[CDK Application] to send data to
 your DMS("RCI Integration"). By signing this agreement, you are providing your written consent to:
(a) Reynolds' providing[CDK Application] access to data from your DMS; and(b)to[CDK
 Application] providing Reynolds with access to[CDK Application] data, both of which may include,
 without limitation, non-public information regarding your customers. By signing this agreement you
 agree that:(a) Reynolds makes no representations, assurances, warranties or guarantees with respect to
[CDK Application] or[CDK Application]'s obtaining access to data from your DMS through RCI
 Integration or otherwise;(b) Reynolds shall have no liability whatsoever for any damages you may
 suffer as a result of using[CDK Application] or because of[CDK Application]'s access to data from
 your DMS;(c)Reynolds has no responsibility for the activities of[CDK Application] with respect to its
 access to data from your DMS,including without limitation, with respect to Customer NPI obtained or
 used by[CDK Application];(d) Reynolds may terminate the integration described in this agreement at
 any time if Reynolds determines that such integration may conflict with or adversely affect the
 operation or security of your DMS (including without limitation the integrity or security ofthe data) or
 such access may violate any applicable laws or regulations;(e) problems caused by the data access
 described in this agreement will not be covered by any software support and equipment maintenance
 services or fees previously agreed between you and Reynolds; and (g) Reynolds has the right to enforce
 its rights under this agreement. NOTICE TO NORTH CAROLINA DEALERS:THIS END USER



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 AGREEMENT RELATES TO THE TRANSFER AND ACCESSING OF CONFIDENTIAL
 INFORMATION AND CUSTOMER RELATED DATA.

 C.13. To the extent the Reynolds Dealer operates in Canada and CDK has access to Customer NPI for
 the purposes of processing the data, the Reynolds Dealer Agreement shall:

        (a)      identify the individual at CDK who supervises compliance with privacy aspects ofthe
                 Reynolds Dealer Agreement;
        (b)      specify that CDK will direct persons seeking access to their personal information to the
                 Reynolds Dealer;
        (c)      Require the Reynolds Dealer to provide its customers in Canada with a notice specifying
                 that the Customer NPI or other personal information as defined under Canadian law may
                 be transferred to and stored in the United States and may be subject to disclosure
                 pursuant to the laws ofthe United States;
        (d)      Require that the Reynolds Dealer comply fully with the applicable Canadian privacy
                 laws;
        (e)      Specify that the Reynolds Dealer has obtained all consents from its clients required
                 under the applicable Canadian privacy laws for the collection, use and disclosure of
                 personal information by the Reynolds Dealer and by CDK;and
        (f)      Require that CDK comply fully with all applicable Canadian privacy laws.




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                            EXHIBIT RCI D -INTENTIONALLY OMITTED




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                                                EXHIBIT RCI El

                                              CDK COBALT FEES

 Certification Process Fee: $25,000(USD)- WAIVED
 This fee will be due upon invoice from Reynolds.

Package "A"Interface Package-
Includes the following Interfaces-
   • Batch Vehicle Inventory

(Per Qualified End User)Installation Fee(s):
   Existing Qualified End Users as of the RCI Effective Date- $125(USD)or $125(CAD)-
 WAIVED
   New Qualified End Users as of the RCI Effective Date - $125(USD)or $125(CAD)

This one-time setup fee is payable within the first month after submission of an order for each
Qualified End User to whom CDK's Interfaced Product is sold, beginning on the RCI Effective Date.
CDK will pay this fee directly on behalf of Qualified End Users.


(Per Qualified End User) Monthly Interface Fee(s): $37(USD)or $37(CAD)

This recurring monthly fee is payable beginning the first month after submission ofan order for each
Qualified End User to whom CDK's Interfaced Product is sold, beginning on the RCI RCI Effective
Date. CDK will pay this fee directly on behalf of Qualified End Users.


Package "B"Interface Package-
Includes the following Interfaces-
   * Batch Closed Repair Order (with pre-load)
  • Batch Special Order Parts Receipt
  • Batch Closed F&I Deal (with pre-load)

(Per Qualified End User)Installation Fee(s):
   Existing Qualified End Users as of the RCI Effective Date - $175(USD)or $175(CAD)-
 WAIVED
   New Qualified End Users as of the RCI Effective Date - $350(USD)or $350(CAD)

This one-time setup fee is payable within the first month after submission of an order for each
Qualified End User to whom CDK's Interfaced Product is sold, beginning on the RCI Effective Date.
CDK will pay this fee directly on behalf of Qualified End Users.




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Fees for pre-load files delivered at initial installation are included in the (Per Qualified End User)
Installation Fees for New Qualified End Users. Requests for Reynolds to send replacement pre-load
files for a previously completed RCI order will be assessed a fee of$125.00(USD)/(CAD)for each
replacement pre-load file.

(Per Qualified End User) Monthly Interface Fee(s):
   Existing Qualified End Users as of the RCI Effective Date —
       First 12 months after RCI Certification Date - $102(USD)or $102(CAD)
       Month 13 —24 after RCI Certification Date - $144(USD)or $144(CAD)
       Month 25 —36 after RCI Certification Date — $188(USD)or $188(CAD)
   New Qualified End Users as of the RCI Effective Date —$177(USD)or $177(CAD)

 The Existing Qualified End User pricing set forth above shall be fixed for the first 36 months and
 not subject to price increase pursuant to Section 2.4.2.

 This recurring monthly fee is payable beginning the first month after submission of an order for each
 Qualified End User to whom CDK's Interfaced Product is sold, beginning on the RCI Effective Date.
 CDK will pay this fee directly on behalf of Qualified End Users.


Existing Qualified End Users: Within seven (7) days ofthe RCI Effective Date, CDK will provide
Reynolds a comprehensive list ofthe existing Qualified End Users with whom CDK is already
providing services and were installed prior to the RCI Effective Date. This list will include, at a
minimum, the name, address, phone number, and installation date ofeach Qualified End User. After
Certification, any integration requests by CDK for Qualified End Users matching names on this list will
be installed at the Installation Fee and invoiced for the Monthly Interface Fee for Existing Qualified
End Users listed above. Any integration requests by CDK for Qualified End Users not listed will be
invoiced for the Installation Fee and Monthly Interface Fee for New Qualified End Users listed above.


 Minimum Fees: For each twelve(12) month period following Certification ofthe Interfaced Product,
 CDK's total (Per Qualified End User)Installation Fee and (Per Qualified End User) Monthly Interface
 Fee paid to Reynolds will be no less than $50,000(USD)/(CAD)(the "Minimum Fees"). The first
 twelve (12)month period begins upon Certification ofthe Interfaced Product. If CDK's total (Per
 Qualified End User)Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to
 Reynolds do not meet the Minimum Fees at the end ofeach given twelve(12) month period thereafter,
 then CDK will pay Reynolds the difference between the Minimum Fees and the sum of(Per Qualified
 End User) Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to Reynolds.



 Maximum Assistance: Reynolds will provide CDK a maximum offorty (40) hours of support during
 the initial implementation and certification process for the Interfaced Product(s) defined in this
 Agreement. If Reynolds exceeds these hours during the implementation and certification process,
 Reynolds will notify CDK in writing. If CDK would like Reynolds to exceed the Maximum Assistance,
 CDK will request in writing support for said services. In Reynolds sole discretion Reynolds may


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 decline and/or accept the request and will charge CDK per hour at an hourly rate of$250 per hour
(USD).



 Non-Refundable Re-Certification Fee:           $ 5,000(USD)- WAIVED
 As described in Sections 3.5.1.1 — 3.5.1.4, this Re-Certification Fee is payable when CDK releases a
 major release of their already-Certified Interfaced Product and/or iftwenty-four(24) months have
 expired since the last Certification or Re-Certitication ofthe Interfaced Product has occurred.




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                                                EXHIBIT RCI E2

                                        CDK MENUVANTAGE FEES


 Certification Process Fee: $25,000(USD)- WAIVED
 This fee will be due upon invoice from Reynolds.


(Per Qualified End User)Installation Fee(s):
   Existing Qualified End Users as of the RCI Effective Date - $250(USD)or $250(CAD)-
 WAIVED
   New Qualified End Users as of the RCI Effective Date - $350(USD)or $350(CAD)

 This one-time setup fee is payable within the first month after submission ofan order for each
 Qualified End User to whom CDK's Interfaced Product is sold, beginning on the RCI Effective Date.
 CDK will pay this fee directly on behalf of Qualified End Users.


(Per Qualified End User) Monthly Interface Fee(s):
   Existing Qualified End Users as of the RCI Effective Date —
       First 12 months after RCI Certification Date - $139(USD)or $139(CAD)
       Month 13 — 24 after RCI Certification Date - $197(USD)or $197(CAD)
       Month 25 — 36 after RCI Certification Date — $256(USD)or $256(CAD)
   New Qualified End Users as of the RCI Effective Date — $241(USD)or $241(CAD)

 The Existing Qualified End User pricing set forth above shall be fixed for the first 36 months and
 not subject to price increase pursuant to Section 2.4.2.

 This recurring monthly fee is payable beginning the first month after submission ofan order for each
 Qualified End User to whom CDK's Interfaced Product is sold, beginning on the RCI Effective Date.
 CDK will pay this fee directly on behalf of Qualified End Users.


 Existing Qualified End Users: Within seven (7) days of the RCI Effective Date, CDK will provide
 Reynolds a comprehensive list of the existing Qualified End Users with whom CDK is already
 providing services and were installed prior to the RCI Effective Date. This list will include, at a
 minimum, the name, address, phone number, and installation date of each Qualified End User. After
 Certification, any integration requests by CDK for Qualified End Users matching names on this list will
 be installed at the Installation Fee and invoiced for the Monthly Interface Fee for Existing Qualified
 End Users listed above. Any integration requests by CDK for Qualified End Users not listed will be
 invoiced for the Installation Fee and Monthly Interface Fee for New Qualified End Users listed above.




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 Fees for pre-load files delivered at initial installation are included in the(Per Qualified End User)
 Installation Fees for New Qualified End Users. Requests for Reynolds to send replacement pre-load
 files for a previously completed RCI order will be assessed a fee of$125.00(USD)/(CAD)for each
 replacement pre-load file.




 Minimum Fees: For each twelve(12) month period following Certification ofthe Interfaced Product,
 CDK's total (Per Qualified End User) Installation Fee and (Per Qualified End User) Monthly Interface
 Fee paid to Reynolds will be no less than $15,000(USD)(the "Minimum Fees"). The first twelve(12)
 month period begins upon Certification ofthe Interfaced Product. If CDK's total (Per Qualified End
 User) Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to Reynolds do not meet
 the Minimum Fees at the end ofeach given twelve(12) month period thereafter, then CDK will pay
 Reynolds the difference between the Minimum Fees and the sum of(Per Qualified End User)
 Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to Reynolds.


 Maximum Assistance: Reynolds will provide CDK a maximum offorty (40) hours of support during
 the initial implementation and certification process for the Interfaced Product(s) defined in this
 Agreement. If Reynolds exceeds these hours during the implementation and certification process,
 Reynolds will notify CDK in writing. IfCDK would like Reynolds to exceed the Maximum Assistance,
 CDK will request in writing support for said services. In Reynolds sole discretion Reynolds may
 decline and/or accept the request and will charge CDK per hour at an hourly rate of$250 per hour
(USD).


 Non-Refundable Re-Certification Fee:           $ 5,000(USD)- WAIVED
 As described in Sections 3.5.1.1 — 3.5.1.4, this Re-Certification Fee is payable when CDK releases a
 major release oftheir already-Certified Interfaced Product and/or iftwenty-four (24) months have
 expired since the last Certification or Re-Certification ofthe Interfaced Product has occurred.




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                                                EXHIBIT RCI E3


                                           CDK PARTSVOICE FEES


 Certification Process Fee: $25,000(USD)- WAIVED
 This fee will be due upon invoice from Reynolds.


(Per Qualified End User)Installation Fee(s):
   Existing Qualified End Users as of the RCI Effective Date - $125(USD)or $125(CAD)-
 WAIVED
   New Qualified End Users as of the RCI Effective Date - $125(USD)or $125(CAD)

 This one-time setup fee is payable within the first month after submission ofan order for each
 Qualified End User to whom CDK's Interfaced Product is sold, beginning on the RCI Effective Date.
 CDK will pay this fee directly on behalf of Qualified End Users.

 Existing Qualified End Users: Within seven (7) days ofthe RCI Effective Date, CDK will provide
 Reynolds a comprehensive list ofthe existing Qualified End Users with whom CDK is already
 providing services and were installed prior to the RCI Effective Date. This list will include, at a
 minimum,the name, address, phone number, and installation date ofeach Qualified End User. After
 Certification, any integration requests by CDK for Qualified End Users matching names on this list will
 be installed at the Installation Fee for Existing Dealers listed above. Any integration requests by CDK
 for Qualified End Users not listed will be invoiced for the Installation Fee for New Qualified End Users
 listed above.


(Per Qualified End User) Monthly Interface Fee(s): $46(USD)or $46(CAD)

 This recurring monthly fee is payable beginning the first month after submission ofan order for each
 Qualified End User to whom CDK's Interfaced Product is sold, beginning on the RCI Effective Date.
 CDK will pay this fee directly on behalf of Qualified End Users.


 Fees for pre-load files delivered at initial installation are included in the (Per Qualified End User)
 Installation Fees. Requests for Reynolds to send replacement pre-load files for a previously completed
 RCI order will be assessed a fee of$125.00(USD)/(CAD)for each replacement pre-load file.




 Minimum Fees: For each twelve(12) month period following Certification ofthe Interfaced Product,
 CDK's total (Per Qualified End User) Installation Fee and (Per Qualified End User) Monthly Interface


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Fee paid to Reynolds will be no less than $50,000(USD)(the "Minimum Fees"). The first twelve(12)
month period begins upon Certification ofthe Interfaced Product. If CDK's total (Per Qualified End
User) Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to Reynolds do not meet
the Minimum Fees at the end of each given twelve(12) month period thereafter, then CDK will pay
Reynolds the difference between the Minimum Fees and the sum of(Per Qualified End User)
Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to Reynolds.


Maximum Assistance: Reynolds will provide CDK a maximum oftwenty(20)hours ofsupport
during the initial implementation and certification process for the Interfaced Product(s) defined in this
Agreement. IfReynolds exceeds these hours during the implementation and certification process,
Reynolds will notify CDK in writing. If CDK would like Reynolds to exceed the Maximum Assistance,
CDK will request in writing support for said services. In Reynolds sole discretion Reynolds may
decline and/or accept the request and will charge CDK per hour at an hourly rate of$250 / hour(USD).


Non-Refundable Re-Certification Fee:              $ 5,000(USD)- WAIVED

As described in Sections 3.5.1.1 — 3.5.1.4, this Re-Certification Fee is payable when CDK releases a
major release oftheir already-Certified Interfaced Product and/or if twenty-four(24) months have
expired since the last Certification or Re-Certification ofthe Interfaced Product has occurred.




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CONFIDENTIAL-Submitted in Lieu of Compulsory Process                                     REYREY0000080




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                                                EXHIBIT RCI E4

                                          CDK F&I RESULTS FEES


 Certification Process Fee: $0(USD)—
 For avoidance of doubt; the Certification Process Fee for the CDK F&I Results Interfaced Product was
 paid under a prior agreement.


(Per Qualified End User)Installation Fee(s):
   New Qualified End Users as of the RCI Effective Date - $500(USD)

This one-time setup fee is payable within the first month after submission ofan order for each
Qualified End User to whom CDK's Interfaced Product is sold, beginning on the RCI Effective Date.
CDK will pay this fee directly on behalf of Qualified End Users.


(Per Qualified End User) Monthly Interface Fee(s): $172(USD)
This recurring monthly fee is payable beginning the first month after submission ofan order for each
Qualified End User to whom CDK's Interfaced Product is sold, beginning on the RCI Effective Date.
CDK will pay this fee directly on behalf of Qualified End Users.


Minimum Fees: For each twelve(12) month period following Certification ofthe Interfaced Product,
CDK's total (Per Qualified End User)Installation Fee and (Per Qualified End User) Monthly Interface
Fee paid to Reynolds will be no less than $12,000(USD)(the "Minimum Fees"). The first twelve(12)
month period begins upon Certification ofthe Interfaced Product. If CDK's total(Per Qualified End
User) Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to Reynolds do not meet
the Minimum Fees at the end ofeach given twelve(12) month period thereafter, then CDK will pay
Reynolds the difference between the Minimum Fees and the sum of(Per Qualified End User)
Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to Reynolds.


 Maximum Assistance: Reynolds will provide CDK a maximum oftwenty(20)hours of support
 during the initial implementation and certification process for the Interfaced Product(s) defined in this
 Agreement. If Reynolds exceeds these hours during the implementation and certification process,
 Reynolds will notify CDK in writing. If CDK would like Reynolds to exceed the Maximum Assistance,
 CDK will request in writing support for said services. In Reynolds sole discretion Reynolds may
 decline and/or accept the request and will charge CDK per hour at an hourly rate of$250 / hour(USD).


 Non-Refundable Re-Certification Fee:           $ 5,000(USD)- WAIVED
 As described in Sections 3.5.1.1 — 3.5.1.4, this Re-Certification Fee is payable when CDK releases a
 major release oftheir already-Certified Interfaced Product and/or if twenty-four(24) months have
 expired since the last Certification or Re-Certification ofthe Interfaced Product has occurred.


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                                     CDK LOT MANAGEMENT FEES


 Certification Process Fee: $15,000(USD)— WAIVED
 This fee will be due upon invoice from Reynolds.


 Interfaces to be provided to CDK Lot Management Interfaced Product(s):
    • Batch Vehicle Inventory
    • Batch Service Appointment(with pre-load)
     ▪ Batch Closed F&I Deal (with pre-load)

(Per Qualified End User)Installation Fee(s):
   Existing Qualified End Users as of the RCI Effective Date —
     * Any one Interface - $125(USD)or $125(CM))— WAIVED
     * Any two Interfaces - $250(USD)or $250(CAD)— WAIVED
     * Any three Interfaces - $350(USD)or $350(CAD)— WAIVED

    New Qualified End Users as of the RCI Effective Date
     • Any one Interface - $125(USD)or $125(CAD)
     • Any two Interfaces - $250(USD)or $250(CAD)
     • Any three Interfaces - $350(USD)or $350(CAD)

This one-time setup fee is payable within the first month after submission ofan order for each
Qualified End User to whom CDK's Lot Management Interfaced Product is sold, beginning on the RCI
Effective Date. CDK will pay this fee directly on behalfofQualified End Users.


(Per Qualified End User) Monthly Interface Fee(s):
   Existing Qualified End Users as of the RCI Effective Date —
       First 12 months after RCI Certification Date —
         * Batch Closed F&I Deal - $39(USD)or $39(CAD)
       Month 13 —24 after RCI Certification Date —
        • Batch Closed F&I Deal - $55(USD)or $55(CAD)
       Month 25 — 36 after RCI Certification Date —
        • Batch Closed F&I Deal - $71 (USD)or $71(CAD)

    New Qualified End Users and Existing Qualified End Users as to the RCI Effective Date -
     • Batch Vehicle Inventory - $37(USD)or $37(CAD)
     • Batch Service Appointment - $47(USD)or $47(CAD)

    New Qualified End Users as to the RCI Effective Date:
     • Batch Closed F&I Deal - $67(USD)or $67(CAD)



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The Existing Qualified End User pricing set forth above shall be fixed for the first 36 months and
not subject to price increase pursuant to Section 2.4.2.

This recurring monthly fee is payable beginning the first month after submission of an order for each
Qualified End User to whom CDK's Interfaced Product is sold, beginning on the Effective Date of this
Agreement. CDK will pay this fee directly on behalf of Qualified End Users.


Existing Qualified End Users: Within seven (7) days of the RCI Effective Date, CDK will provide
Reynolds a comprehensive list of the existing Qualified End Users with whom CDK Lot Management
is already providing services and were installed prior to the RCI Effective Date. This list will include,
at a minimum, the name, address, phone number, and installation date of each Qualified End User.
After Certification, any integration requests by CDK Lot Management for Qualified End Users
matching names on this list will be installed at the Installation Fee and invoiced for the Monthly
Interface Fee for Existing Qualified End Users listed above. Any integration requests by CDK for
Qualified End Users not listed will be invoiced for the Installation Fee and Monthly Interface Fee for
New Qualified End Users listed above.


Fees for pre-load files delivered at initial installation are included in the (Per Qualified End User)
Installation Fees for New Qualified End Users. Requests for Reynolds to send replacement pre-load
files for a previously completed RCI order will be assessed a fee of $125.00(USD)/(CAD)for each
replacement pre-load file.
Minimum Fees: For each twelve(12) month period following Certification ofthe Interfaced Product,
CDK's total (Per Qualified End User) Installation Fee and (Per Qualified End User) Monthly Interface
Fee paid to Reynolds will be no less than $50,000(USD)(the "Minimum Fees"). The first twelve (12)
month period begins upon Certification of the Interfaced Product. If CDK's total (Per Qualified End
User) Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to Reynolds do not meet
the Minimum Fees at the end of each given twelve (12) month period thereafter, then CDK will pay
Reynolds the difference between the Minimum Fees and the sum of (Per Qualified End User)
Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to Reynolds.


Maximum Assistance: Reynolds will provide CDK a maximum offorty(40)hours ofsupport during
the initial implementation and certification process for the Interfaced Product(s) defined in this
Agreement. If Reynolds exceeds these hours during the implementation and certification process,
Reynolds will notify CDK in writing. If CDK would like Reynolds to exceed the Maximum Assistance,
CDK will request in writing support for said services. In Reynolds sole discretion Reynolds may
decline and/or accept the request and will charge CDK per hour at an hourly rate of$250 / hour(USD).


Non-Refundable Re-Certification Fee:               $ 5,000(USD)- WAIVED




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As described in Sections 3.5,1.1 — 3.5,1.4, this Re-Certification Fee is payable when CDK releases a
major release of their already-Certified Interfaced Product and/or if twenty-four (24)months have
expired since the last Certification or Re-Certification ofthe Interfaced Product has occurred.




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CONFIDENTIAL-Submitted in Lieu of Compulsory Process                                    REYREY0000084




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                                                EXHIBIT RCI E6

                                          CDK ONE-EIGHTY FEES


 Certification Process Fee: $ 0(CAD)
 For avoidance ofdoubt;the Certification Process Fee for the CDK ONE-EIGHTY Interfaced Product
 was paid under a prior agreement.


 Interfaces included in Package 1:
    • Publish Customer
    • Insert / Update Customer
    * Publish Service Appointment(with pre-load)
    * Publish Repair Order(Open, Invoiced, Closed, Void Triggers)- with pre-load
    • Insert F&I Deal- Start
    • Insert/Update Vehicle Inventory

 Interfaces included in Package 2:
    • Publish Customer
    • Insert / Update Customer
    • Publish Repair Order(Open, Invoiced, Closed, Void Triggers)- with pre-load
    * Insert F&I Deal- Start
    • Insert/Update Vehicle Inventory


(Per Qualified End User)Installation Fee(s):
   • Package 1: $500(CAD)
   • Package 2: $500(CAD

 This one-time setup fee is payable within the first month after submission ofan order for each
 Qualified End User to whom ONE-EIGHTY's Interfaced Product is sold, beginning on the Effective
 Date ofthis Agreement. ONE-EIGHTY will pay this fee directly on behalf of Qualified End Users.


 Fees for pre-load files delivered at initial installation are included in the (Per Qualified End User)
 Installation Fees. Requests for Reynolds to send replacement pre-load files for a previously completed
 RCI order will be assessed a fee of$125.00(CAD)for each replacement pre-load file.


(Per Qualified End User)Monthly Interface Fee:
   • Package 1: $427(CAD)
   • Package 2: $342(CAD)




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 This recurring monthly fee is payable beginning the first month after submission ofan order for each
 Qualified End User to whom ONE-EIGHTY's Interfaced Product is sold, beginning on the Effective
 Date ofthis Agreement. ONE-EIGHTY will pay this fee directly on behalfofQualified End Users.


 Minimum Fees: For each twelve(12) month period following Certification ofthe Interfaced Product,
 ONE-EIGHTY's total (Per Qualified End User)Installation Fee and (Per Qualified End User) Monthly
 Interface Fee paid to Reynolds will be no less than $100,000(CAD)(the "Minimum Fees"). The first
 twelve(12) month period begins upon Certification ofthe Interfaced Product. If ONE-EIGH'TY's total
(Per Qualified End User)Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to
 Reynolds do not meet the Minimum Fees at the end ofeach given twelve(12)month period thereafter,
 then ONE-EIGHTY will pay Reynolds the difference between the Minimum Fees and the sum of(Per
 Qualified End User) Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to
 Reynolds.


Maximum Assistance: Reynolds will provide ONE-EIGHTY a maximum of20 hours of support
during the initial implementation and certification process for the Interfaced Product(s) defined in this
Agreement. If Reynolds exceeds these hours during the implementation and certification process,
Reynolds will notify ONE-EIGHTY in writing. If ONE-EIGHTY would like Reynolds to exceed the
Maximum Assistance, ONE-EIGHTY will request in writing support for said services. In Reynolds
sole discretion Reynolds may decline and/or accept the request and will charge ONE-EIGHTY per hour
at an hourly rate of$250 per hour(CAD).


Non-Refundable Re-Certification Fee:          $5,000(CAD)- WAIVED
As described in Sections 3.5.1.1 — 15.1.4, this Re-Certification Fee is payable when ONE-EIGHTY
releases a major release of their already-Certified Interfaced Product and/or iftwenty-four (24) months
have expired since the last Certification or Re-Certification ofthe Interfaced Product has occurred.




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                                           CDK PERFORMANCE 20 FEES


     Certification Process Fee: $15,000(USD)- WAIVED
     This fee will be due upon invoice from Reynolds.
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1.
     (Per Qualified End User)Installation Fee(s):
        Existing Qualified End Users as of the RCI Effective Date - $125(USD)or $125(CAD)-
      WAIVED
        New Qualified End Users as of the RCI Effective Date - $125(USD)or $125(CAD)

     This one-time setup fee is payable within the first month after submission ofan order for each
     Qualified End User to whom CDK's Interfaced Product is sold, beginning on the RCI Effective Date.
     CDK will pay this fee directly on behalf of Qualified End Users.

     Existing Qualified End Users: Within seven (7) days ofthe RCI Effective Date, CDK will provide
     Reynolds a comprehensive list ofthe existing Qualified End Users with whom CDK is already
     providing services and were installed prior to the RCI Effective Date. This list will include, at a
     minimum,the name, address, phone number, and installation date ofeach Qualified End User. After
     Certification, any integration requests by CDK for Qualified End Users matching names on this list will
     be installed at the Installation Fee for Existing Dealers listed above. Any integration requests by CDK
     for Qualified End Users not listed will be invoiced for the Installation Fee for New Qualified End Users
     listed above.


     (Per Qualified End User) Monthly Interface Fee(s): $47(USD)or $47(CAD)

     This recurring monthly fee is payable beginning the first month after submission ofan order for each
     Qualified End User to whom CDK's Interfaced Product is sold, beginning on the RCI Effective Date.
     CDK will pay this fee directly on behalf of Qualified End Users.



     Minimum Fees: For each twelve(12)month period following Certification ofthe Interfaced Product,
     CDK's total (Per Qualified End User) Installation Fee and (Per Qualified End User) Monthly Interface
     Fee paid to Reynolds will be no less than $15,000(USD)(the "Minimum Fees"). The first twelve(12)
     month period begins upon Certification ofthe Interfaced Product. If CDK's total (Per Qualified End
     User) Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to Reynolds do not meet
     the Minimum Fees at the end ofeach given twelve(12) month period thereafter, then CDK will pay
     Reynolds the difference between the Minimum Fees and the sum of(Per Qualified End User)
     Installation and (Per Qualified End User) Monthly Interface Fee(s) paid to Reynolds.




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Maximum Assistance: Reynolds will provide CDK a maximum of twenty (20)hours ofsupport
during the initial implementation and certification process for the Interfaced Product(s) defined in this
Agreement. If Reynolds exceeds these hours during the implementation and certification process,
Reynolds will notify CDK in writing. IfCDK would like Reynolds to exceed the Maximum Assistance,
CDK will request in writing support for said services. In Reynolds sole discretion Reynolds may
decline and/or accept the request and will charge CDK per hour at an hourly rate of$250 hour(USD).


Non-Refundable Re-Certification Fee:              $ 5,000(US!))- WAIVED

As described in Sections 3.5.1.1 — 3,5.1.4, this Re-Certification Fee is payable when CDK releases a
major release oftheir already-Certified Interfaced Product and/or if twenty-four(24) months have
expired since the last Certification or Re-Certification ofthe Interfaced Product has occurred.




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CONFIDENTIAL-Submitted in Lieu of Compulsory Process                                     REYREY0000088




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                                                                           Logo Usage Standards


          Reynolds and Reynolds established the Reynolds Certified Interface (RCI) Program to
          ensure that your product provides safe, secure, and seamless Integration with Reynolds'
          Dealership Management Systems (DMS) and minimizes disruption to the dealer's
          business.

         This document and the accompanying logos provide the
         standards by which you can proudly tell our customers,the
         dealers,that you are a certified Ref member Certification,
         and display of the exclusive RCI logo with the appropriate
                                                                            :"     Reirliolds
                                                                              - 7"7—
         DMS tagline, ears your solution an important competitive
         advantage over a non-certified product,
                                                                                    Reynolds.
          Candidates -who succesalully complete the RCI Program
          requirements may sae the appropriate RD logo with iagline
                                                                             " RCI ,„,,                                               to lane
          as a graphic symbol to signify the certification, and for no
          other purpose.The tagline accompanying the RCI logo                          Certified for ERA'."And 8.001/EK.
                                                                                                                  -
          indicateR the specific Reynolds DMS for which your solution    Rri -Prate   on
          it tel titled. You are required in dinpLay thy RCI logo with
          the tagline that correctly reflects your certification.

          Usage
          The Roynoide certified Interface logo with tagline may be
          used in print or electronic media, i.e., iendorWeb pages.
                                                                                       ,r     tletemon.   11011F
          Logo Artwork
          The logo type is a special typeface and cannot be typeset
          from regular fonts. Oribi camera-ready artwork from an                                                                        Reynolds
          electronic file furnished by Reynolds and Reynold",can
          be used to reproduce the signanne.
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          Color Applications                                             nr;2-tax 5ea0 lw                          /44".,i,fsgt oef
          The logo may not be screened or used in any spec other
          than the ones provided in black and white, 2-color pnicess
         (PMS280), or 4-color process.
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          Minimum Size                                                                                      &Reynolds.
          The minimum acceptable size for the logo with tagline
          is 1.75"(Vitilh). The mark should not be larger or 11101tt                                      RCS
          prominent than your own logo or company name.
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          raspy, photani or illaistraidons, or the edge of the page hy
          a clear staging area of at least I/4X (Xicilisgo width).This
          is s minimum dear spare annind the logo,The staging
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          area requirement applies to the general background the
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          logo appears upon.This arca sitgild always be teen and                                          EketZi
          continuous, free of any pronounced texture or graphic
          variation.
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CONFIDENTIAL-Submitted in Lieu of Compulsory Process                                                                                                 REYREY0000089




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       Logo Elements
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       or typeface of*Rerrinlds CernSted Intert(ace" without dte logo.
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       tott the Ptrit time it ht used and acctieripanted Ity the DIMS with
       whith .Tee are certified to interface, i.e., ER,V,POWER,
       or ERA and POWER. Alter that, you ran use"RCI!Whmt
       raerring to the mark. i is "Reynolds Certified interface! When
       referring to the progrmo, it is the'Rcynolds Cartifiod itueriace
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       Program!

       Unacceptable Logo Usage
        • Do not use the mark as a deeorative elemmit. OnIzt use
          COMptEte lor art provided Irr RerstokinThe logo iikindcl
         always include the tagline indicating the specific DMS for"
          which your product is certified.(Certilied for ERA,Certified
          ion POWER,or Cmilileel for ERA and POWER).
        • Do Rot incnrpomte the mark with other design      dinneal.m.

        ° Do not use   the mark over a decorative background.
        • Do not screen the mark or IL41, an other specifications except              IN, UM   Ott EMU 6devanimei.ixtearea

          the ones provided in hie& and white or 4-color process.




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                                    DATA EXCHANGE AGREEMENT

   This Data Exchange Agreement(the "Agreement") is entered into as of the latest signature date
   of the parties below (the "Effective Date"), by and between CDK Global, LLC, and its affiliates
  (collectively, "CDK") and The Reynolds and Reynolds Company, Dealer Computer Services,
  Inc., Universal Computer Systems Holding, Inc. and their respective affiliates (collectively,
  "Reynolds").

   WHEREAS, CDK provides retail automobile and truck dealers ("Dealer(s)") with a variety of
   Elite®, webSuiteeD and DRIVE® dealer management computer systems (collectively, "CDK
   DMS").

  WHEREAS, CDK also provides DMI Third Party Clients with a data service that involves the
  polling of data from Reynolds DMS by CDK's Integralink and DMI affiliates (collectively
  "DMI")for use by such automotive manufacturers or other third parties.

   WHEREAS, CDK also provides Dealers with application programs and services for use with
   dealer management computer systems (collectively the "CDK Applications").

   WHEREAS, Reynolds provides Dealers with a variety of ERA® and POWER dealer
   management computer systems (collectively,"Reynolds DMS").

   WHEREAS,Reynolds also provides Dealers with application programs and services for use with
   dealer management computer systems (collectively the "Reynolds Applications").

   WHEREAS, CDK has developed a Managed Interface Program ("CDK 3PA Program") that
   provides application providers with the ability to receive information from a CDK DMS and to
   send information to a CDK DMS.

   WHEREAS, Reynolds has developed a Reynolds Certified Interface Program ("Reynolds RC1
   Program") that provides application providers with the ability to receive information from a
   Reynolds DMS and to send information to a Reynolds DMS.

   WHEREAS,CDK wishes to access data on, and/or provide data to, Reynolds DMS for use with
   certain CDK Applications.

   WHEREAS,Reynolds wishes to access data on, and/or provide data to, CDK DMS for use with
   certain Reynolds Applications.

   WHEREAS, Reynolds has agreed to provide CDK an orderly Wind Down Period (the "Wind
   Down Period") during which Reynolds will not attempt to prevent DMI from polling data from
   Reynolds DMS.

   WHEREAS, CDK and Reynolds desire to set forth the process by which the Wind Down Period
   will take place.



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    NOW, THEREFORE, in consideration of the promises, covenants and agreements set forth
    herein, and for other good and valuable consideration, the receipt and sufficiency of which are
    hereby acknowledged, Reynolds and CDK agree as follows:

   1.0      DEFINITIONS

     1.1    CDK Dealer — A single franchised motor vehicle dealership location (including a
            location with multiple motor vehicle franchises) using a CDK DMS.

     1.2 DM1 Third Party Client(s) — an entity that provides products or services to automotive
         retailers, automotive original equipment manufacturers or other stakeholders within the
         motor vehicle retailing environment on whose behalf DM1 electronically collects and
         transmits data from a Reynolds DMS,among other DMS.

     1.3 Reynolds Dealer — A single automobile and/or truck dealership store and application
         area(or branch)combination(and its associated employees) using a Reynolds DMS.

     1.4   Wind Down Period — For each DM1 Third Party Client, the period beginning on the
           Effective Date of this Agreement and concluding on the later of:

           (i)      the end of the current term of such DM1 Third Party Client's agreement with
                    DM1 ("Third Party Client Agreement") up to a maximum of one year; provided,
                     however, that (a)the maximum time period under this subsection 1.4(i) for Third
                    Party Client Agreements whose renewal term will begin after the Effective Date
                     but whose deadline to give notice not to renew passed before the Effective Dale
                    shall be extended to the end of such renewal term so long as the renewal term is
                    no more than one year,(b)the maximum time period under this subsection 1.4(1)
                    for the Third Party Client Agreements listed on Exhibit DEA-1 hereto shall be
                    as set forth on Exhibit DEA-1 hereto and (c) for each Third Party Client
                    Agreement that has a deadline to give notice not to renew that passes during the
                    ten (10) business day period immediately after the Effective Date, and that is
                    renewed by DM1 during such ten business day period for a term of no more than
                    one year, the maximum time period under this subsection 1.4(i) shall be extended
                    to the end of such renewal term (but, provided further, that such extensions of the
                    Wind Down Period shall not apply to more than five (5) such agreements so
                    renewed after the Effective Date, and it being stipulated that Reynolds shall have
                    no obligations under Section 4.3 herein or otherwise to facilitate or protect
                    interim access for any such Third Party Client Agreement renewals that exceed
                    the five-agreement limit set forth this sentence); and

           (ii)     May 13, 2015,

            Notwithstanding anything to the contrary herein, Reynolds may, at its discretion, extend
            the Wind Down Period for any DM1 Third Party Client by providing DM1 with notice of
            the length of the extension no later than 30 days prior to the date it would otherwise end
           (it being agreed that Reynolds may so extend a Wind Down Period multiple times),


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            except that in no event shall the Wind Down Period for any DMI Third Party Client
            exceed five (5) years from the Effective Date. For purposes of this provision, notice by
            email to Mr. Howard Gardner and/or any other person duly designated by CDK, shall be
            sufficient. When 'Wind Down Period' is used in the context of the termination of this
            Agreement it shall mean when the Wind Down Periods of all DMI Third Party Clients
            have concluded.

     1.5   Operational Data — Data that is stored in the CDK DMS or Reynolds DMS as part of a
           Dealer's business process and is accessible by a CDK Dealer or Reynolds Dealer,
           respectively. Operational Data does not include any data that is stored on the CDK DMS
           or Reynolds DMS as a bulk data set or table, that is directly accessed by a CDK DMS or
           Reynolds DMS for the purpose of validating, calculating and/or cleansing data for a
           given business process (i.e. OEM purchased data, factory masters, tax tables, labor
           operation code tables, etc).

  2.0      CDK 3PA PROGRAM

           This Agreement is entered concurrently with the certain Managed Interface Agreement
           dated the date hereof between Reynolds and CDK(the "3PA Agreement").

  3.0      REYNOLDS RCIPROGRAM

           This Agreement is entered concurrently with the certain Reynolds Interface Agreement
           dated the date hereof between Reynolds and CDK (the "RCI Agreement").

  4.0      WIND DOWN OF NON-RCI ACCESS TO REYNOLDS SYSTEMS

    4.1    CDK Cooperation; Agreements with DMI Third Party Clients. CDK agrees to
           reasonably cooperate with Reynolds' efforts, if any, to have DMI Third Party Clients
           execute agreements to become part of the Reynolds RCI Program during the Wind Down
           Period. During the Wind Down Period, Reynolds and CDK shall discuss in good faith
           the technical and operational aspects of the Wind Down Period as they relate to the
           ongoing servicing by DMI of DMI Third Party Clients and their transition to the
           Reynolds RCI Program after the Wind Down Period.

    4.2 Third-Party Communications. CDK will communicate to the DMI Third Party Clients:
        (a) that CDK intends to wind down its Reynolds DMS related integration and does not
        intend to extend service for such integration beyond the current primary term of its
         agreement with such DMI Third Party Client, (b) expressing words to the effect that
         CDK looks forward to doing its part to ease each CDK Third Party Client's transition
         away from CDK's integration with respect to dealers using the Reynolds DMS during its
        current contract term with CDK so that the CDK Third Party Clients will not experience
        a gap in service; and (c) providing them Reynolds contact information for purposes of
        any inquiries regarding the Reynolds Certified Interface ("RCI") program. Prior to the
         dissemination of any written press releases or market communications by either Party
        regarding this Agreement (including, without limitation, communications directed to


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           DMI Third Party Clients or OEMs), the template for such press releases or market
           communications shall be tendered to the other Party for its review and approval (such
           approval not to be unreasonably withheld) with respect to all references to the
           Agreement,the Wind Down Period, or the respective reasons for each.

     4.3 Interim Reynolds DMS Access Assistance; No Disturbance. During the Wind Down
         Period, the parties intend that, consistent with the terms of this Agreement, CDK will
         continue providing its integration services through DMI in accordance with its contracts
         without interruption from Reynolds security enhancements. During the Wind Down
         Period Reynolds (i) shall protect and facilitate current Reynolds DMS access by CDK
         and DMI for all DMI Third Party Clients and CDK Applications, including, without
         limitation, providing CDK and DMI with the appropriate Reynolds-defined access to the
         Reynolds DMS necessary for DMI to perform its services (i.e., the "Interim Solution")
         and (ii) shall not take any measures to block or otherwise disrupt DMI's normal Reynolds
         DMS access during such Wind Down Period. CDK understands and agrees that, in order
         for Reynolds to be able to provide such Interim Solution pursuant to this Section 4.3,
         CDK shall provide Reynolds with:(1) within 5 business days of the Effective Date, a list
         of Reynolds Dealers System Numbers and the DMS User Logins being used by CDK for
         each Dealer for whom such Interim Solution is needed; and (ii) provided CDK has
         secured any permission necessary to provide such information, within 60 days of the
         Effective Date, the information described in Exhibit DEA-2 hereto. In the event that
         CDK is unable to timely provide at least items #1, #2, #4(b), #4(f), and #4(i)from Exhibit
         DEA-2 (bolded for reference in that exhibit) for any given DMI Third Party Client(s),
         Reynolds shall have no further obligation to provide the Interim Solution for such DM1
         Third Party Clicnt(s) and may continue to provide such Interim Solution only in
         Reynolds' sole discretion. CDK understands that reasonable efforts may be required on
         the part of CDK,the DMI Third Party Clients, and/or the applicable Reynolds Dealers in
         order to facilitate such Interim Solution.

    4.4 CDK Wind Down Cooperation. CDK agrees to provide ongoing service to DMI Third
        Party Clients during the Wind Down Period, for so long as Reynolds complies with
        Section 4.3 above and the DMI Third Party Client is not in breach of the relevant Third
        Party Client Agreement. If CDK elects to end ongoing service to any DMI Third Party
        Client during the Wind Down Period pursuant to this Agreement, CDK will provide
        notice to Reynolds within three (3) business days of such election. During the Wind
        Down Period for each DMI Third Party Client, CDK agrees to reasonably assist and
        cooperate with Reynolds, with respect to: (1)communication with DMI Third Party
        Clients, their Reynolds Dealer customers and the automotive industry in general during
        the Wind Down Period; (2)Reynolds' development and testing of interfaces for DMI
        Third Party Clients who choose to join the Reynolds RCI Program; and (3) the transition
        ofsuch customers to the Reynolds RCI program with respect to Reynolds Dealers.

    4.5 Prohibition on Knowledge Transfer and DMS Access. Each of Reynolds and CDK
        further covenants and agrees not to sell, transfer, or assign to any affiliate or third party
        any technology, business process, or other such knowledge regarding integration with the
        other party's DMS or take any other steps to assist any person that it reasonably believes


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          to have plans to access or integrate with the other party's DMS without other party's
          written consent. For the avoidance of doubt, this Section 4.5 is not intended as a
          "covenant not to compete," but rather as a contractual restriction of access and attempted
          access intended to protect the operational and data security integrity of the Reynolds
          DMS and the CDK DMS and protection of intellectual property.

    4.6 Limitations on Use. During the Wind Down Period for a DMI Third Party Client, CDK
        will collect, transmit, and/or store Operational Data from the Reynolds DMS for such
        DMI Third Party Client only if(i) CDK obtains or has obtained written consent from the
        Reynolds Dealer(s) either directly from the Reynolds Dealer or indirectly through a DMI
        Third Party Client; (ii) the collection, transmission and/or storage relates to a CDK or
        DMI product or service; and (iii) CDK's access to the Reynolds DMS does not materially
        degrade or otherwise materially adversely affect the operation of the applicable Reynolds
        DMS or place Reynolds and/or a Reynolds Dealer at a material operational or security
        risk—provided, however,(a) that any such material adverse effect or risk covered by this
        Section 4.6 must be demonstrated to CDK by Reynolds with clear and direct evidence;
        and (b) CDK shall be given a reasonable opportunity to cure any such material adverse
        effect or risk.

  5.0      PRIVACY COMPLIANCE

    5.1    With respect to any data access permitted by this Agreement, CDK and Reynolds agree
           that they will comply with all relevant privacy and security related law, including the
           Gramm-Leach-Bliley Act and its implementing regulations (the "GLBA"), and to the
           extent applicable, the privacy laws of any state, Canada's Personal Information
           Protection and Electronic Documents Act ("PIPEDA"), and any other relevant privacy
           laws in Canada or of any province of Canada or other relevant jurisdiction.

    5.2 To the extent CDK or Reynolds obtains access to any Operational Data from or about an
        individual retail customer that contains "non-public personal information," as such term
        is defined in Title V of the GLBA ("Customer NPI") pursuant to this Agreement, CDK
        and Reynolds agree to comply with all aspects of the GLBA and any other privacy laws
        applicable to them with respect to such Customer NPI.

    5.3 The provisions of this Section 5 shall survive the term and/or termination of this
        Agreement and/or any part thereof.

  6.0      TERM AND TERMINATION

    6.1    Term. With the exception of the obligations set forth in Sections 4.5 [Prohibition on
           Knowledge Transfer and DMS Access], 5.0 [Privacy Compliance], 7.0 [Confidentiality],
           the terms of which are set forth more specifically therein, this Agreement shall terminate
           at the end of the Wind Down Period.

    6.2 Termination for Breach. If either Party commits a material breach of this Agreement
        then the non-breaching party may terminate this Agreement by thirty (30) days written


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           notice unless the breaching party cures such breach or begins a good faith effort to cure
           the breach within thirty(30)days after notice is delivered to the breaching party.

  7.0      CONFIDENTIALITY

     7.1 "Confidential Information" shall include each Party's trade secrets and other
         confidential research, development, and commercial information that is disclosed to the
         other Party pursuant to or relating to this Agreement. For the avoidance of doubt,
         Confidential Information includes but is not limited to this Agreement, its Exhibits, and
         all of their terms and any information relating to the CDK DMS (and any associated
         products, service or applications), Reynolds DMS (and any associated products, service
         or applications), CDK Applications, Reynolds Applications, interfaces associated with
         the CDK 3PA Program, and interfaces associated with the Reynolds RC1 Program.
         Confidential Information excludes information that:(1) was publicly available at the time
         it was disclosed to the other party ("Receiving Party"), or which, through no act or
         omission of the Receiving Party, becomes publicly available before the Receiving Party
         discloses it to a third party;(2) the Receiving Party already rightfully possessed flee of
         any obligation of confidentiality before the Party disclosing it ("Disclosing Party")
         disclosed it to the Receiving Party; (3) the Receiving Party rightfully receives without
         obligation of confidentiality from a third party who is entitled to disclose such
         information without breaching an obligation of confidentiality; (4) the Receiving Party
         develops independently without using any of the Disclosing Party's Confidential
         Information; or (5) is identified in writing by the Disclosing Party as not Confidential
         Information.

    7.2 Each Party shall only use the other Party's Confidential Information in connection with
        the performance of its duties hereunder. Neither Party will disclose any Confidential
        Information of the other Party to anyone, for any purpose, except: (a) employees and
        consultants that have executed agreements obligating them to comply with the provisions
        of this Confidentiality provision;(b) pursuant to a valid subpoena or an Order by a Court
        of competentjurisdiction or as otherwise required by law, provided that unless otherwise
        prohibited by law, the Party intending to disclose such information under this exception
        provides written notice to the other Party and provides the other Party an opportunity to
        seek a protective order or other appropriate protection at its election; (c) pursuant to
        written consent of the Disclosing Party; or (d) as required by law in instances in which a
        Party brings proceedings as permitted by this Agreement to enforce rights under this
        Agreement. The parties acknowledge and agree that the disclosure of any Confidential
        Information to the other Party does not confer upon a Party any license, interest or rights
        of any kind in or to the Confidential Information, except as provided in this Agreement.
        Except as permitted by this Agreement, neither Party will disclose, disseminate, use or
        otherwise make available the Confidential Information of the other. Each Party will use
        reasonable efforts, but in no event less than the security precautions such Party
        undertakes to protect its own proprietary and confidential information of like nature, to
        prevent any Confidential Information of the other Party from being disclosed to third
        parties.



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     7.3 The terms of this Agreement, the 3PA Agreement and the RCI Agreement shall be
         considered Confidential Information and neither party may disclose to any third party the
         specific terms of such agreements, or the existence or general nature of such agreements,
         other than as permitted in this Agreement, the 3PA Agreement and the RCI Agreement,
         without the prior written consent of the other party hereto.

     7.4 The Parties agree that written confidentiality agreements substantially similar to the terms
         contained herein will be obtained for any employees or contractors permitted access to
         Confidential Information. Prior to the time an employee or contractor of Receiving Party
         receives any Confidential Information of the Disclosing Party, the Receiving Party will
         instruct that employee or contractor about the obligations of the Receiving Party
         hereunder and instruct that employee or contractor not to disclose or use any Confidential
         Information, except as specifically provided herein.

     7.5    At the Disclosing Party's request or upon completion of the Receiving Party's use of
            Confidential Information, the Receiving Party will make reasonable efforts to return all
            copies of Confidential Information to the Disclosing Party or destroy the Confidential
            Information and certify such destruction to the Disclosing Party. The Receiving Party
            may retain a copy of Confidential Information, for archival purposes or to the extent
            required by law, subject to the Receiving Party's continuing obligations under this
            Section 7.

     7.6 The provisions of this Section 7 pertaining to Confidential Information shall survive
         termination or expiration of this Agreement.

   8.0     INDEMNIFICATION AND DAMAGES

     8.1   Each party ("Indemnitor") shall defend, indemnify and hold harmless the other party, its
           affiliates and their employees, successors and assigns ("Indemnitees") against all
           damages, losses, costs, expenses (including reasonable attorneys' fees, costs and
           expenses) and other liabilities arising out of any claims, demands, suits, or causes of
           action by third parties, arising out of or in connection with this Agreement to the extent
           that such damages, losses, costs, expenses and other liabilities result or are claimed to
           result in whole or in part from: (i) any breach of this Agreement by Indemnitor, its
           affiliates or their employees or agents; (ii) the violation by Indemnitor, its affiliates or
           their employees or agents of applicable law or regulation in connection with the data
           exchange activities described in this Agreement; (iii) any access by Indemnitor, or its
           affiliates or their employees or agents to Indemnitee's proprietary hardware and/or
           software facilitated pursuant to this Agreement for any purpose falling outside the scope
           of this Agreement; (iv) Indemnitor's or its affiliates' or their employees' or agent's
           failure to obtain the rights and consents necessary for Indemnitee to gain access to (and
           extract) Operational Data pursuant to this Agreement; and (v) any publication, breach of
           confidentiality, dissemination, conversion, misappropriation or other use of any
           Operational Data facilitated by this Agreement by Indemnitor, or its affiliates or their
           employees or agents in a manner (a) not authorized by the Dealer, or (b) in violation of
           relevant law.


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     8.2 Promptly upon learning of any claim pursuant to which indemnification may be sought
          hereunder, the Indemnitee shall notify Indemnitor of such claim and shall furnish to
         Indemnitor all information known and reasonably available to the Indemnitee related to
         such claim; providelb lowevcr., that any failure to provide such notice will not relieve
         Indemnitor of its indemnification obligations under this Agreement except to the extent,
         and only to the extent, that Indernnitor suffers a loss as a result of such failure. In order
         to receive the benefits of the indemnification provided this Agreement, the Indemnitee
         shall give Indemnitor the opportunity to take over, settle or defend such action, claim or
         suit through counsel of Indemnitor's choice and under Indemnitor's sole direction and
         expense, and shall fully cooperate with Indemnitor (at Indemnitor's expense) in the
         defense of any such claim. Indemnitor shall not settle any such claim without the prior
         written consent of the Indemnitee, which consent shall not be unreasonably withheld or
         delayed. To the extent that Indemnitor, on the one hand, and the Indemnitee, on the other
         hand, are required to bear losses with respect to a particular claim, the intent of the parties
         is that they shall bear such losses in proportion to their respective degrees of fault or
         responsibility for such claim.

     8.3 EXCEPT FOR A CLAIM BASED SOLELY UPON BREACH OF THE
         CONFIDENTIALITY PROVISIONS OF SECTION 7, IN NO EVENT WILL EITHER
         PARTY BE LIABLE TO THE OTHER PARTY OR ITS AFFILIATES, SUCCESSORS
         OR ASSIGNS FOR ANY INCIDENTAL, CONSEQUENTIAL DAMAGES
         INCURRED BY SUCH PERSONS (INCLUDING, WITHOUT LIMITATION, ANY
         LOST REVENUE OR LOST PROFITS) OR FOR SIMILAR DAMAGES, EVEN IF
         ADVISED OF THE POSSIBILITY OF SUCII DAMAGES (IT BEING AGREED
         THAT THIRD PARTY CLAIMS FOR INCIDENTAL OR CONSEQUENTIAL
         DAMAGES AGAINST THE OTHER PARTY WOULD CONSTITUTE DIRECT
         DAMAGES INCURRED BY THE OTHER PARTY). EXCEPT FOR WILLFUL
         MISCONDUCT BY A PARTY, IN NO EVENT WILL EITHER PARTY BE LIABLE
         TO THE OTHER PARTY OR ITS AFFILIATES, SUCCESSORS OR ASSIGNS FOR
         ANY PUNITIVE OR EXEMPLARY DAMAGES.

  9.0      DISPUTE RESOLUTION

    9.1    Confidential Binding Arbitration. In the event of any dispute, claim, question or
           disagreement arising from or relating to this Agreement or an alleged breach thereof
          ("Dispute"), the Parties agree that all Disputes shall be submitted to confidential binding
           arbitration in accordance with the then applicable commercial rules of the American
           Arbitration Association ("AAA"). Notwithstanding anything to the contrary in this
           Agreement or the AAA Rules, the Parties agree that arbitration under this Section 9:(a)
           shall be governed by the Federal Arbitration Act exclusive of any state arbitration laws;
          (b) shall be before a single neutral arbitrator who is a licensed attorney with prior
           experience as an arbitrator; (c) shall be conducted in Nashville, TN; and (d) shall be
           conducted pursuant to a confidentiality agreement that provides at a minimum that the
           arbitration and all documents and pleadings exchanged in connection therewith shall be
           held confidential and used only for purposes of the arbitration, except that a Party may


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           nevertheless: (i) seek to reduce the binding arbitration award to a judgment in court; (ii)
           seek enforcement of the award pursuant to the Federal Arbitration Act and this
           Agreement; and (iii) disclose information regarding the arbitration as required by law
          (e.g., to auditors or regulatory agencies).

     9.2 Arbitration Fees. Aside from filing or other fees required to initiate the arbitration, all
         arbitration fees will be split evenly between the Parties unless and until an award is made
         by the arbitrator regarding arbitration fees. If a Party does not pay its respective share of
         arbitration fees, then all claims (including counterclaims) of the non-paying Party shall be
         dismissed by the arbitrator or AAA, and the non-paying Party shall not be permitted to
         bring any further claims in the arbitration for affirmative relief The non-paying Party
         may still participate in the arbitration to defend claims brought against it.

     9.3 Temporary Injunctive Relief for IP Disputes. Notwithstanding anything to the contrary
         contained in this Section 9 or elsewhere in this Agreement, however, if a dispute arises
         that relates to misappropriation of proprietary, confidential or trade secret information or
         other intellectual property; or a breach of the Confidentiality or Data Security provisions
         of this Agreement and/or its Exhibits ("IP Dispute"), a Party, at its election may seek
         Temporary Injunctive Relief from a court of competent jurisdiction related exclusively to
         the IP Dispute. "Temporary Injunctive Relief' means only a temporary restraining
         order and/or a temporary injunction. A claim for Temporary Injunctive Relief brought in
         court may not be combined with:(a) a request for any other type of relief whether legal
         or equitable; or (b) any Dispute other than an IF Dispute. All other Disputes, including
         whether a permanent injunction shall issue, are to be arbitrated concurrently with any
         court action relating to Temporary Injunctive Relief.

   10.0    RESPECT FOR EMPLOYEES. Reynolds and CDK acknowledge and agree that the
           other Party's personnel have been acquired and trained by said Party at considerable
           expense. Throughout the term of this Agreement, neither Reynolds nor CDK shall
           knowingly directly solicit for employment or employ any employee of the other Party
           directly involved in the negotiation or performance of this Agreement until the expiration
           of one (1) year following such employee's termination of employment with the other
           party or(1) year following the termination of this Agreement, whichever is shorter.

   11.0    MISCELLANEOUS

     11.1 Nature. This Agreement shall be binding upon and inure to the benefit of the parties and
          their respective successors and permitted assigns.

     11.2 Entire Agreement. This Agreement, together with its Exhibits, sets forth the entire
          agreement of the parties as to the subject matter hereof and supersedes all prior
          agreements and all other oral, written or other communications concerning its subject
          matter. There are no warranties, representations or agreements other than those set forth
          in this Agreement.




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      11.3 No Reliance. Both Parties expressly disclaim that they are relying upon any statements,
           understandings, representations, expectations or agreements by the other Party except as
           may be specifically set forth in this Agreement. Moreover, both CDK and Reynolds are
           knowingly waiving any claim that this Agreement was induced by any misrepresentations
           or nondisclosure of any material facts. Each Party has had an opportunity to review this
           Agreement with counsel of its choosing, and no presumption or rules of interpretation
           based upon the identity of the party preparing or drafting this Agreement, or any part
           thereof, shall be applicable or invoked.

     11.4 Modification. This Agreement may be modified only in a writing signed by both parties.
          Email and other electronic communications are considered "signed" by the sender for
          purposes of this Modification provision.

     11.5 No Waiver. No failure or delay on the part of either party to this Agreement to fully
          enforce its rights hereunder shall be construed as a waiver by such party of any default
          hereunder or acquiescence therein, nor shall any failure to exercise such right preclude
          any futuie exeleise of such right. All rights and remedies under this Agreement shall be
          cumulative and not exclusive of any other rights or remedies otherwise available.

     11.6 Counterparts. This Agreement may be executed in one or more counterparts.

     11.7 Governing Law. Unless specifically otherwise provided herein, this Agreement will be
          governed by the substantive laws of the State of Ohio, regardless of conflict of laws
          principles.

     11.8 Construction. The section headings are for convenience only and will not be used in
          interpretation of this Agreement. The language of all parts of this Agreement shall in all
          cases be construed as a whole, according to its fair meaning, and not strictly for or against
          either ofthe parties.

     11.9 Severability. If any of the provisions or portions of this Agreement are determined to be
          invalid or unenforceable, such provision shall be ineffective and severed from this
          Agreement to the extent of such invalidity, and the remainder of such provision and all
          other provisions hereof shall remain in full force and effect.

     11.10Relationship of the Parties. This Agreement will not be deemed or construed to create
          any partnership,joint venture, fiduciary, employment or agency relationship between the
          parties. Nothing in this Agreement will be construed to constitute or appoint either Party
          as the agent or representative of the other Party for any purpose whatsoever, or to grant to
          either party any right or authority to assume or create any obligation or responsibility,
          express or implied, for or on behalf of or in the name of the other, or to bind the other in
          any way or manner whatsoever. Moreover, the Parties expressly acknowledge and agree
          that no fiduciary relationship existed between them at the time of the negotiation and
          execution of this Agreement.




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     11.11Notices. All notices required by this Agreement shall be:(i) in writing,(ii) addressed to
          the parties as indicated below unless otherwise notified in writing of a change in the
          address to be noticed, and (iii) deemed to have been delivered either when personally
          delivered, sent by overnight courier, or three (3) business days after sent by postage
          prepaid, certified, return receipt requested mail. The addresses of the parties to be noticed
          are as follows:


   To CDK:                                         To Reynolds:
   CDK Global, LLC                                 The Reynolds and Reynolds Company
   1950 Hassell Road                               One Reynolds Way
   Hoffman Estates,IL 60169                        Kettering, OH 45430

   Title: VP,Business Development                      Title: VP,Data Services

   Copy to: Legal Department                           Copy to: Legal Department

           IN WITNESS WHEREOF,the parties hereto have executed this Agreement as of the last
   date written below.


  The Reynolds and Reynolds Company
  Dealer Computer Services,Inc.,                               CDK Global, LLC
  Universal Computer Systems Holding,Inc.


  By:

  Title:   a-r461'est A.)          C_     t2
  Date:        9i)                                             Date'




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CONFIDENTIAL-Submitted in Lieu of Cornpulvxy Process                                       REYREY0000022




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                                     EXHIBIT DEA-1
                              MAXIMUM WIND DOWN PERIOD
                     FOR FIVE "EXCEPTION" DMI THIRD PARTY CLIENTS

            DMI Third              Number of             Current Contract Term End Date
            Party Client           R&R Dealers           and Agreed Wind Down End Date
                                  (approximate)                                --
            A                      500                   June 27,2016
            B                      500                   July 8,2016
            C                     200                    August 10, 2016
            D
           rE -
                                  300
                                   266- --....-
                                                         December 13, 2026
                                                        —januirA 2017
                                                                               ,........,._„. . . . . . .
                                                                                           .         ...._,




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                                    EXHIBIT DEA-2
                   DMI THIRD PARTY CLIENT AND DEALER INFORMATION
                                FOR INTERIM SOLUTION

      1. Vendor or OEM Legal Name(and DBA Name if different)

      2. Primary and Secondary Points of Contact

     3. Product Name(s)as would be reasonably recognized in the market by dealers

     4. For each Vendor,the following information about the Reynolds Dealers being supported:

            a.      Dealer Legal Name / Name of Dealer Group / Holding Company
            b.      Dealer DBA Name
            c.      Dealer Address (including city, state, and zip code)
            d.      Dealer Phone Number
            e.      Dealer Contact Name(s)and Title(s) at dealership
           f.       DMS System Number
            g.      DMS Store Number (i.e. Store03)
            h.      DMS Branch Number (i.e. Sales02)
           i.       DMS User Login being used by CDK
           j.       DMS Report / Query Name(s) being run by CDK

     5. Name(s) of any third party to whom any DMS data is being passed (if any data is being
        moved outside of DMI Third Party Clients)

     6. Specify in detail the data access currently being provided by CDK to the DM1 Third Party
        Client (i.e. interface(s), accessed ERA screen(s), processes, technology, third party utilities
        or tools, transmission protocols, terminal emulation software methodology, etc.)

     7. Data Interfaces used and data elements for each data interface

     8. Frequency of the data provided (i.e. once per night, every 90 minutes, etc.)

     9. Any deadlines for data delivery to DMI Third Party Client(e.g. must be there by 3am, etc)

     10. Format of the data (e.g. comma/pipe delimited, XML,etc.)

     11. Additional details regarding the method of CDK's existing access (e.g. scripts,
         applications and usemames utilized, software on the dealership PC's, LAN, etc.) as may
         be reasonably necessary to support such access for the interim period


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 From:      "Thornhill, Edward W" <edward_thornhill@reyrey.com>
 Subject:   Revised One-Pager - CDK

 From: Thornhill, Edward W
 Sent: Thursday, February 26,2015 4:42 PM
 To: Schaefer, Robert G; Martin, Jon C
 CC: Thornhill, Edward W
 Subject: Revised One-Pager - CDK
 Attachments: CDK - Reynolds Upcoming Communications 150224.docx

  Bob,

  Attached is a revised copy of the One-Pager for your review. Is this on the right track?

  Thanks,

  Ed Thornhill - OHA2 03-30 - 58799




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               CDK -RCy       )dsComl




                                                                                         ,
                    Communication                     Channel            i Responsible             Timing                                Notes
                           Sales                Reynoids:                3 Reynolds:         Shortly ether EIVIing   Scenario: Reynolds dealer asks their Reynold-WI
                                                Sales achenge Article;     Marketing                                 or ODE 'Sales person a:act:A a communications
                                                Breaking News Article                                                they received from their ald party vendor
                                                                                                                     regarding a thansition to the Keynoids
                                                                                                                     program,
                       Participants:            CDK:TBD                   CDK:                                       Raven=
                     Reynolds and CDK                                     Maiiretirin                                • DMi business decision to wind down the
                                                                                                                         Reynolds DMS data exchange services
                                                                                                                         Processes are in place to minimize
                                                                                                                         disruptions to the nearer business
                                                                                                                     . ODE and Reynolds agree on the beriefin; of
                                                                                                                         the dealer's DMS vendor prwiding data
                                                                                                                     . Direct the dealer to contact their CO party
                                                                                                                         vendor
                                                                                                                     •     the Reynolds dealership has questions
                                                                                                                         regarding the RCri program, the dealer Mil
                                                                                                                         be directed to contact the RID Contact Line:
                                                                                                                        937-485-0402


                 Reynolds Technical Support     Reynolds:                 Reynolds:
                Reynolds Solution Specialists   EewF,Folow cp             Marketing                                  Rep-raids Support parson about a
                    Reynolds Consulting         ffachence Article                                                    communications they received from their 3"
                    (Customer Facing)                                                                                parhi vendor regarding a transition to the
                                                                                                                     Reynolds RCI program
                        Participant:            CDK: N/A                  CDK_ rifA                                  Response:
                         Reynolds                                                                                    . Dealer will be directed to contact the RID
                                                                                                                        Content Line: 9S/-4M-0402

                                                                                                                     Scenario: Reynolds Fleld Sales t Consulting
                                                                                                                     Servioe. ,otneon is asked about a
                                                                                                                     communications they received about a
                                                                                                                     transition to the Reynolchd RID program.
                                                                                                                     Response:
                                                                                                                     . DMI business decision to wind down the
                                                                                                                         Reynolds DMS data exchange services




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                 ntinimize dismiptions to t-,e
                 dealer business
               • C.:Dic and Reynoids agree on
                 the benefits of the dealer's
                 DMS vendor providing fiSta
               . Direct the dealer to contact
                 their 3"l party vendor'
               e itlre Reynolds dealership has
                 questions regarding the PC:
                 program, the dealer will he
                 directed to contact the RC1
                 Contact Line: 33f-413h.- -0402

                    CDK Technical Support         Reynolds: N/A             Reynolds: N/A           Shortly atter signing     Simnama: Dealer ass's their GL0K Support
                      CDK Field Support                                                                                       person stout a communications they received
                       CDK Consulting                                                                                         from their ar' party vendor regarding a ti-ansiiion
                                                                                                                              to the Reynolds RC! program
                                                                                                                              Response:.
                         Participants:            CDK:TBD                   CDK:                                                  Dealer wit be directed to contact the RCI
                             CDK                                                                                                  Contact Line: 937,-4435-0402

                                                                                                                              Scenarloi CDK Field Saies I Consulting
                                                                                                                              Services person ls asked about a
                                                                                                                              communications they received regarding a
                                                                                                                              transition to the Reynolds PC: program.
                                                                                                                            E Response:
                                                                                                                                  DME business decision to wind down the
                                                                                                                                  Reynolds DMS data exchange services
                                                                                                                             • Processes are in piece to minimize
                                                                                                                                  dismptions to the dealer business
                                                                                                                             • CDK and Reynolds aoree on the tenets of
                                                                                                                                  the dealers DMS vendor providing data
                                                                                                                             •         will continue to provide data cleansing,
                                                                                                                                  standardization, aggregation services
                                                                                                                             • Direct the dealer to contact their it party
                                                                                                                                  vendor (unless its CDK owned entity)
                                                                                                                            . If the Reynolds dealership has questlons
                                                                                                                                  regarding, the RC! program, direct the
                                                                                                                                  dealer to contact the RCI Contact Line: 537-
                                                                                                                                  485-04.02


                       Market Response            Medic Ontlete             Reynolds:               Ac needed                5aeh5r10: Media circlets I,ird out atmut the
                                                                            Executive Mgmt                                   001‹ -- Reynolds Agreement.
                                                                            Marketing
                                                                           ..... ................                           ........... ................... ........••..•••,...............•..--




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                                                                     .,..----                                                   ..                                 ..:. ..  _ ......
                      Participants:          Media Outlets             'Reyholde:                       An needed                 :Scenario: Media outlets find nut about the
                    CDK and Reynolds                                    Executive Mgmt          l                                ::CDK-Fleyhoide Agreement:
                                                                        Marketing               .
                                                                                                                                   :Response:
                                                                                                 :.                              : a Ensure CDK and Reynolds market
                                                                            CDK:                 :: :                            :    message align:
                                                                            Executive Mgint     : .                              .
                                                                                                                                 :    Access to DMS by dealer's DMS provider
                                                                            Marketing           :••                              :    onty
                                                                                                  •
                                             ReynoMe; Review I              Reynolds:                   Shortly utter signing      Scenario: iteynolds dealer asks their
                CDK Client Announcement      Approve                        ExecutIve Mgmt                                         Reynolds OF COK Sales person about a
                         Letter                                             Marketing                                              communications they received from their ::lid
                                                                                                                                   party vendor repenting a transition to the
                  (CDK To Draft Letter)                                                                                            Reynolds SO program
                                             CDK:                           0DK:                                                   Response:
                      Participants:          Create Client Letter           Executive Mgmt                                        . DME business decision to eerie/ down the
                    CDK and Reynolds                                        Marketing                                                  Reynolds DkilS data exnhange services
                                                                                                                                 . ?MC:Oat-1E5 are in piece to minimize
                                                                                                                                       disruptions to the deeier business
                                                                                                                                   a CDK and Reynolds agree on the benefits of
                                                                                                                                       the dealers DM?, vendor providing data
                                                                                                                                  . CriK Parson Only -can ensure the (leak.,
                                                                                                                                       that Divil will continue to provide data
                                                                                                                                       cieansino. standardization, aggregation
                                                                                                                                       services
                                                                                                                                   ri Direct Ir 32,1N vendor:0 the SCI Contact
                                                                                                                                       Line: 937.148-S-0402
                                                                                                                                   a FAQs
                                             Reynolds: Review /          Reynctda:                      Shortly after signing -;-Scenario: --oCw, has craseticris tor their
                 CDK OEM Announcement        Approve                     Executive Mgmt                                          l Reynolds or CDK OEM Elxecutives about the
                        Letter                                         . Marketing                                                 transition from DMI golfing to Reynoids
                                                                       : OEM Executives                                            providing the data feed
                                                                                                                                   Response:
                      Participants:          CDK:                         CDK:                                                     a DMI business dvlxi n to wind down the
                    CDK and Reynolds         OEM Letter                il Executive fillgibit                                          Reynolds DMS data exchange services
                                                                          Marketing                                            li a PrOL*SGOS ere in piece to minimize
                                                                          OEM Executives                                       l       disruptions in the OEM data feed
                                                                                                                                       001< and Reynolds agree on the benefit, of
                                                                       „.
                                                                                                                               I       the dealer's DMS vendor providing dare
                                                                        .                                                          a OEM vendor questions regarding the 001<
                                                                        •                                                              decision should he directed to DMI
                                                                      '.                                                       .•. FAtile
                                             Reynolds: N/A                  Reynolds:                   Shortly alter signing I? Scenario: New 3'party vendor contents CDK
               New Clients Who Contact CDK                                  RCI Contact Line                                   il Response:
                                                                       .                                                       I a [WI business decision to wind down the
                                                                                                                                       Reynolds DME data exchange services




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                     Participants:          Reynolds: N/A               Reynolds:           Shortly after signing   Scenario: New 3' party vendor conlecls CDK
                   CDK and Reynolds                                     ROE Contact Line                             Response:
                                                                                                                    s DMI horsiness decision to wind down the
                                                                                                                       Reynolds DMS data exchange services
                                            CEItC                       CDK: TBD                                    w Processes are in place to minimize
                                            Direct 35 Party Client to                                                  disruptions to the dealer business
                                            contact ROE Contact Line                                                o  DMI will continue to provide data cleansing,
                                                                                                                       steridaJdLzetion, aggre.gation services
                                                                                                                    • ODK and Reynolds agree on the benefits of
                                                                                                                       the dealers DIVIS vendor providing data
                                                                                                                    w Direct 3 party vendors to the RG'i Contact
                                                                                                                       Line: 537-4135-04172
                                                                                            ,      .
                                            Reynolds:               'Reynolds:                Orroomg once           Scenario: 00K r party vendors join the RCr
               RC! Updates 8, 3PA Updates   Sales Exchange articles  Marketing             I approval is OK'd (by    program,
                                                                                              001< and IReynolOs)    Response:
                                                                                              to Mice! Reynolds to :    Reynolds will regularly communicate to
                                                                                              iist on the ROI           Sales new/high prryliie ROI certifications
                                                                                              Certified Vendor List. s Update Reynoids Rd I Certified Vendor List E
                     Participants:          CDK:TBD                     CDK:               •,                           as OOP clients am RCl Pre-Certitjed end
                   CDK and Reynolds                                     Marketing             Likewise, Reynolds        ROE Cartit5ed
                                                                                              companies should he
                                                                                              I sles on COK's SPA    Scenario: Reynolds companies achieve 00K
                                                                                              Vendor Approved        Approved Status in the 3PA program
                                                                                           z List                    Response:
                                                                                           i
                                                                                           z                         s Update 0DK's 3PA list of Approved
                                                                                                                        VenOors with Reynolds entities,
                                                                                                                     s SPA Pm-Approved Vendors7
                                                                                                                           Naked Lima Web, Naked Lime
                                                                                                                           Mark.eting, Reminder'flex, iMake News
                                                                                                                          (Loyalty Drive, Loyalty Premier,irteam,
                                                                                                                           AIM Data, Key Vault, Key Track (Auto,
                                                                                                                           Seo.loe), Key Register




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                   CDK Deal Information — February 2015


                   Summary

                   The Reynolds — CDK agreement executed on February 18, 2015 consists of three (3)
                   separate agreements, known individually as the Data Exchange Agreement, Reynolds
                   Interface Agreement, and the 3PA Agreement. It's imperative that the transition to
                   these agreements be transparent and a non-event for each company's automotive
                   manufacturers, other third parties, and dealers and that any communications about the
                   changes be communicated accurately and consistently from either Reynolds or CDK.
                   The Reynolds — CDK agreement is a five (5) year term with one (1) year renewals after
                   that

                   The Data Exchange Agreement — Wind Down

                   DMI provides their third party vendors(DMI Clients) with a data service that involves the
                   polling of data from the Reynolds DMS by CDK's DMI and Integralink (collectively
                   "DMI")for use by automotive manufacturers or other third parties (collectively "clients").
                   Effective with the execution of this agreement, DMI is winding down their data
                   polling from Reynolds DMS systems. DMI and Reynolds will work together to
                   minimize interruptions to the dealers business. There are approximately 115 DMI
                   clients.

                   Major Points of the Data Exchange Agreement

                         DMI is no kr:g¼l. accessing lila. Reynoith:s DMS for data extraction
                            a. This means at least 115 third party vendors will be offered the opportunity
                                 to join the RCI program to continue business relations with Reynolds
                                 dealers_
                                       I.With the exception of 5 clients, all the DMI client terms end in 2015
                             b. DMI has 60 days from the execution of the agreement to provide Reynolds
                                 with the list DMI clients DMI is currently polling data for
                                        i.After 60 days, Reynolds is not obligated to continue to protect the
                                           DM I client's access to the Reynolds DMS
                            c. The list of DMI clients will be protected for the remainder of their term (with
                                 DMI) or until an RCI agreement is reached and the client obtains RCI
                                 certification
                            d. If an RCI agreement between the DMI client and Reynolds is not achieved
                               (for many possible reasons), then it's business as usual for Reynolds
                                        i. Protection will be removed for the DMI client
                      B. DMI's rollout announcement of the CDK — Reynolds agreement to their DMI
                         clients
                            a. Starting March 2, 2015
                                        i. Letter

                                 Cogdentiai. ?Fopeity of Rey m:Ids and Raynaide Company. Do not duplicate or dialribute.




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                   CDK Deal Information — February 2015

                      C. Data Exchange Agreement — Communications Coverage
                            a. Communications for Reynolds Sales (Acct. Mgrs, BDC)
                                    .
                                    i Scenario: Reynolds dealer asks their Reynolds Sales person about
                                       a communications they received from their 3" party vendor
                                       regarding a transition to the Reynolds RCI program.
                                              Response:
                                           1. DMI business decision to wind down the Reynolds DMS data
                                              exchange services
                                          2. Processes are in place to minimize disruptions to the dealer
                                              business
                                          3. CDK and Reynolds agree on the benefits of the dealer's
                                              DMS vendor providing data
                                          4. Direct the dealer to contact their 3 party vendor
                                          5. If the Reynolds dealership has questions regarding the RCI
                                              program, the dealer will be directed to contact the RCI
                                              Contact Line: 937-485-0402
                            b. Communications for the TAG (including field support)
                                   i. Scenario: Reynolds dealer asks Reynolds Support(TAC)about a
                                      communications they received from their 3rd party vendor regarding
                                      a transition to the Reynolds RCI program
                                     L        Response:
                                          1 Dealer          ciroctod to contact the RCI Contact Lino
                                              485-0402         •
                               C rrimunicalions for RSS anti Consuftinci Services
                                   i. Scenario: Reynolds           Sales Consuitirio Services person is
                                      asked about a communications they received about a transition to
                                      the Reynolds RCI program.
                                              Response:
                                          1. DMI business decision to wind down the Reynolds DMS data
                                              exchange services
                                          2. Processes are in place to minimize disruptions to the dealer
                                              business
                                          3. CDK and Reynolds agree on the benefits of the dealer's
                                              DMS vendor providing data
                                          4. DMI will continue to provide data cleansing, standardization,
                                              aggregation services
                                          5. Direct the dealer to contact their r party vendor (unless it's
                                              a CDK owned entity)
                                          6. If the Reynolds dealership has questions regarding the RCI
                                              program, direct the dealer to contact the RCI Contact Line:
                                             937-485-0402




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                                                                                                                                FTC-0000429

                                                      Ex. 35, p. 130 of 165
                   CDK Deal Information — February 2015




                      D. Several CDK products will join the RCI Program:
                            a. PartsVoice
                             b. MenuVantage
                            c. Cobalt
                            d. Lot Management
                             e_ One-Eighty Corp (already RCI Certified)
                            f. F&I Results (formerly InfraVision - already RCI Certified)
                             g. Likewise, several Reynolds and Naked Lime solutions will begin receiving
                                data directly from CDK DMS.
                                     i.IMN, Web Services, XtreamService, Targeted Marketing,
                                       ReminderTrax, and the Key companies
                             h. User IDs will be protected, but not considered pre-certified.
                                     i.Challenge: How and whether to equip sales with the information on
                                       vendors that are in this camp — unregistered URL with information
                                       on site, or have them call into RCI hotline for each instance?
                      E. Reynolds will form similar relationships with other DMS providers, such as
                         Dealertrack and AutoSoft.

                   iSgy klessaaes

                     Reynolds has long led tile Aray in ttie.biittle. on DMS security. In doirtg so, nnr DMS
                   providers are finally acknowledging tliatthe, safewt — and correct — way to mov data
                   between parties is to have the DMS push the data.

                   2 CDK is finally acknowledging that they need to move forward with securins.i.their
                   DMS. However, we know how rough a road this is to travel. It's taken us more than
                   seven years to get to where we finally feel like we've made it in the world of security.
                   How long will it take CDK, and what will the customer perception be in the mean time?

                   Imoortaal to Note

                   All of the third parties that have a relationship with DMi/IntegraLink and Reynolds
                   customers will be protected now that the deal has been signed. CDK has 30 days from
                   the signing to provide the names of all of the third parties so we can communicate
                   accordingly. The next, and final, security update will be released on March 9, meaning
                   a number of users will be broken. Until we get the names of all of the third party
                   companies, we will not know immediately whether these parties are supposed to be
                   broken or not.

                   FrtiQuently Asked Questions


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                                                    Ex. 35, p. 131 of 165
                    CDK Deal Information — February 2015

                    0: My dealer says he's been locked out of the system. Is this part of the security
                    enhancement?

                    A_



                    Q. Now that my data isn't automatically pulled by a third party, what are my options?

                    A. You can partner with a third party that is RCI certified, or you can manually download
                    your data and push it to the respective third parties.




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                                                                                                                                                           CX4038-001



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                                                              Ex. 35, p. 133 of 165
                   The movement of information and information security are topics we discuss with dealers all over the
                   country. It remains a hot topic these days. You can't go a day without reading an article about security
                   breaches. Companies With complex IT infrastructure— such as Target and Home Depot — have lost
                   millions because of security breaches. Given the vast amounts of NPPI that dealers house,this has to be
                   a major concern.

                           Reynolds has been the leader in recognizing the potential risks to dealers and has set the
                           standard In ensuring compliance. Most recently,-OEMs have followed suit by agreeing with our
                           changes and partnering with us,
                           The FTC has clearly stated what is at stake
                           NADA made clear statements with regard to the danger
                           In excess of 200 third parties have joined the RCI program
                           CDK and Reynolds have partnered together to push data securely — thus 85% of the market Is
                           now in agreement with our stance
                           CDK subsidiaries, DMI and Integralink, are changing their business model— a very profitable
                           model away from data brokerage. They now see the risk inherent in facilitating unattended
                           automated data extraction.

                   The real question Is, why is this particular vendor the outlier????

                   That vendor needs to call Reynolds and CDK and join the rest of the Industry, doing what is right for their
                   customers.




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                                                                                                                                 CX4038-002



                                                                                                                                    FTC-0000313

                                                     Ex. 35, p. 134 of 165
                  Here ita:different version .;

                  We agree that it is your data. We also agree that as tong as the customer has given you permission to
                  share that data, you have tile right to do just that.

                  However, when someone accesses a Reynolds server,the law states that Reynolds is now a party to that
                  transaction. NADA issued a statement in 2013that automated access to the DNIS was a violation of
                  federal law and needed to be eliminated.

                  All of the OEMs have recognized this fact and have moved to a secure method of data extraction to
                  ensure legal compliance. Additionally, more than 85% of third party vendors have also complied with
                  these regulations. Most recently,ADP/CDVDMI/Integralink have come to the same conclusion and have
                  a bandoned the idea of unattended automated access to the DMS.

                  All of those groups I just mentioned   NADA, OEMs,ADP/CDK/DMVIntegralink and 85% of the third
                  parties agree that unattended, automated access to customer data is no longer an acceptable way to
                  conduct business. I think it would be a better question to ask your 3"I party why they are putting you at
                  risk by remaining behind the curve on security.

                  We remain ready to work with your vendor and will act quickly to provide a secure communication path.
                  We are encouraging you and their other customers to ask them to get In step with the rest of the
                  industry and give us a call to get this moving.




                                                                                                                               REYCID0577751
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                                                                                                                              CX4038-003



                                                                                                                              FTC-0000314

                                                  Ex. 35, p. 135 of 165
                   Over 10 years ago, Reynolds announced the end of life of modem access to ERA servers. At that point,
                   we made it clear that unattended automated access to Reynolds servers would eventually go away. As
                   we moved forward with securing your valuable data, we added secure data servers, moved from ERAllnk
                   to ERA Access. Thereafter, we added CAPCHA to our software - which is standard for all secure data
                   access.

                   Most importantly, we built a secure,fast and economical way for 3"parties and OEM's to be able to
                   enable real-time or batch, single or bi-directional data feeds to support their business initiatives. It is
                   called the Reynolds Certified Interface program (RC!). This program currently has well over 200 OEM's
                   and 3'parties participating which demonstrates that Reynolds long-term vision for securing dealers
                   data was the right one.

                   As the wave of publicly reported data breaches like Target and Home Depot continued, the FTC and
                   even NADA released statements which clearly supported our position. Last year, CDK finally announced
                   that data security enhancements were coming that would affect the methods in which their dealers
                   extracted and delivered data to 3"parties.

                   Last month, in the best Interest of all dealers, CDK and Reynolds partnered together in support of the
                   fact that both companies believe "pushing" data is the only secure methodology for data transmission.
                   Now over 85% of the industry has adopted our plan.

                   Given the timeline, wouldn't it have made sense for this vendor to have addressed this MANY months
                   ago? Who's securfty are they really worried about?

                   We remain ready to work with your vendor and will act quickly to provide a secure communication path.
                   We are encouraging you and their other customers to ask them to get In step with the rest of the
                   industry and glve us a call to get this moving.




HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY                                                                                        REYCID0577752




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             Attachnvirt5:

              Bob,Bob

             Syscheck was built to honor the AUR exemption. If we removed there will be over 1000 exemptions that will loss
             ability to run reports during business hours

             It was agreed by all when Syscheck was built that Schaefer needed away to bypass — AUR exemption was the
             decision. I look for email —was able to find this one between the Developer and Eric on how to deploy.

              If we remove the screaming will cause us to restore.

             We has drop 300+ exemption in the past 3 weeks — total down to 1684. We should remain aggressive at eliminating
             AUR exemptions and not mess with Syscheck at this point. We are headed down the home stretch — let's not get
             distracted....

             That's my take on this subject

             Tommy



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                                                                  ' 150        ir,
                                                                                 z;'------i00. -----aTia::   '49244840000          511.59 b000




                                                                                                                                                                                                                                                                                                          CX4459-004




                                                                                                                                                                                                                                                                                                                          FTC-0000449

                                                                Ex. 35, p. 140 of 165
WeekEnding                       >12 months >6 months >3 months <3 months Total Change UlDs access ERA in past 30 days    UlDs not access ERA in past 30 days
Totals - Week end Nov 13,2016          1,144       317       111       112 1,684    -44                            1,661                                      23
Totals - Week end Nov 06,2016          1,151       333       109       135 1,728     -8                            1,721                                       7
Totals - Week end Oct 30, 2016          1,266      420       111       140 1,937   -232                            1,913                                      24
Totals - Week end Oct 23,2016          1,355       455       164       195 2,169   -129                            2,127                                      42
Totals - Week end Oct 16, 2016         1,432       468       221       177 2,298    -78                             2,250                                     48
Totals - Week end Oct 09,2016          1,471       466       256       203 2,396    -30                            2,365                                      31
Totals - Week end Oct 02,2016           1,474      451       286       247 2,458   -249                            2,435                                      23
Totals - Week end Sep 25, 2016          1,555      480       333       340 2,708   -141                             2,673                                     35
Totals - Week end Sep 18, 2016          1,584      450       397       420 2,851    148                             2,818                                     33
Totals - Week end Sep 11, 2016         1,574       453       398       278 2,703   -219                            2,665                                      38




                                                                                                                                                    CX4459-005




                                                                                                                                                           FTC-0000450

                                     Ex. 35, p. 141 of 165
Sys:ent Nur,Ezr   Eysterr, Name                               Cc.0o1:0, Gto:r.z:00o 15,0to fEEET                    70,srno                    Arls:ed E.aEs. 34185o7se.              1,43 Login
71143             TT of 13. 1c-i:E.1 sc                       t!               31,1R04.7 E2101E, DE511,E       CE,ED:T ACCRETANCE                11/27/2113 ANISE                     11/121200i,5
7013;             71' ofl.ittleton                                             5/26/507, 2115EE11'ACCE         CREEE
                                                                                                                   ,   ACCEPTANCE                11/27/204.3 42010                    11/1.1/2`.13
31.17,3           T1                                                          EI341204.71 415RE4E11C1,0        044.2:1 ACCEPTANCE               11/25/2013 ANISE                      1511212E,V4
7013,1            Cr of IA.:di:ton                                            5/26;2117 211(1100 110(0         CRECET ACCEPTANCE                11/2812021 15,51                      51/11/220E3
                  TT of0 to, Gc-Rch, ttE                                      E./EGE0017 1E,L1TMEEEA           14 7 MEERA                        1/20/200.5 ANISE                     11112/2.C,IE,
7902E             41112W'..11E M130GEMENIGE615EE,:NO                          5/25/2117 52AVA                  0,175.5 4270121:011               0/215050 41131                       'AI/121221G
02123             T[cl LETiEloo Etc                                           110.512017 KENENDEM:C            FRIENDEEIG: AUTHENTIC             7/21/211. ANISI                      1112.E120VT,
 nmn                                                                          5/20/2117 50':7;:115i75          5,5111E51501711                   4/24/,'S/SO 4.11E51                  41/1212116
 211130           [1 015     ,118                                             0/21/2017 10CFE0/T1              7:055547EE514454E                 4/20/2115 AMM                        11/1212EEEt1
70:06g            ci OF'1411:45I,:NE                                          5/2E/2117 11,703T.3/PAC1         AUTO:EACK:T ALE    NT!            3/20/340,15 AMSI                      0'1/7/EGEG
E2144                 OE 145E7.110 RRO                                        0/22/2017 1.141111               GLO1AL E,A7A04.E1 wars            3/79/2215 AMM                        11/02101t1
70E44              1. OF TAM:AMt 4.1E.                                        1/2.7/2350 105E.91:1             131.319.112.714141E               3/20/2G,I.f, 42601                   00/1;/204.E
210114            Tr     EAM:AME :2412                                        5/28/2007 1.11:0TMEEEA           172 MED0A                         7/70/221E AMSI                       01112/41006
'ANA              n• 150 1411:451,,E17                                        1/2t:/2150 10121E0ED:01          t2T03ENA.                         0/20/07.E50 ANSI                     14/14/2211
 AA 33            If of LiSt          E,                                      S/105/2.017 2A511ENGEMK          Ef02030:31MK AUTNENTK             7.52 12,    AE101                    01;02/4116
7:0133            TT 01.litt;E3377!                                           1i7.,/2217                       11E714I.            MEM;          414E1:114 AMSI                       1 0/14/204E
?tR42,
     3            A.:1301601151 M4N5EMENT 5EF347E1).                          SI.705/3057 RCREEATACCFP         114E95 4,CE.E:E0ANGE.             3/09/220%. 0E,101                    11;10/2111
700E0             M144751505 MANAGEMENT 011410ES, cS                          1,7247e0.01 lECARFPICElest       E.111 P5555044161,01:1'           0/7.0/1105 AMSI                      10/13/201E
70026             AUTOMOTIVE MANAGEMENT SE49':301,                            5/21/4017 71EK:ENEEEEIK         A UTIEENFKOM FP.:ENOEM             V10/244.0: 14531                      10/3/K11
70021             K.314.0MOTIVE MANAGEMENT sEr6;:c2s, :?,J1                   1:131,    GSWIIR                5601.11I511 153, 5254              3i4E5/3114 AMSI                      14./5Ei2,
                                                                                                                                                                                              21E
;ER02,
     4            AUTOMOTIVE MANAGEMENT E.111i7EE, iNC                        5/2,V0017                       ('50 1)017010                      514/3421 0111/                       41/1.2/2211
71025             5.3TOMOT5E MANAGEMENT Si:MIKES,.:NG                                   03E6EGEf2,C3E          7015245.4Cc'41 '111210            315012115 AMSf                       11/12/2018
79117             TT E•f i'..aytE,15 89000, LL.,                              1/21/,111 10121161111?           L'2 7 WA-4A                       6512/2425.055.1                      11/12/2111
000117            7315 E0Evi3riz                                              1,i711/215.1 1.75001ER15t5;E,   *Ikrt4k1441)1.4MI05cI              3/E0/3115 AMtN                       11/12/201.8
7015.7            IT QE Ewitvor, Rows, 13..0                                  5/2E10017 4AM-71, 47/KEE                                           3/10/2010 01505                      11/1212011
70117             1705 0Rytorta 500E.1,13.1                                   3/71i2EIT IlAtEEO;PAEKE          A LEVO;PACKEE 415101,
                                                                                                                                   02111         3/13/2015 5.5431                     11/12/2010
70157             IT c,̀              Ench,11.0                               WA.,'4017 1EXTREO;TACEI         E1114E ACCEEEANCE                  3/15/70015 A14E3                     12/12/2111
52144                                     8,3::34,                            1,i112317 ;.351:11.1.,FS        A02345, MANE. 111014/ 35          12/11/2115 ATLANTiC-AUTOMOTiVE        15122/216
8355
   ,4                                                                         VIVE017 AUM7E1.2i0              0 7135,1ETEE1164:4 4(01,5          4/21/2010 00L05115-E03TOMO1EK        12/121215k
                  4E,;:,,,ge1.4,vrocE GR;Eit cc                               1.113/2-22.0 01101112            A0EIT3 16650E55412 ACOM           7/23/2115 ATLANTiC-AUTOMOThIE        1142/7015
79259             uu,tter E.orpor.aRar,                                        S/E./111.7 2,1.1.3101           AUTO .050                        12/7:3/2014 AUTOLOCE,201              1.2/12/2130
4.5023            TROWAU3 4111131MEEE:VE GKEAK,:NG                            5/05/2017 6001555               CARE EGNEEECT                     12/20/2114 AUTEJt.DOP-SNA             2.1/12/2,124
53121             TRONGAEL: ALEEOGICi::,16 51102E,:05                         1/25/1217 A4E.0333              CARE CONNECT                      12E20/2093 0330107,0,035              15/12/233k
E,1051            4',335144N 70-2, 015:                                       1/21/2014 31.1D0792             551010 CARE                       42/20/2115 AE,T053110-25A             3.1/12/2015
5 0:44            tEkE0HAM ::11T1';r:Iqi AtI  If!,
                                                 :b:•.,                        2/11422/ 352154150             SttiWI:.; EAU CONN tC             12/17//.04.1 42101055  , E1E          134212W ?I
3239.0             0r4,1,01.104, 7e: 5545, Sc                                  0/2/2017 SUE:0202              551A13 EE.3i10 CONNECT            32/41/2115 m. , roLooP-s=ie,          1.71/42i701.5
3,1814                                                                         5/2;2017 1350104               0081,40 0:571 CON5E07             12./11/2015 AUTOLOCE,- ENE,           5•1/712/2W
                  EAcEr,,ER,!oc                                                5/2/2017 04.5171               SUSAPL, 55,511 70:514555          32/11/2111 1c,..EEEEL..30P-1e4        11/32/2115
30044                               AEEE,EiE,E                                5/20/2017 Ai310212              548240                             1:7/1/2014 4210:0000-E85.              /12,
                                                                                                                                                                                           ,M11:
61031;            14E1 ;E:1,
                           16 CHE‘MEREE 5.11145151.                           1/21/2017 S431391               .1114,V40 NA DATA                 31/21/2112 A,T.00,305-1104             li320:115
"100'31                                                                       5/21/2017 ;0311111               15,q0210 SIX CONNECT             1V21/7914 AU T010175-fiNA                  ,21.320
                                                                                                                                                                                      12/17,
                                      Is.                                     1/21/2017 4210492                CAGE CONNECT                     31/17/2214 .AKEEE1:30P,SW,            31!'2..17015
575EK                                                                         5/25/2007 15E50151               /1,1101058011                    11/17/7014 611010125524               14/27/21121
7E7SE                                                                         5120/2017 1'CEE30A.1-,52         15141V 0111 705,151112           .E.0134i211 A:GfEELOOP-SE:.           3V-12.0016
702ES                                                                         5/22/2037 EE‘itifiSki8A3R33.    0133180; 41A1 CONNECT             11/1%12014 AO1000G5-1,NA              82/17/252 11
1131115           E:EuE,                                                      11202017 1i110212                GLEE., 17.2, ConERct             41/13/2116 A:G151000.15EA             11/:2.0214
                  1018.7ro A,orlEtivE E3,15                                   2/13;2017 12160203.              CARE CONN.g:f                    11/0V7,318 50,000E0144- 71.E.         12/77/2120
                                                                              3110/2017 613.E.8.42            150451:011:1                      41/00E211E A,I011's0P.3r04             1/22,[a115
                                                                              4/I5/21E17 0A11.33.             A O11572                          10111E/4415 AO    01.c,135-sNA        1.:A7i2530
SEEST;            104 GNEKELEEE
                              , 3FK.E.IEEP :NG                                3/0E1./2017 411E:140,           ELMAPV 0,   ,1:E                    ww.zwr:                             11/-4442106
   943                                                                       0/1312317 10040112               S 1110213 CARE(08511,5'            11/V2115 40 101.13105-485,           11/17;2110
1:109                                                                        311.9/201.7 1081,791             14E37.100E:0ECE                    13/5/2511, 1uTERCK1, lio,             V12.,
                                                                                                                                                                                           ,W15
E40EEE,                            :2,6F 1A4                                 .30/21/2017 33311E57                                                 i/E,P,P314                          11;12/2715
1212"                             t7t Sprine,!,0                             3111/2917 5080073                12555',: GAPX(0881111              2.0/5/2I7I1 AKEEREG)P-%NA.
61140             (3,EcE,                                                    .7/28;203
                                                                             -         33A1401                5t11 GME CON SM                    1J/2;7:)15 AO E0fE405-4015           11;:i1/21;15
13%31E                                                                       5110/0017 60U5071.               4 %AEA: f;:r. AMER:EA              ivv2w!,-
EllE4                                                                        ...0128/204 ,MiL2102             Aotc,loop                         11161/::114 4,
                                                                                                                                                             , tA1100:E.41/4          31M/21;11
6.4307                        Metors                                         0/1E/2017 2.445015.:             4',4'04'51: 0/ 59515111',         0:1;15/2553 AKEER.00
                                                                                                                                                                  ,  iNA              Jar:2/301)J
    1E74                    S10:0E3,0,11?                                    :
                                                                             7,126.1214 AjUL0;03.1             SueAttC; CONNEG: 2               1.55VE01.4 4:4,O4E0ORtSPEE.           :11M/2C15
11KE,             Rt             ME.                                         E13E/2227 4451)1 GAG:70,          FEKEACK GARE t'.E7rEN            71/74/251 1. 41:10l5031G-0154         1:I511530114
E.0 SEE,                                                                     5253;7047 EE1113EIA:07E,                  c...0p. '108105",1       1.01:4,P7,'1'6 A., • 1100,
                                                                                                                                                                        ,  SNA.       311::.-1/2els
117E50            St0NEEE.,                                                  El4E/2017 5,1E434                101/0714 lc'1440                  21/55/21114'21711'01-05X              11/12/2518
363E74                                      1E3Ek,                            7/24,Q.Q.07 4:0,1;073.1         41111151; WI-;f;.;:::Ii9h7E17;    05/1 ?,i:arbt; ;i'Aj'AF.srjA          11/2I7l5010
91,./54.          fletER,E305,61.st                                          1/31/7017 S'Ut;Altt.EGARG        1205.14 '.4414 I'0881c1           12/17/2E1E 41GE01117E080              n/12/710H
E.19.E0                           ME                                         1/E6/2.E0; 456,1.E.10            15111114/1511,                               5.4071/001-511A            1,1M/2e11
143051            2ET,E,0-413,01,    i'so                                    El7ER0.17                        suFARIt        coNNE4.-
                                                                                                                                    :           12/15/2513 4u1-010E3P-0;10            lar1211
                                                                                                                                                                                            .016
0'3524                     1:ov1s50401,0(tC                                  6/20/2E0; 13,1E11/5              001/112 5051116                   E0/05.
                                                                                                                                                    ,  0013   T1,112:771-5NA          11./.1212I)15
5SE11             713,815, A,:thrro,*, Group Mc                               E/73/2017 3:10,111              5110510 514(00                    10/10/2013 41:7011E3E-014             11112/2HE;
7050-3'           G OCT A,                                                    E.;27,0P0; '.15543,013031        ;;E,.,,x5.$ 1001 E.,
                                                                                                                                  3EWE71        14/18/701. AO 0115701.6054            11/12(.2[1.1.,s
71037             Net, lic's'c lot                                                       605rp,;:i7                                             12/15/2015 AUTOLOOPtENA               11/12r2H•E',
70082                                           loc                            1//1/411   7,0551141411        EUE.A1EU CAE F. 2.                1,5/2 5,12534 AEr TOKE00.9051         1141:21211,5
58178             SEVRIECOREE.-0,E.AT:OG,                                                                     51046.51,011,                     10/15/2014 521011'E36.ENA             11112,'2EIE;
11110                    50040-.12,1                 FIE,                    1/2:V00E; 1'i75014:5             415444 L',,ITA 451025             431115/2115   FEKOOE-SNA               1.1.17/2111
05317             Stood0 ALA::                                                         5:.*,KEP74             5:4110 CONNECT 5E3P,              15i10/2013 41IE01OO6.3N!,             11/12/201E
SE,182            E:EHtE ENEVEtOtET INT                                      6/20/211;CAFKCONNEnv             4115/444 CAEE CONNECT             4.0/35/2043 AtEEOLOOP-5NA             11/12/2111
711112            Ec,,VG,tor GEEEdp i.0                                      E./77/3017 10U5.‘7,5,:1          SURARL1                           10/11/2013 AUTCLOG,F-SNA              11112/201t0
82010             W:tIE OE WESE 05. 3:NG                                     6i2.5/11)E; !I41E152,13101'C7    CARE GE07;NEET                    44/15/0450 451, 31001-5100            11/12/n25
15104             75,0130      ,E, 1m7C110                                   1/.I5204.7 11121011,01'          4I:104000 541                     10/35/2513 AUTCLODF-SNA               .11/12/MItI
82535                                                                          1!0/•2111 1.01,CON3            5154011 50441 15l-.145172-        41/15R013 A3T2110E.-5145              al/12/2116
1242E8            15,0:1504,50350557 sc                                      Er25/042E7 3t03Ai,UCC            54114.84 CARE t()IVIECT           10/15/2503 AUTCLOOP-SNA               11/.12/-
                                                                                                                                                                                             2,1,1e1
811.10                                       E6EE,                           4/26/40I: rARa-s31324um-         II:153M1 CAIIE 3,45171            10/15/2013 ALEFOLOOP-SNA              al,I1"2/212k
70941             3,4 15180:7,3E., 553,4,01,                                 EjE10407 MIAtEr                  m LA57                            10/30/2013 451053.711-055
76911                                                                        1126/4.117 41I1521               /00,11114 5c148 7,..51(71          10/91.2013 15111300-5140;            11/12;211e
E2310                                                                        175/2417 144FE01                 f
                                                                                                              .ARE CONNECT 2                     11/3/2013 45006550-154               11/2.2i'PH6
51150              )er-t Ic3sco 4.0,3,0e2                                    5120/2.107 94109417.             534/154520.41                      50/91204.3 15151000-5551             .11/12;2111
0.623             1,11514E0E, 50EkEEKENKE.E2E111..E .:E.                     1/70/24.7 11:4.4%;;;CA9E0        CARE CONNECT 31                    11E3/2113 AUTCt000-155A              2.1/12(II016
     0,
515.2,            MOS  ,  EES7vENNETONEA j15004,                             6/2E/311i 1)Li908i
                                                                                              , :141-?,i      o A0.1 EiNECT 04 S.3               1E012053 AU1O1100.E123               ',1/12121.11:
7003                18, 13120:(3,,p1,1                                        i;17/2017 1040EE1140E3          14 CAGE CE4E78EEEE                 11/3/2113 41ITC.750-SNA              11(32iME.
5710.:1           .0:0315 0Av                                                EVE0/E117 14480512               10011137611                        30/712053 '5101001 152               15/120.03k
508;0                                                                        25E1/3010 05111274.              CARC CONNECT                       10;3/2014 AUTOLOC:P-SNA              23/3212254
8212.7            FR
                   , I5ii F,irfas,                                           4/2E/4117 5,4808)14557  ,
                                                                                                     3        51)E4E3(5.18 717132171             40/3/2013 05131001' 2142             12/1.:I12131
52378             EARL T/W4OL 101,1) 81                                                 054.E.•%;143
                                                                              0/5/2/44?',                     151.410, CA:it CONNEE•7            1112/2113 AUTCLOOP-SNA               11/52/2128
5.7E31                                                                       4/20/722/ 949041)                         CAFIP CONNECT             1012/•705.ALEFOLOCE .51405           12;32/2221




                                                                                                                                                                                  CX4459-006




                                                                                                                                                                                          FTC-0000451

                                                                    Ex. 35, p. 142 of 165
System IR)./.5thef   1y5180-) 5870s)                             So0554 Szer0Rt/its Date Ustm                      User 5arne                     380:a0 1810 Tamp:R.0a                           EAst1.08in
51511                          7317)01 151
                     010.0A515`)                                 11            172172017 9)11102172                S1810111 CARE(010,91(0           10,W2013 Ai:TOLD:W..1290                      11/12;2ns
80032                )70703e511110001 MaR                        1.1           co/200/2.IcJ 0 II:011v22233         01J1A5U 'VISE                    104/20121 1,1701.00P-M5A
51859                StohIstmo Vol108).5p0, 107,                 II               0/.!0f20057 01112415             311801113 CABE 0'.0115           10/1/2013 )01401.001-5111                     1171272C1S
75072                1.5106 of Yorkvi 2,110.                     Il               1/2.1/2.0112 7,10100             00100900031 1100                 0/1)11,17011,11)1701002-S50                   W127211E1
11251                Rudset 1.si)s,s, Ins                                                    1111:=4:11'i          0,110100 (4211 )2111110EC0       173752012 111)11.8717.57-7411                 31712/201S
61121                0tiME5501. AUTO G50U1                                         5/V2071 %11412205               SUBARU 120105 0,03111,1          5/110/2111 1111211.001-5N5                    WIZ/2119
51744                Lot1sTbarr7,7557b2:0                        II               1,77S77017 118.1777              RANSIL                           1110/20151111210'01121'-2111                  01/12/2011
31251                       4I, e40                                               6/25727177 1:110112              15551 50815E5                    5/27,11171                                    1171212111
57715                Subaru of E'100.. 1.111                     O                E./7577017 410.4551              ,U15 1.0404111                   '/11/0125 4111120 12"11-I0-11,                31)11172B10
61151                1112107a, 0•01•717.7A0i10c cr               O                10/31/2010000:1110103.           SUB51111775:111107551.11         2/2',/20',100110'1000'-',501                  1171272111
11215                hiR0;267,1: 110005W009 Group, Ins           O                1t1077017 2o1/5485               51:571811110C                    1/79/1925 .01101.010C-1181                    11)1272015
51101                1mAm».1701)))5m):7, t71.7a,p Inc                             5725/101? /11110117              SUBARU                           571412011 AIII(1117:11).555.                  11/11/2119
n',327e              Ithot 7.1,»Rs5: EM,rfutcs Or                O                 1)277017 11•15100               00515 1111.57)                   1/1171979 01311)7101,  S711                   111f.:3;7000
56151                   Robeit A/or rc                           O                00i25/2117 1010257               CAR5C141                         9721/121111 A1177011.11,1P-51471              11711/2001
S1115                68,181050,;:ts                                               6/25/181100,10414                011015/11)15G CUNN1117           9/50/25011 1/21117.000.50.1                   ;15117151.1
10175104             Sc ImImthor5 .10,0010);MM. Ccs009,.7, 113   II               5/117191711110103                9085.811 CARE COMSEST            5720/2010 00.011011.1)5115E50                 111117/71116
15$118               ;,0,40:0': MOTOR% 511.1:11115                                6/25/1012 11.11.0101             .50171,5E 158 AM1,115T           0070172054 011171)1171016510                  10.112/151A
621,8                 FE1S30000155 AUTO SENTS8151                I)               172572017 1000101                511870001)05114                  571172014 Al070111111
                                                                                                                                                                       ,  350                     11177212016
S55:12               oomph Chm/GIf ISR,Bohy                      11               7/2871012 1157101125115.1        511511.551517.15/155              5/472011 55310,1105-510A                     11.1127251S
5:0S5S               1 01.E0'OTE (15101511011u 091
                     ,                                           1.1              1/75/72017 S)11101:111,4511111   SUBARU :II:AMER/CA                5/4/10I3 AUTC10)7515NA                       11/1112016
S1277                  17)75,080,71,510,0,5777h.. IRA            II               8,52571112 SU     REco?a         CARS CES141401117                873072119 55301000151101                      111172/25771
52151                ApRop5Iit, 1011 Inc                         o                172171017 012110SE                  nc.6.0E:                      573012013 A10101.0011551                      al/12/2:110
51151                ARnapclis. Cars 110                         11               671671112 101,700;41011.0        001150711111                     8110/7111 7,177511001-21910
62152                57500:01 Motors 517                         11               2.77711017 1155851               KEN                              5721)2013 ALITCLOES/MINA                       ni7/2c3.0
500007               .)/VastIske Imper0.7. rn                    O                7117/2001 UA011181.5             1131100 100810041                872173013 AL)111111)0P-SM1                    nirr2i2H0
51713                 1rey5tRe100o15 Inc                         11               S.77071017 5,65101111            S11811111                        5722/2015 01170111557-150                     11712721110
015591               )51111758ACII CHEVRCAST 0-33                II               0126;2017 0I040001:341           0130 C110EC0NRECT1010            8712/3113 AUTO1005-S4A                        11/12/7,116
07725                The SmderIck Motor CompRhy                  0                           CARIA7035NECI         10111 CONNECT                    01i23/20175 0,111111005C-1051                  11/5/231G
5227/                7:7,0 Fre&fic1, Motor Comphity                               672572007 7,151110,0mA           7.0.11ASU C1Am                   871171113 11/1151005.75)711                   il/rein16
05102                1E5R1r 1U:a COMPANY                                           57271017 4155101                111711 (.0101:EC:f1)11           1/01/20111 .1.1701010C-910                    1171272310
61511                17101-500/)4100119,                         II                17772507 01110101               11.01116CONNECI7                 8/11/1019 01110112185I5511                    .11,111/1110
11114                        Mrto3                               1 31
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0171,51              5aitT,tr50s 1,71,                                            0/211/2510 00:110(1              *1310010(21 0111                  11117016 AU012102:4"-0N01                    1111272110
11010                I1vAghvis 550071 Inc                        LI               67700/7017,111111001             5105/1,1; 115ES                  7750/2010 51110:15;117-9717.                  5.171.3/201.0
511,GS               5E5o51,Chsvraiet 107157                     O                6/2/7251? 4511                   9120510.1       f:o    5r,-f     7111/7011 11000/001-0185                      1113„1/016
                                                                 O                6,12977017 10E11                 0101000 1001:71121300117         7110,5121
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65505                .7)11111011 C1,stoIst,58Ic1)), Inc
70141                54 31.))15. ,c,,n'0 2 1o:                   O                871/012501 A1110051              30001 ':llrtro0--:1101           7,10.5/70501151.51111.m.500B
S22117                          75,t0R)));11),,1,6:              O                9125E7017 20100120               01011010,  .0004E,1712           771911511 0.17r1A 0055150                     11/10/1010
51271                211 color                                   O                0/2572017 510.5275               Sub,: F.,0101c1'                  9/4/2205 1101                                2111.177010
S7217                                                                             1/2512117 1IS10101               0101010112 I00010Fi.1             5/1/251.5 7011.1I71001:1150                  I 1712/101 11.
70S51                50,1150,59151 51011                                          2/2772517 A1110112               .5120A81, CA8E/1155F121           57177015 1117115C):,:p,1755                  1115177016
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57.1.72              ;01 0,4,
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70140                S.4.57)111, 071,05h )4,/ 011                                  55/2017 A1110111                SU CARS                          5721,1701511170/01)P-151A                     1110177056
51,9004              108'51/7,1»5,57,,78,1:5?„11111              03
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70660                51/ Rsp7,15::                                                272772017 0111.5101              St)180; Authl0oB                 1720/5010 11171-0).07300.7;NA                 11102/7016
50220                ,
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56167                17,771,1111m071011, 10t                                       572/2017 1011111                CARE:CO.NIRGECT                  5/21/2011,1171171:101-SN0                     1.111277016
15051                01710.7; 175-mm101. Or,                                       575/1012 1, 11011               111111015,10 CONNECT             071772511 007121100 1050                      11./1771U01)
70S16                Cs11,4m17,pm1Ah.1.1.1                                        2721172017 0011201               5/134131) CASE                   5/22)2014 A111771,1501-1N0                    1111277016
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10E41                SOVER515E1711111119117.11                   II               1771/1/17 1000111                SUBARU CARE                      4711720714 0U1C11,11157-1741                  111;277016
SIGS7                '.;[4:1,:,,,0301777:1,157,98/02. 1»),       00               8/100//017 cAREc                 C155 MR/M.:CT                    472272019 0070'0001-                          1071772U1S
70079                015011-15 0,1101015 0-01:                   ;
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575,5                CM7             11,/:                                        07111/1017 5050101               :AIRE R00C111,8                  117.17/2513 A 01701001551                     11717/2511
11154                103)15015111701111                          00               1/21/2017 .5).139S               SUISAR                           4/12/2015 A1510.11571A-131
75754                Mr:301.111 A' UTO 1300111A :NC              11               5711/2172 110111105              1071,110 101,11 10513E17         571072014 03101001051,                        11/1. 2,
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51168                8,55.5151)710/0) Mc:                        11               1/22/2017 111.1191               500205I) CAGE                    4/10/2015 /071101711-SNA                      45/12?2200
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70652                New 115,70uRet 77/.51                       00                'i/222e2.17 111.7,51717                                          711571034 .11171701555P-S79A,                 13."12R211
5025!                1017 Gnu,, foci,./62,.;:q. )0(              11               7/15/1017 0100031                91011110 C07115070               3717/251,10117101005713,1                     1171172010
51150                Arbor Trse 7,10ro507;501,                   00               0,120R1l.7 306c.,bt-t0,          11)5051,                         1/1772011 ,,,JOLUI)P-SNA                      11)12;2016
50157                ila,t6ra 08107)101M8 Com                    11               6/23,17.1217 SU 50181            '20 515I1171115                  572172014 0070100)17:57%                      11711/2510
51071                00s900 Gm)ritiss                            10               577672017 51;61727               1101202)
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131051                                                                            1/54/20111 111/0101.             1011,010 1,00091, CONGEST        5/2272111 011101001-77190                     1111172119
51115                Worde01,57710,                                               1/11721.5.71111011)5             111111 CONNECT.                  1/18/2015 11.5100,71271-SGA                   11)1272014
511131               ArEadIs175,,lat                             /01              1/27/2f:01 20,10113.             )01-111                           3/4/2111 011101001-552.                      1171271118
51)151               LA0.1ci.0,15.11110404257E11R120170, 114C    II               271917,117.7 10.20114            5/05021) NAT                     7724/2035 151177.11)7050-S710                 10277015
59531                ,851b0f,s Chm7701RI 011                     11               1/$4/,'0015001000011011E         11191011117A61111MINEM           27202019 001010010550                         1171172115
503E1                :              PO irfS1111                  Li               1771/2627 9,60.1113              11150211 GC AMES:SA              1714/1010 111, .-A,D0E-SA                     11/1211011
51537                        110),ign (or fenkELL1                                I!!25/2f00 7 0.1207011.110       110151111,4011)0(2,              2/7.00/3015 011101001-5501                    11712/1018
119)2                G2,6R. Imparts :nv,                         Li               272912517 411:5101               SU 5 11B0 C125                   1/20/1015 1017070,7017-011,                   12/11;10171
81181                           00900000 0<                      11               7,26,2001 2.001,0550             S1j1,,,30 CART: 1000100111'      2/10/231510001001051                          11/51/2015
52455                Ube-5v Au/of:R-010s                                          21:       011:0101               31754210 1110,' 0;:±1%59         21110/2002 )10170700002-55.                   1171211011
151274               1.5,71.8tva»,rulht18011RE, Ihs                               5/2572017 SUPAR1012.105.         1116,1.1117AKf. 125015520        3/121212550000100100-27.                      11/117201G
1S394                8,7fri,717;5: Motor,. 0171.                 Li               271171017 41110101               1051'A90011755271                 1/377130 2, , 2 _-_,D.0..02,1W,              1171172015
00,0223              21 140405 105 10011                                          1/27/201101010245                Cm,Chorwct                       173072015 011001.00020-20                     11/1172215
17041                1770st houslIon 1:of:Gs:age., 11.1-         o                2/11/11,27 00200001?             sAR5C1111001:1.: 011°            3711171101 ArtrrcACN),,Sre,                   10712/1071
132131               Isiter 01f»o 8,71»i, Ins                    O                7/27/2011 110,00012              CARS 0.11871111                  117172019 01.17011201-550                     11/12/2015
11415                20w3 111                                    Ii               27700/2527 41110101              111205, CARE 1.11.1852171        471572551 A1C111.002,577/1                    71111212019
5115E1               GIG Entert,                                                  1727/2017 01011251               CAGE f.0571C11                    17/12015 Am ..,111t00,1:81                   2171111018
11051                .
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8104/                14)0714: Vc)15,,Mherlhaf,                                    5/11/2117 P15231159              rut :. ,
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911415               Tfci, 0a to,0 rr,                           11               4/9,70---'11000                    Ctos,2,, 2                    121511201                                      117127111/
51549                15tarr, RAR5                                                 1/25/2017 117111f:1615           IT 1.2225.52 .40:121020         12i:2/20M 615151-R0101                         1171112015
11142                T&Ri7; 11ar,1                               o                511111/10.17 111154.7.0500       11 0211110 MAW;                  571272510 1115110-1151).                      1711212119
1114S                Tow)9,0,1 crc                                                512012:117 111/115:0S.B3         II 0.110111.1107.11.110           17/7719211 001151-101101                     11711/201G
11114                C,SRV       Moup, 1,1,                                       571572527 )350.1(1)18517         11100 ISS.17011R11.0            51/13/2110/ 114022                             11712,72111
59012                1100-1,1110710590711                        O                           04STOM                07,1 1:1100                     02/01/2153 (101 (IllIlUc '15 U? 110,00         11011/101S
11185                ^AC,;52 101A0 )5t                                                        0058151              0100101 51114I1I94               1075;7110 (04-001/12'10                       1171272111
57921                1050,011,02083                                                           1044110211           0A1                             11/7412125 1.110K-11(0:2111-01G-3.111111        11717201S
91841                1101,rtsi City                              ••                           50511701G            00.0r1/A. 519 GIRIZE            11/1077119 SIM 171011011-1111-5TP.MB           11/1212111




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SMcc 88.05,./88    Systrn, N4r.nr,                                          C.Mtiy lcc.ccpccccc Ccc, US,kt             ccc,, N4r.rtv                5chInc,174<8 7483,74014                            1.23E Tagin
15,183                   ChF.tirCO: fOrpC.,    :ion                         13                       8462522           14(1:4,o,     .548;rp.          51/5/2551 COY .55,2:1-,15,..15.5-1,121.5        15/12/001.::
                   25:18,81 C1.8.33,:er 088,45 /cep R2,1, Ltd                                        7)1,262           0180,4,1 An, I151k5             12/2/2315 0.55.8.:11,14,32,11717:1.54           3102/2115
75215              51easo; 5., Inc                                          13                       8888524           145174: AIR Sr 1,155            4171;2548 CON4183:T383AINAT5:E5                 11.1/12/2011
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78878              Pnririn, Mon,Ccnnpar. ,Inc                               11                       10,3581           171c1)111‘14:11STINCE          11172://7815 C.58-8.:GITALA4NSTRIKE              31/52/2118
75055              4:5588n. 8,4                                             8                        8818581           135.11F11, AIR1RIXT            10,717/2455 1:04-0113ITANI,XX-XXXXXXX            11802/2835
7117173            45,413sIds1,848,4.5., 417:                                11                    8A53815             518051/1155714:4.3             50/2512015 C.53K-DIGITAI.2.5-STR1KE              11/12/2/11:3
33051              41rerl AutornAti,4 fv1-38.8E5,0881                        II                    04.11734            515.111 4.54c35I1,E            1078272515 C08-111fITTA14:8-575:82               11/12/2515
68754              VA-A,Chevrolet CE,..4-.837n/ inc                          11                    8/135575            11181T5LAIFSTRICE              50/20/2015 0158-DICITALAI5-5721151               11/•1:415).15
55078              IVIC5RIS NIDORE CON 5154.8.                               II                    0481515             57:GITAL AIR 01:50,E           10/15/3515 4.811-0114113.314:8-6181:88           01/311/3515
61585                Inhnsbury AuromotIle Compar,y,                          1,                    5537815                          ,11-811<5         54/11/2015 CDAN5I1<IT1101c15'STRIKE              11/1)./151M
75532              88:86 ChEV 5.E588-.5,15.
                                          8 11.0                                                   11.58AVI5                    ruR ccnccc             10;1 /254 1124-0.04i2cT4IN-6711:48               11/W51:1
50163              148:28/858 kilTe`;:iiS. Inc                                                     5531244             Ci5IT11 AIR STR,KEI             5/53/2115 CNN2441741-218-51818.5                1.1/12/265.6
51,555             Dorton Aurnmotive Inc                                     cc                    0851434             CDK 41.0881                      5/5/3518 510K-13.011/43A,R45T8,52              111117/815
55553              Cciern84 05818. Cr.riTp,,,,v                             Ii                     55:1840)            DIOTTAL AIR STRIKE:              5/c/)315 C.58-5:511.41.-AnNST5IV5              11./12/810.8
701/5              ANTWERPEN I48.81431105515 .crf:                          cc                     7.14.2801           D:CITAL AIRSTNIV.5              8/36/851S                                       11111/3818
7,8•1211                    At481151:18/EN In;                              1,                     NO6121              CON FOR Cri5r7A1.15.855         11/1312335 4511-5111111,11-,1,11,-s-mis:C       15/12;245,
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81233              58cIn4A8or,        5432                                   cc                    045510.1.0          ANTHONY 411311.0                2/12/2,
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68443                        Hnit TN.:A:nye: :::c                                                  57
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55452              5488k88; MoNo3, Inc                                       11.                   0451234             5:111111 A:8 1-4048              5)578511 50N-8:01rAl-A81-63.141:41             11/12/7018
51524                         NISSAN INC                                                           5155501             DiCriA1 NIENTAINE               7/82/2817 co:‹-o:                               11,7111/255,5
75274              5.84-.11 0810,r3N8Y8,1ER          77,7C,                  cc                     NAS5232            C184 4/085I                     7732/3915 1 88-118441.51.7,,,5-515181           11/118138,15
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 1374              SCSI 0.051/50117 5182                                                           DAS6.716            MI 5585'810 her.T               /140/21111                       5.1<5          15.117/2455
81789              04,31c4 118C.J01,41:,:,                                   cc                    0418122_            D:11,1A1A:8. 11111:5;:'         7/38/8515 5.1.8,811:03114A15-3111155            11/12/2015
TO12,1                            oc,111intN                                                       5702316             5.i75/31151 ccl 0518108.        7/1321114 ccc, 0,N11 , 43A:8 575180             11715/2455
75885                                                                        cc                    8A534855            12:1121IA,P.318.188             777773515 c7105121 1/1                          11/12/201G
78324              6.911741 Mon4go:84,-.1 Inc                                                      DASMVNTENSA         180.1.1A1 AS MV                 '3/18/287n 804 0,CITAL-551 115150               11/12/2555
87.154             Circt, Molrvs, Inc                                                              8/163151            51411A1..4,831818E              7/7138013 CDN-18,31.13,2: 483-STRINT            51/T31281G
51315              S14114143,,
                             ,A                                             11                     045203,12           841                             7/1412818 8134 211111 ANI18.1315151             11712/2415
3/574                      Antn;rm1.7n, 0,1                                                        11.417515           08,2118/.A,R3TR111E             7/70/8015 0):138:48.7.AL-155-518113             51/15/2015
50578                 Pi,I71,OME MSS.,                                                             21151151111         8101 fAl AS 511111155            7/5/2440 175K1151114.1.-115.5551KE             11/12/2518
611155             F,,,ifFE !     Oroon, Inc                                                       171022.1'`ITA       VAS TOYOTA                       7 7,
                                                                                                                                                           ,W1 C7)7,74)761.1,4,40-55515.E              11/12/2035
55021              88,08,..874,48714,,,n11.3.4 Inc                                                 043.11141N1         ccc 15111:11 STRIKE             5/24/2415 1111451(11T4NIID                      11712/2416
82885                   Motors 8,                                                                  cAT                 LACITATA.R3TRIKE                8/7838018 CDC-81.31TALAIR-STRI5E                52/12/2035
15553              7.441,A4r1413388, TLC                                                           1.7.
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571413             INCA 5HET,MAN INC                                                               8413515             881148311NNION                  F../17/1515 CDIC-0118TAT A/R-ST51I.TE           13/12/2016
51183              Co:ernan C834184 Corip8,87                               t:                     5/55281             1830/111 41881.11/NE            5717/2015 45K-545
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75845              NINE.5517.1 NIANACEMENT INC                                                     8A.11573            18.1111A /. AIR STI1iNE         5/15/151
                                                                                                                                                              3, 421-01.311412A41-51.1171.E            13/18/2816
70544             7-F   TANI:AMI,                                           cc                     1111,524211         FT M,11.:017:45A1                574/2015 CE.145.10.iTAL-AFTETRIKE              31712/8011
35555             TEAM 11A1141.35 DAYTON INC                                11                     DA38018             510,141A183711,50                5/51:1545 COK-01.5:714,32A/R-STRIVE            13/18,03315
70405             81111.SMITN 5555GE818571.110                              cc                     DAS                 51011411115 575141               5/3/2015 CE.14-51:8781.41151.4TRiKE            31/102515
55538              IN38PENDENCE E1351131*:                                  11                     DAITCVOTA             8,105 AIR STITTN5             5/1372555 C22-3IN1AN-518-ST82.                  12,011,12878
55805              V3P6v43.8 /84                                            cc                     13ASITOKULORAI.     051101.04711                    5725/5015 ENN-5/03AL-AIR-611856                 II/1212518
51555              48,:ar Con7,50184.                                       17                     DAINCAZDA           onT.:.388377150                 57717155E (1)145k2:1125.-..15-5-//51:C          1:,718,1281.5,
57552             31.5758:053M80836 INC                                     11                     DASXMIT             8140011 AT8 5TRIKE              5721/2115 CE4N5I5ITAL-AIR-E40I1<5               11711721116
555114            1.8onvr..8,4,138.dae Ch8/siar,enp, 11.0                   11                     846.1810            5.75,TA AIR 578/XE              512171555 4r.:231,211;5..-AL5.-c-ri5KE          11/18/2818
5.15,55           35EE:512 MOTORS :NC.                                      11                     5.A5               5575ONV NICK:3,1.5V              223/2315 C4'K-51G1-fAL45/1-51 51<E              11/12785383
57535             .3n8A4 48rk 855081 Nintr,541,N,8,                                                04,58.015          518 11115711:42                  5/1372515 C111808617:87,118-STR:5E              11,08/21,18
.4877,7                    5.8harr 0on/.58r/8,A8I54 N151,4,3                                       5A55874            55,21TAL A111ITRIlI              5/53/2015 C5K-51G5111-/XX-XXXXXXX               11/T2/8518
5.1034            5ordor. CIc,,scc'Ict cc                                   11                     0A52015             31 1817.4.1 2,11 STRINE         5/15/2515 8
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38833             Sianz 1c!2N2516°, !.- :19,rafet,            Ircr                                 5A52
                                                                                                      .84657A           CAS 7.1.Y.17.A                 5315/2315 CON4151.551-A.A0011511                71/12/8545
51352              oonbvar5,3,e,1kropart                                    11                     04.51734            r478:NE8Zif :NTRE,GE.A.         511572515 Mi,mic::1-Ai.-A:5-5-511k2             1211.8/21.7,8
585,39             1.44-ibourr,4 5518 :r4portc1.1.13                        1,                     5A:845             23751.18ALINI1</D111 4:8.       5/13/2116 1.885-410"54.1-A.13
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74,137                     fcc                                              ci                     085,555            4.17155ALENII:                  5115/2515 14015,31,11,75-A,R-830818              1:,112/28.15
71503                  Motor Group ccc                                      1,                     4A501,41           0.11:TAT 41.4 6781K1            5/13/2115 C5K-755.18144814-510:146               :1712/2518
34.385            1351 11081W:0N INC                                                               04,5173            1.5817.41AERSTRIKE               5/872455 4.1411-00ITA182:841155:105             11/3.2/3818
51064             57.334,34C   NIA84.174,5 ccc                              1,                     54112015           2.481751 41.46:84:88             175/1118 455-c'58:34,1-1,4-1518,,15              7175/155.4
75,538            51.4,114,,53
                             - A87,8 ^46::115                                                      CA5112             550.1211,815502i84                11/5/2555 5.14 -18,11.1A1..A:11-6:75:118       1.1/52/2818
58378             11101,4r VE.11.5.7,,geN 78c                               1,                     511111315155       370:7.83414 5111i56               6/1/2516 C45-4:N804,1.704.87 11:5C             T1713/21115
56311             11411,1160 N104:081 I                                                            CASA:8558:U         ENANA11831111148               4,729/2515 C148-01/41TAI AIS-63.248,8            371/12,12815
55515             MOINTA188.118.2 INC                                                              15A5               1.1107,3117,1R 51-77i7<5        4/25/210.6 1.858,255/744-4:74,51                 11113/2555
54855             10118 11587 88,I,C84.4-8:31 41414 C.,d;11.; :1:1                                 CASAT.5-3-831E     15,137,18.37,41151.             412/7241S NCI:301547A,-AIR-1.08,8                11/5872815
58511             0ISCSIONINN2118181                                                               4/00255            111171,, 21141.114              4/25/2115 1.478-58i5/74:34:11.57848E             11/12i25M
5E915                        P.Are,8/844.: 33:                                                     134,532:31         TOYOTA CIO:TIAN A:8.            471612515 11185-01,11TATA.5-28.1115E             WM/2515
538:55                   548r OnInk NTAAnoIet                        ;_td                          N1181158,;EY             cllcicllccKc              4/24/2011 428 -0513:2141-4.8-S0                  111/12;251P:
84784             k):11.8.4448                                                                     04.35:GA:8         55141AIA.1:15-11i1KE            4724/3518 NUS-1383,1,41-7.311-11224,5E           2.1;12/2:115
51541             UnIvx..4418.44 11I3s48                                                           NOV/550                        M5311251'20886      4/54/2111 11784183:14,2418 -511151/              11/12M015;
54454                             58,4vro181 CNC C,44:8,:: ;18                                     CASSURVE71         5:54.41 p.15 ITA:KE             4721/3515 8141-0:21,A1-415-12141,4               !••.1/1 V2./115
51378             13cr:18. 58488814t lcc.ccc , Iccc                          1                     N141.4             0101141 415 :NTE51414.,         4723/2878 405.51811A1-7N8.5:818                  11/11/2411,
322'31            C1308 AoTO          1114                                   1                     11A55789           INTE.1:11A 1.181K               4731/8815 527A-740,r4:-.4I5-1,13.241n            51/12(7015
51158             irrom, 7.871c.78o1N4 troo 148                              1                     2cO,85110,1/NE     18111114c1 4.1116881:5%         5727/2818 1815-848:341,,o8.5 148.45               1175/245E
538115            8511.18s lcnccc cc Mnrcoty                                 1                                        415.1341 4cOTORWC.818.8
                                                                                                   CAS,OVNIS                                          4721/8513 505-N:0;TAL -745-115188                51/12/2015
51348               S 8,81.831,8 r48 9.85.81Ev                                                     2ASIIE4V.151i      5'A.115600.83'                  4/21,=1: 41111, 111511404,5 ScSI'S               11/12/2415
8120,/            1,48,s1,V45.4 Motors :or                                                         041                DAS, 8518oT.4220:5              4/31.7151S 41;N.85317A1 :145-3111851:            51/12/2015
5800              111.2.31,14,1t0 .4,453:51                                                        DA5,21118          0141                            4/8132818 C08-5831184.-51.51.5140                TA/1112015
53285             02:38,122:8883C,                                                                 CASC10551          CNN 4.1011A1 NA2                4/78,i851S C.884.4017A1 745-311115E              W111/2516
51517                       Nr.41ors, ccc                                                          51,11111301,5      11A5 IT:RONNY:OK                4/15/2413 03, .,14111417425:8 :51111KE           11/12/2415
55985             106.; 1,N                                                                        DAS37247           5830A1. AI%                     4/18/8015 M5-125.11.1o11./VS-55515%              5111232015
88:84,
     4            .; 84noiTI1IonT, fn.:                                                            M11138101          1.811rrAIN5 S 7 77:K5.          4/1872411 0.1411,801V4211,111.115150             11712/2415
80513              2re:, 04541: I:I :80                                                            CASE5414.5         571.1154,4                      4/78/8513 588-04.51.111:515-111411FI             5111232015
88844             41181.4.81:81,814...o1,,,418,148.o. ,Ac                                          5A58,551           118,311151 AWAY:NAN             4/13/2818, C17.4248174135181,75155               11/17/201S
55587             2c.N4.5, 18ke For4,:8::                                                          0112487            "IS                             4/73/1515 C,88-8:01751.:(45-11111E5              51/12/201G
                  Nowth:renv Entorpric8s, 154                                                      4452118            181411151 AIR                   3/24/281E, C2412.0117742518.578152               11/211/2018
188811            Sill      D.dg. 15,                                                              110.18515          0.08t1A1..4.513I RIVE           37:1232018 CNN/ANTAL 4.45-118INE                 11/12/2515
S1492             -.1545/.t1:15 A51511
                                     , 511
                                        ,  ,                                ci                     DAS2018            18:011/51                       3/21/2815 52.413,11T41.-51.4 481801              1142212511
h7A8,5             1,y5,5, 501,1 51/57, 11.4                                cc                     5168115            5111174.,1,812141148            8/18/1018 CDN-81.51'fAL: 4,5-371178E             11/12/2515
552711            813.7011,54 M04055                                                               UAS1884            5121 Ill N4411NET:NN            3/13/2818 10114 5,511174.408.375151              11/22/2515
                  0118" NA.00.4r1i Ac                                                              0468515            01811151. SIP.62 1051            5/8/151.5 CON-81.301512A4,53111/11F.            11,02725H
58352             1118.,k   on,o1,5 eroop,                                  /1                     DAS2015            3414111.1. 4...A10,70/5          115/218.5 C08.188.11743A18:315803               11/21/2815
711813            ii of 158;tor.,, Rom', 13.11                                                     841198I            581117.1.428318188               V278518 (11)K-1150;41 415-118/51                1111272535
8,8896            8114,31,171740704.8 MANA0,3245N7 ccc                                             LIA$1418.5         73,131.11.1.                    7/22/2815 51211- 840,174.-AI5.37RIKE             W152/2315
71087             801:c,                                                                           816:r1507          5551<51.415 61AI:0E             2784/0258 COIN1IN111 4/11-815:r E                 2.1/812.02Z,
751/4             11,54,- Motoo1oc                                                                 DASTOV            : ?NI 11.1'15;. 1117: 51'8AF     1/24/2105 0514180.1141,-A15.3754k5                12M/2C15
-43183            81.1:or 711:8,4                                                                         N524         1,10,    74.481 5.15.1KF.      1/8418538 5'O11-81411554:11-015:1r5               111/5/251.5




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  454675 44508.477   1y1,m 5an./                                      71,75:7234 ;21<ere2p35:72 2.2522: 134,55 /3         14er Neree                  Added Data  Ternplste                                     Last 1507
 74127               524/25Fvlotors :pc                                                                 29.62531          182:1167 AIR 511385           2723/2115 14/40754PA152t6-1141KE                          11/8/211/
 5,451               3744 74:451741491,59                                                               5411244           772E34- 1531549,1852          2/28/2413 /20/3451,110,184,11-5Y4290                    11/1E/2016
 52212               FOE 011452651/7406415551445                                                      2441151541          /U5 1-759:4                   2/18/2115 CEMED:415/7/1-2,4E1100/4                      11112/2310
 52421               Lpsorsp CS o'.,:52 4359, int                                                     1454557             84:141 051179140              1/24/2515 7219-1/194,1151:8-57331:52                    11112/241E
 22881               CA149.4.1 DP MAIO:AP 1.1                                                         24901823            1/59 5:44:15                 72/114115 1454.2:G/TAL-M.P.K5ING                          11/812110
 57346               6,E315:1-TCHESVROETCADILAC 8,21<465 4751                                         56.4093219          02261:i,'IT3                 1841/1418 7118-145t411-E44,144:84:341                    11112/2016
 31231               72/Poings 015,5212t                                                              108102122           111:11;.1.212,;.             12R62/422.2.1 57202.1113/TAL-4,19,4551/251               11/13/2314
 58412               DISCOUNT 5101017S                                                                1E181217            C.1.91024                    12/1 2/2216 :2.2.22S-D22.2c;2221; -11456162135           11/12/2416
 61839               278y1344/72 Autpronitve Corr/pa-2y, 11C                                          14150005            4,114 a.1;90:.               72/14/2315 1044/18180/192M44951153                        1012115
 584520              Tue/or 154://ec,                                                                 11.1/42018          (5071,811                    18114/2214 515-594-41154,452717.871/31,                   11/9/1116
 +5.7.15112          Mcfier.To                                                                        15/957274           5:14                          /2/322355 1,05/185:11722M44451151                       11/1212115
'1722                     :14t2,3;c2:: Moter 14,/s no                                                 04154111            5/75 n;*;;TAL mml,  ,i       11117/2215 1454-142/791 4252/1401745                     11/124110
72125                14911151814 4401511565 LID                                                       8,12 K090           C(.121.26:1131:175.          11/104325 4.11:4 51G:1'.1144,75,2145118:3                11/1712115
 58111               744545, C1:57,54/47,124                                                          DM 441388           5073E1.1                     41/13/523/556'31121141 /4,1714811145                     :,,
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 0110                '265ton 10:82425, to:                                                            1/9741111           CD< 71C0ALT 58114tEM         111124111 rate /1111/4ON1A41e1/545/                      11/1212219
 54448               211 5otet 5148us      to                         2,                              311,159244          C31 04.21,
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 521243              A: 01 ',, 52,                                                                    55.:181213          D:GETAL MOTOR'MAKS            11/5/2415,:nr,102:118:2441ARKETINC,                     11/1212275
 55144               155:58:27,14/9ere/0: in<                                                         2E191111            CDP GLODA8                    11/212218 128-752tTAL1119,584.27116                     11/12,'213/
 55315               Pre:7/40751e:754,759s.118                                                        58442153            E5<                           11/1/2415 C0 /24017AL-7/21AREET144:5                    11/12/21.113
 58747                                                                                                15181111            CD://                        11/31/2110 5044-352/4914/54APPE12146                     11/121E210
 71175                                                                                                914 4252:7%         (1:236,,, 1694,s2            13127/2418 ,2   1/1205-7,4484.1717/47/                   11,12/2211
 58562               P;e241,1884,                                                                     14491234            5973/114,15V147.71           12/27/2115 111.152.844544,14588117/3                     1111212210
 51453               08,5,7414/7/, CUPv4c,/e1/ 1/9:9 12 E71:::84,                                     1180324             84157172                     1145/2416 /114-1/14451-549.85871721                      11/12112915
 51227               2829/27784/8 875/244                                                             1198.2335           CUL: HVUNDA/                 10/14/2115 581.1:P0FAL-MAP.KET/NG                        1111212114
 58116               49 84 Dodge 55                                                                   54481111            8517110841                   1144/2416 7134-1/C11/411-M.4799.871740                   11/124116
 58122               112413 22,255255.2854.6491,35                    :1                              25102115            (.2152-,V11,-.
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 73228               371722449/n34g47,24n :24                                                         144535171           /5<51055131/                 11111/2016 c234-5202 1AL-4414215'1w,1                    11/12/2116
 62182               Rizza 3259 5125 Cedlitac. 745                                                    112011211           11110115                      117412115 13/9-8531122.-4,1ARK5123I5',                  11/12[2015
 70528               Rive4hen3 Ante 4,2 Otd                                                           15283611            2595                          32/1/1115 /114-12054,7,1.m5.PSZ117,22,                  11/12/2411
 25629               Piverhea5 Auto 7,151 Ltd                         22                              111203351           ()Mk                          11/7/2115 1114-8174117,1-M4P9511458                     102/2114
 57103               6,10'.'52111' E3/72:155.71111                                                    18161245            1515
                                                                                                                             / 15111411                 11/5/31713 5174-1:311,41.M1/48811314
 65841               455:ran Sc'. 8259 52/e2 Carp                                                     1/4151275           51441194/                     5240/2175 C15217111/.1:249.65511548                     11/174135
 712E5               714/35:271/ Autotnet/ve Co                                                       15,54/15            84951516,31                   s..,,
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 04384                    C.hputeito 17C                                                              14/912441           nms 5E417 864 211111 91       9Th/2N)5 Cr22.2-2222:2,1142.-20.        1.22`222i       1.1/1112115
 51213               4/7431welk So:,: Cer4724, Inc                                                    15101E34            I115P14741 OK 43832574        1/22/2110 211-575,5121/ 84510111746                     11/12/2016
 89377               514picy C4cw444,5,4                              2;                              11,142411           /31142914                     9/38/21275 4,174,145/547,1,-mpRecT:                     11/1E/2175
 57458               5.4232:72 7-1844.7110                                                            18167127            C1902.T                       4/22/8010 c.r.w..r3v,:11-,
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 01,2834             5accener/72 totto5/ /o7/                         2;                              11911285            5,111                          4,44/2505 7,174/1111115.-720812F,193                   17/1112115
 58141               MA1172 C,A2DAP/O 4134-14 1148                                                    144741234           551811 95141,55152135          8/711211,3 (111-1144/5AL 4400885/742                   114212110
 /915,3              52/15/707354 152451547.2 I. LIP                  2;                              COEALT              147451125:17                   8484279 1114/ 211:1512194/0451511                      17/1212175
 51548               42:82/n8// 44:0,8744 22,22,
                                               ..2210Orf825, In22                                     14413114            5.19.81:1v:31,8471148.15/      4/1R011 8301151(31 E7171S818172/1                      114278214
   155                      231.22,,N!,12.2, ;01,                                                     11,291284           15452,12,                      4/112314 C124 2111/512781A85215/1                      17/1812115
 84745               951914754 C45'/412111'572, :131                                                  1E165914            (151512511 1,141482111         07112058 811-1115/141MA4NC15,3                         111/15,2113b
 88981               4925.131                                                                         11,992441           V14,844155511448              1/4112211 7785- 115,1141.-MA:4541:571                   17/1812115
 73E53               Pee :287208 444434 15 12.724,4,51:..                                             747118              4,Y5 1                        8/E512018 C.11•11251821- 443221,22,711,25               172/22.I.,010
 72254               eANSett CITE 411114921151 507P                                                   215115:8417-        17,344                        54412111 7214/2511/4/244,544,41:1G                      11/114115
 81544               41.071'4911.11 4114 515:220, 12,                                                 15,11/85/3T5TiO14   ONSTATiNN                     4/1812115 CD147:1112,1491,87:17_125,
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 31477               452/ce 0243, 11,4                                                               C54191141            111-171,11A1:514              1/19/27711 4,14/151:1A/2MA:4551;N:',                    17/1112115
 78215               9:15V78,5211 41111594;:3,8 c57. 15                                              115/1C5ALT           CoU8a171ro52                  8/14/2015 C10-43/EN8224,17,4142/2110.4                  1111272215
 72224               525441 4,44210een1034 1o;                                                       4/187/2491           CM PEC 51,4,449,6E 454        8/18i:2111 51111,8,16:TAL-51A85.711541                  11/18/27181
 18158               49798725/e 514/1ur Cnreneet7                                                     15411234            C014                          8/12/2015 C31-1311791-M64*     -
                                                                                                                                                                                       .7186                    1111323116
 11811               /24 14434,50 C32,97,/s1 244t307,5e                                               15141288            11/4 mi-F41 moTor,            8/12/2415 CE548/1G/TA1-5141957iN0                       17/12/2/11
 78248               8/444:882,756 3o:798244 Co                                                       223C18A8T           C059417 PNLUNG ‘9751          8/1172114 C91-23/1/5422497,4,57170E13;                  11112/2114
 01.405              1501 '4,52,4547640: C12,44/81                                                    11441228            13122149913/4                  819/2015 122EDIG/TAL-4974.595757/G                     11/12/2115
 14175               tiny t0,8s Geo5,714t1.4/7                        II                              1511.0211           4.24 55114/1071 /1             4.15721/12 42522//143.- M511510553                     1111212012
 31801               1424 147014940 M511453114,11/                                                    45142313            181111,32.191<12-1,154         875/2015 12.1-11G88.4141,4895711N0                     11/12/2010
 1,234               5151//84 Pldne47:341                                                             11,11.2918          5
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 58482               110145:52 199 Chnercece 421_k                                                    54491271:           1117741"                       8/8/2315 158-1AG;TAL-6A4KET;NG                         11/1812110
 81781               4,1i15:11:1;`) ctit1
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 71903               1' .18.131 4 49/641113'96 585                                                    15141276            104044                        7/29/2015 1254-1:G4CAL:tnARKE521/1                      11/114015
 74204               12541SprIn3s MR Int                                                              1E542013                    175
                                                                                                                          508951,4,                     4,7/22/2118 C21.10811811,81751141011                    111710076
 511E7                52i,:5.44i:11,51 co Inc                                                         45111214            111                           7/28/2015 113-5:8CCAL44943/45752/41                     11/12/2116
 74171               11 494:521 448: 974                                                              144411491           C45 151/4                     7117111113 C11//412174/0.2517,717811474/2               12112/11418
 71254               513255 CITY iLU1 8,44271155 CU LP                                                VMWC2..)23A2Z       1-4:271/31825/75:4020         7/17/54315 105441t791-49377/4/47510                     11/12/211.5
 74224               Settzar 597260e1nen1                             t;                              17382,13-7113       5033114141                    7;t1712.013 8.11/51:21:02074E12414577144/1              11/1272215
 71514               PA 332 Cz,-3.1,i5,2                                                              44452118            173/8,S74                     1/17/2015 175523-412145814,79-94/447-7iNG               11/12/2215
 74315               574144
                          ,   42:, #0704401114914/                    13                              5C7531/51           508311                        7/1712013 4.108214,814,74MAR:U21:7P5                    11/12/2515
 51914               75A8177015154                                    12                              4514411151737       /7/11045,921511 10861/        1./17/2115 144-452/-145-4,13719F/33                     11/12/2115
 742E5               62,441,ett            '555                                                       020243120           4.115 11'531'                 -1,21.7/-.22-0 2,(07 212,,:221,-;',45,1V.F12            71712/2515
 71121               8n57;ch Au752.225i32226.52115.                   12                              25152111            449,28504111),21354           7/15/2015 1495):GCCAL-61ARKEING                         11712/2115
 11355               55ctu/seti Mo.:ors, :1'3                                                         37,44.1284          1055172 45004111              711112118 111 125:11774C42,51414:1,2                    31112/2518
 413E2               72,42nh Chpecolut C7,47nace                      12                              714.45477414        OM 1141:L2N/1085.LT             716/2115 1424-4/G/4-4/24,19:415I/NG                   11112/2115
 61,394              e56.31/ 511711Rs 91/15/ 1775                     sj                              11047234            452512.1                        1,87/7015 522131t1-921,1/7,122CE175745                11,44/7475
 58451               9io/94 55,82 toc                                 Il                              14.1611.14          141 2514                      5/84/2111 1574.1811/11114,744417r1411                   11/12/2311
 61142               5oberten /4.2e0e2s al P65/77i1c310n        In4                                   21,491244           GORALT orlszmcm               6,,24,,243 :,-.:-.3:- -4-121 ,2,45p:E-11,!;j5,                      ;
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 57543               9,0,4 P7oe14 COeurpiet 8259 ;pc                  1:                              15451 .3              5%13131 116                 5/23/3121 187K,4:G2141-W,47152451                       11/12/2111
 14232               57085 455512144/78/1 1441                        Ii                              17,44E414           5011941"                      6457/E415 7111-1/1471,87.79ARECE:7441                   ,//7,411/2.P10
 51373               54843/, 2ip155554., LEC                          12                              11411.3002          1811 2343                     5/87/2211 1878,751,2P1224,19,44951251                   41712/2111
 69578.              147,432,,/ Cheurp/e4, 11.1                       II                              11144.17118         'Mc c11,,L,
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 51251               3421/2-5:: 4t505,775110 0r5u5, 312               11                              14911234            5/5                           1/10/231531'S 1174/11,1-49.44151251                     41/11/2115
 60572               112:/32u C52343/e4,11.42.                                                        5)34)142            424/471 '11123                4/1-4/1416 4.18-11421,114,4494914:742:                  11,712,42516
 50621               94104130,5 44472,111/151- 414.159.0C, 285        12                              1491418740          2:022                         1111/231 C COX 151i12112.- MAI:KCMG                     11/12/2114
 70138               1 9 87762/49 521                                                                 1E432513            (.2.2.K                        6/9/1410 5184911 141', 14565,6(11,5                    1141/2515
 51952               HAWTHORNE AttiON4/30E.278A57121 COMPANY          L:                              1441121:9           7:87:51:1116A1                 5/522355 578/./.2581:A4449A4451151                     14/26/2115
 60901               1314e41815: 541                                                                  31,181244.          (111 5.42,15                   6/2,,2516 (.1,411111 11,',                             11112/2516
 5199::              Ftenk 82/5-nati3e 821145M/5 Inc                                                 1.1191/.239          :4511517.415,57110            5/22/2355 1119 21':2141..M44%112211,                    11211/2115
 61865               58/12,52er 4:12742 01                            /1                             65248181             CN505,12A                     W1/2415 C.4421892/17,85MAES6511,81                      1141/1219
 51848               37oke1,,505,5185 En,                             5,5                            14411771             V4111151:4855;oP.Y            5/34;23)5: c.:115.1.84/517.:24,1oP,15115G               11/12/2315
 61185               51,773724274 Dooge /04                           /1                             17.912282857471      /11PC5o11/1212511074          '741/2115 158-3152 111                                  1142/2416
 5321e               St-puk Pent 71e415:84 Inc                        5,1                            144142115            15.1811:45, 42                8/134175 1,24-21111,    324,109553232,                  11/12/2015
 35114               14p77/47/73 14E2:58-::no                         /1                             751,1141241.         151 9640121.29512             4/13,!2935 C414-1821121.174.514881542,                  1111172116
 421447              85.1752 n8un4n/                                  1;                             149512441            1O16,11/1 95/7 441::441        '/6/23)5 12%.11891122514,   57141131                   1171212115
 60582               781,155/, 544107 175                                                            nr,i.5'.9/5          71:35-5A11:21 VATA             8/4131118 C784-585/131- 1400801154                     11112/2116




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 Shrike:, Notrdocr             131616,                               Country Exereptino    Ecor 1d        116or Narou                    44321 32)2     1,1659316                             Last Logie
 60931                tpt:Khr 11 :orle52oclen:6 111                  2                     06452016       (01461151190106                   92211015 131-11561A1-51111AXENN5                  11/12/231E
 001E1                5.19111.51,159115(1916111211                   ••                    011/1411901     19454126                        4/76/2015 13140/11441-9/1ARKFTN1                   11112/2,1115
 E0924                1141114ou Nisser: of South 622393.6, 110       2                     11,141 294      0551144101111 11.5164549A81     4/17/1024 CDP1-D151-12,3,41.9A11971,15             11110/4110
 54595                Street Autornotiv,, 1E4                                              11:14112019     1-2254,1.4                      4/77/2015 C.014 1
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 E0900                NAT HUFFNES C11E1,1501E11 541                  16                    1,43143344      c5r,                            '4'21/1015 C0:O21511/1,321446EC11115                01/6/201E
 55959                8418404                                                              121141151154    00481814541                     4/754015 605-1111521A1-51A55142082                 1.1152/27,10
 E1950                                                                                     FirA/(1294      105411                          4/2691055 CDP:-0151TALTAME51365                    10/12/201E
 52.130               Co:Era; 416684. Ltd                                                  01911111905     telisl MARE     N               4/214016 CEN-6111:14.14.1.4244121143               4.0/45/5515
 94340                25/16ar. Chevrolet 62/1444u3                   11                    8111•69644      50K 54,E54E11510                4/23/2015 C0141E117,5.-91A511511P14                15/1622055
 2093.9               51,4410, 11611 PAOICAS11101                                         12541111001      COK                             1/20/2016 /205-245A54.1-10.405:41124144            11/12/5914
 E1416                651194 9E61
                                ,16E5 50058154                       11                   515167019        4414 01_1 111419121446,1        11/73''51 C24-111C114 d1,11:41,671P15              12/11/2019
 5.99:9               DArcv 8.2141:4M6, le6                                                55442311          46111t E14114 WORKS           4/204416 1209-A15:12111-4455A6U5E4                 /1/12/2315
 40280                446805 51031.10 CO NC                                                D1911:1234      631 PAGFAL 12 NEK111-           4/23/2015 CLEPN1C1114CeUAREC UNE                   11i12/243 5.
 0111.41             Korl tNevrolet, Inc                                                  01141:1315       256 54:10.4444                  4/204016 120K-A10ETAL-P490,A124414U                11/1414010
 61540               (1 .96,1,, Chovrelet 5.12431622,                13                   SAM/             4441, 114)4                     4/20/2014 1909-11E9:104NNA450;111,2                      201E
 6856S                The >r. r9164109, 64167.:64 /ec                                     ANIC76141        AMC 11:1e2193105                                 52941-A,9545115u
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 61134                1e11er5 Scot ClIrtsier 6,16206                 13                   85342114         4011141 168511(1141,            411.5/1010 1.358:2114: 14154611146,                11/11/2014
 981116               Love PflotorN luc                              Il                   59451214         159 015.114.1.                  445/401E iTE4'1'153;A:„4/;A:5,KE-Auu               11/12/4214
 61551                Verdley Cer Corote,Ol                                               315141254        1E11E51,1:Me                    3/10/2A10 C31.01411A: T41595E519                   1141/2015
 62004                                                                                    0M(1224          1161h                           If,
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 54442               3er. BArrett CAce                                                    291621110        CO4 eittl/A5.                   4/15(20151.54.151561416114561886                   11/12/2014
 51004               1.01 166                                                             541 4.1055       1:A.TE5t2111                    4/15/101E C115..1169:1959-111454.914PA6            11/22/1415
 53235               Aeo Mveon 1214Nro:c4e4:1/,5:: 121                                    DP251110         C04 51594514313                 4/14,121110 C9101):41T5111,14199271146             1141/2016
 13302                531/1111.41 SO4526 4E1 M MALI, NC                                   06451:114                                        46431/2415125 C11:911591A511:EIN1T1                11/1111415
81265                :91.42 121:e9colot :et                                               OPAP:1016        11151    9141115C11P101         4/19/1010 COK-0:41T5141ANKEONG                     11/12/2016
(2054                 1311105 1311660149 OF 5Et114541.451565 1110    43                   111643225        CM 56F-944-4025                 4/12,241611% 2521-1,121515R1.ET7A1                 11/11/2015
 45019                9.11:7140,4)94 Moo458414:16, Inc               1.1                  /291E2205        1'1160:21141                    4/19/2114 C1K-0:01241AT41,KETNG                    11/1 A/2015
 90419                                                                                    01640234         OPIN                            5/12/201E 911.15T016112,16M5R6ETU43                11/12/2015
 5400A                         961:58:01-IC   1111                                        /10151294        1.81 M5E541- 1146               4/1712010 1108-8:0151141405(118(i                  11/11/2016
 14091               93:62413181'" 0:67::/54 Co lue                                       5,4:41235       DATA 54CE416195                  5/12/4116 :171 3'0112,.4,1485271':4                11/1212115
 59455               Snot° C,1,.                                    2                     W41016          (-16:910441                      4117/2015 C55-868E15141111'.KETENG                 11/11/2016
 51895               1O11,66461.411:63e Chmolectedp,:LC                                   71661925'       8101551 545)491115,1             6/11/2,716 C31-8OGITAU11139441'IIE5                1V15/211:0
 911160              15991E Mr25056 040                             2                     275151721       cue ;15:2611,9 944853114         4/1112010 256-DNUTALAAARK51345                     11/1112096
 602SE               1.1 119Nvro164 Co Inc                                                AP/6194E        1121( 410510,11. MKTG             4/1/2014 C115-151114A1-MA41,F1151                 11112/1010
 50553               The AueicaWinteu Chevrolet, le,                                      :61419499       5119 11,1111154134K               4/8/1016 CAX.-DEUTAP-PANAXEING                    11/112201.6
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 S,455               55141141, Ahtoland, 911                                              APAP:1704        51612                            4/7/2016 505-151ClITAL-MAgeFFN6                   11/11/1015
                     C6^06:64'evr49t.                                                     94054E42        1788.111121TAtMAR5E1-             417/2310 105-0151T41-91511X6:1111;                11/11/201.9
 61095               ,
                     j,01.Dn                                                              11451453        110011.T                          417/2016             151'I458,01501               11111/1016
                     155114/1141EU 45101201143 11,2                                       915191254             04455411145                 4/712015 CDE-81.21161,142511%5110,    6           11.4.11/7.01E
 111247              Outewey Chevrolet inc                                                56455459        1114( EATIGAL MAREENN             4/722016 Cl2e-151:1111AL-MAREE PEN,               11112/1,10
 92491               5131115 AMTNER9 NC                                                   94:11(09111     21214                             4/712015 CDP1-1/1511211.-PArtP215,11P1Ci          11/12/201E
 61215)              Beaurecot Muter Co                                                   115114176•4     156 410241                        4/7/2016 C114:012114.14/19.1:927114:1             11/11/2010
 70397               15100AF 061.1.40 0(4110.61?                                          4.51191294      5,10.404                          42612015 162-815711,I.:4109521517165              11/1V2515-:
 5E771                   011511                                     11                    2
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 44445               Nev.:1414dd Auto imports :n17.                 Ii                    061510E1        2641                              44/2510 124-21,11111.14,109ECT111                 11/11/201E
 58314               ituturnester Alutor Corepoiev,                                       CM5n14          84168 12I84                       4/5/2015 C1214.01:21I412 NIA:U:21,16              11/12/2010
 7551:,              rced 59184 :2                                  1.1                   819161234       (160 730                          4/5/2015 CD1-215:741,-91AAE5; 11419               1S/17/201E
 521.1?,             4422 0uluk 29,13Fi6l                                                 1211464950      68114.2:4': CCU(                  415/2016 C.05,11,512-4.12NIA10:2501:44:           10/12/1302
 82126.              Culan6reu 801,4211512,                                               815`,51234      MT`6161214.121                    425/2014 C05-010:15:1.-91AREF11551                11/12/201E
                     818 52(16 Lease lec                            Ii                    12:1451023      101.511 5411564                   4/4/2014 1.11C-ferilTAL-N1.929;C1,101             20/1 2(1205
 81855               516011l1e eadilloc loc                                               5111:54175      C0E5113015191                     Ai4/1015 (1816-21511,-5114%F:105                  11212/2156
 52374                 / 923^1ESK4 6004151                          ii                    0:111:7777      CAA                               4/112045 Cf1K-AltiffAL-N1.40.61E41605             11/1v,m5
 65934               11.91418,0591 /NC                              13                    3151182335      NTECU:AL 641.                     44;2010 5.54-0151:NtddA5401151,9                  11/112/201£
 61407               4410 014011391(AAIUN( iriC                                           919551171       C14.%                             4/1,5:411i 11514-01V151-1045621514                11/14/7310
 81017               Liberty         lcc                            11                    D15164467       CCU: CAAFAA                       44/2015 COA011:21 18;:-614:1551114E               11117/201E
 5,06,               1645435 WSW:A       31C                                              09155978        2:02 1-85)                        41122016 CCETNOITAI-PrAPNUFNu                     11/12/1010
 57.5."L",           54,1%'64W111106541141. 31                      13                    815165182       ANA( AlCATAL                      44/1.014 1901-5401101.-6.141155; 111              11i17/2014
 52.27               591nar6                  Sc                                          00141T          C.15ALT                          7(411/3214 :1041115:1941-15111461'N5               11/12/703,1
 81215               2062114e, 4,116 Sr,iES Inc                     II                    81067514             0165TNT721c                 9129/,1114 1:05:1169:111N14456;;145:               11;17/2014
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 ,1:51,2             16:17166 6166 Ceete:122                                              55453701        0154.12118551510A11.11A          9/191/21.11E 104,115•2•241:12,154p1-0012           11/12/1014
 82185               A 0 AUTO :IN:AC 1E2                                                  A1161EALEV      6.1.115 514101.011               3/25/2Al2 COK-Uit.91;44.15555 ENO,                 11117/21216
17552                $2555624 1949054410C.                          II                    02110.1         1111I4 SIMMONS                   54424019 ::01C41;65610,14A5N922,116                11/12/2015
02582                AINI65541005 CENTERN6                                                9,1411565       1164613/1418                     212E/1E15 124.13:261,3; ddAskEuEtt,                 12/9;2018
 154,1               146 1CCM1111 NC                                                      1:12.8412       012.84121                        2/15/44)4 (69.6110341 1444441)148                  11/12/2515
 62535               Ver,          lec                                                    :MT<            <EN A cr.;5+1iJK:e,              1;29/2E15 C0941:01PA:AttAA50:-55(4                 11/51/2028
 1346.3              ;-;eurard Auto                                                       Nac             641 0,1115?                      2/15,2415 (35.211,1'24263445411664                 11(.121.1514
82102                P3445:5154tUdre tit                                                  04414111.012    (135311,1 0531251 44419          2125/9315 1904-01011151 11/4561211142
55414                0455E455 ALlitth (6491112C4011.1.4.4'1P1C,                           AUL             11ti.tCP1:41,46:                 2.1!5;;;5 1.11:1,UlE:1951211/ARrET:N8              11/12/1055
037,1                Flre.46e Cudli:Edrto                                                 MAECUS1         ;1441.(11 1155,134:41            1,25/18115       5:0 TA:1,4409051W                 1141/4016
 587-1               Stdolce/ Chevr:544 sc                          1.1                   MATTEEWS        1:44'E MAT ;14PM:                2/15/2419 1cer.11, 1614129•14511.1.111A511         15[1.2/1055
09763                41444 Al1t0:1,1C111621                                               852112          :011.6                           V2:,
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 ,833                11AS Entedtrlser,                                                    91114131        611155504.k5                     2125/2015 105 3111111151.-444956116116             11/10,12015
805'3,1              Chapeo,                                                              1411012449      CHA,MAN 11:6125                  7;29/15115 1122.8151 541                           1142/4016'
 5595                ChApreoe Ford 6:11,, 1::4                                            C3P5E68A5913    14/912484.1581                   2/45/2019 CAE .1.159/TAL.p,loRKEThe                11/12/2015
0454f,               Crioceton Cho,u/N, lhc                                               11185.11        (054,1 1,168458144               7129/2015 154-81931 551 11466010E6                 114112016
75574                1611146.u93o: 5.4e,Sture 1,170                                       C0341211449     C:113112111v                     21151201.5 (0K.111491TAL-EVIARiCETIUG              11/12/2025
705q4                MAlcerev,6upoileNeu 1 LID                                            CA1841115.      60(416       Evuue,m             1125/2312 04/00:6155L AIPAKOF/140                  11421401E
-750;                            Svper Sture 1, I'S                                       611212511292    1,010.91.11:80                   2/25/2019 06151 21:91TAL-NIARKETIUr9               11/12/2,215
50510                52,44: Co:1014,1:u                                                   1954045         45,546 Fount50 20                16120/1014 045.1451141 55678(1813                  n/1212U15
                     Pes 5t4o4tee Ch6vro,1116:6:lur                 ••                    t(E4.4441114    I.06119.2 561114                2/114/2415, 040:1 11101101-5IA8KE1N0                11/12/2,1215
442.44                                                                                    MARY            MA61 E                          1./24/2245 C.46-110114144458.1718•5                 114C/2210
43437                12124.1co Cic:5 C1,e.6.:8,CO                                         N155.           NIF11:18                        2/24/2015 1205-64161T5L-131881'1TN0                 11/31e2A15
                     4101)211 5/5::AY11115.9T16E141S1142.                                 11:26412:"      1716A:;                         1/24/1294(81481711414101(6(11813                    51/121211E
fd:415               1149,61:evr61o15,141:051C,                                           1114115         10661515142911                  2/14/2015 c10150/191151-MA8KET4lN9                  W32.52:215
51,116               11834:5 2246,e Chovvel,,, 6.11                                       1 A1LT
                                                                                          ,                                               4;2414399 C1)148195061PIAA3111154                   11421/231E
45:S5                (J11,Ciw.,                  vw SOlES                                 FROC1110        55:21:751111 3910062            2/44/2019 (56, 5114421'M'8<31"431                   111110015
51457                88101:n8:0 .84361615.8,. ;8c                                         04E11           3454651161                      2/24/7049 (593111341'145'464154                     11/1212310
751:15                    493,71 41:4.11 9er CurAcePtirot                                 Cr.:44:1:12     r.5144:.1 MN 312115.4:15        2/24/2015 5511.0111441-M4155082                     114 717954
 12291               Poteo, oUto;o:119, /u,                                               15175.355.146   ;Pi ;POPA11145-101401TA         2/24/706.9 CD5-1I93141.541:5KET1Net                 11/1212010
 ,5155                  Er01151:11 512::ANEvo, lho                  12                    01.1.9.111;     COPA1T                          1i24/2011              iTAL-MARKETNC,               11424015
!1.62.58             4/I 121,,:,- Auto Cente:, foe                                        19401.251       555,o55y                        4/13/7059 61E91.11,6121911. MMK.61-155.7,           1121212010
54345                111,246:41'      Cuvolu/ fre:                                        1C051           1.5 11: Ct10                    2124/2.512 C595I6"2',.'166141132"81                 1140/2016
 5595'4              064oN514 5tAu Couotrylne                                             1.00nA1.7       L2408 c1.014121                 274/7105:.;- 5755.-5i5i:TAL- ?,15515:.E.7;57G       11/131201F




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Syiteco Nucolec   050210,20,:?                              04,100,1 0sce.c0z:ti,r,(late! User 40       4205 13ar1,0                  0541,34 50,13 10',o(1419                          10,110810
S761Til.          vykte: c7,666.                                                          :100111       CiT76,10,,SAYSMEi                 2/24/7/7,03 C.730-066771L-MAR0EIN4            11/12/233l
01622             '4(7< 4:011404702 84cP6
                                        , 110                                           C0601.7                                                       C50,050I13M.-02420E1:46:          11,32/2016
41502             0,Tick Chris:op},                ;c1kc    U                           :10245244       ;Al%                             2/76/2114 :'54-110114( 0245011:62
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  571             TAHERri 0404001ET                                                     c10021939       502454310                         2/0/71,1 1.2ET5(4114447100,
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07362                                                                                   S10241404       5152241154                        1/472116 2.130-5(61•113..0150051:04,4         13/W235S
58618             iiasione r,6552. 2,6                                                  714650760                                        ::I/6/25:4 1.501-1004401                        17/71,
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53572             024R401(10 0207585 170                    11                          ('(44)202
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7048.6            2180,184 OF 0487141 010000132             7,3                                         SET4000: MASSRA7                 5731/E516 1:51. /(7281201                      i1/71'./014
5728641                 ,Ml Autc,,,c
                  8c,ard,          , Ae4 10!G 41,o, 112                                 010800:P4215    40,6 SEP,RARf c'S.4E15           2.110/2015 513:1-F1M0:1R!                      17/11/2470
risna             6,4rione r,OSSR.                                                      7KSEIS0         66,7:TAL                         1/2.6/2105 !(.1
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                  lenzke AuCornative Group int                                          5.765Ei320F6             50414821324080          1.,1402016 1:XX-XXXXXXX                        11/1612075
(11)232                  4.0 4roup41,                                                   05001.02228     10-15V02 ,15540:11(400264        1/5.:=15 0.145.10520451                        mnrail.6
610i0             Emniiy T,:vista                                                       00170152        401 (15660.4284.1061            10/22/202.6 (.71)5.0.1   .1.0ARK0M54            10i24/20)5
1,02113           A11/1,7‘,71,,oc6,,e,                                                  85T131EY        808.51051E1                      2/20/2016 15035-55-11021270i5                  ii/lir2016
61,477            C0,1                                      o                           55100504        03111272                         2125/2051 CO0-135.171111221K00                 12(31/2070
61.196                   1000204 12                         O                           GST1701               STATE TOYOTA               2/20/2016 02.0-45-04420 E7S60                   1012034
61;070                                                                                  305:1-78i.      413/19.2 0205014001,10           2,
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c;00•46              ... .                                  O                           4077,A7(74      GST PART5                        2/24/0015 05245-1242501161                     11/11(2014
7160SE                                                                                  1AVi021.7                                        2125/2636 C15-C4•54.1.416(784,e                11/01/2818
/4260                                                                                                   GST SUPPORT 12:4/L6              2/24/2310 0034080,00.21117151                  51/15,2014
41,731(           040ES 41f6(300f517,7E 02                                              404
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06°46              4 4434V4c,,x,, fc0,                      0                           5000215         0414(6. CJER11361 1110           2/255'2121, 001-10S-02.01(111'1-1511           51711;2014
647,
   i2T              11,0221(21)02,02(20 0(2(2003(2:22       O                           0(143102                                         2[201.204 01.1(-1135-05152201IN1,              11(11/2014
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  :e5.8           4015 7,4C0,14_ Of WES( H4001'011533                                   2141Hi,1        10:108042                        2120]25(8 C.:01-03.-0000‹,:(15!                13/21/0110
0111)0                   02E41(1. CS' WEST 4i0541013 LTD                                01.00,114       1:2(14: 02(0104000001            2/25/2111, 5011/028241422,02                   13112;2016
70210             .iohn Eig:e               CiP                                                         601 5.1ti                        2/20/M8.-.1.50.-0-(...MP.M15!0                 15/10/0113
00541             Serqke Aut6-crotiva 0,6,9 cc              11                          121:57010       14(550215 101100                 2124/2115 001-60.-0,4144014124                 10714121:0
117n1                     Mot,s Ecie                                                                    41213 74!0
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57542             MO3S444 PATCUT AUTONIOTIVE 400401102                                  (041052(001     (7520 SANC76niE                  2/24/2!)55, 0:211                                2/25/21121
S46-26                   ;LC                                                            :1;.
                                                                                        F,              SAW,.                            2/24/71I5 154'5343::121((1115                  3 I1:7/2016
05875             Et-,STSATE SOSO SLE SERV 8120             IT                            3220(1        5001 1141.455                  12/15/2010 01210!51581,40:140                    11/51/2016
S1621             01110202:4 AUTO GROLl
                                      ,TO                                                               liTUNDA: 6AN,see,               12/0/2115 (101-0).34324/ CAN                     T1/6/20i,i
64314             001 Auto INC                              IT                            4(2815        44
                                                                                                         ,0105A: PARTS 6210070          12/3/221, 2:!!
                                                                                                                                                    ,  !.ret!N1/08-12,0.1               12/11/2.010
S76E3             TRAYS COMM UNCASSONS T12                  O                           1-10ES015       H4474),44                        11/2,03515                                     11710/2036
65302             33.111.185 ON:AM 13:1                                                 5112450         PARTS 04(006                     12/452010    cni,•.HYL:NDAi-L.N                11/11/2D10
S8400                                                                                   42c.,1115       AUTO FAST:,80102E                127411015 004-6T4070.42050                     17.110/2046
5140.3            0400400            11?                                                51(2415         EN PARTS 105'55 100?             10/4/2015 0:60.HVI;2DAi-LAN                    '11/1,1/2115
EU316             0011002: 402                                                          NYC2016         (/100514 0044 001041             11/711010 C4l- 1is4:42844CA 1                    in.0720i4
OGOS                                                        IT                          51(201E         MITA;lI0T01'0'086.5             13/4/2010 22K.302250.4040                       11/10/2010
!Vd.4461          6E,(364..4., C.450,. .,1091 124                                       HYCSI042        07.48                          50/20/2014 C70-4PF0150440AN                       7.1,'S/2,77.6
 10072                                        82 60         O                           H1C101E         HYUNDAI c..NAW:                164114201E 024 231(1,80T40413                    11/10/2016
046Sc.            10E6,41E1 02005 0214028 (102284(0                                     HiC1111                 (11104(1.0               8/12120E7 COX-E40810I3400                      11,00/2616
03475                 P/1.:11   01:10,.,U114:E111.15                                    NYC01041        052 00155145/015                  8/3/2411114842080110414                       31/3012016
20218             41501.71,5`.0112.0 2/.)139:(034 .:103                                 ETC2780         DiCITAL !•59,3.
                                                                                                                      00100,i0F.K(1     0/2312034 150-204513040,                        11110/2616
61200             15540171 0, 010Ft 2(10207.0511(0                                      3812.34S1       807.020121440040 00142          5i71/2015 2(1< (4121/808.1414                   51/10/2016
0:725             SH:=7.10!:31.00 F4000 00.P.0SALU6 110                                 4017705         104183850102810E                 08/2014 CD7S0(Y214141,170                       11/7/24.16,
711272            E1110 ENTERPX:SFS OIL                     IT                          Mc(001;)        458140n'2 07.01,50              0/07/2011 0(1< 210381,,'045                      11/1/2015
n bor::!          51.47010 00164010:N2                      O                           1:14577             i                           4/28(20E7 CD041`7UNDAi.:04
70%72                                                       1T                          :425451         1-120 8ii052.11.0142551         4:16/2011 0521210                                11/712015
010‘:5            1)34440                                                                                                               4/13R51(4 CD041/03111C2:4                        11/E,i2010
00172             1010441 TOYOTA iTh                        IT                          li0(71E:0       1.23K 0113241                   7/24/201.5 614.-5TLI3004,-CAN                    11.(5/2015
25154                          Toy                          1.                          4401)6456:202   1010 01:010884040               3/18/2546 C2::-H5U1400,4-,:.06c                 11/11/2454
60'442                 ci:cocc.                                                         1100810550      %TN!:iiTliNDA:                  2/26/2016 2.14-88403     -0413                   11/8/2115
0,45-,T2          AkgC.6,0,00 2,,,10,:14,1!,                O                           4`7C41.055      lT;MCC                          2/26120E6 050-.450N054T003                       11/11/2610
6600?             PA(F-{i;(2433145501.1100740 215                                       1,00310(55      4100ciM 51015 010851            2/2.6/2013 C140-01116170i-0414                  17,1.0/233.6
61601                           0011)0101011 C3             1.                           /0,123(7                                       2;24/2.046 Cllli-HTUNE,ATC.ACi                   Tlii7/2916
707.172           1650 04.1T00701410                                                    0:40123                                         27241201S                                       SIAS/7:300
70272             EFUN ;AI'S:4  ,  0;0'6:SC                                                             1102,                           2;18/2616 085-c01 1:01',2,210                    11/942416
67864                     CA:::c.c, Clx,:64: fro,                                        _:,2
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                                                                                                 ,.1.   CNC                               2/5/2070 Cf4K-iC04C410i-CAN                    31/7;2310
5.c:61,4          1042E040 nro:1,46 :!co0o6                                                                     1=,15 0A1:               2/1/2604 CIDE-HVUNI,AiCAN                      12/1072011
611'75            E.T;Ei VE,,E)C, PARK. MECO 6,0.160,!TEC   IT                          cc.3(.2016      1213048                          2/3/2016 CDS-iCTii CiET4,i-CAN                 23/13,c2310
SiS3S.                                   blf                 1                          (5:2100         1101024141                     12;22f2201                                       It/VS/2014
S0DSS                                                       18                                          .1065:. 02445ET544',           31/71/2014 CDS-14,511-Lini1:440T/5                31/5/2306
70134             Vf:;Op          ;01                                                 '
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                                                                                                 (74    11010241111(04                  01/4/2554           1.4-12A40.01:602            1702/2018
40062                                                                                 6744:74.          '6-4(3 ,1100 11,11:5011         70./3/2070 554-124210-L,24E4E1I510               11f8/2330
7,
 7626                                      c                4                           10:.1203        PRi Saki                        11/0/2523 205'8400'0:-0',43511301                17;7/2016
70260                                                                                   44221.0241KE1       0i411F7N4                   10/2/2010 1,2101.(08!?-1-020.545
                                                                                                                                                                       . 5515           ((/31/2100
0C)014                                                                                  45;:.1721:      lNi                             :712/25l6               -0100EE2507;            11/•17.1201.4
40008             10,s58e Aut40046,,06),:,,,p               II                            0,100i        V.A:0 4 ANC., i0.104:.:15      1,0/31/2102 1'51'1'455',.'02441101131.            01/3/27.4E1
00586                     40100(.01100 201456 fcl,                                          ,CdN,
                                                                                        1701,           424:0(6102102345(•4            73101/2016 6.31014.067-, -5(.054,15(54,          11t107E024
70063             SA53 LEMAN 1 LLC                                                      .0,
                                                                                          6:21'66                                      20/.28/231.0 751-3'451.1.514540151,               71/8/2rll
5DSC0             11055 TRAYLOR M54,72                      11                          05:2010         151                            13125in16                                        0.1h 7/2016
70E22                                      '4;5(                                                           2440:44E1:217               ),5125/2105 04P-3'0100'L'0240101 (001,              C./45/74:i
70252             Vt.ss Ch6vrofet int                       13                              .
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60068             LI1o5               :c4.7,                                            5731ANER                                       10/6/7.07.0 051'1'0111.I'5140,121120              11/5/21124
5S520(            THOMAS 48200201005                                                    45:2460.        61740.5 vetfii41.1.                                ,NiT1.0,',A11C11x,7,
                                                                                                                                       1.0/72/74I4 tic744-7,
72160             2(62 0(81,8(21 CFO;AUTO 2C                                            04n,,010i        455114400.0052                10/15/244 ET10-..4430.4.-m421p78,,   ,,,          ;74,5/2fcl
23.981            Dinar& 0u200206,46 44.7                                                                   020260E7706,               147/02/2110 180.0.485-: -0241421401:             71/10/2816
61861             Sole Auto Mali NE                         O                           6,621021            M465M8,   0                10/10/274 E260,C.052-L-77;APT4E3(5.0             11/7.2/25);
50534             012 Escer.0,i,c Hi.                                                   577741051       5-p,66 ;5803 77:41644          10/70./':216 555-7
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70074                         Sup,04,4re 1. LT2                                         0411701         14(15 1 0245400(06,             :1)26/240 5010 450-1-0A 41,
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GliOD             2001 8105./0 ?AcTcr,$)mc                                              70:2015         :18:517,02                      110A/2016 5150-5-000 120.1 11-554               71(12/21i6
7248              104'12.8o44400 70,,,0Io0'                                             6,
                                                                                         147S84             TC4                         011.3/2.215 :20%01-550-14/1412400.045            II/if/CC:6
70104             8403 382iS28SNi8202188l02                 O                           jERS060         :01 tvic,00                     04/     516       .0543 1.M001311-1:85           11/0i2iC1E
770592            204 r; 455 14,101)                                                    2i7CAFSet       44 AN AN0 f.:,,c00170           7113;201 :5(34..!-A50-1-5I0245045               04,471/2126
GCS3i             C.7,,,,44 Auto 4.-ou04/c.                                                             V-APC, 14001                    09/1/2224 25:0.5.555 1 M48':17:515               11/6:207E,
70405             Ray Cacerca Mots",for Corp,sTiGn                                                      1101 020000-r0)14               3/2312:510 05210 !..055-1.4,0,,0!!:0 40(1       11/7.01E5(6
70127             Walker AutoronC4.7.9, /,5c                0                           05(1230         14(127.08500.5.52.424155)       10/38/25.16 25:1-5 AM).0 M100E-1:84             154,16)24A
61E7.7            8302 1,4118400101,011-802                                             !M.:531.3       14051                           3/22/2510 .11.30.. 1-4513-1.4.040.00,15(
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50574             SCR, Co,i.ton, :nc                                                    0(.2.054        141. 540210051                  10127121516 (10-3 1,081.1.0240007:80            10/26/2415
                    Ycrong           (IC                                                 11/05118.      0.034 1 052 4 02065 1                                                            1)77,:mt,
70038             6,int lenr.Essee NiSSOR Inc               LI                          041L0240113 7     47100007;140 P1111            0r20/2416 (513.5171'M4cC4ET:041;                 10/7/203E




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5/51/76/ 6126/0277   375657e50 .12509                                       COU1,2r,, 930019*.10 1050 !,55,1. /d              4s/.7103,1o1                    9274/711:4},    ThIrcpE,C.                           10:5 1..*:1
76339                9852 T5/0/56/51J0s66 on                                L:                        .18:55333              347 677475052555163- 9615,093       1/22/1016 10162314512 1.620546000                   15,11;2315
57/35                Wright 50.094700881,34-43/                             7!                         105.5113              2774                                /17122375, 605 J749107126AARKE-2195                 11/1/77519
57345                21r3g3520573roc5ive405/p                               67                         44911124              31,15.160E3/Y                       1/21/1016 155-3-,027191.67501314-15106             11,11;2015
57354                113.01.4740465.1072 .10/545                            7!                         15114597              23!                                 1/25;2325 /2077.6 47731-12791445E-61011            11/5/2919
47119                35 205/35/00447.1‘47:75/555413.65                                                 20127.663             557L7714335351771                   1/70/1015 16405757/822.9.101545"5/656             11/11/20162
57223                7.-
                      .91615-20-7'116 611187166/91/7,11/1                  0                           1016111               11.3395 102,75.56139                6216;2315 9117.2 437155-6-6,ARKET50D                11/112916
91191                57:5-25ssro2/4-0 1.7/44/9o5/ 7.7-727.244,357,p,15,    3                           A1311709              3355449517:317                      9/15/7011 19701752/517711,141016/7710               1118/2116
93737                9755535559:, Sod                                       J!                         1015523               131                                 6111522316 51056224615-6-154677/2110C             12412/1757
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71291                7,746755957                39                          11                         5199175_67.351:6221   359344(35                            6/8/7516 .
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13542                9451969604516 5597550943510'                           J.                         1657_65136            231                                  1/6/2015 52.115171-1065-6-011076/2111/2J         17.1211/2910
5130/                11/7111/2015.7TC116771/15517,59.71A51/7 157A1          3                          2001451               55nW1                                5/8/7.516 CD76.5-3713776767911110911115          1111322116
61518                35151513599565' 511,60                                 -,                         2115172/91            9'74.111.1.41jD1 6.1.41591-195       0,11/2313 /11,17105105-7.-34117717871/1           111912915
79629                706 9.19.,,0 ,X,550M4911.7.5,                          72                         .5411354              .1641524177.671NG                    0/1/1516 13715/9//13-17-62„67671-5117.6          11/13/2314
/1197                751772574or6,1,755                                    0                           10552015              655 55,358(7:'!')                   57/31/2313 965117-177.4.5416-6452184E71/53        iv.z2/2+.-,16
69962                914,0751659 5,5757510                                 4                           12017/37              72-53N 3 AND L11171667              81231'2516 CD5774-9,L032L-77,127218171796          1v6;21i9
31512                976590 4:07707465717775                               31                          11/1031               V47107 AND 1 7,75,68-76             6256/2013 7165177.1-4.365-12/527.7745976/3         131113116
51354                H57/1595 6,15-704/003 99161. 55777                    3                           39j1S0                1 MAR<                              8f12112034 CD11-1615.10-126149.86-5-1151,         11/11/2113
53293                715.475725 TOW:TA 1716                                 u                          109319,31             '35170 ./.151151 64.75218-          1/31/1017272.147; AND 1_ 101455991652              15/7/1116
61904                PC:ISkC                     ;n,                       4                           11830719j             11-571-4357700 1 441811175           6/3;25/16 C0021-247D0(21171711211225-115          11/5/2113
35545                616506 455177 65507704                                37                          6714031               52-.5.115.79110 L 7,141771-6;       7/119/2014 726467.77.76770-1/1A4511,67102          15/7/1116
61660                P/706/ 47777,,47/475 9107772575/                      if                          2533160171            1-51113 AND i. 6.15517.70           2/2112934 0705-17-411)-12675715751-76             11113/9919
7;;3006              6.50 76005151/ 1137,527                                13                         13.0M,1,17112         :1550991.4155175<                   1/11/2011 09577.171739-1/114A515.971676            1317/1116
61722                10547,570757/11,90756/16                              6                           17113101              1701111.14750700/710                  P-4/    91Y5-                                   11115/7313
/6596                1477 52500520 N.,7.7. 57-5:                           37                          .111 6575             ,&:_ M11159                         9/31/2016 C647-17/6315,327/515,31117195            1527/5116
61757                6/17,65/26076506/51472                                0                           .1717.2011            113 55443,67-1150                   5/11;2915 2109 ! 400 31'7,70956170C               11/1J/7313
91541                41 7/6557/97/47,750 of 71007140/25 01155, on          71                          10,1234               AL 5193575016                       5/19/1615 725-15 .109 3 65.6.55611440             11/5312116
61153                C/60,761/12,14792,,, Sin                              0                           .1117.655261.11       11; 55433,672150                    6/2912955 2,507-600-1252415M1100                  11111/7313
41757                717c5105 22 923es 1/4                                 11                          13:1731               :41 5551345<21613                   5/7 5/10,16 03/75-1-16117,1,7,
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57351                      6120.475:45                                     0                           3360514               17 93125512/                                    6595740071.454341555725,               521/51715.9
40132                117210 4,5572467.7p on                                 LI                         76414612!.            35053 1550 14149,931                 6/3/.7101 511450 ,34071761.6.5540716             11/1312315
58011                5795 7.7179-1ghlt751•27051,5, 1Rn                      12                          115.1214             .5.11 7/111.5.9.1176/                5/9;2915 609 1-415-34,7533F06.19                  11/6/7614
53566                6147.75g71159//1/17,1171.                              11                         124175197             59776170055.1.152115171              6;31251.6 5,13 -17156/13175/66.5711913675         112827016
70920                7117.763,-,6 Aut/ 61211 Ltd                            //                         :175.3515             213                                 1/271;2915 150 1-4155-1275.77
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0792.1               19761801 1137                                          u                          2051731               10051                                1/227751.6 5591 5343 1555.11197103                11/322115
518110               890 656,6 0,5/5315,(1557./6109, !i.0                  13                          :115.1411             ; A/D 3 55435(:71110               42263;2915 752547 1-41557-1256141157E15615,-        11/7/2314
51172                6535: 11:19:61, 15c                                   11                          2311415               :1575.104:15(51517105              4/10/1516 5100 •714).5.75175659711116               312812135
551398               1:93991.15500,                                        3/                          7655.1015             2 AHD 1 6201585:117/5              4226/2315 1537 1/0052/723/211615N9                 11112/2/14
33762                024 0769 1151                                         11                          2051422               :169 91 ,  3575-3357515:           4/15/1516 515.47.3087 5_75712,6596100              10;2512115
53067                24101113011714911:65135389                            31                          3361234               6514. 9771KET9716                  4/21/2311 165930015-3-16103772-15/71                1116/2016
17389                9341 6145-.504-.424 C/5-98,41/4                       11                          1011201_              12 95/7-17,24/2176                 4/12171516 (06-1,Apm,L.674,2767191167511            112727O19
61051                T174680 0.74,191,10,                                  15                          5114355.              144181 43455171,116997             4/39/2315 /07930771D-L-5503176767791                13/7/241.4
51951                15615410 11521035                                     12                          4113919               72611772,3973 L /7714,5,51-7-      4/121211/ 1366-3/3712/11-77-7.11931155              3.1/7/2015
61051                -111243014651-07154                                   11                          51.1451575.           5741671 AND 1 624656T              4/12/2315 15763-7471D-L-014.7111671101              11/1/2016
61911                 Tri,041012,077,34,75774                              11                          56129771              5,60 3277.55 7, 7651735:57         4/12/3516 1371-7726/37126712511/97567517            3127;2616
913613               7.1y7-44-.1L131763/47,
                                          7594 71.6                                                    J6166535              5871627911/770                     3/31/2315 C91-3-0775-3-MARKE77NG                   11111/2015
19154                .0.6,C,:iti,t995,5477.772/757, ,560-5773741,          11                          27112882              1561643868-1-11/1                  3;2212514 C37-297,31'5371.-61131119-65110          13;17612116
661113                01/7295 (.104/07/727, 11.17                          L5                          117635311             122410.14.17551 5509179            3/10/2315 a7<-36711517-120742157640                 11/6/201.5
14774                17,1474774 Mc                                         11                          62,53915              9350,513                           2/7511516 C35-57,307377.7671310,1610               13/13/2616
50473                0:,65o9 1:0;.:5, Or.                                  u                           30167655171           15/1957163091491                   2/75/2315 CC71-37747152771,-M 88K.71130            11112/2018
17971                54977/7.77'1.5.1                                                                  j170039               14101.                             2/2512117 136-5779/07-9-61,555074-15616             112,12016
561513               1.5`.17745e C75,47124, 0.61                           5.5                         211611D1              124161.11717551 6717-16719-56      240/2315 a7 K7-3/47515-175258K1715/3                113/2016
50932                7667094 4519/ 66, 777471955                                                       1613/731              -57,55570 J JkLiD 7. MARKT7T       2,111/31938 1357:42601-1-62177111'35116             11/8;2916
63663                3111515.025/0/ 571c                                   6                           7/153391               KA .1,  ,NAD49    .3T5           11211/2315 5178-142611754                           19/21/2015
91185                29225175 6477119557 06                                                            KC14397               614140009                          10/3(7114 C81140,47-71455                          1J/17;2919
57793                1011/9319 15011.45C0572240 1.111                      7:                          6117510718            1NTE1RAL1938                        114;2115 55K74.1772310                            11/12/2015
92130                72.00076:755/75.661:7577.77771/5 51150                                            8115731               671 :„7-52G1277_17718              8/1717(0,4 071„810-71.6711                         13/17/2019
53511                151.35215 C8.755-5/5                                  C                           5113401               117117421-527811109                6/295/2111 72-9K-515.-CA94                         11/12/1015
112982               199/511. 64470.3, 5:0                                                             16114537              1/.13070110.                       75111130377 9177571-504-71911                      13/18;7315
59553                1731598 0/10:10 no                                    71                          6111791               107171,64,611779-08141/05          7/74/2116    7.1644-115-5.14.51                    11/5511015
91280                019116111135.11170 5070554741 cm                                                  8519431               60 1103531127 MK                   2/2165/291   9771714815,7241                       13/07/2435
51149                995675 65/651.70411/44 1571 5.41577/977 177,          •                           000115                65071                              2/25/21111   17171-1471251.1571                     11PN30/25
90215                156775 An!:: 35:                                     '
                                                                          ..                           DA-62F52-20.717.8                                        2/25/2111   977571-51,4-014/2                      11/061;2935
5112',               50681172651 PARK 74151T) 33165 LID                   ._                           75:113191             10TE67552:371K 1D                  2/29/21511 175.71(-11.76.-940                      51/3221015
75915                1537197277d 59/                                      .2.
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51379                9577.105                                             •                            35-27-7/191           8175214110111.3091                 2/24/2111 CD -11.5.-12.4.77                        51/1212015
90117                098, 11 4125531-3 615                                -
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931518               3/99554442931/)5155                                  .                            691101                79155113115155                     2/24/2119 116774112C177                            51/170016
65354                14419)51(69514 1/5                                   ,-
                                                                          ..                           4E39101               7!330911/15130850                  2/2412914 11674227-717761                          17/111;2915
                                                                            _
95014                6297-03e R/,j8.,'91:5 no                             •                            13773734115           594 CANADA                         2/1427116 5.1157-553,-1.477                        51/1221516
73335                1439971             515                              .. ,
                                                                          "                            <41101                111711111:138,9 305                7124/2919 11171-81474791                           17/11/2915
51714                04,435 c7744,2721/1.107 115, P47161/ GLIC LTD        ,_                           6111191               81.49.277557704                    7/14/21.19 D1K-511-CA8                             51/1113016
79137                73726: 19 150151345                                  .
                                                                          .
                                                                          '                            8519302               7515. 51/13111,7711110             2/24/2913 11171-014-71461                          1,2117/2630
51137                149 E 619/1 761                                      72                           1771701               8141053061.41.105                  2/24/2119 319-597-1,18                              V12/7519
95383                51453/ 0064950 LTD                                   -
                                                                          L                                                  116117716201-573,221521105
                                                                                                       567197                                                   1,224/1916 C116014-0,40                            1.6227/23175
59688                9)9439 05019'2,17 123                                 •                           1071191               161-663141,103<                    2/24/2.7:1918-<:3-518                              37/13/2636
 511.90              71255t Co0L:5 6546050 LTD                             C                           71-1'01               :67750,777,7 3075                  1/24/1115 126160144140                              1524/2915
371813               132143/5 4516£51117C                                  51                          11,1191               0017016031305                      2p4/2tur,                                          11/12/1519
91035                715172101 131131E0 DODGE LTD                          ,7
                                                                           L                           81592571              1671035008                         7124/1115 6.50k-00
                                                                                                                                                                                ,  1.00                            11111/2135
                                                                           .
                                                                           .
511413               /65/5/70.1557117364.6 (15                                                         11771491              79117701 CJ9 712,9711 5641         1/23/2511,58173-118                                51/12/161.9
91115                1/ 615 37257C4v56551-521. GROUP iNC                   3                           754!10111.1           6,50657.175546,9,5,32             11/11/1115 62657041611516111                        11/13/2915
51384                93(3435.919341499541                                                              91117.119             110 4175571523516.                 12/312113 6778710531030195                         71/1211519
95532                57751.57-7/i CM50. LLC                                3                           011001                119,700 n7.6767                   31,'119/7115 661003773051571                        1-3115.//2913
58623                /71057 51/578s 4,204/7/21ve 19652.75,4 7.121          0                           55112614              NWT                               10/15/2114 677167702755273307-77                    1111212619
913135               1101511911001 4,570 371061                                                        55c1055.              ;243" 067M710361                  5.3129/1116 6.52515674/5;;61s0;                     13/11/2118
79557                53644 1757/19 9570:NC                                 ..                          611161                6411-4471.00311                   10/14/23<35198142<129.042                           71r-522619
914,2                Moo,54ick P/J5tiz5164 351 101                         14                          0112115               50011171,541                       10/571116 6.111/5130530513111                       1127/21,15
61424                5.075616,7672 Lone 17-72, Ltd                         1!                          617145133             7450                                1/1/2153 6777671417531.11-15-55                   11/11/25119
91197                551t/e00.5.57/57004. 3/03                                                         m e.40A               94:51317101                        3/51,11115 6.11,93716051671                        11/12/2315
01719                                                                      1!                          7,1751811             7207/ 1075555:32/52775             0217/2111 17776-6,6133171,01                        11/5/2513
16214                18 rM8c,4o10sor11.60                                  11                          943/5112              747261 35495750540,1'!             6/5 /
                                                                                                                                                                    7.71115 6.64-700006154,                        11,715322151.3
757659               89660r S,09 /71/15.                                                               572711091235          716615572101:717511                 9/322153 17776-1521153PAW                         11211i2619
/59117               52/048527/300174.525. In                              7.7                         7/1.13234             6741113660101 110                  7/21/1115 6.74-51010005131-15                      11;1D/2115
73334                00111E15 10597111TS 16731                             0                           677111611             91:1480554%!.                      7/15/2154 10512003404044                           :1p-5125527




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                                                                                  Ex. 35, p. 148 of 165
System Number   SV3e31 8,113                                 Cuimby EN9,11,pc.rt 3,332 War 1e          LIser PiccolO                 Added 0415 3.,9333333                    Last Lag,:
05953           FUM 3330101.5.33 Oroup115                                              M112234         SASELiP3X                        1/14/2011: CON -1411711 RISRI         11111/2015
Sn334             520133
                    '         OROUP 1.15.                                              31 51234        34:114103S43                     2/12/2716 3133-M05u4:5311             1:1ia2/23I1
(S, 725         5.Ndy 4.14hr SR:Red:Nay 5,01e341, So         33                       r5221234         3132.30 PARTS                     7/51251:%. CO14-3.411SUR:SR:          11/7/203C
61730           Ncrnsge       Lanier Inc                     5,3                       MIR20131        13:1155 53174                     415/31215 5,52.451AI5NS:5N           3.1/39/2016
1;1330                         52,cmotivc LLC                cc                        myrrols         33,51 5C22,                      5/50/2513 CO(-31/1.7325 .341          11/1212011
50.2.49         5.1-7(41 ic13l31l5 Inc                                                Mf12034                                           5/29/2015 43..A.14055343: ::1         13/2712055
312121.          :1 ioid3r.grcr                                                       M3712101         DiNTAL MOTON WORKS               4225)2015 10410411232,41,./           %lin/232R
393,32          ,
                1 52 No:n:342133a ir,corrs. Inc              Sc                       3,4.10,1301      rEXTSUMNI CC< 552               0.2312115 2513- RNTSNE:5161            IV': V2018
752K            1,15,0na,o,0 CR,LI                           cc                       31125125         Mi71lJE1E23SVE 529                        3.11114,3TS1:33I3341         10/n/27:i

013'32            33411,,,,ce-temser                                                   t,.1 M14        1.133:5.3 1/01                  4/33/2015 C333-143153ISOXI
311,95          S:1,,,Rmor.s. Dodge 5719 Chry4IeriEep, Inc                            25313401         miTsuil:xi CM:                  4/10(2014 C1i124/3733533331            17MV.211.2

597R4            5131:245 CiP C.3331055 154.                                          4411:1191        31:7:1352BI3                     4/10/2114 5E:3-35,170:26:19-8         1102!1016
30132                  ..:1,3,343458.23,34t11.C.
                       ,                                     33                       F5:331,1         M011114:0:43CNII                 4/10(2014 C11,434175:453539           1171112015
533S7           6I3:13:43; Chow:Set :3::                                               M111101         45:1302.:Sul PASTS                4/7/2014 553-391133151581            11/71/1516
3.63,44         ARROW 40113.1 :532                           cl                        VCSUS.",        FL45:1514                         4/713014 CCIONI/TSUBIS39              MilE12.WE,
                0.,4:43Iestec Re:c1,33,
                                      41: Inc                cc                       51223132         CUR                               411/2115 1OK-3,1172.101.5}8          11 11,5151.6
34052           29n,,:re:44 Ac3c (.94,02, 10.0               cc                       2,57555:21       h41153                           3/24/2324 CDROMITSUB35:33             11/132/2313
55583           N.:0330:1,010,AR,, IOC                                                311,31362        /4:3533                          4/11/201e 11731 1111 14151231         11,O3,11015
                                                                                      12072014         31310,33                         1/721/3495 21X-S2ITS:N:11,:           11/12/201£
5.2294:         S333a:13K2 Ac :n313320 Gum: No:              13
59581           PP           Inc                             IS                        mn-2.7115,      35.315135511                     1/25/2515 97,33-311 r513119;          21/12/2016

5085S           HUniniande: 31457                                                      MMNA            t31!,1:55.                       2123/2035                             11/11/2015
51194           Dek:rnr,:sios 5cc3gcInc                                               :
                                                                                      ,5172714         335.3 30553                      2./25/2011 1'Ul0MIT111/ICHI            11/8/2115
n25CS           125314 C.1..evro3st InR                                               NE(2514          3131394:0                         j2412.3:0 C511-31EE3NSI51,:          12/10/2315
                6133013390 MOTOR CARS 11.1.:                                          M12201,4         31241                            235/11:15 ENS-NVESUENEN:              12110/2016
525.1:3         1lampte3 2,933433ative 344                                            NEE5122          04:TSUR:33-4                     2/2//3415 25X,311I5N5ISH:              11/4/2915
5S027           North:3,2r, LincoINMe.curs, ;re:                                      :MITSU                                            2/15/1011 3'INC-30:31251134:          11/13/2316

 11273          naccIlla 562,G16t SeIck. inc                                          025502           IFUTSC, ORA                      2/2//11:515 2:25,1c1ISN5I5H:          17122/291.5
 31.1,33        1/a5S2311,,e4 Olds CMCTRK ENC.               71                       ;35911201        34325:4 FARTS nm:                2/2211031 31125:3,1413:2314/34        11/11/231.0
 11523          Rey:U:83,Rn Olds 1415291: t.225                                       13121,101        5913LI P33RT5 DM:                7/23/21335 1.03
                                                                                                                                                      ,   41312511c5          1132/3915
                1345S4III,r.R4 Olds 513145533 11131          ci                        `511.03101      3343250 FARTS OM:                2/23/2013 COR34,1324431.331 I         ":1/13/2310
 91233
 739N2          3001 5o2:nay:2a Imports, thr.                                           1:31313.4      M711311,35 3'13 ONSIAND          1123/11314 CE:NN:TSCENN:              11131/2915
                IMPESIAL I3,1430.2•153NC                     31                           4W,CP
                                                                                      :‘,0,            34115 41514N33114 2,121          2/2531514(57.31331135,783             11213/231,
 3S181
 122125         0115. Moare                                  cc                       011111.201.      0'10 and Farts Lc,               2;24/1915 2112.XIEES:151SH:           11/15/3014
 e1162          3cons te.no CeRcer                                                    31r1131.4                                         2/24/2015 555-313131391531:            21/9/2321:

 53:335         Newer R5o,33.-s,                                                      141121132        131ITSO83Sitil OM                2/24/2015 43343:415505I51'7           1.111U/2915
 51371          NOron/303,4,onee, LLC                                                 X512014          MI15:213135: LOGR1               2/24/2015 CDIR-SATSUNISH:             11/11/2;;Th
 541124         :44.3,3:33
                        ,  1341.3.5::75/11.14,2312,                                   SASEE5N1         3511',''815"I                    0/24/2013 110:4 MITSINSISM             11/12'1915
 014145         Fo:3322: Snotiec2f,11Tr6ck                                             MITE2U2                  II3                     2/24/2015 CDC-1,
                                                                                                                                                       4413,291.3133               ,j2;;Th
                                                                                                                                                                               11/1:
 73031          S: ny
                    , sre: 3151,Cc                                                     AMR:                                             2/24/2014 C74-513T51101.5711           313U/21:16
 53903          3e2143.: I:nuoos,                                                      31.31.49        503151157.5                      2/24/2014 CDR-MiTS3
                                                                                                                                                          .  39153:33           1.1/5/2313
 33537          C13431.es 41310: Ms3I                                                  mmv,a0:.        M11508 P13 31:2                  2/24/201,3 CNC mn-sunism:              11,32/3014
 51.365                                       :rtc                                     1121224:01.     3,1111UNI::17:                   2/2412.014 CD5443753_334,1313          11/12/231,

 59525          0a:No.4 15,32/elet Co 3.,                                             74413.11:1       143131114151                     2124/25143 CEN-M:T50515.1-11           91/37/20:15
 42.652         314: 114/4, Lesse                                                     34 M:1,2,        1,4111211233125                  2/24[2514 2DK,f5iTS55,I1133            11/3112115
 41016          1:r3344 92:4,                                                          1:4911i         335.733.13115E2                  2/24/2015 C09-3.1112301,3111
 04301                                         :::c           !                        4114:20                                          2/2412334                               lirii2,
                                                                                                                                                                                      JA
 37025          :::ng 3,30.3:4 3,33: cc tIc 91:0333.3c                                                 3/: M55, PEN                     2/24/2014 C1/3134I1S251317:            3.03/n15
 6nR132         mike Milte: 40334,44,:43                     t                        '153213'S                                         2/24/2C334                             11/15/2,JA
 35375          :330,441 50:2343c.1:ye                       1,1                      RIF3359P735151   1:53'i116151113'7,KI"            2/24/201,1 C1J423214451.3NO1-1:        alae/n19
 4,11.905       12:r 41./FO5v31IeS MAN5L32.321 .P“                                    c,4p17)1115112   3.411142131:44:1222:11,315       2/2,32014 425-43790933133              11,702/2,
                                                                                                                                                                                       i1,
                                                                                                                                                                                         ;:

 53331          I343/S                                                                 tv1W4e,̀,       RAMNA PASTS ON 3.1241.51,1U      2/24/2014 C1JK-3,122715K*8             31/2/ 10
 53503                                                                                 22/23C          SON:LOIS                                   21SV-Mi15NR:513               11/1/2525
 55495          The 33:41.2,: A..1:03.3-eop                  cc                        JULIER          ,131 131;111000                  1/24/2014 C1J5-3434515FA1              11/1212CIE
 62270          31.34 343:313S13_(22333133.                  Sr                       3940,1417        531511133 41,5.33145             2/273/2011 C21ONNTSU515113             11211i2512
 51577          LIberis; ChrysIo,320.31e3 :AC                                         :V, Win          3131135 1.313                    2/24/2914 41114234r1593323/:
 15433          31nued C3acyrnIel. ccc                                                 nNL1234         v:E5:E.:55 1:I:34905k           12/28/2311: 4511_P/'1,41..1 5/'3        13112/2029
 20390          343,-.1.22:0; Metras.:::4                    t;                                        5114 9'':33 p                   34/21/3513 ,215,PEARL-TECN              11/12/2010
 70539          WAYNE 20321441 MO101:341.35 MC.                                        nRL             PRI                             ',,'/55/31311'1150.5'1'A55'15573        11/12/213i;

 7131322        CON 2.32T39531:51S :NC                                                 11115905        415101512S                      12,31/1015 C.fik.PEARL-TEC              a1/12/2016
 1375425        CR3W.31 RUICK INC                                                      PI2,1234        PEARL KILLITIONS                22/51/2217 25'/'cc'A3s135573            13112/2325
 70270          New 39,210 Ado                                                         531512334       33.5411033115                    11/7319)15 CS.,(-PEARL-TEC             11/12/2010
 51,180         Evarc, 3330, OMC,                                                     E3,9520          SFAR13'33C143033133:31:           2/3/2131 453' P'1'535'15/13           11/125209
 91102          NOLINE:TnEE C(19191,
                                   343144,                                            93331234         9:02 PAA                        23/31/21153 C333-P      -715:3          N9/25/2010
 30479          20S, Inc                                                               P813785         4,3,341442                      154124,M31E: 255-FF.4.15:M E,EN         12/12/23019
 50490          3219 CRUCES 3375C3 ,1,3TM32:353.132. 34C                               P11,1204        4143:571E 152144,151,23         WM/2015 EDS-KAX:       , rKN            311221201G
 111524         CADILL/AC or RAPI-94+133 LC                                            113,4597        '., 33:71E3357:44.31NS          35/23/2:301 CO:‹4•',V,R1.-15(3           1.3/7/23519

 61134          2433155I57
                         ,3a1512.435 :NC                                               PRI.3:915       3531412 33C,/.14491             11.2,31/2014 11,4-92431I,T1420          1//12/231.3
 02762          Country CRevr3iNt                                                      68:22019        `fi.:133123.E134,
                                                                                                                       2:14NOS         113/14/2311                             11/12/23015
 ST:330         Pride 3/2undRi                                                         ViM2345         11151,34 3101:544               11:1717:!100:; 913:1-KA3'.:,TE5 :       11/12/2010
 20420          131141rA5DI 2407035 INC                                                34122393        1:5214142:30,33                    5,NS/2375 253- E15.3:1:65,N          11/12/2019
 61813          E011e:1 33 3:ck13915, LLC                                              F111234         3'RAR5TECNNOI.03:135             5/27/1013 57135-P2AN,:,TEcx:           S2:112/2010
 N09,33         Meci 3.4320.33s Inc                                                    052.2013        5E535 T11:33320:0021             5/31/2137:7 253 1753:..i 453
 SUS%           1331534 Chevrolet, Inc                                                 330(0125        Vehicia3cRanK.                    3/5/2534 C1/31P5A3',:,TE53            12L/12/201,33
 -.322:139                    MANAGEMENT INC                                           PRO17133        .3,45, PRI                        8,j1/2W..c                            11/10/2023

                WorncrtMaren, ir,                                                      33331234        F-012 31231:45E X                 5c'1/i 536 Ch:;-KA3:,T3.53            11112/20.1.0
 6111>
 9173S          S4.2.2s:132,,Chavroier,                                                55,2222         VEGMLE E/13.1.35:41533            871/22.713 2E54 E15537 c511           11/21/2,05
 51735          S.10.1,319 ChavroIet, 3pc                                              FFILS50S        923EICLE E1ICHANOE               1/29,1016 13035931 1155 :              11110/2112
                NirL:ns ro:4333,Mons, ir,                                              21-11.2411:     3/395414 160571                                   3
                                                                                                                                        7/2E/2513, 2E54 E'45;..1 CE.n          11/12/2015
 911,15
 21,U45         :224.940NA 312:21: NE                                                  1'1190822       AUTD 5ALES 5:2115832.1.          x/1511016 13X-12ARL ,TECN              S.1112/2316
 SC.259            PACIfs CNEVEP.SLET NC                                               5.31,13545      ANDREA SR:HUNAN                  7/37/2313 104. REARL:1 02.3            11112/20131
 62232          Page Irriporn, or                                                      F19.31712       nEARLTEC1451331 57.5245          2/12/2114 5.32:4-1915:173.c3            :412/2LON
 3-11:SS        Sa3ver                                                                 V1423234        5132(1450151                     6:24/21.3.E COF HANIISCN               1.3112/2n11,
 61.232         2411,3E01cA,1323 COMPANY                                               3151234         Vahicia2Ichange.                 3/2132119 C51-P9AFI1E23                 11/3/231E
                        FCIFC INC                                                      PR:2.3161       5311          18,7843241E        0/23/2313 71135- 3148',"
                         Crevroirt, Inc                                                VI1NRCOR,       10.ARL TE551905053               1/15/2016 CDS-PEANITECO                 11./4/2115
 3.1.11S        evarde4:34,63., Inc                                                    144,4201        1,3341:C3534I13.14.431           4/19/2313 /334:4153L-1 4113
 73944          33,13,01,:terpuce Inc                                                  33371234        VEHICLE DICHANOE                 4/15/1010
 334,64         1413105141,510201/S INC                                                01-ING411.      :JEN X2NANCE                     4101/23.71:2 2(14-33453.7553
711259          245,915,:d 39o3nrcyc:a 3rester, LS                                     131593431       AS2                               4/1R013 115-3E0117528                :1/19i223(.:
,9120
'               13I.R.:13Cheyroirc, INC                                                V2924491        VENiCLE EX.:NANCE                13131/25317 253.21543..1E131                 ,!)0:1
                                                                                                                                                                                   2/:
    307e        :23:411 512424 GNP: EENCS 135                                          I4n1:3,13/      R8L,:x1                          3/23/2013 CDS-PEAFITECti              :1/12;21113
                NordRAM2ENN,:NC                                                        18,2311         VE1-E53.E8E3A5315E               0/22/2314 C144 41,1341.-,SCH          11/3 2/2515
                )
                11,,,k1F,KS, C:19vrofet C.
                                         ,1cc                •                         1151234         536113 94C3I41.3922              3/10/2013 112555531 711,8




                                                                                                                                                                           CX4459-013




                                                                                                                                                                               FTC-0000458

                                                                   Ex. 35, p. 149 of 165
 Su5:en:4 Number     System Name                                 Cbs,m,y gemoptloo Onto Ike+ NI         User Nemo                   Added Oslo    Template                 Len Leen
 71458               Southern Automotive ErltarpriBES, LI(                              PRL2477        A52                            va5/5015                             11/1V251S
 75386               P)1:111e5 SALES INC                                                P611234        AUTOSALES2                      Et/4/2515 CUP:•PEARL-TEC/4           31/12/2515
 7127R               Piave 41Furkl Auto- Imparts Inc                                    PRL5101        ALA                            2,15/2518 CDK-PEARL-TECt             11/11;251S
 7g7.74              New temld AGto ireporte Inc                                        PRI2D51        144):                          2/2512515 CMPEAKL-TECH               3.1/224616
 71030               Traingto Mot.,S5iES Inc                                            PRL:1234       'MA                            2/35/2015 (111K-PERet-TECin          11/11;2115
 57044               Marais CnewoletSas Sereice, INC                                    REDDLIMP       RED BUMPER                     212512515 CMPFARL-:KIT               11;12/1515
 71023               Ennis PeIme),Inc                                                   fiRL1310       ALI1OSALE42                     2(3912:)15 1.75K-PKARL-TFCt:        11/1112115
 54574               Heritage Chevrofet kuicIL                                          Pi112102       PEARL VICIIANCLE               051MS CUIrePEAKI-n ECH               3.342/26H,
 71157               GULF COAST MOTOR SALES INC                                         PRL4884        AUTO 541E5:2                    2/12/2L15 COKHKARL-TECk             111;1212115
 81755               Mo'CNitiey an:ere:or, to:                                          Fit1.71T!      15 VESCLE. EAC:ANC.:E           VW/CIS CL:R.PFAItIn;EM-1            11/11/2554
 70151               Gesion County Cars ;cc                                             PRO215         AUTO SALES 0                    2/1712534 CMCHKARL TrCk             11/12/2116
 70205               Corsi Springs KG::: Inc                                                           SMILA AS?.                       7/4/1116 CM.5EARL-7E01             11111/2515
 51E42              Suburban Irripbrts bfCcrrringmcn NCr. 1,1c                                         VS.HiCI,VCNANG7                 1/SIVil6 114.97ARL-TEIti            11/1212515
 57723               rdi):‘SEMCES,                                                      PRI.122.4      AUTO f,XCHANG:r.                112111110 COR-PPAILL- SCSI          11/12/2516
 57454               Xeyzer Cod;:ze ccc                                                 Patt-gs-29     VehlolstEeNenue                 1/25/2C05: CMPEARL•TECH             11112/2116
 .51239             Petterton AO:: Cense,ne,                                            PRI:1224       Peen lociinolodv                111814016 CDR-PEARL-7E01            11112/0016
 70355              DELUCA INC                                                          PROS9- :9      AINOSAL5S2                     1/12/2016 C1K-PEARL-TFEH             5115-2/2:215.
 54)34              C.e4Lvforosi N k r1„ sP                                             ;I:LL:34       PEARLSOLUTIONS:CON:              1/8/2116 CDR-PEARL-TECH            1111212016
 31131              Berge Poal                                                          SUM1034        SUMMIT                        12/1E/2015 MI-SUMMiT                  11/11/2510
 57. 989           (OMB/ELIA HAPPY 77F.ele :35A INC                                     SUM123t:       SUSFirr                       12/16/2515 CDX-SUMM:T                 511.15/2016
 57:S92              mtILSON PATCerr ANTOMONeE LMOUP INC                                SIJM1Z54.      1:1cMNI:T iN'TERUNI:          1211512015 CM-SUMMIT                  13/13/20.1e
 57223              CgiERMIN OF                                                         57c1`.13910    Sri/CM;; lc17occ'              12/8/2515 CM-SUMMIT                  11/11M116
                    bAKIOW ,     I' OSO COMPANY                                                        INTEi;RAljNI:                   12/5/2015 COK-5UMIvliT              15/11/2I1J5
 5474)              in:0:146;Pa;                                                                                                     21/23/2015 CDN-SUM Mr:                :1111/V01.6
                    INNS In::                                                                          51.4nnlit                     111.11/2011 CA-SUM:An"                11/10/n15
 F:3265             ALen impe.ms )3,2. Inc                                             M)M11,101       TIVIS STAR nrrs PSI            11/312515 COR-SOMMIT                   11/7t:01,6
 Se174              Cel1A1TY )7LrC RYSLER. NC                                          SUM/901         PS%                            10/2015 EM-SUMMIT
                   City Ctwv,viet LLC                                                  SLIM124         SUMMIT COP4SULTiNG             11/5;2035 MX-SUMMIT                  3.1/11(1014
Gn,15               Ed P.Ink.                   GMC Co                                 SUM2O75         summn- CONSULT:NC!             10/2015 MK-SUMMIT                    11/31/2.519
615:L7             TM Autennutive, Inc                                                 SUM5417         IN7L'9RALINR                  50;23;2035 CM-SUMMIT                  3.1112,17.01.
714S7              SOU'MOTORS Or. FiAPERVILLE INC                                      SUM121   , 4    SCI2                          10/20018 ELK-SUMMIT                   11/1112515
10:111$            East Tennessee Nissan Inc                                           SUMO.%35        1/ARNOLD FORD WHOL            10/1812036 COR-SuMeALF                 10;2515
61521              Sho.lsopao Vase Card Inc                                            SUM0452         SUM PSI USER                  15/37/2513 (SIC-SUMMIT                 1)1712515
70531              PLOW MOTORS OF STATESVILLE, IA(                                     SUM1234         PSI TOYOTA                    15/1712515                            ninina6
                    I MPLI5AL IMPUiT IS                                                5UM0152         7M5 MM iT CONKILTN            15/1R/aME MK-SWIM IT                  11)11/20.16
                   PANIDISE CE:EVROLEI                                                 SL,M1234        5UMMiT CCMSULTiNG              10/7121LSc/Si/Sd/C/CIt              11/1212515
04559              0 Young Clcocrcncr, LLC                                             25.Y, .UM       V-SIN .S..1%/1 MIT CONSULT     10/7/%01,s Cr3K-SUMMiT               11/9/2016
 7,145             3Iwenstt Autorno.tiwt Oroup, Inc                                    S,..,M1234      :14.041:124                    A:5/i716 IIVI5SU5cllNUT             12/11/25.25
 54058             LAFFFAL POPS)LINCOLN SASES MINNIPEN INC                             5UM1D50         ScrMM                                     COHSUMMIT                 1113/2316
 54274             Caottei GMC 7ur Ceeiliec Ltd                                        SUM153          5OM                            31N21516 COR-LAIMMIT                12111/2515
 55350             Leonard AUTOMOti.Ent.-priies,                                       SL:MOC:50       summrr INIEGRALINK             R/39/2515 CM-SUMMIT                  1313/2510
 51482             Dernedile kat:mu:we toc                                             SUMI121         P55                            5/2117015 C01451R4MIT                11112/201(
 55372             Bruce Lowrie Cheereiot, cc                                          SUM531S         skebimrr PSX                   8/13/2515 CLIK•SUMMiT                11/11/2015
54534              Street Automotive, etc                                              SUM.2513        EXPRESS MINT                   511512115 CM-SUMMIT                  11/11/2515
 7(12:3            Ernie PsIrn.., ccc                                                  5111.112:P..,   SUM ACCOUNT                    8/14/20/5 COHSUMMiT                  11/32/2115
 70253             TRZI: AUtOrolCiti,2, LSC                                            SUM/234         SUMMIT                           9/8/2115 ILM-Llimmo                11112i3.01.6
 55755             Tarbox M5,:ak,:e,I IcC                                                              SUMMIT                          e17/21.1.5 CM:KUMMIT                11/11/2011
11583              51 MeTC..                                                           Nil/Cl 714      fd.IM %COO                     412017116 CUF-SLIMIMT                  11/5/1.016
   444             MDr: INC                                                            SUMB41          SLiM MIT                       5/25/253.5      SUMNBT               11/12/2015
51550              INS MOTORS INC.                                                     SONfif,15       SUMMIT CONRUS.TIPM             4121/2115 CUR-SLIMMT                 15/11/201.8
75374              Mitier.0,n1 Su:her         4, Lyn                                   SUM1701         CDII SuMMIT DUN 11155          8/20i2515 CMS:MKT                    11/12/2aLe
15514            SW MAO N1SS CB INC                                                    SUM3234         SUMMIT                         4;25(1115 C2:4L-SLIMMO               11111/2116
51144            MEMORIAL mOloaR                                                       SUMN11.9.       SLIMM:TI C.UNSIN Med           5/10/2515 CM-SUMMIT                  11/15;2035
75184            Euir•COASF Sew                 SN.F.% INC                             SUM4.279:       SUMMIIT                        4/18/2115 COR•SLIMMIT                11/15/2015
75315            SPRINGHILL .11TOMDIA/E :NC                                            SUNUOII:        SUMMIT                         8/17/201.5 MK-SUMMIT                 11111/2035
-4.121.7         ICIlSININWORTN MSC                                                    SLIM257N        SUMP)1/7 CONSUMING             4114(1515 CM-SUMMIT                 11131/2013
1017:1           Vine:end Mon:                                                         SUM57-.L1       IfirEGRALINK                   5/15)251.5 CMSUMMIT                 10112035
E:1157
     ,           McI,,Calvert; tn:                                                     SUM/921         tat:NAGA:Ma Aeloms.            411112015 CDR-SLAINIIT              11/35/2015
573N7            CoMral L-.11:.0.44tI,.
                                     ,  . c. ,>mpe.•/, cc                              SQM/145         UST CANSA:::IONAL              5i'10/2715 COK.5UMM IT              11/14/3125
T,S52.S          DArcy           cimc,:0;                                              r:um7s5.:3                                      0/412515 CNN-SUMMIT                 51/cc/S//C
                 P11:.                                                                 siJtol?ol       %UN:Mr:TOYOTA                  7/35/2015 CON..5OMMFT                14/11/2445
3cc/Crc          IC Mbte,:ri, tn:.                                                     1UM201.S.       SiIMMI:                        7/25/2515 CM-SUMMIT                  11/1.115016
                IA MOS% INC                                                            SOM.:234        Sh:troy K/m1;o:i              7/24;2515 CM-SOMME                   714/1:Wf'S
) 0/13           OM BARK:57 ASkEvILLE INC                                              SUMI.nrt        SUMMIT PSI(                   7/2412515 MK-SUMMIT                   11/40/2015
75430            fdeams 5115tMOITLFE,                                                  St:M3,30P.      SUMMIT CONSULT:No             7/24;2515 CM-SUMMIT                  13/1147PS
5-39RS                                         cc,:                                    SUM-11
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52038            SenelySenNou Clweurotot Inc                                                           OULF 514173 TOYOTA            7/25/251.5 MK-SUMMIT                 11/11/7515
570/5            Northcutt(1H-vridat4Lick, NEC                                         SL;M:f01S       SUMMER                        7/22/2513 CM-SUMMIT                  1.1/13/2515
7:102          '
               .4.4ABFOANty:Ndelroee.        .ie'                                      St:MI2M         SUMMIT INTEORALM              7i22/2515 CM-SUMFAIT                 :MTh/MS
57358                                                                                  SOM17.1:1       IN)LGFIALINIL                 712212025 MI-SUMMIT                  11/17/2516
71562                 CC ACOLLI;SFNON CCMP                                             `it:M/231       SFr                           722/2514 C5K-SLIMMIT                 14710116
t70557                A55:( MOTrYRL Or TEXARKANA INC                                   SUMS//C         SHELBY SHANK                  7/2212015 CDI.:•SUtiiMiT             41/11:21.4.5
Olin 9             DON MC IL L.        WES1" HOUSTON LTD                                               551c1MIT CONSL,LTINC4         7/22/2015 CU-SUMMIT                  12M/2016
Cl/CC              Yckcnc Mciors                                                       SUMP.S.R"'      Occibscil                     7/.24125.15 COPAUMM,:f               11/11./2U15.
                   Alanto City Motors, Mc                                              VOMIE;,A        SUMMIT CONSULTING             7/20/2315 alc-summn-                 11/11016
70254              440545 CITY ALITOMOTTLiE CO LP                                      Scl•PSN         PSK                                       COHSLIMMIT               11,111/2017
70157              9,5914 i-MIES MOTORS                                                aat12015        SUMMIT                        7/17/21215 CD1C-SLIMM:r              1111212116
51541              Nye AL4:inLeUve Group, Inc                                                          Oh/by Na                      7/.1.7(201/ LI215-SUBtlierf            11(//2015
709.40             Don Sanderson Ford, Inc                                                1:207.5
                                                                                       7.1,            DIOITAL MOTOILVEORI           7;17/2515 COK-SUMNUT                 11/13/2116
 75510             Triangle lcicrrrx Sat65 cc                                          SsIMVL24        INTEGRALiNI                   711712015 COILSUMM:I                 11/15/201S
1,6731).           PeC5EL MOTORCARS NC                                                 liUMhOa5        sHELre                        7/15/2135 3714SUMBI:T                11111/2116
S5422.             inNHunter Moto.inc                                                  SUMIOD          TXM                           7;11/1015 CUR-SUMM:T                 11/1112015
77.573S            Swape Auto Comoeny,INC                                              SLIMI2RI4.      esx                           7/75/215.5 CM,S14MM1:                  11i571:116
5f;•5S3            1.1toll0.g Chevrolet, LLC                                           SUMC            RGOO5 LIAN                    7/15/101? Cr.:a-SU:41%4:T            15/12/201.5
074/7              I/cd iing.n Al.1,57,0t.. cc                                         SUM:234         STi REPORTING                 7/41/101.5 CU-SUMMIT                 11/11,2516
                   VInelarid retotor 5aias, SIC                                        SIJM35:5        SUMMITF PSI                   7/1n/201S CJA-SUMNIre                103/251S
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   c NO            emote/vont kW."Co                                                   SLIM:aK4        SUMMIT COF)SULTiNG            71141211.5 340-SUMMIT                11/3112016
61188              NicCsinibs NEC. LTD                                                 511:411201      SUMMIT CONS RIOT IIT          7/32/20/5 CM-SUMMIT                  11/15/2515
g1L:77             Kilt Ay:or:in.:Ivo, CC                                              SUM2015         SUMFulliT TOYOTA              7;1212035 CM-SUMMIT                  11/11/2515
Sfi la             Parommunt NU.SU                                                     5OM2234         SERVICE TRACE                 711212016 (.014-51/MNPT              11/1112515
53885              Cape:: Mr)                                                          SUM3113         TXM 151                       7110;2035 CM-SUMMIT                  W11/2515
58745               D AcquIsItinns, Inc                                                215505415       TOYOTA 2:41% MAINT            7/115/2015 ELK-SUMMIT                11/1512515
7uSe5                  Fnrd Inc                                                        SUM/CONS        SUMMIT 07.NS                  7/1512015 CM-SUMMIT                  11/15/2015




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             ((filers Ne.r.                                           A.o701:70,       URZA                             85:75e                      599e9 '3e'   T0:712: 70
             :..0.Y1rZI4 :Pa)INC                                      45                        6,0191111         AL:M15j1T CEASULTING                7/10/2215 CE,K-SLW:MIT                      11/7RII:71.6
             14,66A,,,,,A.1400111A0:0,                                                          SUM               Si:1077'51                          7/10:A7005 ENE-SUMM:T                       11/1I.I./207
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55511        1'E4/7; 1041<7.:!:51.:19(10                              19                         A7:ACI 98:0             ARC                            7/4/2115 :MK-AL:m11:7                     10/72Q711.5
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 55122       Statik, Inc                                                                         SI_IM1234        INTEGRAL:AIKPi:JMNI:T                 0/',;VA:IS                                11111/2,31.4
             A0rZersAs7                                                                          A0M2,311          172,119IT                            6/412511 MK-SUN411:1                      1.7121/0116
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                     Arop,-/0/: Inc                                                              St:M42228        SLIMMER SMITii                       5/2V2fr.5                                  11/111.2A.:16;
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 70231       :: !.10SIIE011:17IRA ESC 1701(81010                      11                         19111191,11      0-13A0                                                                          1.7f11/2:311
             1015 A:AM0/C:7:RE 11115                                  LI                         51:M4AA:A2        11,0410111111                        ,"21/2110 ITE,K-W 1Am:7                   i111.1/ 1.5
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 55163                                    I'cc                        LI                         31112.1495       s171/1,7:7. A.:6R,N.Y.,00.4(K        4/2412011 CDIE-5131,iM7
             041171 A,F WoS,:01119111.                                Il                         5IJM:7101        'A1011:',111                         :1iR 9/2115 C.104-MAIMIT                   31.1/11/n15
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 10553       D'i1A INC                                                o                          115,168%;        S53:0 WT                             4/38121:RA CMI-SUNIMIT                     11/11/20.IR:
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 11 58       Bea,,            Inc                                                                11191211         S 1 M IV:IT                           10/21I5 LIA-1V1001ff                      12.111A7E7::

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                            1n,
              11.951910 Mf^0,                                         8                     01051191
                                                                                    1/23I1017                                                         11/17/2:115 5i9A8                            31/11/2.110
              A,,f, 00,060 a::                                        V                                                                       RPI      J.CJiRi2114 GARRf                            41/2/252.4
 70634
 80378                             fro:                               It7                             ,
                                                                                                  )MP,T
                                                                                                 9,     OSPIT      MART                   -            ICA/2'30431:A(3A                             11 /7,1(109
 70243                                                                               1/5/2517 A19W:177/V5R;                                   RP;      11/R/2111 GARR:,                             1.1/2/751.90
              GL EE,Ag. 71.A:                                                       1/27/3017 0A1351114           MARY           MARR                   V912011 :1, 011                            31/11/217.19
 7055R
                                   ioc                                              2/1.7,0911.0 ISTRAC/0         :24.nE                                40,8;2119 GARR:
                                                                                                                                                                      ,                            nr-51261,   i
 8097.
              S0:41 EA:EA                                             119           6/28/2017 385105S             StriSiN (1P,OhNS                     1/,012019 ArARRI                            11/1.E7/21;11
 60378
                                                                      19             4,'5/261' 72(2.)             1,11(1' 11415107                     A/27;2111 GARRV                              /1/5/711101
 SOLV?:
 E0878        Smff                                                     01            8IA/017; 9.A.V.:110          AWY OT:TOARk                         3/17/2915 .riAW                             31111/2015

 7(534       ./L 0,00se L1.1.                                         45             EV5/20.17 700141<I18         (OW 5:51E5                           A/27/2011 GARR:r
                      110                                                                       .):•14.MK?:
                                                                                     S(E,IZR1i ?,                 MI"0 711,1 001                       2/27/2015 AiAR7q.                           11/11/101.5
 70243
 SOAA,A       EAv-rf                                                                        10 '001 49118
                                                                                     516/270.                     1415(5191111<                        8/27/2111 GARR                              14,,10/20.6
             GL(0,0,110                                                              8/I/3019 :I:EX-SAVA;         1110013(11114,,                      2/1:1:12011                                 11/15/2016
 70243
             'IL 0019:;n LV                                                          3/612ET 1.71, M,  T2/        1010 t0A0.10R.K                      8/21:/251:15 GARf*                          12.,:15/201.6
 70634
              G0:ft                                                                  5115/201i ?ISA Ll:F.         /AAA/ ns9,11                         2/2:612015 GARR/                            11/W2C:6
 40978
                                                                                            ,ERA:RV
                                                                                    0/75/051.                     Ef,Aili`f 1:0.1..W,Wr.f.+S           9/041.21047 GARA
 f-t0378      730:11 En70:::0,0:                                                    6/24/301: RAMATRA!            MSCrf WI;(11,:50N                    1/14/2013 /ARRA                              15./.212CIS




                                                                                                                                                                                               CX4459-015




                                                                                                                                                                                                   FTC-0000460

                                                                            Ex. 35, p. 151 of 165
          Ncq,ber     5,016m Nan,                                  £,QMpti.2 7151: 1.2,79 71/            71,1-1r 22922                 6100.06 V:etz   Tsr,:.-519.        7.2s.1 tc,s1::
 50972                C)228 71,0, 9572 f2,                                 1/27272 7 727090              700:,
                                                                                                             ) 'iNC:Vi                    8/12/265<12<215                  77717/2075
 2052E                725:07.- En...6.0062z 272                            87672717 3/71.,12:7           1.22905 6A5012118                 8/1/20121<1<5!                  1.1/2.1/3016
 (10978               G,:rf Enterp9tps foc                                 7/272277 9327.81              EP8 PACP                          </2/7607765<5                   11711/2072
 20972                760'727,    279:P85 79.1                             87612777 72.PH9.21            9/.61 /.6711140                   8/2/2015 07010                  71/2277015
 0678                 75217P22279,0, loc                                   77672927 762715/2             62165 522.7/22                    775/13128 22897                 11/11/2015
 27577                7/5.,Pi 72E709'697 12,                                  V272.3 49712979            27141E71E 282/838                 272/271.7 021.1119:             2,1/21/1215
 20278                7522 2,02/99556 icc                                  777/2977 469/1.02:            :72767111)215                     3/272718 2223291                117171202.2
 80977                25,9FF 7,8:p.2p,, fp,:                               2;672207 7722P719:72%         12<7'5121 97(12071                2/1, 2711515!                   11/1272317
 70378                12229 2P229,227770c                                  71/27701; 2.6207/70           .702.8 05T2.2.281,                1/71/2971<71<7115              11715/201£
 80977                25rfF 7/0.5.::‘,697 9.5                              6/672373 2022209              127.! BAUR                        2/5/2127124<71!                11/127200
 70378                                                                     2/2/791.7 2.05246107)         57127:7:. 511, /555:,             </71/77717.2,7755              711/01/2<18
 80777                02:PP 7.112:,....,P6s :95                            0/277.0752 77.174811          2207 LUTZ                         9/572310 11,57!                117101555
 73778                                                                     217271017 7212177902          08E11 S.78E259E02                 511:2771566<1271               ili.1172018
 80977                                                                     71/572617 777.0027)           02.19 1980002                     5/5/21171211<57                10/1372117
 79370                          pris.11 Icc                               1.112101.7 5197.8%.:7,0iNC     45<61271 117157171712             6/777917 26/997                11/7172018
 2097g               2,99 5.926p,025 0.9                                  2/5;2077 105EiP1177E5E         2.271851E i07.1117.31/20.         07572017 772712%.              11711/77177
 7097%               /2E90 2912906sp, .2.,                                2/2711717 7278121A11           71992122.0-2ACY                   67<7711.7 26.867               41170/2015
 60772               92,12:2117r5r72. cl                                   <75/2.0.? 7272.1.48           1.162277.76c 71717192             27612171 .98589                13/22/27172<
 9097%               772211 1215rpris6s                                   9/271017 7710575               KAREN 720909                      97777916 6:87:5                31/11/2028
 60777                        2.0.:225902.9 :92                           2/5/2017 40.02.                1019 0171572                      177512072 /1290.11.            1771172776
 2097%               ,
                     16/0                                                 7115/2177 72EDA                ED 20721                          5727090 22<97                  7171/72726
 71979               0292,2E20pp/025E1z                                   814/2017 3422:t                7.7:73 235.302                    85571015 //8M!.                17721/7776
 60678               P1690 .2.7:25p9575 in,                               71iS/20'17 135 4:,15c1         92609 115171                      6/5/1501555717                 71/1272776
 26775                                                                    87772017 1.1201186.818         17:,471V 96202440                 870/2015 1.872.1"              11721/7015
 20670               172.79.Pp:et:59565 foc                               77173277 727701174             9.071,1' 22027                    4/5/2614<148<5                 77/17/2.32.2
 70922               5117:!' 714c7217c715,: tro:                          877/2017 703.27917211C         77)71779 0/1720.2                                 '
                                                                                                                                           87772015 7121221               7172.2/7016
 67261%              02/0 P9;20595E9 02c                                  7/2/3277 169287/7729           <71557:17717:6.7109               575127332 6.2.21171            12/11/2312
 20922               77595FE/20,0,:s90                                    812/2717 70:9E22               11712717:7:271<6                   8/4/20751<1<711
                                                                                                                                                          '               114277012
 90678               Gcif 7,Z,9,,,,s cc                                   9/2/2777 73772020               ':71717 1151)5                   ,f:/312515 2i4<*1:.
                                                                                                                                                             -            11/1112,
                                                                                                                                                                                 227:
 20977               75.90F                                               676/2717 72J1072/322092       j(RO:-%iSki+422.1909:702           8/4/201511,77:'                1.1./2/7105
 50978               GRrff 29157/89,7212c                                 77977917 73MA17E               M,71051 ::12.511,                 E:/5:,7     622.92             11117/2022
0977                 C2arff                                               272/7112 2/,2969              80<1271471<                        2/0/2015 09110                 21/7277012
50978                15/22 22229,59525:0,                                 7/771017 4%1:82               72, 72071::                        </5/74-78<1571<5               17/71)/20)5
 20977               25E11 72609059,9.5                                     6/2327 80357887             5<5<:::4115712                     71/8/221126<1:!                751/1272915
 029/8               16'a71Cr.C.,pr7ie;                                   6/7.77911  228.19'07922       2,2211-7796.12997?                 e:612915 22.25.7               712/711,12,225
 70634                  (11722p. 071                                      27672317 72227-4<             218629 11.022.0.9.                1/1/2627122<71!                 21/1272217
 7000                                                                     5/773917 112.481/48           772229112A 21020E8171             8/0173915 772547                171217101S
 70E34                                                                    9/6/2317 77120021              7676 75174                        2/272207 135891,               1111311507
 7004                                                                     51277917 Si.6.17588.2         027,536 50022                      8/71/2'771716:77155            11/21720171
 70734                    (2,51gc-                                        2/9/232 7 206;40              19E7 0/72 .1707:118                1:25/2202 0.6.25P              1.,
                                                                                                                                                                            ,n1.,-:o1,
                                                                                                                                                                                     7
 70832                                                                    57771017 ,.178710.9           1271981000..12179                 877/2017 26702E                 11/22172015
 70234                                                                    727512.1122 017713            22E26020:s                        1175/2317 8.26.77,1             1271172077
 7204                                                                     97773917 519148E2             8.95p,272::•37:,                  gicti t'S ,
                                                                                                                                                    ,,,,P,...'
 70774                                                                    p.25/27,2271317777            57737E HAZEL                      71/5/212)2124<71!               1:y1172712
 70242               GL                                                   2ARC+17 5 075<1               6217.DA ACK12712                  8X/2;727: t36.0571              11/3272712
78056                17717171<171115.7:8171.71     711717717             5j23;2037 PAqmc                78:117C7. MCK19LEV                7/.6/2317 61021                 11711/2722
61104                .2, 17965 9271711012 622.                           2/327;917 55578                42754:7111.41 :71                 7;772026 0.6881                 01/1172712
712(4                2174177 19N/771061 .89.1                            21280797 P.,1: 61:•:c:         196257124 <771:773                 776,72077 6.2931               1171172922
61104               106979.9.262117111 9.711                             2/72/1227 7122/3860            76,218.824471/78                  77672116 11185!                51/1172327
77204               .9.2712711920.99061117/2                             7127721217 1,722/01            122471211"                        77672037 71,71120-             1171172016
29234                   0.822,6 :A.0                                    7:9172527 15:2:26              :7:32.890526                       6/70017 22927                  10/1172017
77614                02.702267 11)                                      5/27/271117112111.71171         22707 5277351.27                  96,72.0.75 712081              11721/2016
20234                                177                                71711/25717 .612071             /7/25 8.E57051                    6171i251", 5:594:,
                                                                                                                                                           :             21/10127127
73724                6:.06,762.07                                       5/22/2217 3737)962/3           (1-:P.:',7:14A 02020,1             2/V201S 215717                 12/11/2016
20234                   71:221<2 211.                                   27'17/0727 292.2927:91         MATT 221/291970,1                  71/11/2622668715                11/872317
73674               61028262 i0_72,                                     5727/7017 ?)ANiCEF             19..977 7171!                      272/2017 2,9257                11717722016
80977               260/ 1.172,99,29 :9/                                71718/202.2 7215{22.1771        L'71/:11561                       5/5/7111.9:76875               1171772117
7397%               .92.21,
                          1212,05,,                                     572377017 9809.972              747<8571:816<1:                   s/1/1716 717575P               11/3272012
80270                       5097.09029 :26                              7:72/757741771717:5             21<1<71755<7160:                  5/61)1:7156,5515               13/10.2317
739)%                712,71 29/P,prisp,                                 6/20/7017 9172,27/772c128       78..471:E 76287/                  5/71/27)5171c,55               31/30/2016
8097g                                                                   2735/207.7 10-212.
                                                                                         7071           5,153(711111,                     7/5/2.523 6/7501.              1371172017
7097%                                                                   57227E017 1070.7.E72:           481,7:1<717:71<717'               6/073015 24295                 11/11/2018
1,77722             (r.W                                                5729/2012 82870(23              8707 ,5120.8E9.261                5/5,25171716,7:71::             71/772077
6097%               71:71 2212/0990p in,                                7/22/2217 3359E0277            .7.2<1.17:01729                    5/71/2720560
                                                                                                                                                     :7:2:F              11/72/2016
60076               22,6 2.0.322,9226:92                                5127/201? 418721                2724 15-7.0091.092                7:5)2072 6/2:189               17/1372276
                    2:7550,0.0                                          7/27,7217 536.121728            MATT 770271102                    572707017 2412EF                117472076
71229               i70.11,52.                                          5/27/2017 <RIG                 2.22 00071701                      2/572072 45E87                 17/1177222
   ,
2700 9                 .'7202, :LC                                      7/2272317 50(050777:71         (071271112715:717r                 57577015 242E5                 71713/2726
/5227                                                                   2727/2417 3/309123              177171.:175::,2715                </1/25271 647:8:-               1,.1/7: 15
61222               269207:25 72082.710720181189.013, 1.11)             872372007 JE718774717           <2 2977 228:26                  4'7277015 2711267:               71/1172776
77225               2,109828.2.1.99.21722T0.98.6.209/991/1.17           5/277'2017 .77277              20 1115 AMY 09.710               '/17/24156198!                   1172172016
21727               7,7:17:715 2,11271.770790181.01292.11,11./7         717E372517 2.712077            gt 1323 714871159:1,24           2/7777015 571875                 72/1172027
21225               24077.25 ...27.71q2.320.989. 707/215, 190           Ei21/2017 117395               r61 21":::5 S1;9%0%;             2/77/20154<157)                  21/1177016
92772               21687215 71:29/7702112,21.69913, 0.6                15/237272; 1120.992            <71)123 7922.                    4/7772200 25851P                 7771712372
21225               .74068.221 E87920.129.9e22..2 709/6111, 187         572072017 524928               1127.5222 5478c1 i 7799198        471/2012 57.801151-             7.1717/9919
70150               2092 2259289.21821..2,                               872777977 7.2A1217729.4       7105471247)4114                  37E272517 G/2.865                71729)2312
76200                      ?".,..garnwit Inc                            .7/2772017 71120.226/          2174 0,2222                       372,`2012 117575!               71/1177915
70150               1Icp2 ,
                          ,t AariRges,. .ent icc                         772772717 1121.1,P2            7071E122/ 09.2 f.                 1/2/21.71454251-                1272726271
70320               Sc:,:72:572179:7 cc                                 027/2717 271272.2.272          .2.97.2.8276222.08.9               1/7/20)21<1<51'                2.1/7 2i701.5
70150               75,5 212994729222 ccc                               572272217 72.6.25..211727       1,: : 711,11 1771714717:17T5      .11/2,,24<1 7,981171            71727271171
20120                        525ger.0922                                7/27/2722 /1717712713-2        5071410617814511<7:1               2/2/20)5671<5!                 171/75.77915
70159               17172 71'4<c    :211: cc                            27277221 2992212128            8.7.991 1-129126                   0/2,751<12451)71               17/1172072
70120               KRpE.18525.32r2,2212.:                             7/2772727 74/24S9e2             15:5611714:71                      2/7:275 6<1<2!                 1      11505
791.79              15599 72505.287/722. 12c                           1/27/271.7 nt-N.):`AERY         111<52.7: SC,:fAIF.               0/2/262r; CIARRI,                 :1/71/271)71
70720               Kap.
                       ,fv?..,5ser,56,5,2                              V27/nli 12<2602,7175,
                                                                       ,                               01:2.1<5551:177.                  5/272715 0605F                  21/17/21:14
29052               Kapz Mzreg6rrier, SIC                              6[2.1iMic 71774711,1.1151        0517 REMP.:919-10                3/2/2<2<5<71<5                   12.76720.15
79150               8415 IvlsnaEemEr.t 12,                             6/2712372 116.8t7W76517         71115.471/.2<8115785              2/2/17251.71<2,!                7171172525
70152               7269 7.12750793261 :25                             SR7/ 2.)17                      0922:7 W.A.1.7,4FAes,             271/201E 7912RE                  72.77C2012
70120               Knpa 2/750522,692                                  6/27/2371 21023271A711          .71714851712,111)2                2/2/112665.871:7:               7271572926
20367               Ka52 Mzr.gemeor                                    27.37/2017 11912971726          7-97221 671022.7:                 </112.271846,718!               11771/9012
10120                                                                  </1,7/2132 7206229              929001S5:09                       7:2/212615.5175                   11/472007
27.270              .528P 712npgerr.782                                 5027/001? 71216722111217       19377 71,2746 38                  917/2018 447.8r.                1.1/2.71., 15
70120               25pa 0.5.92p..5772.12.5,                            2/27,71217 70095124            2,2217:8 3019.75                  212/7117:65895                   71/5/21078




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                                                                  Ex. 35, p. 152 of 165
SysteniNumber   System N22^16,                                    Efosotry Eyemetine ELAte    ar                User Noton                     2090310010 10101,1010           1-001 151210
7010            5822 3101250A1e10t 10.                            :1             1/271231/ 0131C00,111EN00     7,39137 01013102110                 0/2/211110023101-            31/13;2312
70817           17 of Detrtoea Reach, /LC                                        2/15/2117 720111001.55        11712011 12311 1,0/31             E719;2315 010e31               10/11/27,55

70E17           IT of Cyytone 38Ac0, LLC                                         2;28;2317 /HALES:,            7103 20180                              26103 04050
                                                                                                                                                 2/11,j,                        11/10/2312
                If 113 Daytona Beach, LLC                         11             2;1072917 75/03TfAGE337       '4100,047,SANTiA39                2715/2315 :3,3311               01/2;2011
70617
700/7           II of 0oytoo3 082th, LIC                                         27E81201/ 70'7E3053           51:12351IN OLOEN3                 2/1111018 101151              33711/207.1
                If of 90,5,8 geach,                                              2/31/2317 2511:703            ?EOM 0:072                        7170/2012221110                11/3/2015
20817
7,1,3/2                  ,Torie 088ch, ICC
                IT of Uns,                                        ij             2728/2.312 7E307532:5         000 000108,                       2715/20512 13131              11;1S/2012
70617              :::00memo/ goach, LIE                                         1/3771011 220111-31,27C       C0E1E M21TI-12W                   2715/2315 1250E                05/2/1315
                   of Con0cfs                                                    3A0/2310 7CP.011, 0           3021 C30187                       2/23,1201111111141            07,R3/20)2
70S4ft
70610           T: of Enoyer2                                                    5/15/7517 15011E0             21007:103I0                       211572015 210130               11/3/23`.5
10110411             of:Conysts                                                  1/157231i 73.1.10537E1          318,351.10101-51'07'            2/2012003 24141                1112/2015.0

1 5,10               ot Cony,/                                                   3,05/2012 23001,1 EAE         "ASS                              2,10/20.1.5 02131             liM.V2C11
7,164n               of 1723setc                                                 1715/233,0 7RAMNA;;::;:'      TN E1:714 10f0103070:             211.WVii," GARR!,              111572019
0101032            ::f Cor.y9r5;:t2                                              :/13/01.7 nOil;.MF;;SC           210 00:3.10E1,1                7/:0/20)50111111               11/1.2/2315
70045           IT of coroets                                                    3215/2517 7ALONS121           101180138 010010                  2/1812015 21111'                11/3720Vi
                  ::10.00yors                                                    3/10/01:113 750273508                50ifEK                     2715/2013 11253/                11/9;2011
7045            IT of Eonvers 3.7                                                3;1572027 70121/1IA11M        .511.E1CM 00N 110.2G              E/703;2115 GASNC               1r1f11/200,;-
70026            ,
                101 19.301171 ME,023:531ENI131LACE77, NO                         2/28/2017 17.10000            NA3C7 11230                       2/35,1012 tl:lNI                11;172011

71320           Airmn,lomr% MA(0101E1111Or 01E40IE0, 140                         2/2E72017 730TELS35           000111707211110                    2/10/21:11(511051             21/2112010
77,020          391,70/1073.11 NSP,NAGEMENTE31V:0177:NC                          2/2E72017 730E105             owECH1502CH                        2/1572013 4210.1              11101/2011
71028           AUTOMOTIVE 101A1A3Es40fif 9111101-S. 1010'                       2/2E72012 711A11311NDC        EL0113 RA7MON9                     ,;16/210:5 121050             11/11E2015

7'420           397C581011VE It 1,011171101001 12R11:031,,:NC                    2/28/2117 ?COOPER.:           C0311,002 COOPER                  2/11/3012110001                11/11/2012
10026           AUTOMOTIVE MAri;e1F.3153Ef53.3101131,;00                         2,123/2017 73111.ICKCA        MARC:A SO015                      7/1612905 11A050                11/3/2010
7 ,020          10151058/17571 M4NA05:71 EN-FEE:111E11,,NE                       2,9g12317 7e133107722         ARL`iN E7AN5 5                    2/7 /201. 2010/                31i31/201.0
20028           5U707IOTRAEMALER,3E3IENTSE3S01331.                               2/2N/22r10 177.91000355       STP050 WIWACAS                    3/111/211571/1010              111210/21115
7'3717,0        /0:13,03501-5353, CIANAGEMENT 01:00:011, 0/0                     2/28/2017 70011INGS33133      ololll 00LON(53183031S,           2/1                             111. 0.11
30028           AL:10310TUE             1171131 108011101-0,:NC                  2;2E/1011 731000E0            101010210 ,100110                 2/06/2011 12010                 1:1/5/.7015
                /0.:TOMOTIV3 MANAGEMENT SERY10EE,:NC                             2/20/2017 7102.I10E5/0        CHER3E MAINIEW                    2/10,1013 GARRE                51701/2012
70026           R110310111'3 f1,310,30EMENT 7E510031, 5NC                        1123/1117 :35211117:8         310,01102310ES47                  271072011 0/011;                11,03;2035
121101          /YEA-5801-3/2 MANAGEMENT SERV10ES,:NC                            2/21/2012 7332,211;LORI       SOHN FEE EF1C,S9TiL               2/11/2011 0,017                 13;0/2012
3W7/6           42103101175 MANAGEMENT 01E5SACES, iNC                            2121/2E37 12001ME:15C         E0113 1C3303127:5                  2/1,1/2012112:110             02/1112001
7007S              VOrtlO roll 10400,11010,007 11 002(00,:NC                     217.2S;2117,1012.2310:        tOE 132105                         2/1E/2015 03351               1,1710.100.12
20036           AU13011111/E1,A01oA11E0131013E1V:CE1,'NC                         1722;7311 2333,020110T        50117:00011,11.11/111204           2/1072915 6251E                110:7/21:2 II

7002S           0nr,471T1VE MANAGEMENT SERVICES, INC                             2/20/2017 7:13112302:         RON 07.055'r                       2/1E12015 03031               1,1. 11101O
311,16,         AU:0001171 MAC25:3531ENT 21103235, 5NC                           2/21/7317 111121111101        TORNEV 300E1E1                     2/1,1/21310420100              11/1/25'):
7002S           50710MO110E MANAGEMENT SER02CE3, INC                             2010,2/'I1 '1100112/11T0      0.3.17A1250 00011:0                2/1.0120a0 00111              1111,.R016
70026           001:033.11•83701:01A5S05131075255700:121, NC                     2725/7311 27311; illS         0310 SEfUTE                        2/1072413 31,350                1/4;2911

2002C,          40!..rf1101;'1100 MANAGEMENT SERSRCES, INC                       20:1,102577105121110          21O.00E111 OWENS                   271812E05 GARR:,              11/127201e
70S17           If nt 32y8:0, 1020/ c                                            27E5/2117 2313311067-11,501   VIEJO'001120G2W1E1T0               2,715/2015 GA5RE               1117/2111
  i37
70,             If of isEytoo,   o2, LII                                         2/2072017 7210,1110           0.131/821011181                   2;12;2015 0,9.013              11,220370012
70S17           TT fo y0:23 Ok10-3 t:E                                           1/15/2317 2:311E33:10         :Clol001tollltM3 114              2/35/2010 0,81R5                1119/2311
70617           If of 081380:0                                                   2,0010/2012 70850101          11111 31010111                    2/12;2015 GAMIC                11/112012
70112           11 GI' 1701 ITo:                                                 2/211l21117 251/250NN         NO       9113335                   2;30721113 LIARRE             31t111/2310
70617           If of 00,35.:0 3eRol2, LiE                                       Er:372517 73,11.5505 M        M NE-MEL:At 5E33'                  2/1E/2015 11110/0             11/10/2010
0011;           TT,17,00:oe 500,7 cf.                                            2/20;2012 1110110,111NT       TORRE,POW :t1                      2/10/201S GAERE                10/2/2911

700.7           If of 0,0010 10020,                                              2[21/2011 7R41,'ESA2T111      1;;F.IMA 1410111070                2/11;2015 GAMIC                11/4/2016
7C,S17          TT, °.t'0 1001                                                   2729/2117 0110:1211           IrON 11511111                                                    3.1111/2310
70,217          If of isaytoos sseE21-, t IC                                     2/25/2017                     71S PASS '01211.10111 1.           2/13/2035 GAMIC               11/12/2010
70017           TT of Deyfooe loot I:,                                           2723;2117 75000333            10004010120,0                           1i301'i                   1:111/2015
70017           If of isRytor•A 4700', .00                                       2,,n1:2217 7000230.5                                             2./.52/2.                      117112015

70844,          TT OF 121010101 117                                              7/13/2e17 7,333.i:A3113       51EVE5 `09:111000                  2/11/2013      L153:10        10710/231E
70133           TT of 131/e/o1 5:c                                               212'E/2017 722111120141       111111:1-1:2110110100              1712/2015      GAMIC          11/1112010
7E/33           TT ut /1:1100o                                                   2/20;2017 IHOLLINGE,W03       01E01 HilitiN91300e                2,011/7013     1500011         1V3i2011

70133           TT of Liit/eLon                                                  2;23/2017 710053SEV           SONASNAN ALCNEG                    2/16/2:1711    15.0.040       11i111'.2.GH
70133           07 of 7.i:1k0:t                                                  2720;2017 751ATTX5WC          013112 110102157                      f:ROn GAR:4!,              31':19/2011
70034           IT 0E11113O1Mt. NE                                               3112720/7 210A710N30,51       11iE195 MATTHEW                    2710/2015 110040               11/2/2E00
20844           TT OF 74/311113I, 0107                                           1710;2117 7C27S5511           500 /211113,1                     2/2572013 35131                 11,01/2011
70044           TT      170,1303AI, NE                                           3;15;2017 73t/371E            15OCH: RHEIN                      2/1072925 1147,10              21/11;011

70.044          TT 9F TAM1101.1.                                                 1/10/2017 7501fL11E019E       0-111.1 1110210111710             5/21/3:110 110301              11112/2011
70044           IT    TAM3Aw!l, IN:                                              3;13;2017 7301111K801         1,1010211 1011304                 1/1072315 112050                11/5,12015
    ,
7004,           Tr    TAMLEFALIC                                                 1/13/2017 73100501                 10.10071                      2,0571113 3513E               3571272911
70044           IT     TAM3401 NC                                                3;13111017 70OLLI006514333            0o, 1 1711s01,_-41-21      • Mi2111S 119050               11/212.015
7084.1i         TT OF 1A311303 I, MC                                             1710;2017 75322510U0S9        11AsiN 035E5E:M4,TH                2/15/0510 0,213E              11E11/2012
70044           IT CE17,7.43,/7,70, INC                                          3/0/100722/701071-0           42.13.1 7/401301-                  2/1111/2616511111-            13/11;2015
70644           571 Cl 1,0100:110, 12C                            lt             1713/2017 7038530             10,0 SASEM                         2/15/2015 30121                11;3/2012
70044           01 01 TA:4333E, IN:                               51             3/15/2337 213103303031        07 71107:1012:0                    1/1072315 9A511               51711120.05

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706,            IT '1 1: 113127. INC                              11             2/10/2017 722310507/5         7111-11Z0019/70                    2/11/2013 GARRE               1170072110
70044             00 TAMIAME. IN:                                 II             3/13/2011 10E3281E31          TC3I3E7 110011111                  2/1072916 00.051-               1/1;2015
70643           IT L1E/A312014 MC                                                3710/2017 71851NAUISIT        7010813 FACANAUTO                   , 11101 30101
                                                                                                                                                  2,                             13/072013
70133            IT of 1.30eLon inc                                              3;2312011 7'005110;           /01 141510                         27107291E, 1111R22:           10710;2E535

70/33            TI of OINeS02 lot                                It             2211/2017 73121.550731                                           2/11/1013 30057                1379/2912
70133            TI of Lirriaton too                              II             1;2112011 223193273111        KELLY FOEWELL                      2/10/2311021110                11/7;2015

20/33           T1 of UtNoto2 ;ot                                 1              2732/2017 1131132             IAN 91-1110                        2/10/10111 20001              25:11/5:11011
701713          TT of 1110010,, 100                               11             1/23/2017 10,1100tiM          109.1, DOUCE                       2,50/231560022

70/33           IT :1 1,011,1000 lIt                              1,1            2/2172017 71U:fill:A          A12170 01.8171                     2/11/211r0 00001              5173572011
                 II of LERet,                                     /1             '2!28/2.027 1003.20,          020/NE 113023                      2/1072915 9253E               10711;2005
70nS
                71 of 1i01:00:2 100                                              271072015 7130:EAMOI0)        :CNN En:EEC:JUIN                   2/19/2011 23.151               13;172912

701,53          TT of 11,02ton 102                                11             1/28/2317 72OULMETRUE         C0083 EIGt3,1117'0                 2/211/291102011:              11;11;210
70/33           or of 001,400 I,                                  Y.f            2/21/2111770011:11211         11085NT007E11A                     2/11/2015 03151                10,31/20.10
70n3             TI off:302f, ins                                 11             1720/2317 103.0103OrHT        1-0ELM/s RAMNAUTX                  2/10/2315 6251E                0702;2001
                If of ii22:45:o lot                               1.1            271572017 173121551           005(1012,1':                       2/1E/2015 03051               11/0172012
70/33
70133           TI of           Ins                               11             7/22/2337 230U12K             KEN SifUTE                         271072315 OAERE               11/1:;2911:
70F/1           If of Conye,                                      1.1            1713/2017 I110:MP2001         112INOMPSON                        2/18/2015 23055                117772010
70F,4S          TI 01 Ecmy0:5                                     11             571512317 210(.1711r8wE       CHERIE M8STNEW                     271072315 6,3510               1112;2905
 0110           It of Co2y2/5 IN,                                                37:3/2017 Y000UNG223,03       0101e7 t1010I530100370             2;11/2015 00035                11;1/1012

70140           TI of Ecoyo, Inc                                  11             3/1102917 230.111.ifse        K03E/3 ROTELLA                     2/1,5/231562010                1117/2110
7061.i          If of Comm.,                                      1.1            5(0372017 111E:E5CE0700       37.505 1AE:11:333115               5/11/1015 110111              31/15710.12
70P,40           11 of f.00yoff                                   11             101012027011110101109.        831IN 03A00 E                      2/1072315 62531                111112001
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                '                                                                5/15/2017 70112A11”           100 04.118:10                      2;1172015 04137                11;1/1012
707.49                    C.                                      :1                ,
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70/S0            11002 McoAREAtooi                                               1/21/21117:1011:502110        1000 (202,1':                      1/25/2010 01131               1171271012
00973                                                             11             0;211:7n7 3201,10             813.4:0 0015E12                    1/1172015 0393F               11721;2335
0,3323           G,N 1otorp.::5C-,                                if             5/2172017 C00130;             1121.58121027 1-Ot                 1;11/2105 20511               1111S/1012




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  Cystoco 50544481:    14781e21 00:45.0                              coccovn; 34455:54on 1317 ;Net :0              1021, AlzoLe                  02,2,4 note '040784003                    L2St.
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    ,74                ;3747.1 Enterprises 134                       LC             1/23/2137 SA-7-31C118          (511113 855111E,                 14.0/3015 421131                       13/11/2132
 71153                     3L LLINeroo Inc                           1;             2/111/2010 71157.5Te           5.1015 95,1111-                   1(5/8:071:,
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 S1737                 Triii9g:Q Alit,. Cant,'Of.                    11             517.5/2117 12•21115:15E5:      CLUE1-9-!itisc4                  1(75111112 2117.337 RA27               21/1712112
 51112                 To .0.5.0 0.000 Center :9.7                                  3; i201.2 374115711H           NnE11 1'410,'2100',l&"8          52"32/2231, 22:101/212477              17/85(7539
 217517                1-Neng:2       4.0249/ !sr,                   11             5/21/2117 0211CSTE:            143121119,12- TRACI C11          17179111121 31.11517410.               41112/2182
 4,12.12               Tn0eg1a Aoto Center :nc                                      3124;231? 0781515:51SEt2;      Sit1431. 7211;1 2E2913           417.5/2173 13152773477                 17,484014
 70117                 Robes; L 152.7,5                              11             3/214117 GOES;SL               111131-13117                     47125/20114 21115170:151;              11127/2385
 70517                 PoEert L cLoCoe                                              3121;201? 1181.11-3E25         1,1:2251 22127                  5/22/2373 131:571-3541                  11,41,4113
 7112,1                Iredors Crteerr/e514C                                         1/2,2D77 11C9.055-4.1.?       C.1527A                        12./7417215 102                          71/17/2013
 7121.5                                                                              511702017 57051:951151851     51231.17:1.342:                 72/17-82( 1110                          111153114
 707217                CCM,fle.17.                                                  2128775777 1,021112127         41.57532-541:132542R2371-7     11/25541111 N57                           38/7/277N
 70:112                Vill,,,;f1.1,1 AWN 2.97,s Cr: ;.IC                           ):2702L1!'1411050107           1,04.11.0                      17/2412711/ 5L,A1                        1142(-2515
 73235                                                                              0128/11:0115011                C2313.555,1                    11/11/02,2 001                           11112/27111
 71132                 fjty 91459,724i5ocrortotive Co                               2/2552117 1-31t347.755.1.1.    12017143.111,115               114.18/2313 tEAC5                        8141(2214
 77120                 Cominnorr 4:4,975,575 Co.                                    1/28/71/17 9711.78C18,-        u'1/11210401                    3/74/2515 2148                          17517i24LN
 75251                 55,3449.15, notc,39519457c;                                  217811412 315175145            CDS /COSA;                      1,44/2113 17925                         21/1 2/2115
 11220                 FLesseocor. 1917,95,4 Cr;                                    217.1/7987 504704              72(111.01,2'.                   3/231/7011 115.1                        11/12/2113
 75255                 5
                       ,  75553 C.11V 1/11-71S111,22  1.11                          L112 NiD117 1135               NAN ('35103001580112             14/2715 11291                           17/552114
 27843                 C:ty CLoccro:c: AnCoroLONe CL7            171                4/27/201/11,012                70221 01 5N327C5:11             8/72001.15 NAG                          10/23/2413
 792651               '7 4130,11, Ante:5,734e CE.
                      ,                                                                           :,1)51.351170    SCCSCRES 0LLTC1                 5515/2811 11791                         81(7712015
 .-211rA                1021105 7(10 51:1-01;88-24V5 CO LP                          1/27/2011 1/7.102150           173117555 511-0                 8/804115 00543                          17;11)2311
 1 121                 31974 05:D:31:23 CNOIANTSL CO                                .7:55-512.17,7 401C173         1175110154.                      8,4/2010 L121                          51/7712111
  171                  15310503979 ATM FA ;99trs Co LLC                             5/8317117 1/51                 1142 CDR SID ANALYST            7(214114 NAN                              TvW22.)25
 7'1155                ??3,1939,:on 51/vE52 Lovtrc Co 1201                          343;2417 7IN52                 CORP SIN ANAL3S15               7/2112784 1,07,                         1.7/71/1019
  71132                2         , 2113712 :870 Co LLC                                                             11.5G 2.3251' 5,11171155512     7/12/75I4 NAN                           11,20/2211
 7112.5                5/5-5314013/73/7117 51E17 L571T2          L'
                                                                 1. 1               C/27/2o17                      COR5        A10AL:4L0           7113127811 1451                         CA/78(2114
 21525                 50o. Fr 1OU1E05R1 232.1:NV 1717           11                 2/27/2713 AN 7133UAREL         NAG CO3? 5/151141501            745,4914 NAN                                iv)/201E
                       5178-3 gi.101EVA,2'.8 AUTO ENV 1152       12                              OA                351 1012 HA:11321111              14i211.': 554                          11/3,
                                                                                                                                                                                                ,20H
 11.014                    1/41(270 731.7-52130TIVE CO L.P                          1127(
                                                                                        1 117 1105.2              (CM,FiN 113511511                7/72/2115 311                           liVi1/2015
 1 2125                07850rS 1101' 517711,17311549 CC IF                          3(77/211.0 51,150513AILD      :00422055121111220121            7/14/27.1.57 07,01                      11113,272H
 70735                 413                       1(27(2          11                 4/2.7135117 2O-5015551:       20551 COOP 511173113532          7,
                                                                                                                                                    ,J.9,
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 10115                :NCR 12510121:C3 0040 AtrYO CO             11                 S:72i2.210 FLNA               2052 C.01111121:85111:           1/01/21211 1411                          11/7,
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 73137                075 CrieernIct Autorn27194 Co              11                 9/2717117 21271.21555E,       HAD C7015 .5111.0243402          7/5/1:71 :116                           1149/2718
 70212                 City CC:ewe:et AUt,i1N31,6                11                 5:27/15517 71275              2002(020 SLC: 101.50-3:          7714.1.211 . 145                         31/14114
 73221.,                         AnIorooZies Co                                     1/27/2117 1:052               COP H3(45511,-C1C                7/5.11:105 004fi                        44/11/2181/
 72212                 G94:274:: 539.274,7945                                       2(17/2.117 F500A              (1215, 4139 CLN 115.11C:         .7711/5371/ 0115                         11/21M,..1
 72723                 Con:neer, AntorenCAn Co                                      4/27,4017 33101II141/         (0111/ COOP .121 0111100'        713,27.023/97                           41/L;0/2=-
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 712,53                                                                             5/177231? 1118151             (10-41 917,723.710n7             (/02/2111/0011                          12f
 71/32                Treece, Che,olor1LC.                       11                 1/28/2547 ELNA                CCAP 713 4,0511122               0/7212205 501
 71n2                 17,920 .72o53-olot L.L.0                                      0011/201? 51574143/5A13       A1i102:2122:31,01'2P             7513/5371/ 00,1,2                         ,80/1fA5
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 77951                                    LLC                                       5128/21287 11:5742            7(220020' 1111.15510             0(73(2275/ 25,12                        15/10;2.81/
 71251                 2,lercier, 54.75493.23 1 200010005                           3,47/2417 51257               NALL Cf031 1/02 40111.51         7/31/2415 C210                           13/1(21.24
 77251                              Aut,,,ol,c-                                     5/20(.1117 E515,                     CO25                      7/73(711.1 NoS                          1118/2711
 71231                ,
                      i 2,5a,tcr•                                                   1(0112117 355,57.             1:025    AWL:Y.:A%               34/523113 52A1                         174112914
 70135                1i0000.1.101,                                                 71/274.117 511-071.1121       35.1 CORP 11410115335            7/130721.5 NeS                         18/11/2711
 71237                SACK RENEL23101:555 1110 CO                                   512712117 IONA?               1,055 :113 ANAL ?1,25,           745/271.5 570                          1741121115
 77250                Pianscoron                                                    3127,4157 :1333-7171793       355050132 r.;1011M:7             5,ilmizoA%; 101                         31/0/233E
751152                211,8   -181 4.13111
                                         ;5,4                                      2127/2317 505,171?0.3                                           5/32/2711 H2.1                         814272214
7811E,                3:17C 5EN0151S 1,05/0 0: CC,                                 3/11,497 1219.311,1            1611.71.Y22                      512012151 I1531                        11/12/25111
751132                2),d,s Chvi":4,2 :2C                                         141/2317 ERLICAnn              C75C.401                         5/34/2715 07,1                         114172215
279,55                      VI.A501P.VAU1C1135                                     5/18,4117 51051511C733.        L1148175 025113                  1/1212514 1158                            345/211C
71152                            721M1V              C:: 11,                       1i71/2172 E1ECEn4243                               01112CLL     5/21/25112 021                          '11/1:2:102
73755                 1137,99.51,190:0100                                            513(2511 E1/5:E0E5:35        7,5535055775AL5511541            41714155 NAG                            71/5/257C
71231                           ,,o2ko,r,:0;,,, Co              1)                   814/2111 EXECF.332232        5.339.u1:55 SSE 518-125.57       4/21,(7315 (0224                        11,5212212
113115                                           2:00011'00 P   02                   9/517917 914018011051        7575111111 1,11(121 10           A/25,2,7.16 iiAs                        7815/717S
79251                                                                                8/5/2781 EXE.C504235;        105.795.85312-E1401/NC.20,       912112.31G                              08/312212
77598                 0101 ,,:CRL,
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                                 , Actc 2577.2:001,0                                91/0(2917 913;754/553.7       2245350,,,
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72131                                CHW                                           7i1;28.2.1 555CAPA015PLE       (75 (0100'-S 121:225E000         1/10/2715 321                          20/02,02501
77412                 Contoo 6520:943193 Co LLC.                                   3,4112917 51?-741127.C5AC                                       3,41,4111 1146                         17/82/2.511/
79209                 r485:3;72(1:0,10:0 1:000(0:0               L1                2124/2317 1./CCP401110         0-317 5111.1 1/                  5/13/2811 C:51,                        114 77208,5
75211                 GNeLoneti5,cortotHe 17;;                                     2124/2117 531,111851554:1C1    71(10/11,11,010                  341/2111 11116                         12       211..s
7:1281;               CroOrteeN onLoroncjo,                     It                 2124M1.1 19CAU105.5153150      (431.1-15,01:80                  3/1/1/23822-714                          11/7/141.136
    c!7               Cicy C.Novrel725.54945oSvo C9             571                2/2553117 5IM5551750ACK          3-50115C11114-                 2404915 i11,5                          11.7/85,4715
7,1035                FAA 21123378 575E-4 171713 co             It                 8/14/2117 450713,31155.5PLE    75,344595037 L715.1355171117     5111/2011 RAC,                         78/12e,2
                                                                                                                                                                                                 ,52
70295                 01111445231037S17351 012230(0                                34153217 34141171011 S7        AUTXENTICOM                      3404115 NAG
72235                 M0LI5n3c1 M:NorDerlo1;97,397571.4                            1,02//2122                     100 7011                         1,-/2417216 820
754571                13;31.2.731:(9.4conotHe Co                                   l/21!2:10,011175'451           101(001                          2122/211                               8118-453.712
70240                 81;93,3o5 5917,07, Co                                        212,7:2,2-.12 7.091,3377                                        21;061211 051:-.                       21115i2571N
7515e                 MoroLeo3 Motc;n541e. fovnctor, LP                            1(27775107 017,71.1174         F)f1(E11                         212612,)11 1901,                       81/22(4713
70534                 110102111'o At200?'1101:11 CO LA                             :2421/22172 1511,0114          EX;XEYE                          2/21/2116 45.1                         22.1173i2113
75214                 14014010 1,210' 1210001,0:11                                  1/7712517 511/11.205          111(001                          2/21.2411 1:0,0                        210,0 2//215
71253                 r20105751011:0001002£ CO                                      4/21/21112 12331747-5113.72   1/5.51-101.5.2112115,5:C PE       218/21/11205.0                         I 0/1:2111
12214                 105421.5.114 AL15-05,1/1 FRCS COLA                           1772/2077" 5710:CF(1213?       12511405.31 71:35,C4193 RE        2/9/2018 r:::2,                        11iV;i:115
7174851               5007031314124.5 59730 :000: 13                                1713,17C; 74037044112         20(0(01011(00                     718 10 157                            351111,/2-11p,
771732                0r7522cro Chnv323r1LC                                        CISS/I1257 515717177112        02,           012
                                                                                                                                  2455:81,1 RE      2/552011 L00N1                         11/1/2334
751%2                 C-Lty          o•     Co                                     5/2712117 3141121-1.3          EXECEY0                           71352E19 0117                         1211.72,
                                                                                                                                                                                                 21£
79152                                                                              1./17,41.157 51117157713       (0407472411°C D19-CANI:           2191,71188 5451                       1.1/12r,1:112
                      C58- 9723,5o5.t ALLComotive Cu                               1/27/771; 12390114             EXFICE{E                          218/2514 NAG                          1/ AVMS E.
                      PCs:579N, 5.:Lrocoecive Co                                    5/2;2137 531113:73            13,517915                                                               11;12;2112
C4818                 1S 101:/c.':As27at2,                                         5/21,4717 1311:4(880714.3755   13153 }103115545,2             11128,01/14 8111 101:15                  12/11;2,)11
68172                 .7j1 M,ViiitHEFF                                             ('73/25171201122               ED313273                        )/2112C1:1 '21-                         11V14[1116
54113                     F MANNliFfvli:NTSERii:CES ENC                            5/23/2717 174;1112             1715/10                         4/17l0.                                 11137/7111
11412                 1.; 1 M200AEW:MFA00T10E2                                     005/24220204224                0183118                         2/2412C,:.>                              Vni1.02,  3
11528                 PeIMSiSS rvi4,7 70tirA S;,.;84RU, LLC                        4/23/E113 551+117071           4.180811111                    13/75/772;71 5710311:45-3
                                                                                                                                                                        ,  504.10         11111/2411
 4.7.123              n41250:12 M:Ni4ETC?? 0,1•:::E•Ar,u, LV                       5, 13-3/7375,71:13             91155                          3172;71-41714 M041711;1301313,           2.1/12,01224
 C117.1               0A0013701741111011713551,SO8585, RC                          1/21112213 3.'ZrA;)2511        RESALE-51                      11,522171513 1,lO1KLES-1M PORTS          11M12011
;575.15C              51134155 44:71151-CLNKC 511113171. LLC                       5,",'4/10'10'.:017510123       711;1510:91                      0i35/2012 14010:117152-4 313           01/11/7211
CI325                 1704,31E2 81i85;11013151; 3128535, LIC                       1/22/121i 1000147              TEST                           1147/2915 A1010:47-35450321              11.;VV2115
822,20                E10243115 5771101525-251559091, LIC       11                .S122i2W.7                                       ERKVS          4127/2811/ :921331C17-1571112:111       1 2/12i.1224
C162.1                NIORSISS :ONNF:.TONKA S,j8050, LIC        11                 1/22/1357 TREHAF               52111" PAIN,                    ,0/2712015 110985:52-25490991;          17/111211S
172,22                EINSP.:53             184108,1.11                                      ANN:FER2             022187' IE50,I175               4/27/2711 C;31321,115717313.117         71(11011N
9142e                 SIORNES 037233710131553123,1313, IC                          512312117 1317;31              11/ 1123 208505                 ri,47/21151 17.123LES-1,
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                                                                                                                                                                         2 79:55          37/171,1515




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                                                                          Ex. 35, p. 154 of 165
Uyotccn 8t0Inbal   System '818845                               Ccon1,-n 8578/22i1,c 0812 th-,A5 IS               115-48 142100                      /860e8 1510 28,351862                   1:5,1 1607
                   1510211101 15111322FINNKASLI33,86, iLC       Li              54202217./ Af112C.                R.L: 3428 5015:201n-1                 4127,126115 0501181151315,58135       717117/5158
3162,
    3              150222101ES h4:171111562000 51.011.3551,a1                   .5/1312911 1152112511             5110:39, NIGNIT WRITER                 4/1/2115 1,4013111ES-1M3C323         11212/41:5
18173              ;AXXXXXXXX                                  I)              5/511/217.1                       IT 5111,1231S                          1124/21114 1550.55-850351315         11,115/2551
21713              !A 3.1!".!4.4 :021                                           5/2113017 ;38;58E12571115         1110 0881033S                          814/2014 E81111-5507115125           11211/2115
61122              3:9;:818;11221,1.1IC. UcIclilo 11.11                         5/2612112 153113,12n              1,Ul'c'S'IM(lr 100_11141/111          3/1013111 CAEN/61,1217•Ta/CT,5         11/522111
31205              8:351:,4 -55815211 :41                                       31/4/1117 9511128812.A15          V-P.157 PijSr:Ce.R1 1.111             12/3/2015 11,233                      112122/2112
0885?              Acc0156 440:42,::215,7 Lk!!dp, 41C           LI              2/2522112 003..iP7v2Kp2-          07113:, AUTO 111261.11                6/23172175 PAG                        11,112/2016
312/7              81•L,',0;14 Icc'c"l IA 31C.                                  0/19/2017 9,70853,1118144L        2-10517 V:M18n11                      1/1222016 361                         1121112112
61551                      4,1,1L:15:co:p1,71                                   2111/2.221102111111                /116 1.11/31 ADV00. 1                1/2112115 PASS                        11312/2516
11.585             LL 1x'o 11 11100 1432                                        2/1812:11i 1.01351AS1C:323N6      53406 4151c, 88.35113;880             /131/2013 PAC                         11;12/2112
58857              0015100 N.:COLN:6
                                  ,  ,           7AC            12              2125/1112 '7031058:12,3T          1"17418,31.1151151011k1               8/121/21.15 PACS                      1111212115
85585              rncLX 1l4L,101:3,:11,49 141                                   212/2017 2551113;13121           5-551 551851710                        3/8/2014 52%6                        11/11/2115
11508              P80356 A/115,511180 6; 1.1;I 101             II               5/222112 1.2402/12,20,/          /112 112C/11111                        3/5/3111 PAG                         11111/2111
14144              18,571.8 60701101820 1,000, 81:                              5/12/2017 24545:11211             184318 1.81851,1121'111155            1152/2015 0151                        11110/2115
54144              Penske A/tem/655G/ 006, ;cc                  II              5112/2117 0/181111,53             3,181111. 1.1661,141111041             P.*:;2117  AG                        1711112115
61213              ATLANTA TOYOTA :NC                                           2/58/20;7 1 3153l1511C            5,LL'414111'i,IIIL 11100              5131/2015 15515                       11/12/2112
11014              380380 A5,16457115,1,1438, 111:                               51/123135.7 2.5817331/331111     1,10711351110 M0S7,2261,114,
                                                                                                                                             2          7/31/2175. 0514                       11/1112115,
0581               17115008 13,702.587,111                      12              5/28/217/ 142110501,12126         v-Au        F,12 ,
                                                                                                                                   t,1,3712.W           2/2812115 1511                        ;1352/2012
58011              CIsssic 0:01 105172K151102ck LT11                            4/34/1512 212/31887/113,11        12 ISO C,18:014E2/                    2/2112013 8171                         711/11118
612117             1-0825.8 AO:0856E08 11002, III               Li              4/15/2111 301MASTER8IND                            1I1117£3;,
                                                                                                                                            ,INC:       2/7112015 5415                        ;1212/2111
315173               1858L. ,130588,531,11,1                    11              112511117 2110ASTER3IND           if 1110 AUTO 3113STER1,1              7115/2010 0117                         '12/21110
341562             Clccsic Auto 11/rc470 EN,                                    6/55/1112 15511.812               7-12531 TE,73,1 VELC81TY              5/23,124115 MG                        11112/21117
307212             Classic Rctc, 113,0p1;10                                     21/5/2117 2172121;;11101117221)   V -I/UAL:TO 341cSTER1I                581/2011 2551                         17212/2118
512105             12c:11,1774/ Groonio,                        1.4             2121/2112 32:8;4135AM A/          5/60:032752 M437118335/1,1            1/5112115 113,G1                      71/1212015
1112116            ATLANTA 1(261 Ii' 1010                                       512811/12 9801,2014128711;        - 87;11 A1;111) MASI-2W                5/1/2015 8151                        17;15/2115
81203              2T1.131517.1172011/1 3711                    Li              51:15/215.2 1124810.3131121115  V-Ald ,3.,!"!13 N1/1.51-E4%1Na          4/1112015 PAG                         111121205
530127             F757.2207Ant75-212,188 5/050, Inc                             12512112 31123214823114180                                             1/23/2015 12151                       17212/2115
61263              X11.1/2134 10/015 041                                         7710/285,1 1416.12,5130311,111                                         4/1512015 PAG                         1111117615
156580             41 2,7,289,072,-.52.5108 11.1                                5125/2111 2861.1451 E18/61 21P.11U A111,4,2,3T3 n 811;8                 1/2522011 15617                       1/252,12/10
58551              1518321c Cas 1'110141,1 '552,5,11527                         3,115/115.2 315M5110411         :16115 CP 155118118                     3/2112115 PAG                         11112112655
1,5887             Cl6s8:: 10117 0001 38/3 11702 51133                          3118/2117 14634582.1ATA         5-Al1U K17, C113031E1 1A                1/15/2015 25825                       11;12,122712
5121,3             ATLANTA 100014                                               11215/211.7 I.11TRAP/2            41 4115 15,21.71113121                3/1112115 PAG                         721,12/.2H,
                                                                                                                                                                                                        ;
81115              521.131118TOYGTA ;Pfc.                                       2/28/7111441164511.                       4N!L6L 2111201                1/11/501.5 3705                       10/13/2016
62203              571514761 73741042'                                          2/21771027 ‘:/,
                                                                                              ! 1411L-1A111,.     51 4121101101 117,05172.:             3211/2025 0123                        1111212114
60302                     Acto 607041 Sc                        U               112E/2112 5555825E25              1-6111 11611;0541011                  3/71/5015 02/3                        1112312112
61552              211 -,/,- 111.4,1 1;;5761.-8:                                2222/2517 318141/12               1 1 5,80 15214 ,111.181:
                                                                                                                  3                                     5
                                                                                                                                                        . ;5112021 0Al                        11112,1405E;
50592              C16271; A0c0 61,11,4 83:                                     2/28/2117 .341 1111001;           `1523.11 0/2C1857,4 111111            5111/2015 8;03                        11;51/2/1S
58551                         /1427.; nom .8140186,551:50                       3/11/2117 427112E;C515                /32/52,811181151104111.           5/11,11175 0140                       1111212115
5E887              43!!!!.75,' 33/581'10200 1.201141, Inc                       22,18/2117 3070111111             5-5161 10121 14(80,8151505            3/7812015 5;26                        11/31/2112
61558              804100 5,71635,36,,,2 185,5n :no             5               2,12.112557 51,AuT/ENT1C1         51 20117 cAp5 11144110                3/711/21111 0513                      11;1222115
015525             07.283,,25.2055-8,177,8 1.1,6044 183                         2/207/2117 77A1125283111110          -,114 Ii 1,1413 11711E:31,41:      317112015 PAC                         11/2212112
51551              2808818 1100/A1215;•                         5               2/21,52112 15115.5110011131         1/1511 OIILIcLIIL,1218              o,4012IL25, 05N                       1111212110
271887             84/705 32281roiliv0 Cre4p. 85:                               8225/2117 3'721o1'S71118217444       • A...;01W131 :‘102FEFM             5/112116 5248                        11121/24116
51512              1230351c Aut0 22;00p 1:1;                    5                51112117 31 11211,51555111110             5::131 121545:314401          31412173 0105                        1111212115
01592              140008 6010 Group 1110                                       1/25/2117 7835/1725  21M311         At.t:_.    :
                                                                                                                               ,,1‘,1+1157188:,
                                                                                                                                              ,4r.       3/112111 51/8                        11/13/211G
65203              ATLANTA` TOYOTA 1N121                        5               8122/2017 8511.1.5312811111       51 4111151110 1,2882588711             9/4/2.1221 01713                     1111112.115
5(891              CE25510 CiA'S Por.t111,11
                                          .1,521P ;211                          5/25/2115 2/A101E118V             11/1011, ON 1222312511                 5/1124115 1,36,                       111912111
128322             80371, 2511610526,12/1511,                                   8/1512117 313.P1433-3581121          40:1411133 Lil8Sl 31111111:        2/171/175 0510                        11112121110
51283,7            138285 30/558etiv7.14-60p.                                   8/25/2117 314PA11TS1552.2         7-8111.11,112281518 80                2/71,12615 156                        71/1212615
2151213            C1-555!,46.0.!3A3Up                                          512731211; 1325A8TSETEI             AUU PARTSEVE                        2,51122/23 8112                       11;1212156
.51592             023281021e Grocp 100                                         8/25/2117 1.511A221,35111         7-5111 50071051444                    2/7522115 12/5                        11212/2112
58182              12005001572.6r4otive ,1/
                                          2 500,18,             II              612512117 3141241225155251        8•1115111 FART581118                   115/2111 041                         17115/2116
80604              1,28,5ke A:2;501ot/,116022 In,                               3/28/211:17 45135505125152        V-4118 S1,31512 FARTS                  112112015 12,228-                    11/51/2111
51344              0/2325c1; Mote/ 11282 17,                    II              V2112117 /1.02E•1111              51551,261 1183161                     7112/1074 PICT8113C.8310110111        17112/1116
01550              cc Irnorts, Inc                              U               8/20/2117 1000111117              GUNTON 1581212 127                   12/73,12015 11211.1 11 1650            22612/5011
7,2730             511 8424,2, inc                                              5,121121:7 3113032/150            31;51715:2AT 111                     12117/1113 8181411112112111            1711212110
01504                  1580/21,8, /8c                                           1120/2117 108011111               CAHY 1/40010103                      12/7312015 4481111110110               7.1112/2015
1188,3             211 8480872, Inc                             11              5/21/2511511.01/1241              4112E-K vErp/A-rin                   12213/2073 81612-11/111111             17/12/11:0
01504              cc 1111028-13, 1/0                                           8126/8117 52E141125               ALL3E 2E0A7 125                      12/1312615 811151;;THER                11/12/20122
020212             51 88:7,27, Inc                                              V21121117 0,118.125103.           A:.14 5104T 202                      12/13/2013 8121,5831112111             17212/2118
81588              31. 87:86,53, 180                                            5/Z8/207,2 3/5251,1,11.14         12y37116 vER.6.7 514                 12/13,12013 121511•1;r1803             11/1212011
81180              211 88217277, Inc                                            512112151 012512/21551                        51RAT 291                12/13/2013 81:355-12111213             17111/2116
61518              1/. 1$,26,-13, Icc                                             /0/2012 1VFRAT102
                                                                                ./.                               :73 1!i:1157 182                     12/1312113 16.1111-1110E0              11/12/2018
11580              81 Imparts, Inc                                              0/21/3011 IvE0AT2117              '12514115271103 V.:3;,-TI            12/13/2413 210555-13611283             17;17/2118
61538              Ii 1,1•211,52, 1cc                           IL              8220/2112 8/1101121               165102' 760121121                    1211312113 21112.5•LUT1118             11112/2558
81881,             81105:201128 rd                              II              5121/111i 81,88151132             3511823 02022 172                    12/15/2113 3115,51 51711E5             17211/1115
815718                           Icc                            11              1•121/81/' 032128,51123           151115 61511 123                     12/13/2111 16215-11517118              021111/2615
87888              414,   40111, Inc                            11              5/2111112 1.411/57164             1154 VERAT 118                       12/13/2013 311555-1.221231             17;12/2/15
51061              01 1,1001023, 1/8                                            :726/5201.2 41/11141110           1514121 0(211 111                    13/1313113 227024.:fixER               51/1522615
67585              UI invort,, Inc                              It              5121/1112 11253K5184              3.211AN VER;21 114                   12/17/2013 RUDY-L,_,Ti E0              17212/2110
51563              011151,71o52,112.2                                           1226/5052 3V21107107              !I1121 012111 111                    12/1312087 2007-LuThER                 11/12/2615
873;11                           7127                           :71                       f7/F04AT1I73            CASEY 1  1 013.1101                  12/17;2013 5UD0-LL,TiiE0               17;51/2110
61063              1:11Motc,27, 111                                             S/W/2027 1fv6:3,71171             xemB 2,51165,121                     12/13/2133   D'i-LUMER                 111121261.6
52558              5;1214;3027, 1112                                            7120/2011 A1E1,,33-725            51311.
                                                                                                                       1 11842120                      12121/2013 RUDY 3271E3                 11;52/2116
51063              11' MccclI 111'.                             L.!             0120/205.7 16250,A1171.5          11,1127EN VE8A.I110                  11/133135 11512-111111111              11/11/2615
                                                                                5/211/2117 8:A882111S                   V01P2,103                      12/33/2013 3110-1/182313               11;12/2112
01559              5222 81:17727,1311
61583              5:21.111011.11,1122                                          1711221110 01584:170              c10,:111L 1001/1212                  12/13/2175 111312-112711110            11112/2515
                                                                                5/21/2117 NV 11,3,111111          509246 055251 118                    12133/2013 11185-1;31/31               11;51/1112
55585              5212,24:157,8, 1121
01083              111 M!):C!!!, 111'                                           1712/2111.713116,11403            1.51/111 VERAT 114                   12/1312113 11508-1.1111158             1111512511
51536              11 2124:44,,,I.1                                             5/21/211 7 To'F.,
                                                                                                AT124             117.611 121/5; 154                   12133/2013 301Y-1.511/30               11;12/2112
81583              5T15 31.716/8 111                            II              81101207.7 1515617111             ,81,11-1 1210111 116586ST            12/1312117 0.1214-12110,18             111113/2515
51189               :
                   522                                                          212.12/2117 8618831,12111         111115,111.1 4161/11 114             12113/2013 7015.11-1188;60             11;12/2112
51583              5TC 31.11011, 11C                            IL              512112517 015852101               140/041 712                          12/131211) 1110),+-11;1F,E1i           1,112/2515
227185             511MLII ILcI, :112.                                          5/2//211i /:1 512211,51           6115571571 v81381735                 12153/2013 311171-1;88;83              11211/2118
21588                            31.12                                          1p1/2112 1202001170               4811810/ 7240y/ 120                  12/13/2013 1:1171-1.1:TX1R             11112/2515
5135%                  M.,1,,,, 133:                                            5;20/2117 175E1A1221                    !•;51/10-,011' 173             75/53/2013 31352Y-1288;ER               1112/2'316
51563              STC:81.11012, 3113                                           5/207261.7 35012111115            L0:01/ ,1:41'107                     12/13/2122 R1071-1U73721               111112.2115
5718%                           :If:                                            5/2/12117 1704821115                   VFP.A; 115                      72/53/2013 1115 , 1-12318;33           11212/2116
52531              3321:815 51176 Id .                                          5121/2557 8316117217/             VN51C01:P. VF9,/,;                    51/2/2140 AL/12-1122K/                11111225111
57585              512 81<,Wrs,                                                 5/20/2111 001$E8,52735            W1-1,111&Y VEKPX 531                  1130/2014 415113L11158311             11212/2110
21585              811012;517,, 111,                                            512112617 407,1250713.            4/11:1110 53041 1213                  3/31,1211,4 11/11-11111131            11,111/2515
8731.5             51.1550orts,                                                 ,;- 120/71117 1121218T745         Cl/11111 111007 24 1                  1/13/2015 01155-1L1721327             11112/7116
21585              8; 124A;577„ lid                             II              5121/20511 11,8115113.1           216 W./Ay 13/,                        7113111571 AU:_,‘-L:1114E8            15111/2518




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                                                                      Ex. 35, p. 155 of 165
  Svsi xAt PI:mlbar•    Srtiere Narne                             ,;:o4n5re Esonsetion to* 3S01            52551 ?Fame                AdPed 0115. Templets.              :AM logic
  E153, 3               STC 7,1utors, LLC                                         5/21/2317 37,E315141      MAN VFW 14S                  2/2 1/2625 RUPY-tt:THR             11/112016
  62134                  L L. Oann Road :LC                                       5120/2417 0641144        ERiX 9E041 144                7/10/2035 5570v3.:31NE5           11/22/2915
  57034                   1 Sienn Reed Eif                                        5/25.1202770994113.13    MASON 192                     7/12/2011 81.307•:::71E3          11;12/2086
  61530                 375 ?Actors, LLC                                         S;20/2017 52E4K:135       YES 7/21347 130               7/212.013 121354 .•.• E •         11/11/2914
  5153D                 SIC rslotors, LLE                                        5/21/2017 0:SW142         CURIN VERN1342                7/13/3015 NUOTINTNR              11/12;2010
 .52134                 LI Mann AoeP III                                         5120/2017 AVERAT140       #3044 91,1142,115             4/10/2025 F11104-6,•-9           11/12/2318
  32014                 0 ..G7enn
                          .        Read LEE                                      6/23/201727091177125      ZACH VENNI"in                 4/16P515 KIJOYANTNER             11/1212115
 .51333                 5chetupburp Toyota Inc                                   .3/1312017 DEALLOG        NEAL Wri 1,1211               8.1211/2014 SENALIMIRINE.        11/11/2918
  75334                 Lircheugh ?Actors, Ins                                     5/5/2017 5E72040        5E0035                       12/0/1915 SET                     11112/2034
  50247                 5:ekes ?Actor,:us                                        2/274917 SMJATA           EETOMA                      12/211/2513 57,1                   11131/ .2918
  51433                 REINHARDT ?MGT005                                        4/15/28171112237          551 1101.53                 21715/2015 SET                     13/12/103E
  E1444                 WYE:INC                                                  2/25/2017 3E113.17        OINffAl 1411101751E0373     11,14/2012 SEr                     3.1t11/2418
  71344                 Elena7 luterprs. tAt                                     3/13/20171(023711         US5023.6.4532134            11110/2015 5E1                     11/11;2020
  70210                 ADE cf Peoamo Dl: Sc:                                    2/1212017 SE13.1.74       40:19,E00E TOYOTA             11/11/.1110517                   17./11/2416
  611.34                MENIORIAENIEffEAS NO                                     311811037 1071234         SEI 01213                     11/9/05.15190.                   11/12/211E
  5212.0                Liberty 6701, l .xs IS                                     8/5/.2917 52:10528      59.T11. 40124                 1228/2116 SET                    11/22/2415
  71356                 2533325                                                  3/18/20.57 0(r17155      157                            11/6/2015 5E0                    11/12/201E
 70044                  Getzei koirAuAs,s                                        5/33/2017 5E17222         ONNTAE MOTOR                  11/5/2215 SET                    311:0P018
  71344                 Gettel Sutereuse ac                                      8/25/252255151155         2737962.700705                11/5/2015 SET                    11/11/2526
 70015                  SpR:NEW.I. At:TOMO:WE INC                                3/:15/2417 NErartS        50312141151100011            11/1/2315367                      13/121231
  n73e2                 TOO 474ucs7014,115:                                      3/13;2117 5E12426         DWI P.                       13/5/2615137                      11/16/2136
 70239                  5572.0 50S7 tvlirEfop 04L65:NC                           7.1     57 5117227        715E                         11/4/2115 SET                     1:,.,j17i2a.S
  N;Sr:S                ;;OUJ5A 1N5                                              3/1312127 601134          .2:15 QLOSAL                 11/2i2914 SET                     11/12/2116
  7003E                 s,„voops 00,;, 2  :25 DC                                 3/15/%017 7/17371         271511 fyl,DTQRW0055         11/31415 SET                      11110/2316
  UUEE                  Tat.% Co:emotive,LE                                      3413/211 i 17077734       0416                        21/25/235339.7                     11/12/2116
  701SE                 0315      068555275517 CD                                1/13i1.57.7 0371525X,    TOYOTA 0W                    14/15/21.13 SFr                    11;12/2016
  237340               cw,g S G.., cc                                            0/11/2117 0E1151,  4     SET                          53/13/2213 SF.T                    11/12/2016
 10.333                Suotilem Automotive Enterprises, L1.5                    0/20/2017 TOYOTA           EWE                          3.04/2013 SFr                     11/12/201E
 E1.316                ARUNGTCM ME,TEM LEPAPANY INC                             2/211/2317 SETVATA         DIME                         18/2/2413 SET                     11/1212716
 74132                 Traders aswo,   .., LCC                                  3/12/2617 TCRNSETDA ??,   SET STAR PARIS                9121/2039 SS                      11/11:2414
  74023                Erete Pelmer. Ca                                         3/10017 870E1236           NNE ACCE.UNT                 92/24/2015 SET                    11/12/232E
 55372                 Cassie/ Mc:or SoiesIrc                                   2/27t3417 570E2320        EVE                           3/03/232 01 5.22                  11e11/2o16
 71234                 FiteAda West Cuss: Atomethte LLC                         3/51/221751211517142      sET                           9/151/5210311                       15/7/2016
 55361                 2741 Nudsoo C5,of 1.ANi nebso,                            4/5/241.7 5E13119        TOYOTA                          9/5/211E SEf                    1142/2016
  7W07                 '17135 97317:                                            3/23/2117 SEMATA          3:71:7,11.                    0/21/:414 SST                     11/12/201E
 %;11(14               NUMERAL MOTORS INE                                       2;2E/2317 5E1017741       1(1131291                     8/11/1013 521(                    11/12/2316
  1W7.1                   73557 5177 At2t        iVR,                           0/13/1827561546.57 !
                                                                                                   ,      51185.0A.01                   9. ../,!01.3 SET                  11/12;2713
 55130                 5te1iurr. as                                             2/28/56775610771          I515E063/149:                 SAWS, SFr                         11/12/2416
 71031                 Gestort CStia,'Cs,Ms                                     3/13/2017 CANS            INTELIPALINS-CARS             0/14/7.1175 SET                  11/18/2016
 70210                 ODE cf Paroome ary tr.                                   3f11/2917 TOMTA           135136014                     8/14;2115 501                       1117/2416
 13.752                Dave EdweESs,luc                                         3/13/231723151.57.5       SETZATA                       9114/1015 5E1                    11/12;201E
 75.021                Martin Car :-;gartc:,:g., IC                             3/15/23173310210.         I510E0.321:33                 8/14/2115 SOT                    11/25/2018
 78035                 Morrow Moto,S.,•Is Inc                                   3/13/231717731010975      7065124 *10                   0;14/2315 55"                    11/1212123
 70216                 Kennessw Metor Saies :cc                                 2/137/2017 sETUATA        0170410                       4/24/2035507                     11/12/2910
 71352                 Mid hlotees                                              3/13/2017 3ETEMT3         :562E09215NK                    11712613 SET                   11,110115111
 70246                 Corsi 5oriAgs 30*:1m                                     3/13/2117 041E2015        !WE NCTOY                       0i4t2110 Sn-                   12/13/2018
 71173                 5ine5,73 Iviutur                                         3/130037 25E7210          SF7 NA7,0                       6/5/7.013 537'                 11;1212013
 70221                 rsuikrese 730 37uto:rut0e,:IC                            5/13/2117 SETDATA         EWE                             6/5/2115 SC:-                  11/1212110
 703,18                PETER5ON Al,r1r;m0;•i7%.,   , 515                        3/13;2037 1F11,31A        157130513:49                    6/5i252 SET                    11/12MIE
 42140                 VadeA of Svie221252, ;,u;                                4/302017 851.1I1-8        5E3900.4                        EN2216 SET                     31A2/2010
 7.1605                Tr of Crs1S9rS                                           3/13;2037 15V1E1-214      1700                            1/5/2315 591                   11112;:202
 740E5                 R;s, MIRO: 0,1:9:01y. NS:                                2110/2017 3,,701,111      313707012 0515,              7/31/2012 SET                     311:242518
 70154                 StorEper Mone0e0em1; inc                                 3/13;2017 303972          30885                        7/11/2013 5E1'                    12/73N015
 70215                 Penuesov. IvIrA,5,1,Es toe                               2/10/2017 SET             SER:ThEA,  ..TTOMTA.         7/31/1015 SET                     13/22/211
 7:1523                9,0 1 7527370511757. !NC                                 3/1311011 SEINJA          1131E3875LI53                (/31/21513537                     11/12/20I5
70150                  EXPRESSevAv for;u;MCAAS, ;PIC                            3/13/8017 0E4E123.        5v1,,TEPA 2001               7/31/2225261                      11/11/2085
51203                  #7170'A 2V7.230 INC                                      2/28/2017 10.000AL1-      VAN aNS TOYOTA VSS           7,20/2014 SET                     .12112,1116
SIOSO                  Though: DC40.301i 21.::                                  2/2S/21.17 22E0412        1-/.10 MARK IMNGT            7125/2214 SET                       01/4/2330
014E0                  Tr;sosis 116,70,1 1:,                                    3/23/70:7 SID/A           VAIN 7,7537.170411. 9.5      1120/2014 SET                       13/3/2315
821:59                 T1:31109 ODMk.,                                          2/22/2217 541.:56         ,
                                                                                                          ,
                                                                                                          , ,E,IN 0/5551 fvlAil. EX    7/20/2314 SET                       3.1/5/232.5
 7:3237                KINN ;NI POKFS :NC                                       3;10/2017 SMW 1           I51753.43,15                 7/20/2013 SET                     ;.1/1217916
70283                  EICAP'S SALES INC                                        3/16/2017 140.101         70173101651.1                7/10,7823 SET                     22./17/2110.
70355                  DELUCA INC                                               3/15/23175930527035       5113759.675                  2/24/2.513537                     11112/7416
74135                  S WC,00S ligulsrepisar,                                  0153/201702.9,177,06145   KAMEN SODDEN                 7/25/2012362'                     12/1.212320
EASES                  ice PEA:he:es          Inc                               21.21/7017 SETPA:A        1E7DATA                      7/211/2014 SET                    11/12P016
74004                  126SIE12 IMEEISTS 44C.                                   0/13/2087 ISP":"ATC                                    7/28/2014 SET                     I2/15/2E12E
61.395                 fAXAITITAWYTIVE 70at,s,t,E70937118                       4/21P427 3E11431          ANT° PONT                    7/213/2318837                     81122/2516
70213                   RN, PAM 91 ASHEvILLE i245                               1/13/2807 1:4151204       D705/SET                     7/24;2015 SET                     11/13/241E
10170                  91411. SMEEN 70APe0693AENT MEC                           71122/7617 570E37.51      DME                          7/23/2913 SET                     11/11t2016
-/UnS                  7741 Teoromice Nissac inc                                2i53;253.7 WNW.           WEGNA                        7/23/1033 SET                       11N2515
E124A                  Sou.10 lre:                                              2/77/7917 :T01i7          INTECMAI1MK                  7/23/2413 SET                     3.1/11;2316
7. 5145                575 5.5517573::NC                                        5/13/2121 5751E1420m      3557E41 2103 41 PIP          7;22;2013 557                     11/1112174
                       M470MNI rviotcq,,,c;E lAvastors LP                       2/25/125/75011651234      I3TE0RAL1/7(                 7/24/2413 SET                     /1/12/2016
"it:a",t;              Moiyiaud McAufcvs:c investors LP                         1P3i2117 1457510032       1911E0301443                 7;20/2015 5E7                     11/12/2116
54247                  1e2,70o ;mos Automotive 0307521r., 1.5                   2/27/2417 0.14112:4       WE                           7/202411 SET                      12110/2016
 251.5.2               TKO 64I1-..7115, 115                                     6i13,12017 TOrilltS       M5014,  155                  7;1712015 !AT                     11/11/2111
71223                  823753.132'ford inc                                      5/23/2017 51117413        16 700064                    7/17/2315 SET                     11;31/2016
 N315                  COX MOTORS NC:MC                                         6i13/202.7 SETDATA        531                          7;17;2014 SET                     11/12/21215
70E36?                 NS S ACTANSFTiON COPP                                    3/13/2017551025113        SET                            7/233530.
                                                                                                                                       7/7                               12/12/2614
, 33EX                 35215127. 5119315700173* 301E5 NC                        2/13/2027 T7310022                                     7/17/2076537                      22/2.3/2013
1333.3E                A17E17073119EI, ,IANAGENIENTSERVICES,INC                 2/78f103.7 2115102031     8531870 5633                 3/57/2315512                      21;12/201*
 73555                 #=0107124 MANAGEMENT SERVICE-41W.                        7/24/2027528151230        EINEET MA,P., UPPESS         7/27/235559.1                     11/12/2118
77E310                 TNNIslo, Mmvr .Sses Inc                                  4/21/2517 5E73111         INTECRALINK                  2/56/2810.551                     11/11/201.5
5a51S                                                                           3/26/2117 SErr)474        SET                          8/20/2056 SET                     11/12/2115
47747                  720031.14 0160117(0 INC                                  2/73/2317 01432111        170E2015                     E/20/2011 SET                     11112/7.014
73500                  7519.11 CC                                               3/13/2127 773023162       TCMTA                        5;20./2456 SET                    52/12/2016
61475                  r.eNti,Amommi,e, LEC                                     2/13/0017 5E112370        srr DATA                     5/13/2014 SET                     11;12/2013
75318                  CitittS; UnkSrpr,,..                                     3/11/203717313264         MY iNTEOLAUNIE               6115?201.5 SET                    11/12/2116
721779                 :OPEN CRUMP AUTOMOTIVE INC                               2124,12017 5E101/1        SET                          3/38/2813161                      11/1212016
NE:17                  Massey Moto: Cue:pony                                     2/11/213739.10753        TOM & EWE                                                      11/12/2$16
                                                                                                                                       '7/1513316 89.7
75321                  FLOW MOTORS GE 1590E127/FLLE,115                         3/23/2317 5510474         331 5.21721                   1/2/2014 SFr                     11112:2016
31094                  01475 CC                                                 2/25/717777/21234         TOY VEN SURVEYS              4/22/2413 SET                     11/1.3/2016
55(70                  Kendae 01452 .2.5                                         5/6/2617 :5"202.25       CM CLCIOAL 61559             4/28/23141c31                     31112/2616




                                                                                                                                                                     CX4459-020




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                                                                        Ex. 35, p. 156 of 165
Nitors Stsmts6r   5464:36; Nords                                   Mmitr,/ EssempUrio 1343 Uspr                 Star 80,70.                       404541361E     1166/414to                          Last Evgin
                       :51‘                                                       2/84113017 DME                INTEGRALMIK                         4/173601S SET                                     3131212115
10979
                  1 18 (71             INC:                                            .,!717 5:Er21.,3,5
                                                                                   77161.                       SE-47214.719.                       0,34/24,5557                                     13,41332128
76622
                  ROITerT Uptos lor                                                  %1611.1:17 1(1.327:i       026 0164641                         4115/6011 SET                                    3131212110
70067
                                                                                     77141117 S,Ff91 , 317      SET                                 4116/2116 SET                                    1111212.668
76146               Ii0 ACIC,C0C4i,R9roup, SIC
                  066106 06160642 5,0                                                4,1./2e5,3:-:11313         1041)TA                             4/1216011 SET                                     .1f
741010
                                                                                     24,c2871 .47:117334        SETT 1414(15.4.                     411132114 SET                                    1117212148
713.81
                  7.:1)1)4:fft3M18ri0r1                                              3;4;241.7 3t17ieln         I14-8805116i cc                      437/7011 SET                                    51/12/3016
20410
                  Wml,r.qt Motco•             11C                                    W.612C17 8672465           17;Tra17,11:NK                        41732014 SET                                   14/12/2018
?6178
                  Stoke, Mptcos /4?                                                  415;240.7 5016S/266           11.1•10I4                          4;712016 SET                                   51342/3016
88247
                         Mot6/6.nc                                                   516/211 i 5611231          001-040114                            41112014 SET                                   1,113171428
51046
                  1 ri4o516 Into 176n:6: Inc                                         616/2617 50161 fr4         1.:1 T. 29.744                       3/22/2016 SET                                   51342/2616
61192
                                                                                     816/2817 461054            ISIASSI/441/6/6                      2/7932114 SET                                   1111312168
83005             MR A:ITC:MC-NA 4194:1408I4.05-011:7
                                                                                    311311447 571711e10         1y41007 7:m8 ICCIOc                  7/25/2015 SET                                   5.1362/3616
71510             P7F77,0::c1:,:w 0.40624 uss t'cc
                  525 A/T16:9016t, ;10                                              73/2012011 5001131                    ;;.)                                 7 11/O100-PARTSEVEiSiS)
                                                                                                                                                   12726,17115 2                                     1131612416
3000.6
                                                                                    3;1312017 10718111                                             12/20/2113 1619/702-54512E70/8/44                 11/177251/
78037
                  0,t0',.,C,C3L.t4sI/It 2,IN                                        111412017 41700154                                   v,$r,6    1158637914 56.1618920-P345SEA13(Si5/                133512415
71073
                                                                                                  ,
                                                                                    1;1712517 200142:            EPN                               4.1384/2110 SMARTC43-54578318,,,                   1511212016
92197             Y:1777',A1e.otnrs LI
                  C32,C2 imports Inc                                                9/2612017 4401478           :11,15 46/4/1766 rFet,             51,11.47702 SMi0.1.:70^18,8I54.'iC1S.S:'          11132/2015
01005
                  9?rdsil     i'2MiSK,                                              072512517 1'M-NE-80         640461116.1166-541E                1 1/14/2014 100.48100,4645:525Y96/Ed              11/1/1/2511
92127
                                                                                    9378/8017 0406141            WAN'                              14113/2014 861492-847-714510E4Er5012T             11311/2415
611/79            TSW:,
                   0' 1384000 96911131.6127                                         612672177 810428473         ,SisiBARII 01810 011'.             T 1/14/2815 %MAR r016-5,wm5yr                     11/1212141
465145
                  4/340sgs OhesirPIst             !CM                                814/21001 0805202          1-136415 EATITS F.YE                 13./7/2018 86269,11-57-09516F7ErS/0)            11312/2315
S9654
                  Nc4.165.6 Duier.C.sdi/ids                                         6/2672017 10541,404044      418081109.405                        1111;2614 06146 621344401E315/81S/.             1111212518
61216
                  045I I'N.5"' 0''0'.                              4;               93783391? 4E00416           6064 PAP-NI1- ST.                   16/26/2015 464,66-0052-66616041/SI44             11321/2518
12.024
                                      Icso
                          ',lcr',olc' 'c,c'frc                                      7/1112.657 81,00917         FARTS EYE                           10314/2611 116,185360./.14311.141E/818?           11/1212558
62115
                                                        ?nr                         4/.7fi207.7 Nd,w.3NAi2      ('cc('148°C                         11122/200' 16:434114,3-546110y0N64                1136/12815
61374
                  !CM       9/Tsyroiet 6436,, /PP                                   612V7S777 117451111)        SUDARU P9/3440                      10317/263.6 16146 T413. P41174410/018             11/1212518
46964
                  4346674I6 cc' "'0120$    GROUP;INC                                 4/2;7017 5L1551            t-wr,ARL)                           147.17111113 5414313111-3,73151(                  71352/201.0
61402
                                                                                    6127127A 7 13,M,C 32            045-0581I4                                        ,
                                                                                                                                                    113171713.3 1:614,81 20,PAIIISEYEASIS             15/1712119
711.45               1641, Cues:854, inC
                  TW                             'etc                                17;5,:371.3 I 51 .41175    815 001645 04905E10                13725/2113 6644116-M114.96186115/SI                31352.12016
7:nS2
C;1125                     74.7.52kRotent,                                          5c'24/24)1 807ARI121)       043440812 855A51                   1011532313 161481120.P515557E11NI                  1111412138
                   US CHF331   4/6110E.3094, ItIC                                   6/7433017 68410684          6.1T4 P73                          13/1E12015 5444810,26541T50.292/51/4               W1232010
58853
                  /140196                                          4.3              6120/2037 6000125           O/I844I3                           1011537313 26,14111-50 581475E2 E                  1511212010
C:7502
                                                                                    411532012 64,413104         6230/41406440-8                     71355/2015 SIUAR104-4-5911-605E/6/66              WY 236011
50382
11303             1:0W E1 r.;:
                             .73,7N                                                 6;26/2417 02,10684.         CH0.4.64 67:044.0                   13/1.032313 864/193-0-1C-PARTSE1-ErSIS            13316/2020
                                                                                    412,636.017 5531967         %MANTA)0694:897E                    1532842213 SMA87.888-5411-2565/13/8               1115E16016
0E151             5031-644 1/66,/064 Cn
                  Ent6:14; SITeProlsc 64;:a,                                        6;21/264 ? 45151:6U0        SUSA51.1 75852 /64/66E              11116/7613 5444,111-41.3;PAETSESEI,SIS            15/11/2054
E1171
5E918                                                                               412532012 5531917C0         ENIAPT00 g:gocc. 304                80/2813113 SIU487.882-5.4.11-5E62/.4/84
                  SEVILLE 5.446:606;61143N                         1/               0125/2017 SMAPT             6414611N 0091/18:10 LLC             11/1012625 862557120-PATITSEVE14iST               11/16/2036
56175
(                 1611,E964.? 4114-0$ SPOUP                        iJ               4125/3017 541130            151,441!';,1                        1536812113 SUIA070'245.4.1133EY6/8/8)             3.1,5237011
11129
                  F' 2,            AUTO S.ENT01 :NC                                 532632017 4IIIATIA00        554460 ZI6/6411                     11/16/2511 862.c457910-0A4INEVE?4:0)              11/11/2526
83;025
                  1$ud/burp114;;;Tvro/el. 441                      cc               6/2572012 595-NEYE          PAR16420 655,160                    10/66/2113 2E449TCE8-761-68EY9.8011               7114236011
00908
07725             T6s Erodot/t4 644Isr 0c6/6444-                                    131332017 ENEME             PRI:440                             11/16/2511 8616,5-9743-PM1S0?5/S:5)               11311/2616
                  1.46. Moto/ G,LM                                 13               IS/27/2017 SRIPT            1,6446100 • 1:,1V.7tt:              593181213.3 06440,403-334178EYE25/8)              21111232011
70609
                                                                                    G76732117 PENI11,14P        SM4AT7.17                           11/2612911 n:7A/1777'a7-PARTSi7i£SiS)             11/12/21)4
70786             VoRry:nr,d M.M.C.MCVCM ;:lVeccc,1)4°
                                                                   cc               1124/2017 59512738          140,17515                            r47.77,12013 5:1',A11101-04:1111M1:i'4           11/1136011
02532             ETerne SesucIries /Ps
                                                                                    5/26/2117 PAENSTIVES        14455710,0-1t?1,                    11;1121:7513 7,V,R1.10-P71,2TSTOS)                1131130514
411194            CciopeNion isopo66 ??Ts
                  ristrtom Automptivs, /or                         cc               8,825,01817 5/4917C2        14440.700-14/646tr                   5/1 4211.3 5,11,5917.11.-0,1271VEr,1*/           31/11./6011
62307
                                                                   41               2177/207 SNIAETCCI          Sh,I.:410117                                            3113-pA9T3yEss
                                                                                                                                                    11115/31:11 :177!/.7,                             11312/2514
82110                   E4.552,
                  GPIESuANT 4.51/80201FIT11 104/6173r65., 410      cc               8/25/1112 14/14.81120         03
                                                                                                                3i,  , 7,10                         39/66.33116 0645910497.41:41E; 5,.:,::,           11/1212016
08844
83290                                   ' Mc
                                  331) 17                          cc               0/7932117 5101AETCO         54/1967432 11110141 PRIM 0          11/1217915                                        11311/2914
                  lerder Nem-, EpIck int                           13               31E512137 SMARTCO           89448400                            15/14/2115 3111910?.,,14571015 1 1                11/1212011
;61732
                                                                   4?               01?9/211?4.454692-00        50,00850010:1201:1040                          ; 8444570.04-44946PINNIS)
                                                                                                                                                    1.118512.1).                                      1111132015
86597
                              SINUETO?149 8814511, 1.41            /3               812/512115 SU MI641         4004641 16441E. 5A? 146             50348/2116 064,111U7,75-74018018/814)             11112,12016
63470
                  cLEoc,A'v w PORTS, NC                            cc               017817817 8000417           PARTS EVE 545784                    1111217845 844462-00-4401SEYENS/                  1111132114
87546
7:11.c1202        UTUCIErr /61 PORTS NC                            cc               1151/2135 SMA070c3          4664N00 03561000 5.0                1031.512110 121,114100c- 114 1857418151           21/11/2016
                  Elert 936des 11561/m19; int                      cc               0178.37917 8000743          0481150". 12440::                   11111/7940 540451-8046412:5871;8?5/               1111132014
5005•'i-
                  13/errs Apto CrTy ins                            cc               8/3S/3112 3649.8700         161,481720 111114EN                 10315/261.0 5614,60133,6146 r46M6/8)              21/12/2016
1254005
                  Iieu14,646                                       4?               012637817 5000181           50176186                            14/1;1120'13 177%P.Ta7-P.RTS,176;S:3;             11142/2914
81507
                                                                   cj               0/26/2815 0481-15484        PAPTSEVE4                            147/533516 5644,1111-5,P.0                       11114/2016
613,11.
                                                                   4:                         8000090           0,951-656E                           12i9/25n1 04346180-9967597EN5/                   1111237014
57703             TRC/6004IIA AU70810161E 1101 E. INC
                  Utiorsr Crirsm:311on                                              0/27/2315 .144106/01        PAFITSPVE                            11/533616 56441111-95, I1.0YE/8/8                1111213016
7111S:7
                                                                                    617932917 1C01784           510557 00                            1110/7010 06T4F810.44-94425911/4:5;              11131/2,216
87146             Oortoiop MritarT, int
67266             Stop:mar/ Vri/6,4,36o..                                           6/8672137 059RN             TIMM EYE 84/245100                          :45214100c 011101111)111
                                                                                                                                                     16434361-                                        13711/2111
                  NM+, River 04;tiet Me;                                            6125/2017 8/11/192-0.0      SMARTCC? 2E416045 400                1016/2615                                        11/3132915
76664
                  PM:;C:iii:0 Subaru Ms                                              5/11/2072 SCI-39959        NON EYE                              11/618016 5646610a 541 01,015.04/11,             1111712075
11617
                  A46.4617 FORD NC                                                  617632011 6000824           54535 0,5                            101612013 6615670.4 ,   04/2114075/6/5)          11132/2914
                  64.2.47. 1,ICITC947; II211/419/                                   1/1572077 1816/191          2801'/5101 555416                    1647121/3 564651?4-6 746 I12116A1/14             11117/2115
0661R
n‘ys4-1           6:6062ME Mf171;RS MCC                                             612037017 6000626           03IC                                 1034121412 37714R771.11-508745'/ ;S:             44./3232124
                                                                   ?.;              6h512);;.Y                  93:813415                                           .
                                                                                                                                                     1414171613 :11,7:774:0., 1...% 7Sn'5.1;1:,       11/1712116
63.661
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54220              51 C1,,1-C,,, ::C.C„
                                                                                    01!24/2117',C(14132         (1,413 0,1                           1413171813 37,3,7177057.       11,044/1/81       17/17/2116
                  1.4,64ro 68P:sr-or 1110
                                                                                    6124/2017 8002896           pAun :WE                                                ,
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66772             6 04/6:49y. 4.610,80tIvo, 10;:
55152             6:6:14E 11/1;389.14P1                                             6126/2617 0C(30359          5151030508                           111511023 661417CO. rAPTSEYE,/66,:,              611117207k.
                                                                                    6126/2017 8002491           140931, 66125 EVE                    101312013 S74144-1136
                                                                                                                                                                        ,  P41476E-11/5:5)            11/c 247884
611.92            7660.913 ALM, CkrtC., ir•i:
                                                                                     6126/2677 St4F70167        01;925(1rE                           13/3/2013 86,2411-00,PAP NEYFASIS4               11/15/2116
11115             ScIslossmsrou1,66'6.6 8Iry Chrysler ;ear, :F7c
                                                                                     6126/2017 8106490           i;p 84614 Vet                       1876;2513 SM447141-0051ITE.71;6/125                   ,
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41511             6/06:mori PoUs?3
                                ,  34P,
                                                                                    6126/26/7 SCI28170          P00-11                               23/2/2653 1117461260,PAP TSESTASIE:i             11/31/2821,
65.744             4ouIs Tporn6684b6ro {Pc
                                                                   1/               6177/2017 8101500           008528,83491100 Trioy                133912015 51,444704-91.411-6E-41/145/            11;15!1:114
76072
                  6,6rq84463,164,                                                   4736/265.7 SCA20068         809 86145104)                        5/22512613 26,2411400,9481411Ei5044              11/17/2139
62461.
73536                SCMC8,                                                         0176/2117 0004520           1166,406 pe.p.-r EVE                 3/2912013 &12tAR70•11-P051SE70/1:3)              114137016

85311.            IMEER14: 'Oct 1)011', /                                           61-66/2117 6/2.8302s4,      01;54061:0                           3120120.53 7m457-00•143 41315E15177              4411)/2119
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01544             S5P6sts ;Sok Mr.
65558             AINENPUN 2(16,1.07                                                  616;2617 SCA79710         911916 EST:                          8/28/2611 116,245-300, E,691.68YF1405            13./17/2119
                  Nos,1416661,                                                       6139/2117 851642120        SMARTC0                              93271201.2 464,411-604
                                                                                                                                                                         ,  9967467EN5;               1..01/2015
617141
73551              93/4itrt.16r4rolor, 66:                                           51627263.7 II6046,661/     9961082E 004                         8/22/2613 1013,5100 0445705515077                11/15/2011
                   5PI17' 1114.4? 00,4,66101:4e Gr,ouP,                              6176/2117 401/1051                    -
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5807.8
                   L4310:113, 44?-093MUTP)9 ISSUii6,                                 6166/263.7 SCIA0158        sm;1510.11                           8/15/2614 smARTco-!W%',T.ST:YES,S)               4111712156
61412.
                   EIn0 aye,00,IT 6631.5, 64:                                        6126/2017 0002036          6.4018011 6447.84,541:113            6/1112815 5519.07EE-6?9.61-552'616/81            1111232916
73031
                                                                     ;                5/672117 10571111         S.44000644548.53                     8/10/2616 861617,:aiI,4975E5E5IS                 17/15/2014
11615              METRT-4164P426 IS, Nr.
                                                                                      1,.`2.7717817 3,10351.6   04811 115                             1,17/2815 044487006798-1-55147I ,               11/32/2916
73001             SIer/ Ayers 544Ts
                  646 Tem?,5ou4 ;I1C                                 ;              4. 1817/2117 3M(1171?1      SLIPUPS-IR SIUC                       3111261E 26,13411-4144,24655.45574,4)           11/17/2056
12466
                                    :CLC                                            612812017 6000506           24/6554/                             7317/2215 0814127032-04875040/614                1111132916
61631




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                                                                         Ex. 35, p. 157 of 165
 503,193033333::31,     Sy2144.
                              : 3133434                                  Co(D05 545:7303:5411.05, 53E4 IS                 (3553743533250               9.34,85,101    0015314033                            1.451 365.3,
 <1133                ;2,34 813(53 5143554,33711733o1 24d177. 042                      ;3,5251'3317 5E720351              5(577(50,                      7515/2057 5111,21(51-15514500,3437/                21/11/23,15
 n11(5                (.2.thC:3,17:53.353. 3.0                           O             742E/2117 1E0E233                  33356100                       1/53473354 5`3513T540-PART551111(1334              11.11712621
 577145               5420 5335,535323,1500.4523,, 12.0                  13            742E73517 131E3324                 555117155                       5,7212304 43,753037,3311420E363'4                 21/1142315
 53573                  WRIng0;;;, Che,;;;;,
                                           ,.To                          Ii             6423/2717 132E231                 63331150E                       5/13/2535 1.71/133.15.130P,33051511N3             15111/2655
 70451                  33575.1.55.0E80151011                            11             4/5772E57 3050173                 11455702 2151 70(1               5/5P.07.5 4141.50:70,0:0E0:7:0.74447)            II/12/2131G
 5051,3                 :4,70 53353:275C55opar,                          II             2/22/2017 15131.31                TOSS                             E:O/I:fne. 77440,1E1-9.5750553515                1141242311
 510854                 3331 47070707. 574537T, LTD                                     2/197261.7 30E0152                55745203                        7.726/7::755 4141.50(0.0,54 15558/136/            11151/2015
 51553                                 51,70,0 10                        11             5123/2357 7401055                 5A3T1 305 51,1317T 313                       574,457771-54575521/5153             11;712/2516
 7(45(                  5.11, Rom lo;                                   13               3/572557 515:16151               50750:1 P,1507 _"v',            3/22/2270, 613153130.35,31130E33114               10/1742315
 53157                  343350.554 51512335 Eors5p2717, inc             11              5123/2017 8503515                 53,371110.117317071135(        4123/5315 sm4R-rcr:•135173641113.137)              11132/2016
 721E:72                1:03:370/D, 117                                                  5/572E17 5(34735                 52.012 545                     0/7,.//731.5 571,43130-11.1171301.11,11)           11/12/133.5
 1151143                1175:313, Foreig31133.S9i14,2                                    571/2017 1014513                 20.501555                      4/21/5515 1E445100 .171,123.55513,51               01122/3516
 570,11,                6,531353or 5,4047170..14,                       5,              5/51/2617 5(05254                 35/135531                       444/2574 654731130-104511.3051313)                53/12/2335
 55535                  4,3a 15.05,053134                                               5/25/2317 5213341                 513 001.551                    3/2745214 SE1551701547375/571535,10                0112/2016
 35332                  5r..Rv3171571.3(07,7730                         Li              3125/2657 51611,3110              71150131533174531355 10 3.     2525/251.4 314214231-411751117151S3                1341242515
 72205                  0,5, Entorp(55,5,31,4                         11                5/2342317 55155141.               5331530 50 5.712311.55         .54251511.14 3/4451.07,-1351473315331315           1143273116
 62352                  87,340 53895515,- 373,0134                                      5423/2317 5002322                 (15.14313.107 5115114(51.      572372514 135.127531.0-05RTS5013315                11412/2515
 171127                 01370.3,35435 3555773515,31                   11                2/23/21317 5030101                51.5150,7E                     342.842214 35:1511(0.15,11115325151111             51/5273015
 33E73                  312132,314553075573,5333,41 33325 ,o,         LI                2,575/231.1 35033(2               005440 54533,22 545            244672315 3154355310-5151T3501;3:5                 10/332/2115
 533514                 11,11.pge113.40,1535551,31, :05               O                 2,728;2:317 551217E5:1            55171377112 52,577 E5E         3/2312215 281577C0.135,1153,3363...2,              31/1273116
 45552                  Oass09.610 Cr,::, 134                         73                 342/2317 12135:507317            21 531;1 541/551145 FA         2/16/2511 31,I21I1221-591173.:53531,1              13/25/2(15
 7154.5                 31151111311303.1.116301550 CAP 1313.                             6/512337 71001E0.                5541(351                        4/5/2516, 71511510-PAP'5570515,51                 11/5741E13
 15255                  1554330.4.33.34333P4 55,                                        21/5/2517 ('/1051434517           7745401.0 75734633.             315/2315 3541,317,553-PA411SP.3131,1              11/23/2315
 53651                  ,773,4i..5311:35.30,333. 53:1412 :os          11                2/27/71175(211745                 53133140                        34212513 38151.3100-117013E7E1770                 11111/1656
 .51213                 13/2,13,5360100                               o                 4/3170111(721.01:172              PART5E11                       2/45/2015 S331,151157311.-0,'7..1535473.116        11/52,17.315
 58601                  noksoo 4oto,311.3,5 53.3,3p 15o                                 2428/2317 337400,1                2131111 545311. 703            2/2412015 573357:360-PARTSEYP;5153                 35,731/2324
 13771                  112,33314537570,554 1753135 10.                                 5/717/2017 3303111:13             17,4521313 31.1514052          2711/2115 S31,1350575331455  .1354.536,6           10423/2001
 25524                  374524,313:335p A5543.0.533 LIT                                 3/24121337 613,51.55E41           375111150                       2/1111553 773/15T5.130-55333155.01E5115           32731/2615
 77332                  17454, 5.13
                                 ,  5414373.4.                                          5,57572017 5.1557400E343215.      100431 84011507               32/55/2114 11031E51015                              II/12/231G
 33225                 513303133,35 P451:385,1114,75353551.1                            2/22/21315 17 0075130,            31121(1(0515                  73417/21755 7103,375337115                          11/1272615
 61535                 73,5,31,3230.31,                               0,3               4/2573017 5173155530              370715 EAGLE 13,1A            11/33/2355 111.38552515                             II/22,72313
 7021,3                00.43,no1 7(033,341157 Co                      32                542512317 31011511045             51/1113 15.317                11/22/2535 51.327,3335701.                          15,112126535
79255                  7,144,8 5415,3,352,                                              3/2273717 5401351115.5            110131 15010                  21/51/2057 11331035,7ELE                            al/121201G
5899,                  3,56156o 31,335341(1 51113, Inc                                  5/7W2f..1. 111.55E4,152/.5        EALL ECM 7548(                13/1317235 74081328:                                1311(.41515
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152<7                  7'g3n1.01 443:345,31343 Co                                       4/257131.7 1735310,113            ST001 551357                   710,'0/7.05451111,5371111'                         II/124211E
 73153                 0:543,43317341.7343o1,54 Co                  '
                                                                    132                 4/2542117 835/317231              530180 32311                   55/1/2356 710,05541315                            11712/201P/
 153265                5533530 4,77000;,   )1,,,3.S,                                    412271227 1334.3071147            57101 E34L7                    131142E24 611114775011111                         21/173/2105
 73251                 1,34,3331130357501,05 07                      13                 4/24j2101705450:3357              510011570311                   5011/1501 110871430'                              11/1242318
757560                 5 . ,s41 53313/5831133531e                                       143777E1.7 17353540411           51101 15135                     83,71/2354 5I1111533,7,11.3                        51/12/2015
75773                  3377,7:300 /733743:2104 Co                                       4/22/21:11 307833,313            330735 523518                   153111'2310 510475-.45;                            114172518
 75150                 14113AS 13110 0:37075213155 CC LP                                 3,1572E1.1 1111CSTON5            XX-XXXXXXX:5                   17711/2100 41010.A(7:1E                           11113/1015
 7137E4                2741411. 311/13 735,13.17/11T31E CO LP                            5i0 51517 551300117              370535251                      11771/1715 .7,7013170,401                         01/12/2018
 503E2                 3o1c4/2 of 255333-E 146 5,46. 143                                502272517 10151P33552             575.3511501173                 912672537 6537333E/137:14                         1311247315
 52122                 3773118(25,314113/                            11                  5/3/311 77.71071<75             370715 19.315                   3/23/221(5 514353574715                           01/11/2111
 75270                 104131341 500535033111145 135 11              3                   13/3/257171142570816110         21535565:0                      9/10/21374 1/81183E/151.1                         13112/2735
25254                  745545 crry 777.751712500.1'                                      511.1n17 3411.5.10515501E       630511. 29012                   7/17/2514 3157435147:5                            11/3172111
75233                  140643 07115 4131.05.10T,713153 LP                                343/2011 115151730511755L5      syclvr                          :'/11/231374721010,15:.1                          13412/2555
2(0155                 <43155.1 0110 211112151.71517                                     3/6/2217 E.54..51-015E201E      3105315 5
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 15104,                561751042' 401051070,550 LP                                       345/231? 310510.8756135         75537 74135                     9/55i2,
                                                                                                                                                               )71 112575/61313                            13,0212515
27254                  4511543 32150 2,11345134477 50                                    5/3/11217 2121170717733315      8.110535 59013                  9/05/1524500350,0101?                             31/5142311
512610                 1711741 (117-55,01105.401131 02 LP            11                  3/542317 644173370385.35155     5-0387133415                    9A1/2,)75 1/5041535171.3                          15/12/2(55
253554                 2A/17/011320 201543315511(5310 35                                 3/512017 .1.8021
                                                                                                        11 11151.31.33   500535 851757                   341355014 51121421.1361.7                         57/12/1351
4154,                  34:133/5 C/3,31,                                                  1/6/231? S10557353,             145C,107 7/311.1 5-6o            115/2715 1.154111.751.4                          15,1112(13
515104                 ''4045(5077 10                                                    5/315017 173.35173.7 .511       11075 3331733.7 1410             5/941E13 11535/11141112                          3145772313
35535                  2I03( 01711136151 0:0,75 9,710 20                                 3/0/2427<1430S1035              73387 7511E                      9/2/23133 1154111725/.1                          15,12,71(55
15035                  331013.41335573115817 DOT(02                                      775/251-,
                                                                                                 7 AfiCS".707.1:7        S1():.je                         5/241524 215151764112                            31/11/2317
1E196                  512< 3751215150,011E2 N.10r0                                      3.(2/231.7                      71..1%7 AA.UE                    971;23110'5 117
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;01,31                 83041435458104 5877 DOT( CO                  52
                                                                    13                   545/2517 14,03121317            013388.423,0,                    5/2/2624 555531354013.E                          11/5742524
7E536                  5:2< 1:5600,77 07130 951000                   12                  34E/2517 8116,517.351           50087 573715                     542/2011 54043755.514                            11432/2333
23135                  5,51531E4155171 58503331.553 CO              11                  5/512527 511355087               31121052.1053.5                  5/2/211.4 2/08317611.3                           32/1342325
7E535                  51037158147031 01133.5030 01                 11                  515/2557 335:3
                                                                                                     11.01351            320387 543315                    372/2314 570014135211                            51122/3016
73135                  51C111115151103 11-15773311( 20                                  5/5/0527 11(5130035              311238
                                                                                                                             83 311117                    3/772614 57013554111                             13/1172525
7E294                  5101 30813158 011317.4050 33                 121.2               55/2317 1.11117517107            511185 570,55                    3/245314 14534/E52oE1E                           51112/2516
710155                 81,43-513535 81o0o.-5,3315 3:55,005 Op                           2/5,
                                                                                           ,2527 170510011               3.15335.3 3/.3311.0,             3,12/2324 5708115117                             53/11/2515
75236                  51,05,5 4131532,755 ,2555.43:5 LE                                1,53/2517 1531.11TON5            51081 E55:55                     31145314 51203E52E1E                             11/12/2516
70374                  73931533/3243 Super 732433, 3, 00            33                 1/77/20377.7131:                  31E5312                        5122/2623 5703321,4110                             17/1.v2.1m
53175                  55359 A53rzari5,r11543:c4,O,115713. 1,                          1/20/25570(01,0,452               5(013132515                    5/21/2312 51:51511:7151                            21/0212510
723131                 515301.325 1,301-55-4,321,3135,
                                                     ,,,0; P        o                   542/2657 517,151551,55115.4      6.1535/4 1413,7                5/05/203421033324510                               11/1347315
75255                  7'7:515.3434:345,43.35 ,o,31585                                   15/3/21313 1113351073E23651     51085 E5.01E                   .71/25127314 20.7.7.4202018                        21/3212116
72165                  1545220 735335,33335( C5                                        .3/57/0.1(1 10,711 0156315        '2
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                                                                                                                                  71,A,.,,,
                                                                                                                                        13,Ex
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73135                 .41170/557015 51:5717371,457112               O                  5/5342017 1E5                                                     2/812207 57323.47.05321E                          11/1275316
72153                  115152617536.50305131VP 5713 LE              10                 3417/1311 05051031.5              %TONE 745:5                     8/5/2571 3-708, 174,61E                           11/12,52735
73254                 <23567077 13032351511,77 051 :5                                  2/28/2317 63322741153315.7117     51385                           5/2/2204 214351050177                             3141542E16
50155                 751211173051(410135P 5000 1:0                 O                   0/5:/5719%113'10330535           751053 14E;F.                   8/5/231.4 51701.4E2A6E.5                          13752/2315
53625                 133,3-04,3 51,3,414205, 134                   11                 54254E137 5343333.50              5/05155373355.1714             7/2212014 57, 144251.474.                          13.412425154
75E51                 1814 3135,53E11E1 7331,                                          ::.'7/'1.271 7101,0550            572100, 0,10615                7/21;2513 6:::741 ,113.. :                         11/21/2311
75254                 0,1,7345 500 510535151(3555 5015                                 5/2742537 131173715384            51118E 5311313                 7.,1.312.21E ST.:Ma:AG:A                           12117/2E26
15254                 11,515510150 AD 13451'21513 571               O                  2115/3517 753,51113,7
                                                                                                           , 11E         613531145111                   7/571.)2014 <7014:754515.                          1.14073/2111
75253                 05,4E0 73535355135 :3 31                                         242847337 0555112010,1015:1       5(0155 5,4510,                 7/13,7276.1 71.351E5:74.77                         35112/2E53
                                                                                       7,[171.001.7 1751113534452.5      770151 04117                   7/74/251:: S77:4E.7.1:A5ff                         W124'1311
75172                 5711,, 12565r5,51,  354173:13.37 C.4                             2/2811,217 5031510715451E         51E83 35555                    1/11,12514 5371.375501.7                           35112/2E15
45232                 31:15/ 63 135,
                                   4514,15413,411,  4335                               2123.12512 57135                  610300,4015                    7/25/2114 rcNED,ac                                 11/21,52313
70032                 11,331115,54,47. 430,,,,3353                  11                 1/1841537 131455103,743115        31583 555E4                    745142014 51,3715111.7                             31.11
                                                                                                                                                                                                               .242E54
76263                 31343,57713,3143,4214,55                      O                  2/22/3017 5535313153733.4         STONE E41131E                  7/2542314 111351550,2155                           51/72/5313
70(22                 35541353,111,45roie., 510                     O                  6,23/27115805001314011            25583 55531                    7415/1524 77:38153115                              13115/2571
70,337                 1,4533 013(3332117.1.13                                         5/15/3017 TE33751157154153E       511541E 011117                 7/55/23131 110(51733515                            21/11/5015
70353                 3714:1331521
                                 , 455013:1512.                                        3303/5337 110551085355113         311081154053                   715542554 520717/5133.7                            11415/2573
71035                                                               O                  5/5102317 31331631.114745, 5      11085 55111                    7,713/201, 01133..1701(13                          II/01/5215
73352                 13-531,5 51.4..35,8e3511.1                                       3414512512 1011311155.5713,.3     411283 53,3/51                 7,13/2654 51085E5107                               11/15/2513
43032                 .15,13,(130.4363571.51                                           5/15/5354 111,535104311,701.3     14085 543313                   7/5142354 175155352055                             51/1215215
73352                 11,31,080475,43081.53.                                           341212512 13751051143315          3.51314 EAGLE                  7412/1614 5108316115                               1141542511
75235                                       0,00:0,1,15                                20/5/20525314515215101,,5         216455 EA 115                  1/55/20045705,8(2:5177                             51/37/12016
5121(1                                      17000.
                                                 .0901:P                               347141012 153'73,•431-1,445       4.113831252111                 715/2514 55017451:5                                11/15/2313




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                                                                              Ex. 35, p. 158 of 165
                System Nem.                                         (26001:y Esemp6ce Octo 7.736710                t1,0: 0,100:1                901001n-0 Therop/ete                ,S1 0:0000
System Number
                73187y377.6 1434orticletwestors117                                2/28/2017 8870572/77E01110       170716 61791                   773672110 12096176271.6          01;22f2016
70723
                Mcryisndiviotorcyclo 05007150, LP                                 2725/2017 03CE7805704079,        310707 19010                   7/177;71114 270137117911E        11712;201e
25211
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             Bob,


             As we discussed the other day, Stamm;le still has rutilltiple exemptions for Hendrick and some other dealers. At the time we stopped
             the process and nreed to continue the exemptions for Stone ogle until they moved their systems to CDR. Now that we are planning to
             move forward with Hendrick I am recommending we make the changes to ERA needed to replace the Stoireagle interEace.

             There are three outstanding PMR's
                1) PMR 1046216 -- Add Product-Only deals in, Feel Interface
                       a. Stoneagle has two F&1 Deal packages (Publish acid Batch)they currently offer to dealers. The request 35 to include
                           prodoct only deals in both data feeds.
                            i. A "product only deal" is when a consumer purchases a service (i.e. Extended Warranty) after the car was
                                  purchased. When the consumer purchases the Extended Warranty service the paperwork is run through the F&I
                                  process, paperwork is signed and sent to accounting. Today we do not send P&I information unless it Is attached
                                  to a specific vehicle. The change will allow the Precut Only Deals to be sent to Stoneagle and other third party
                                  providers in order to have a complete picture ofF&1 reporting.

                 2) PMR 1049956 RCI- Deal Reversal Notification(ERA)
                      a. Multiple partners in the RCI Program have requested to receive notification in their current Pea interfaces when an
                         F&I deal has beers reversed. This deal reversal notification exists today in oar Reynolds CM application. The
                         notification is the deal number and status = "Reversed".

                         b. Requesting to add this Deal Reversal ootification to the Publish Perll Deal, Batch Closed Ei'er I Deals, Search Fed Deals,
                            Publish Vehicle Sales and Batch Vehicle Sales interfaces (F&I sales infintroadon without the finance data — used for CM
                            vendors to let them know a torsos purchm ed or reversed) Pus   -the ERA platform within the RCI Program.

            Please approve this email so we can move forward in removing exemptions for Hendrick, AMSi,FAG,etc.

                 t:scineRr, Robert ir_8o5tpftig;r05;5ot#*:',.. .lr.f:
            Bent: ::errelay, March 15, 25152:54 PM
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            Sintrient: it: Deal Reversai to RCi?torStimarEa5er

             Rob.

            StunKa5:e executes       a proce.as today u.aing their- int:artace

             Can you pleeae approve th:s email an i can vet Scott to move harward

            Asa footnote: We :)oiir received the latest eahancements ter Stoneacie :net allow us to replace the tAorio.a.gle hostile intehota,   et we
            tested and returned it to development to lit We we Plist c,r POWER with 4. dealer, Pot:waiting on ERA

            Frorru Bob Brockman iruollea bob .....
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            Sent: Sunday, January 3, 2016 6:28 PM
            Ten 'Schaefer, Robert
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             Bob.




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             Bob
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HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY                                                                                                            REY0D0186518
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            'if qdr'Ck .025 stated Shot ihaa se;71 net dinith o;E:nd                                     :11011012             is hard. do:: this 330 o           10:50 24:211               interfenas 0100425
            11,1              c wtifyi r,g 9e408e5                                 10 dee Ides       this nes Iseenme Dr. ',St.,

             1 40:                    t,r,at ut,i:r.piern,nt she inta:     k,   .04.,101;   k.   3 1 12414   n:0;17 5 Sid      ,rei. 503.1 yen 5.5,i:5:,0e12 for dash dandor that is    -9     ne thd dat, end
                        b : tIn :032 in:a:lad,

              5 2,000 nt?t             05:5 :rodidecth:           be   seeohidolthr Stoss dda!ais snitin nre es                    'rid                        .                        1. The tehorts vat:: solos
             scohe3:e.

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             th bd                      eandors on    533         piadidethe,ght deta f•o! favor, Is: C•52! Ion lel,




            P1013211 Po1 fi32ff<rNy,;)-r-,11
                                           .,;10,-*.k.tlitOriar.,
                                                                .(czkpOw.:
            Fizpst; Thosloy,        nm11r29, COA 11:03 All
            Tait
            !1Mln3oclo 1770: ;AN.,E 3200111105 09 RCV


             Bob,

             I see no rnason to extend this capability                                      rcl Party RCI mete                            rs.

             Bob



                   . . .. . .                  ....    .......
             Frcsm       112001 1irld i.i,
                                         .E.1 dtMstlig.g1;fit.^r011,11far5
                   3"0e47357,                  23?, 21115 9:E.d5 AM
            Tc; 'P»t: Fircdupan'

            15103*710 01915 Reiera: 141 P1417




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             Llplow 113 dit:cadi-i7154-idd Cd` the. POWER P!411.

            131:7 tio:-ol 1132701432at iro.;,1P;m-i;ii.-s-, is              se,r-i trom boin                            onEy 10 Con;:act N4.-3nagemerri.                                             RC:
            111011e ssismiess            iriAsgratiori                              .. gAving ur,              adivariiiage         CM

             Ars yoi.;                                 pfilnInifti Ion 70+.53 11132 I0iffitS32E3:55E1                itret                   700 lnot1?4
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             FInto?iorlaPi32 4115 ,nartie32.

                 hnr,k5.,



            co: Tommy-




HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY                                                                                                                                                                              REYCID0186519
                                                                                                                                                                                                                        CX4420-002




                                                                                                                                                                                                                               FTC-0000444

                                                                                  Ex. 35, p. 162 of 165
                   Astra* 104MS7
                   uto,,,Att trlic..port vitseattlA        rrci:ty S• trio • Nxenor                         AMeet%
                 behouse:      REY001                                             Supervisor: FOERSTJI FOERSTER,JIM
                 Chent         FtEY001 Reynolds and Reynolds                      Client Res:
                 System ID:                                                       Hit Count     0
                 Contact                                                          Phone:        (713)718-1800
                 &emitter      8OUGHAT1BOUGHAN,TIM 52487                          Added:        05/20/15
                 Vend/Mfg:                                                        Program:      RCI
                 Platform:     POWER                                              Product       RCI - Reynolds Certified interfaces
                 SubProduct                                                       App Area:
                 Summary:      RCI- Deal Reversal Notification(POWER


                tiotaVem.
                WO:* pawl,*        fhe AC Program have fteareme4io leeo•ec rAWrzWw4iSthAe 41A-441-A 3'A1 elzezlace$ votkeh       rak
                 deal h4e2 ba-en SarsOd Thx, ee4 feveee..13not2kators exists today in our Reynolds CM application. The notiScation is the
                 Oak(teethe ant)status "Reverwr

                 Requeshrg to add this Deal Reversal notification to the Publish F6I Deal, Batch Closed Fat Deals, Search Fril Deals,
                 Pubirsh Vehicle Sales and Batch VeNcle Sales interfaces for the POWER pladorm within the RCI Program.

                 USE=
                 12/29115 09 2512       FOERSTJI
                 Request to add a NEW TRANSACTION woothe RCI suite Need approval

                 imam 5 1027A9              BRAUNMIK
                 Jim, this would be a new transaction for RCI Currently CM is getting the transaction

                0911411510:3203          SHANDEVX
                Updated supporting does attached to CPM

                08/17115 14 38 40         BRAUNMIK
                Dev - We need to create the gavelling documents for this Word spec, mapping, schema

                08/10/15 14:14:34             SCHAEFRO
                Approved

                05122/15 13:5437       MART1NJO
                Bob - This o Inc           deal reversal to the currem PM nt                You have already approved a Fact Sheet on
                rho. Please add W'appro'rat and send on to Barb W. Trta4s




HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY                                                                                                   REYCID0186520
                                                                                                                                             CX4420-003




                                                                                                                                                   FTC-0000445

                                                           Ex. 35, p. 163 of 165
             RIM= -awns, Thorny
             Sent Ttysday, Ayont 1, 2017 5:16 PM
             To; Brock-nor, Bob
             Subject: FW:FW:

             Bob

             I asked Schaefer to revise his StoneEagle update to you — the information he sent was not accurate. I do not know
             if he corrected this update but I could no longer allow you to have mis-information

             StoneEagle exemptions go beyond Hendrick — 3rd party has 100 exemptions into our ERA systems. DSV been
             talking about removing for years now — no end insight

             Tommy

             Frnm: Schaefer, Robert G jmailenRobert_Schaefar@ireyrey.curoj
             Sant: Thurs.day, July 27, 20173:03 PM
             TO: Frras., fanny
             Subject: Re: OW:

             Thanks Tommy

             i     geteethe bottom of it

             Sent from my iPhone

             Rob !Schaefer

             Do Jul 27, 2017,e 5:24 PM, &arras, -rummy ,crfcepe:Cttnrj:g1,i,gTey,?_jmont> wrote:

                    Bob -- someone must hove given you the wrong informstion. Please correct your update to Bob...

                   Tommy

                   Front Adams.        M tn.ninib>iPb.9...5t4b1S-Vtii-fltrit*Y.c.C11.1
                   Sent: Thursday; july 21, 20173:33 PM
                   To: byres; Tommy
                   Subject: RE:

                   Tommy,

                   ; tnnte verified :eat Ins HAG Lystems am not,the on:yr rasters thel diEt need eeemonons or stone n.)?,:e.   -
                             stUl need to t,Rve tent ez& 2ticnt rhrnan

                   When ; send out the weekly report, writ Oct otter DSV's comments, hot win add a note in ow email under Additional InfOrthatiOn
                   regp.rdhit3 this iotormation.

                   1.h,mts,

                   Dana Adams - OHA1 03-01 -51224


                   From Etrctdcron, 5DbIntgigxletekt,oneeinbtittreWoy,tretm•
                   Sent: Wednesday, jury 2e, 20573:53 AM
                   To: PArrae, Tommy
                   Subject: OW:




                   front Scliaeret, 0.   It..[Er rt.',UO w5.                             nett
                   Sent: Tuesday, Juty 2_5, 2017 1:53 PM
                   To: Ertrocieean, Sob
                   Subject: RE:

                   Stanotole is complete with the exception aftieutitick. Stoneegle nuoted to trove Hendirek tart. Hendrick's CFO was en
                   vacation asked to no: move forward onlit two: week. We should be done by the end of next week. Hendrick would he the
                   only reason we do not get it done. We are working will be working with our inteertai team to get this done ARM'.

                   SET — Says they will be testing nest woe& tivithrthii, We ore mooitering the progress




HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY                                                                                                           REYCID0265394
                                                                                                                                                     CX4463-001




                                                                                                                                                           FTC-0000470

                                                                   Ex. 35, p. 164 of 165
                FrOff1.1 .61rDckme.r,, Bob lirg.ilialt.P.:P....i3J141,1,
                                                                       A:Okr.*WEY:V.3_173.1
                5,61.1/1: 7ue,clay,.1,1v 25, 2017 240 I'M
                TO: haefe r, 0,    .)05tr0 0 <19b5351: SO1
                Sutsjoct:


                Bob,

                What is the situation with Stone Eagle?

                What is happening with RO Close Time request from SET?

                Rob




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                                                                                                CX4463-002




                                                                                                      FTC-0000471

                                                                     Ex. 35, p. 165 of 165
